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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                                       Chapter 11

PURDUE PHARMA L.P., et al.,                                                  Case No. 19-23649 (RDD)

                               Debtors.1                                     (Jointly Administered)


          TWELFTH AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
                 PURDUE PHARMA L.P. AND ITS AFFILIATED DEBTORS

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                                                                         and Debtors in Possession

Dated: September 2, 2021
New York, New York




1 The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable jurisdiction, are as

follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal Technologies L.P. (1868), Purdue Pharma
Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034), Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P.
(6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto
Rico (3925), Avrio Health L.P. (4140), Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712),
Nayatt Cove Lifescience Inc. (7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick
Land L.P. (7584), Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard,
Stamford, CT 06901.
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                        Each of Purdue Pharma L.P., Purdue Pharma Inc., Purdue Transdermal
Technologies L.P., Purdue Pharma Manufacturing L.P., Purdue Pharmaceuticals L.P., Imbrium
Therapeutics L.P., Adlon Therapeutics L.P., Greenfield BioVentures L.P., Seven Seas Hill Corp., Ophir
Green Corp., Purdue Pharma of Puerto Rico, Avrio Health L.P., Purdue Pharmaceutical Products L.P.,
Purdue Neuroscience Company, Nayatt Cove Lifescience Inc., Button Land L.P., Rhodes Associates L.P.,
Paul Land Inc., Quidnick Land L.P., Rhodes Pharmaceuticals L.P., Rhodes Technologies, UDF LP, SVC
Pharma LP and SVC Pharma Inc. (each, a “Debtor” and, collectively, the “Debtors” or “Purdue”) proposes
the following twelfth amended joint chapter 11 plan of reorganization pursuant to section 1121(a) of the
Bankruptcy Code. Capitalized terms used herein shall have the meanings set forth in Section 1.1 below.

ARTICLE I       DEFINITIONS AND INTERPRETATION.

                1.1     Definitions.

                        The following terms shall have the respective meanings specified below:

                “Abatement Distribution” means a distribution from an Abatement Trust to an Authorized
Recipient for Authorized Abatement Purposes.

              “Abatement Trust Documents” means, collectively, the NOAT Documents, the Tribe
Trust Documents, the Hospital Trust Documents, the TPP Trust Documents and the NAS Monitoring Trust
Documents.

               “Abatement Trusts” means, collectively, NOAT, the Tribe Trust, the Hospital Trust, the
TPP Trust and the NAS Monitoring Trust.

                 “Ad Hoc Committee” means the ad hoc committee of governmental and other contingent
litigation claimants identified in the Verified Statement Pursuant to Bankruptcy Rule 2019 [D.I. 279], as
may be amended from time to time.

             “Ad Hoc Group of Hospitals” means the Ad Hoc Group of Hospitals identified in the
Second Amended Verified Statement of the Ad Hoc Group of Hospitals Pursuant to Bankruptcy Rule 2019
[D.I. 1536].

                “Ad Hoc Group of Individual Victims” means the Ad Hoc Group of Individual Victims of
Purdue Pharma L.P. identified in the Amended Verified Statement of the Ad Hoc Group of Individual
Victims of Purdue Pharma L.P., et al., Pursuant to Bankruptcy Rule 2019 [D.I. 1480], as may be amended
from time to time.

              “Adlon General Unsecured Claim” means any Claim against Adlon Therapeutics L.P. that
is not an Administrative Claim, a Priority Claim, a Secured Claim, a Federal Government Unsecured
Claim, a Channeled Claim, a Ratepayer Claim, a Co-Defendant Claim, an Other Subordinated Claim, an
Intercompany Claim or a Shareholder Claim.

                  “Administrative Claim” means any Claim against any Debtor for costs and expenses of
administration of the Chapter 11 Cases pursuant to section 327, 328, 330, 365, 503(b), 507(a)(2) or 507(b)
of the Bankruptcy Code, including (i) the actual and necessary costs and expenses incurred on or after the
Petition Date and through the Effective Date of preserving the Estates and operating the Debtors’ business,
(ii) any Professional Fee Claim, (iii) any fee or charge assessed against the Estates pursuant to
sections 1911 through 1930 of chapter 123 of title 28 of the United States Code, (iv) any Allowed Claim
that is to be treated as an Administrative Claim pursuant to a Final Order of the Bankruptcy Court under
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section 546(c)(2) of the Bankruptcy Code, (v) once Allowed in accordance with Section 2.3(a) of the Plan,
the DOJ Forfeiture Judgment Claim and (vi) any Allowed Cure Claim.

               “AHC Reimbursement Agreement Assumption Order” means the Order Authorizing the
Debtors to Assume the Reimbursement Agreement and Pay the Fees and Expenses of the Ad Hoc
Committee’s Professionals [D.I. 553], as amended or supplemented by the Bankruptcy Court pursuant to
D.I. 1617 and D.I. 2190.

                  “Allowed” means (i) with respect to a Channeled Claim, such Channeled Claim that has
been allowed in accordance with the applicable Creditor Trust TDP, (ii) with respect to any Adlon General
Unsecured Claim or Avrio General Unsecured Claim, such Claim that is Scheduled as not disputed,
contingent or unliquidated, and for which no Proof of Claim or Interest, as applicable, has been timely filed,
and (iii) with respect to any Claim (other than a Channeled Claim) against a Debtor, such Claim (A) that is
allowed pursuant to the Plan or a Final Order, (B) as to which no objection has been timely filed and that is
evidenced by a Proof of Claim timely filed by the applicable Bar Date or that is not required to be evidenced
by a filed Proof of Claim under the Plan, the Bankruptcy Code or a Final Order, or (C) the amount of which
has been agreed, compromised, settled or otherwise resolved pursuant to the authority of the Debtors or the
Plan Administration Trustee, as applicable. Except as otherwise specified in the Plan or any Final Order, the
amount of an Allowed Claim shall not include interest or other charges on such Claim on and after the
Petition Date. No Claim of any Person subject to section 502(d) of the Bankruptcy Code shall be deemed
Allowed unless and until such Person pays in full the amount for which it is liable to such Debtor or the Plan
Administration Trustee as provided in section 502(d). Correlative terms such as “Allow” and “Allowance”
have correlative meanings.

                 “Asset” means, with respect to a Person, all of the right, title and interest of such Person in
and to property of whatever type or nature, including real, personal, mixed, intellectual, tangible and
intangible property, which, for avoidance of doubt, includes insurance policies and any rights, claims or
potential claims with respect thereto.

                  “Assumed Liabilities” means the liabilities of the Debtors assumed by NewCo as expressly
set forth in the NewCo Transfer Agreement.

                  “Assumption Notice” means a notice of the assumption or assumption and assignment and
any proposed Cure Amount provided to counterparties to executory contracts and unexpired leases pursuant
to the Solicitation Procedures Order.

                 “Authorized Abatement Purpose” means, with respect to any Abatement Trust, (i) an
authorized opioid abatement purpose for which an Abatement Distribution from such Abatement Trust may
be used, as set forth in the Creditor Trust TDP for such Abatement Trust, which Creditor Trust TDPs shall
be attached to the Confirmation Order or (ii) the payment of attorneys’ fees and costs of Holders of
Channeled Claims channeled to such Abatement Trust (including any counsel to any ad hoc group or other
group of such Holders, including any such counsel that is not a Professional Person).

               “Authorized Recipient” means an eligible recipient of funds from an Abatement Trust in
accordance with the Plan, the Confirmation Order and the applicable Abatement Trust Documents.

               “Avrio General Unsecured Claim” means any Claim against Avrio Health L.P. that is not
an Administrative Claim, a Priority Claim, a Secured Claim, a Federal Government Unsecured Claim, a
Channeled Claim, a Ratepayer Claim, a Co-Defendant Claim, an Other Subordinated Claim, an
Intercompany Claim or a Shareholder Claim.




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               “Bankruptcy Code” means title 11 of the United States Code, as applicable to the
Chapter 11 Cases.

                 “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
of New York having jurisdiction over the Chapter 11 Cases and, to the extent any reference made under
section 157 of title 28 of the United States Code is withdrawn or the Bankruptcy Court is determined not to
have authority to enter a Final Order on an issue, the United States District Court for the Southern District
of New York.

                 “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by
the United States Supreme Court under section 2075 of title 28 of the United States Code, as amended from
time to time, as applicable to the Chapter 11 Cases, and any local rules of the Bankruptcy Court.

               “Bar Date” means, as applicable, the General Bar Date or any other date established by the
Bankruptcy Court as the deadline by which Proofs of Claim or requests for payment of Administrative
Claims must be filed.

                “Bar Date Order” means, collectively, (i) the Order Establishing (I) Deadlines for Filing
Proofs of Claims and Procedures Relating Thereto, (II) Approving the Proof of Claim Forms, and
(III) Approving the Form and Manner of Notice Thereof [D.I. 800] and (ii) the Order (I) Extending the
General Bar Date For a Limited Period and (II) Approving the Form and Manner of Notice Thereof
[D.I. 1221].

                “Benefit Plan” means any “employee benefit plan” as defined in section 3(3) of ERISA,
compensation, employment, consulting, severance, retention or similar plan, agreement, arrangement,
program or policy, or other plan, agreement, arrangement, program or policy providing for compensation,
bonuses or other forms of incentive compensation, including the Key Employee Plans, vacation benefits,
insurance, medical, dental, vision, prescription or fringe benefits, life insurance, perquisites, disability or
sick leave benefits or employee assistance program, in each case, that is sponsored, maintained or
administered or entered into by the Debtors for the benefit of their respective employees or non-employee
directors.

               “Breaching Shareholder Family Group” means a Shareholder Family Group that is in
Specified Breach (as defined in the Shareholder Settlement Agreement).

                 “Business Day” means any day other than a Saturday, a Sunday or any other day on which
banking institutions in New York, New York are authorized or required by law or executive order to close.

                 “Canadian Patient Claim Settlement Stipulation” means the Amended and Restated
Stipulation and Order Permitting the Filing of a Class Proof of Claim Solely for Administrative
Convenience in Order to Effectuate a Potential Settlement in Respect of Certain Canadian Patient
Litigation [D.I. 1515].

                “Canadian Patient Settlement Agreement” means the “Patient Settlement Agreement” as
defined in the Canadian Patient Claim Settlement Stipulation.

               “Canadian Patient Settlement Trust” means the “Settlement Trust” as defined in the
Canadian Patient Claim Settlement Stipulation.

                “Case Stipulation” means the Amended and Restated Case Stipulation Among the
Debtors, the Official Committee of Unsecured Creditors and Certain Related Parties [D.I. 518], including
any predecessors thereto.



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                 “Cash” means all legal tender of the United States of America.

                  “Cause of Action” means any Claim, action, class action, claim, cross-claim,
counterclaim, third-party claim, cause of action, controversy, dispute, demand, right, Lien, indemnity,
contribution, rights of subrogation, reimbursement, guaranty, suit, obligation, liability, debt, damage,
judgment, loss, cost, attorneys’ fees and expenses, account, defense, remedy, offset, power, privilege,
license or franchise, in each case, of any kind, character or nature whatsoever, asserted or unasserted,
accrued or unaccrued, known or unknown, contingent or non-contingent, matured or unmatured, suspected
or unsuspected, liquidated or unliquidated, disputed or undisputed, foreseen or unforeseen, direct or
indirect, choate or inchoate, secured or unsecured, allowable or disallowable, Allowed or Disallowed,
assertible directly or derivatively (including, without limitation, under alter-ego theories), in rem, quasi in
rem, in personam or otherwise, whether arising before, on or after the Petition Date, arising under federal or
state statutory or common law, or any other applicable international, foreign or domestic law, rule, statute,
regulation, treaty, right, duty, requirement or otherwise, in contract or in tort, at law, in equity or pursuant to
any other theory or principle of law, including fraud, negligence, gross negligence, recklessness, reckless
disregard, deliberate ignorance, public or private nuisance, breach of fiduciary duty, avoidance, willful
misconduct, veil piercing, unjust enrichment, disgorgement, restitution, contribution, indemnification,
rights of subrogation and joint liability, regardless of where in the world accrued or arising. For the
avoidance of doubt, “Cause of Action” expressly includes (i) any Cause of Action held by a natural person
who is not yet born or who has not yet attained majority as of the Petition Date or as of the Effective Date,
(ii) any right of setoff, counterclaim or recoupment and any Cause of Action for breach of contract or for
breach of duty imposed by law or in equity, (iii) the right to object to or otherwise contest Claims or
Interests, (iv) any Cause of Action pursuant to section 362 of the Bankruptcy Code or chapter 5 of the
Bankruptcy Code, (v) any claim or defense, including fraud, mistake, duress and usury and any other
defense set forth in section 558 of the Bankruptcy Code, and (vi) any claim under any state or foreign law,
including for the recovery of any fraudulent transfer or similar theory.

               “Channeled Claims” means, collectively, all Non-Federal Domestic Governmental
Claims, Tribe Claims, Hospital Claims, Third-Party Payor Claims, NAS Monitoring Claims, PI Claims,
Released Claims and Shareholder Released Claims.

                 “Channeling Injunction” means the channeling injunction issued pursuant to Section 10.8
of the Plan.

               “Chapter 11 Cases” means the cases under chapter 11 of the Bankruptcy Code
commenced by the Debtors on or after the Petition Date (and not otherwise dismissed), currently pending in
the Bankruptcy Court that are jointly administered in the case styled In re Purdue Pharma L.P., Case
No. 19-23649 (RDD).

                “Civil Settlement Agreement” means that certain civil settlement agreement attached as
Exhibit C to the DOJ 9019 Motion, as approved and modified by the DOJ 9019 Order, by and among
Purdue Pharma L.P. and the United States, acting through the United States Department of Justice, Civil
Division, Commercial Litigation Branch, the United States Attorney’s Office for the District of New Jersey,
the United States Attorney’s Office for the District of Vermont, and on behalf of the Office of Inspector
General of the United States Department of Health and Human Services, the Defense Health Agency,
acting on behalf of the TRICARE Program, 10 U.S.C. §§ 1071-1110b, and the Office of Personnel
Management.

                 “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code.

                “Class” means any group of Claims or Interests classified under this Plan pursuant to
section 1122(a) of the Bankruptcy Code.


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                “Co-Defendant” means (i) any Holder of a Co-Defendant Claim and (ii) any co-defendant
in a Pending Opioid Action commenced as of the Effective Date, in each case, other than (x) the Debtors
and their current and former officers, directors, authorized agents and employees and (y) the Shareholder
Released Parties.

                  “Co-Defendant Action” means any Pending Opioid Action and any previous, pending, or
future litigation or dispute that alleges substantially similar facts or causes of action as those alleged in the
Pending Opioid Actions and that concerns conduct occurring before the Effective Date.

                  “Co-Defendant Claim” means any Claim, other than a Claim held by an Insurance
Company, that (i) either (A) is or could be asserted against any Debtor, including without limitation any
Claim that would otherwise be a Cure Claim or (B) seeks to recover from any property of any Debtor or its
Estate, including any MDT Insurance Policy, (ii) is for or based upon or arises from contribution,
indemnification, reimbursement, setoff or recoupment or any other similar claim or Cause of Action, and
(iii) seeks to recover, directly or indirectly, any costs, losses, damages, fees, expenses or any other amounts
whatsoever, actually or potentially imposed upon the Holder of such Claim, in each case relating to or
arising from any actual or potential litigation or dispute, whether accrued or unaccrued, asserted or
unasserted, existing or hereinafter arising, based on or relating to, or in any manner arising from, in whole
or in part, Opioid-Related Activities or otherwise relating to opioids (including, without limitation, any
such Claims asserted by any manufacturer, distributor, pharmacy, pharmacy-benefit manager, group
purchasing organization or physician or other contract counterparty or business partner of any Debtor), in
each case that is not a Shareholder Claim or a Claim held by any current or former director, officer,
employee or agent of the Debtors. For the avoidance of doubt, a Co-Defendant Claim shall not include any
Co-Defendant Surviving Pre-Effective Date Claim. Notwithstanding anything to the contrary outside of
this definition in the Plan, any Claim that satisfies the definition of a Co-Defendant Claim shall be a
Co-Defendant Claim notwithstanding that such Claim would otherwise satisfy the definition of another
type of Claim. For the avoidance of doubt, Co-Defendant Claim includes a Claim that is held by an
insurance company in its capacity as subrogee of a Holder of a Co-Defendant Claim.

                 “Co-Defendant Defensive Rights” means any and all direct, or indirect, protections,
immunities, objections, assertions, Causes of Action and, in each case, of any kind, character or nature,
whether legal, equitable or contractual, contingent or non-contingent, liquidated or unliquidated, disputed
or undisputed, including, without limitation, all rights, remedies, defenses, assertions and Claims against
liability, rights to setoff, offset, recoupment, counter-claims, cross-claims, rights to allocation or
apportionment of fault and judgment reduction, apportionment of damages, any other defenses, affirmative
defenses or judgment reduction mechanisms or rights similar to the foregoing, and any steps necessary to
assert the foregoing, in each case, solely to reduce the liability, judgment, obligation or fault of the
applicable Holder of a Co-Defendant Claim or Excluded Party to any Person that asserts any Cause of
Action against such Holder of any Co-Defendant Claim or Excluded Party based in whole or in part on
Opioid-Related Activities. Co-Defendant Defensive Rights (i) may be used to offset, set-off, recoup,
allocate or apportion fault, liability or damages, or seek judgment reduction or otherwise defend against any
Cause of Action brought by any Person against the Holder of any Co-Defendant Claim or the Excluded
Party based in whole or in part on Opioid-Related Activities and (ii) shall in no case be used to seek or
obtain any affirmative monetary recovery from any Protected Party or any Asset of any Protected Party
(including from any Purdue Insurance Policy or any other insurance policy of a Protected Party) on account
of any Released Claim or Shareholder Released Claim.

                  “Co-Defendant Surviving Pre-Effective Date Claim” means any Cause of Action held by
a Co-Defendant that (i) arose in the ordinary course of business, (ii) is not related to a Co-Defendant
Action, and (iii) concerns conduct occurring before the Effective Date.




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                “Common Benefit Escrow” means the fund to be established as set forth in Section 5.8(c)
of the Plan.

                “Common Benefit Fund” means a common benefit fund established by order of, and
administered by, the MDL Court.

               “Confirmation Date” means the date on which the Bankruptcy Court enters the
Confirmation Order.

                “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court regarding
confirmation of the Plan, as such hearing may be adjourned or continued from time to time.

                 “Confirmation Order” means the order of the Bankruptcy Court confirming this Plan
pursuant to section 1129 of the Bankruptcy Code and approving the Plan Settlement, which shall be in form
and substance acceptable to the Debtors and reasonably acceptable to the Creditors’ Committee and the
Governmental Consent Parties.

                “Continuing Foundation Members” means the Persons appointed to serve as members of
the Foundations in accordance with Section 5.7(l) of the Plan, which Persons shall be (i) the individuals
appointed to serve as Creditor Trustees of NOAT and/or (ii) as otherwise agreed to by the Debtors, the
Governmental Consent Parties and counsel to the Newly Consenting States.

                 “Contract Dispute” means an unresolved objection regarding assumption or assumption
and assignment, Cure Amount, “adequate assurance of future performance” (within the meaning of
section 365 of the Bankruptcy Code) or other issues related to assumption or assumption and assignment of
an executory contract or unexpired lease.

                 “Creditor Trust” means (i) with respect to Non-Federal Domestic Governmental
Channeled Claims, NOAT, (ii) with respect to Tribe Channeled Claims, the Tribe Trust, (iii) with respect to
Hospital Channeled Claims, the Hospital Trust, (iv) with respect to Third-Party Payor Channeled Claims,
the TPP Trust, (v) with respect to NAS Monitoring Channeled Claims, the NAS Monitoring Trust, (vi) with
respect to PI Channeled Claims, the PI Trust and (vii) with respect to Future PI Channeled Claims, the PI
Futures Trust.

                 “Creditor Trust Documents” means (i) with respect to an Abatement Trust, the applicable
Abatement Trust Documents, (ii) with respect to the PI Trust, the PI Trust Documents and (iii) with respect
to the PI Futures Trust, the PI Futures Trust Documents.

                “Creditor Trust Operating Expenses” means, with respect to each Creditor Trust, any and
all costs, expenses, fees, taxes, disbursements, debts or obligations incurred from the operation and
administration of such Creditor Trust, including in connection with the reconciliation and administration of
the Channeled Claims channeled to such Creditor Trust, working capital and all compensation, costs and
fees of the Creditor Trustees of such Creditor Trust and any professionals retained by such Creditor
Trustees.

                “Creditor Trust Operating Reserves” means the reserves to be established to pay the
Creditor Trust Operating Expenses of the respective Creditor Trusts. The Creditor Trust Operating
Reserves shall be (i) funded with Cash and cash equivalents held by the respective Creditor Trusts in
accordance with the respective Creditor Trust Documents and (ii) held by the respective Creditor Trusts in
a segregated account and administered by the respective Creditor Trustees.




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                 “Creditor Trust Overseer(s)” means, with respect to each Creditor Trust (other than the PI
Futures Trust), the trust protector(s) or advisory or oversight committee member(s), as applicable, for such
Creditor Trust, in each case, appointed in accordance with Section 5.7(c) of the Plan and the Creditor Trust
Documents for such Creditor Trust.

               “Creditor Trust TDPs” means, collectively or as applicable, the NOAT TDP, the Tribe
TDP, the Hospital TDP, the TPP TDP, the NAS Monitoring TDP, the PI TDP and the PI Futures TDP.

                “Creditor Trustee(s)” means each trustee of a Creditor Trust or, collectively, the trustees of
the Creditor Trusts, in each case, appointed in accordance with Section 5.7(c) of the Plan.

                “Creditors’ Committee” means the statutory committee of unsecured creditors appointed
by the U.S. Trustee on September 27, 2019 pursuant to section 1102(a)(1) of the Bankruptcy Code.

                 “Cure Amount” means the payment of Cash or the distribution of other property (as the
parties may agree or the Bankruptcy Court may order) as necessary to (i) cure a monetary default by the
Debtors in accordance with the terms of an executory contract or unexpired lease of the Debtors, and
(ii) permit the Debtors to assume such executory contract or unexpired lease under section 365(a) of the
Bankruptcy Code.

              “Cure Claim” means a Claim for a Cure Amount in connection with the assumption or
assumption and assignment of an executory contract or unexpired lease under section 365(a) of the
Bankruptcy Code.

                 “D&O Insurance Policies” means all directors and officers/executive liability insurance
policies (including extension of coverage of any policy beyond the end of the policy period) issued to or
providing insurance coverage at any time to any of the Debtors’ directors, officers, managers or authorized
agents, in their respective capacities as such, for alleged Wrongful Acts (as defined in such policies) or
similar triggering acts, and all agreements, documents or instruments relating thereto. For the avoidance of
doubt, no MDT Bermuda-Form Insurance Policies are D&O Insurance Policies.

                “Debtor(s)” has the meaning set forth in the introductory paragraph of the Plan.

               “Designated Shareholder Released Parties” has the meaning set forth in the Shareholder
Settlement Agreement.

               “Director and Employee Escrow Account” means the segregated account established in
accordance with Section 5.3(e) of the Plan.

                 “Disallowed” means (i) with respect to a Channeled Claim, such Channeled Claim, or any
portion thereof, that has been disallowed in accordance with the Master TDP or the applicable Creditor
Trust TDP and (ii) with respect to any Claim against a Debtor (other than a Channeled Claim), such Claim,
or any portion thereof, that (A) has been disallowed under this Plan, by a Final Order or pursuant to a
settlement, (B) is Scheduled at zero dollars ($0) or as contingent, disputed or unliquidated and as to which a
Bar Date has been established but no Proof of Claim has been timely filed or deemed timely filed with the
Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the Bankruptcy Court,
including the Bar Date Order, or otherwise deemed timely filed under applicable law, or (C) is not
Scheduled and as to which a Bar Date has been established but no Proof of Claim has been timely filed or
deemed timely filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order
of the Bankruptcy Court or otherwise deemed timely filed under applicable law. Correlative terms such as
“Disallow” and “Disallowance” have correlative meanings.




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                 “Disbursing Agent” means any Person in its capacity as disbursing agent under Article VI
of the Plan, including the Plan Administration Trustee acting in such a capacity to make Distributions in
respect of Allowed Claims, other than Channeled Claims, pursuant to the Plan.

                 “Disclosure Statement” means the disclosure statement for this Plan, as may be amended
or supplemented from time to time, prepared and distributed in accordance with sections 1125, 1126(b) and
1145 of the Bankruptcy Code, Bankruptcy Rules 3016 and 3018 and other applicable law, and all exhibits,
appendices, schedules, supplements, modifications, amendments, annexes and attachments to such
disclosure statement.

                 “Disputed” means, with respect to a Claim against a Debtor, a Claim that is not yet
Allowed or Disallowed, and including, for the avoidance of doubt, any Claim the Holder of which votes to
reject the Plan.

               “Disputed Claims Reserves” means, collectively, the reserves to be established on account
of Disputed Avrio General Unsecured Claims, Disputed Adlon General Unsecured Claims and Disputed
Other General Unsecured Claims (which may be a single or collective reserve for one or more Classes of
Claims). The Disputed Claims Reserves shall be (i) funded on the Effective Date with Effective Date Cash
in an amount determined by the Debtors and reasonably acceptable to the Creditors’ Committee and the
Governmental Consent Parties and (ii) held by the Plan Administration Trust and administered by the Plan
Administration Trustee on and after the Effective Date.

                “Disputed Cure Claim” means the amount that a counterparty to a Contract Dispute
alleges must be paid in order for an executory contract or unexpired lease to be assumed or assumed and
assigned as provided under the Plan.

                 “Disputed Cure Claims Reserve” means a reserve established to pay the aggregate amount
of Disputed Cure Claims or such lower amount as ordered by the Bankruptcy Court or agreed to by the
parties to the applicable executory contract or unexpired lease. The Disputed Cure Claims Reserve shall be
(i) funded on the Effective Date with Effective Date Cash in an amount determined by the Debtors and
reasonably acceptable to the Creditors’ Committee and the Governmental Consent Parties and (ii) held by
the Plan Administration Trust in a segregated account and administered by the Plan Administration Trustee
on and after the Effective Date.

                 “Distribution” means any initial or periodic payment or transfer of consideration in respect
of Allowed Claims or Channeled Claims made under this Plan; provided that (i) all Distributions in respect
of Non-Federal Domestic Governmental Channeled Claims, Tribe Channeled Claims, Hospital Channeled
Claims, Third-Party Payor Channeled Claims and NAS Monitoring Channeled Claims shall be exclusively
in the form of Abatement Distributions made by the respective Abatement Trusts in accordance with the
Creditor Trust TDPs for such Abatement Trusts; (ii) all Distributions in respect of PI Channeled Claims
shall be exclusively from the PI Trust in accordance with the PI Trust Documents, (iii) all Distributions in
respect of Future PI Channeled Claims shall be exclusively from the PI Futures Trust in accordance with the
PI Futures Trust Documents and (iv) the only Distribution in respect of Ratepayer Claims shall be the Truth
Initiative Contribution.

                “Distribution Record Date” means the record date for purposes of making Distributions
under the Plan on account of Allowed Claims, which date shall be the Effective Date.

                “DOB” means the volunteer disclosure oversight board created in accordance with
Section 5.12(c) of the Plan.

                “DOJ” means the United States Department of Justice.


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               “DOJ 9019 Motion” means the Motion of Debtors Pursuant to 11 U.S.C. § 105 and Fed.
R. Bankr. P. 9019 Authorizing and Approving Settlements Between the Debtor and the United States
[D.I. 1828].

               “DOJ 9019 Order” means the Order Pursuant to 11 U.S.C. § 105 and Fed. R. Bankr.
P. 9019 Authorizing and Approving Settlements Between the Debtors and the United States [D.I. 2004].

               “DOJ Civil Claim” means the “Civil Claim” as defined in the DOJ 9019 Order in the
amount of $2.8 billion.

                 “DOJ Conviction Judgment Date” means the date on which the United States District
Court for the District of New Jersey enters a judgment of conviction pursuant to the Plea Agreement and the
DOJ 9019 Order.

                “DOJ Criminal Fine Claim” means the “Criminal Fine Claim” as defined in the DOJ 9019
Order in the amount of $3.544 billion.

              “DOJ Forfeiture Judgment Claim” means the “Forfeiture Judgment” as defined in the
DOJ 9019 Order in the amount of $2 billion.

                “DOJ Forfeiture Judgment Credit” means the amount of value distributed or otherwise
conferred by the Debtors in respect of Non-Federal Domestic Governmental Claims and Tribe Claims,
which shall be credited against the DOJ Forfeiture Judgment Claim pursuant to the Plan and the Plea
Agreement, it being understood and agreed that (i) the amount so credited shall not exceed $1.775 billion,
and (ii) the Confirmation Order shall include a finding that the amount of value distributed or otherwise
conferred by the Debtors in respect of Non-Federal Domestic Governmental Claims and Tribe Claims
exceeds $1.775 billion.

               “DOJ Forfeiture Payment” means a payment of $225 million in Cash by PPLP to the
United States Marshals in accordance with the Plan, the Plea Agreement and the DOJ 9019 Order.

                 “DOJ Resolution” means the Plea Agreement and the Civil Settlement Agreement,
including the settlements contemplated therein and the other terms and conditions thereof.

                 “DOJ Unsecured Claims” means the DOJ Civil Claim and the DOJ Criminal Fine Claim.

                 “Domestic Governmental Entity” means the United States or any State, county,
municipality, Tribe, public school district or other Governmental Unit within the United States, or an
officer of any of the foregoing in his or her official capacity, but, for the avoidance of doubt, not including
any Non-Federal Acute Care Hospitals.

                 “Effective Date” means the date selected by the Debtors for the consummation of the Plan,
or as soon thereafter as reasonably practicable.

                  “Effective Date Cash” means, collectively all Cash and cash equivalents of the Debtors
(including all amounts received under the Shareholder Settlement Agreement) on the Effective Date prior
to the making of any payments by the Debtors in accordance with the Restructuring Transactions, excluding
any Cash and cash equivalents (i) in the form of security deposits, (ii) that collateralize any obligations of
the Debtors or (iii) that are otherwise subject to any legal, contractual or other restriction on the ability to
freely transfer such Cash or cash equivalents.

                 “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.



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               “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.
29 U.S.C. §§ 1301-1461.

                 “Escrow Period” means (i) a period commencing on an SSA Payment Date on which the
Minimum Required Settlement Payment under the Shareholder Settlement Agreement is held in escrow
pursuant to Section 2.08 of the Shareholder Settlement Agreement and not released to the Master
Disbursement Trust, and continuing until all such escrowed Minimum Required Settlement Payments have
been released from escrow and paid to the Master Disbursement Trust (and, if such release of funds or other
payment to the Master Disbursement Trust that would terminate the Escrow Period is solely in accordance
with Section 2.08(f) of the Shareholder Settlement Agreement, no party to the Shareholder Settlement
Agreement objects to the termination of the Escrow Period), in accordance with the terms of the
Shareholder Settlement Agreement and (ii) if the Supreme Court grants a writ of certiorari that could result
in the vacatur, modification, or reversal of the Shareholder Releases, a period commencing the date on
which such writ is granted, and continuing until the Supreme Court renders a decision or dismisses the
appeal or writ of certiorari.

                “Estate(s)” means, individually or collectively, the estate or estates of the Debtors created
under section 541 of the Bankruptcy Code.

                  “Estate Causes of Action” means any and all Causes of Action that any Debtor may have
or be entitled to assert on behalf of its Estate or itself, whether or not asserted.

                 “Estate Surviving Pre-Effective Date Claim” means any Estate Cause of Action against a
Co-Defendant that (i) arose in the ordinary course of business, (ii) is not related to a Co-Defendant Action,
and (iii) concerns conduct occurring before the Effective Date.

                “Excluded Assets” means (i) all Effective Date Cash other than the Initial NewCo Cash
and (ii) any other Assets of the Debtors excluded from the transfer to NewCo pursuant to the NewCo
Transfer Agreement, including without limitation all MDT Transferred Assets and all PAT Assets.

                  “Excluded Claim” means (i) any criminal action or criminal proceeding arising under a
criminal provision of any statute instituted (A) by a Domestic Governmental Entity that has authority to
bring such a criminal action or criminal proceeding, and (B) to adjudicate a person’s guilt or to set a
convicted person’s punishment; (ii) any Cause of Action against a non-Debtor Person by any federal, state
or local authority with respect to taxes imposed on such non-Debtor Person; (iii) any Estate Cause of Action
or any Cause of Action held by a Releasing Party against an Excluded Party; (iv) any Estate Cause of
Action identified on the Schedule of Retained Causes of Action; (v) any Cause of Action (including,
without limitation, any such Cause of Action held by holders of Settled Canadian Patient Claims or by other
Canadians) against any non-Debtor Person (including, without limitation, Purdue Pharma, a Canadian
limited partnership, Purdue Pharma Inc., a Canadian corporation and/or Purdue Frederick Inc., a Canadian
corporation (collectively, “Purdue Canada”) or any other Shareholder Released Party) that (x) arises out of
or relates to the conduct of any corporations, companies, partnerships and other entities formed under the
laws of Canada or its provinces affiliated or associated with any of the Debtors, including, without
limitation, Purdue Canada and (y) is not based upon any conduct of the Debtors, including any
Opioid-Related Activities of the Debtors; or (vi) any Cause of Action against any Person to the extent based
on the actual conduct of such Person after the Effective Date. For greater certainty, with respect to the
foregoing clause (v), to the extent a Cause of Action is asserted in Canada against a Shareholder Released
Party and/or former director or officer of a Debtor, the knowledge of that Person regarding the
Opioid-Related Activities of the Debtors may be asserted against that Person and form part of the Cause of
Action in Canada, and any such assertion shall be without prejudice to all defenses of the applicable
Shareholder Released Party or former officer or director to such assertion.



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                   “Excluded Insurance Policies” means (i) the Isosceles Insurance Ltd. policy number
PPLP-01/2019, (ii) the Purdue Insurance Policies agreed by the Debtors, the Creditors’ Committee and the
Governmental Consent Parties, which shall be identified in the MDT Agreement, and (iii) any rights or
obligations under any Purdue Insurance Policy to the extent, but only to the extent, that such rights or
obligations pertain solely to coverage for workers’ compensation liability. For the avoidance of doubt,
clause (i) of this definition does not negate or limit the scope of the definition of MDT Insurance Collateral.
For the avoidance of further doubt, if a Purdue Insurance Policy both (x) does or may afford the Debtors
rights, benefits, indemnity, insurance coverage or defense costs with respect to any Cause of Action against
the Debtors arising out of, on account of, or in connection with Opioid-Related Activities or for which the
Debtors have insurance rights arising out of or in connection with Opioid-Related Activities and (y) is
subject to clause (ii) or (iii) of this definition, such Purdue Insurance Policy is only an Excluded Insurance
Policy to the extent it is subject to clause (ii) or (iii) of this definition, and all provisions herein concerning
the MDT Insurance Policies apply to that Purdue Insurance Policy.

                “Excluded Party” means (i) each Person identified on the Schedule of Excluded Parties
and (ii) each Co-Defendant; provided that (x) subject to the terms of the Settling Executive Stipulation, the
Settling Executives shall not be Excluded Parties and (y) no Settling Co-Defendant and none of their
respective Related Parties (except to the extent any such Related Party is identified by name on the
Schedule of Excluded Parties filed on August 23, 2021) shall be an Excluded Party.

                “Excluded Privileged Materials” means the Privileged documents, books and records
prepared in connection with or related to any Purdue Legal Matter.

                  “Exculpated Parties” means, collectively, (i) the Debtors, (ii) the Creditors’ Committee
and its members, solely in their capacities as such, (iii) the Plan Administration Trustee, (iv) the MDT
Trustees and the MDT Executive Director, (v) the Creditor Trustees, (vi) the Supporting Claimants, each
solely in their capacities as such, (vii) the DOB members, (viii) the Continuing Foundation Members and
(ix) with respect to each of the Persons in the foregoing clauses (i) through (viii), each of their Related
Parties; provided, however, that no Excluded Party or Shareholder Released Party (other than current and
former directors, officers and employees of the Debtors that are not Excluded Parties or Sackler Family
Members) shall be an Exculpated Party in any capacity or respect.

                 “FDA” means the United States Food and Drug Administration.

               “Federal Government Unsecured Claims” means the DOJ Unsecured Claims and the
Other Federal Agency Claims.

                  “Final Order” means an order or judgment of the Bankruptcy Court, as entered on the
docket in any Chapter 11 Case, or of any other court of competent jurisdiction (i) that has not been reversed,
stayed, modified or amended, and (ii) (A) as to which the time to appeal, seek certiorari or move for a new
trial, re-argument or rehearing has expired according to applicable law and no appeal or petition for
certiorari or other proceedings for a new trial, re-argument or rehearing has been timely taken or (B) as to
which any appeal that has been taken or any petition for certiorari that has been or may be timely filed has
been withdrawn or resolved by the highest court to which the order or judgment was appealed or from
which certiorari was sought or the new trial, re-argument or rehearing shall have been denied, resulted in no
modification of such order or has otherwise been dismissed with prejudice.

                 “Foundations” means, collectively, the RBS Foundation and the RBS Fund.

                  “Future PI Channeled Claim” means any alleged opioid-related personal injury or similar
opioid-related Cause of Action against any Released Party or Shareholder Released Party based on or
relating to, or in any manner arising from, in whole or in part, the Debtors, as such Entities existed prior to


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or after the Petition Date (including the subject matter described in subclause (i) of Sections 10.6(b) and
10.7(b) of the Plan), the Estates or the Chapter 11 Cases, and that is not (i) a PI Channeled Claim, a
Third-Party Payor Channeled Claim, an NAS Monitoring Channeled Claim, a Hospital Channeled Claim or
an Administrative Claim, (ii) held by a Domestic Governmental Entity or (iii) a Released Claim against any
Debtor or its Estate, NewCo or any successor owner of NewCo’s opioid business, in each case, that arises
from or relates to the use of an opioid that is manufactured by or placed in the stream of commerce by
NewCo or any successor owner of NewCo’s opioid business. Future PI Channeled Claims shall be
channeled solely to the PI Futures Trust in accordance with the Master TDP.

                 “General Bar Date” means July 30, 2020.

                  “Governmental Consent Parties” means (i) the Ad Hoc Committee and (ii) the MSGE
Group; provided that, with respect to any consent required exclusively under Section 5.7(l) of the Plan as it
relates solely to the membership of the RBS Foundation, such term shall also include the Attorney General
of the State of New York in the exercise of its authorities relating to the operation of corporations subject to
the provisions of the New York Not-For-Profit Corporation Law.

                 “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy
Code.

                  “Holder” means a Person holding a Claim, a Channeled Claim, a Cause of Action or an
Interest, as applicable.

                “Hospital Attorney Fee Fund” means the fund to be established as set forth in
Section 5.8(d) of the Plan.

                  “Hospital Channeled Claim” means (i) any Hospital Claim or (ii) any Released Claim or
Shareholder Released Claim that is held by a provider of healthcare treatment services or any social
services, in its capacity as such, that is not a Domestic Governmental Entity. Hospital Channeled Claims
shall be channeled to the Hospital Trust in accordance with the Master TDP.

                “Hospital Claim” means any Claim against any Debtor that is held by a provider of
healthcare treatment services or any social services, in its capacity as such, that is not a Domestic
Governmental Entity, including, based on the Debtors’ initial review, the Claims set forth in the 1,030
Proofs of Claims filed by hospitals and the 150 Proofs of Claims filed by other treatment providers.

                 “Hospital TDP” means the trust distribution procedures to be implemented by the Hospital
Trust setting forth the procedures for the distribution of Abatement Distributions by the Hospital Trust to
Authorized Recipients and the Authorized Abatement Purposes for Abatement Distributions from the
Hospital Trust, the terms of which shall be consistent with Articles I through XII of the Plan and otherwise
acceptable to the Debtors and the Ad Hoc Group of Hospitals and reasonably acceptable to the Creditors’
Committee and the Governmental Consent Parties, and which shall be filed by the Debtors with the Plan
Supplement (it being understood and agreed that the form of Hospital TDP filed on July 7, 2021 is
acceptable to such parties).

                  “Hospital Trust” means a trust to be established in accordance with Section 5.7 of the Plan
to (i) assume all liability for the Hospital Channeled Claims, (ii) hold the MDT Hospital Claim and collect
the Initial Hospital Trust Distribution and additional payments due under the MDT Hospital Claim in
accordance with the Private Entity Settlements and the Hospital Trust Documents, (iii) administer Hospital
Channeled Claims and (iv) make Abatement Distributions to Authorized Recipients for Authorized
Abatement Purposes, in each case in accordance with the Hospital TDP.



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                “Hospital Trust Agreement” means the trust agreement establishing and delineating the
terms and conditions for the creation and operation of the Hospital Trust, the terms of which shall be
consistent with Articles I through XII of the Plan and otherwise acceptable to the Debtors and the Ad Hoc
Group of Hospitals and reasonably acceptable to the Creditors’ Committee and the Governmental Consent
Parties, and which shall be filed by the Debtors with the Plan Supplement.

                “Hospital Trust Documents” means the Hospital Trust Agreement and the Hospital TDP.

               “Impaired” means, with respect to any Claim, Interest or Class of Claims or Interests,
“impaired” within the meaning of such term in section 1124 of the Bankruptcy Code.

               “Initial Federal Government Distribution” means the payment of $25 million of Effective
Date Cash to the United States on the Effective Date on account of the Federal Government Unsecured
Claims.

               “Initial Hospital Trust Distribution” means the payment of $25 million of Effective Date
Cash to the Hospital Trust on the Effective Date.

                “Initial NAS Monitoring Trust Distribution” means the payment of $1 million of
Effective Date Cash to the NAS Monitoring Trust on the Effective Date.

              “Initial NewCo Cash” means $200 million of Effective Date Cash to be transferred to
NewCo on the Effective Date.

                 “Initial NOAT Distribution” means (i) the payment of the Public Schools’ Special
Education Initiative Contribution, and (ii) the payment to NOAT on the Effective Date of all Effective Date
Cash remaining after the satisfaction of all amounts described in Section 5.13(a) of the Plan and the Public
Schools’ Special Education Initiative Contribution.

                “Initial PI Trust Distribution” means the payment of Effective Date Cash to the PI Trust
on the Effective Date, subject to Section 5.2(h) of the Plan, in an amount equal to (i) $300 million plus
(ii) all MDT Bermuda-Form Insurance Proceeds, if any, received by the Debtors on or prior to the Effective
Date; provided that the aggregate amount of such payment in respect of this clause (ii) shall not exceed
$450 million.

                  “Initial Private Creditor Trust Distributions” means, collectively, the Initial Hospital
Trust Distribution, the Initial TPP Trust Distribution, the Initial NAS Monitoring Trust Distribution, the
Initial PI Trust Distribution and the PI Futures Trust Distribution.

                “Initial Public Creditor Trust Distributions” means, collectively, the Initial NOAT
Distribution and the Initial Tribe Trust Distribution.

                “Initial TPP Trust Distribution” means the payment of $5 million of Effective Date Cash
to the TPP Trust on the Effective Date.

                “Initial Tribe Trust Distribution” means the payment of $50 million of Effective Date
Cash to the Tribe Trust on the Effective Date.

                 “Insurance Companies” means, collectively, all Persons that issued any Purdue Insurance
Policy, any third-party administrator, claims handling agent or any parent, Subsidiary, affiliate, successor,
predecessor or assign of any of the foregoing, solely in such Insurance Company’s capacity with respect to
a Purdue Insurance Policy.



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                  “Intercompany Claim” means any Claim against any Debtor that is held by another Debtor
or an affiliate of a Debtor.

                “Intercompany Interest” means any Interest in any Debtor that is held by another Debtor.

                 “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy
Code) in a Person, including any shares, common stock or units, preferred stock or units, or other
instrument evidencing any fixed or contingent equity or ownership interest in a Person, including any
option, warrant or other right, contractual or otherwise, to acquire any such interest in such Person, whether
or not transferable and whether fully vested or vesting in the future.

              “Interim Compensation Order” means the Order Establishing Procedures for Interim
Compensation and Reimbursement of Expenses for Retained Professionals [D.I. 529].

                “IRC” means the Internal Revenue Code of 1986, as amended.

                “IRS” means the Internal Revenue Service.

                “Key Employee Plans” means, collectively, the Key Employee Retention Plans and Key
Employee Incentive Plans approved by the Bankruptcy Court pursuant to the Order Authorizing the
Debtors to Implement a Key Employee Retention Plan [D.I. 1762], the Order Authorizing the Debtors to
Implement a Key Employee Incentive Plan [D.I. 1861], the Supplemental Order Authorizing the Debtors to
Implement a Key Employee Incentive Plan [D.I. 2002], the Order Authorizing the Debtors to Implement
2021 Key Employee Retention Plan [D.I. 3571] and any other orders that may be entered by the Bankruptcy
Court with respect to the Motion of Debtors for Entry of an Order Authorizing Implementation of 2021 Key
Employee Incentive Plan and 2021 Key Employee Retention Plan [D.I. 3077], in each case, as may be
supplemented from time to time by further order of the Bankruptcy Court.

                “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

                 “Liquidating Debtors” means, collectively, all Debtors that are not Transferred Debtors,
on and after the Effective Date.

                 “Local Government and Tribe Costs and Expenses Fund” means the fund to be
established as set forth in Section 5.8(a) of the Plan

                 “LRP Agreement” means the agreement establishing lien resolution procedures with
respect to certain claims held by LRP Participating TPPs against Holders of PI Claims and Distributions
payable to Holders of PI Claims, the terms of which shall be consistent with Articles I through XII of the
Plan and otherwise acceptable to the Debtors, the Ad Hoc Group of Individual Victims and the Third-Party
Payor Group and reasonably acceptable to the Creditors’ Committee and the Governmental Consent
Parties, and which shall be filed by the Debtors with the Plan Supplement (it being understood and agreed
that the form of LRP Agreement filed on May 26, 2021 is acceptable to such parties).

                “LRP Participating TPP” means any Holder of a Third-Party Payor Claim that becomes a
party to the LRP Agreement in accordance with the terms thereof.

                  “Master Disbursement Trust” means the trust established in accordance with Section 5.6
of the Plan to, among other things, (i) hold and administer the MDT Transferred Assets, (ii) make payments
in satisfaction of the MDT Claims in accordance with the Plan and the Private Entity Settlements and
(iii) make Public Creditor Trust Distributions in respect of the MDT Interests from MDT Excess Cash in
accordance with the Plan and the Public Entity Settlements.



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                 “Master TDP” means the master trust distribution procedures to be implemented by the
Master Disbursement Trust setting forth the procedures for the administration of Channeled Claims by the
Master Disbursement Trust, which shall be filed by the Debtors with the Plan Supplement, and the terms of
which shall be consistent with Articles I through XII of the Plan and otherwise reasonably acceptable to
(i) the Debtors, (ii) the Creditors’ Committee, (iii) the Governmental Consent Parties and (iv) solely with
respect to any provisions regarding the channeling of Channeled Claims to (A) the Tribe Trust, the Native
American Tribe Group, (B) the Hospital Trust, the Ad Hoc Group of Hospitals, (C) TPP Trust, the
Third-Party Payor Group, (D) the NAS Monitoring Trust, the NAS Committee and (E) the PI Trust, the Ad
Hoc Group of Individual Victims and the NAS Committee.

                “MDL Court” means the United States District Court for the Northern District of Ohio,
Eastern Division, presiding over the MDL Proceeding.

             “MDL Plaintiffs’ Executive Committee” means the sixteen-member committee appointed
by the MDL Court in the MDL Proceeding.

              “MDL Proceeding” means In re National Prescription Opiate Litigation, Case
No. 17-md-02804, MDL No. 2804.

                 “MDT Agreement” means the trust agreement establishing and delineating the terms and
conditions for the creation and operation of the Master Disbursement Trust, the terms of which shall be
consistent with Articles I through XII of the Plan and otherwise reasonably acceptable to the Debtors, the
Creditors’ Committee and the Governmental Consent Parties, and which shall be filed by the Debtors with
the Plan Supplement.

                 “MDT Beneficiaries” means each of NOAT, the Tribe Trust, the Hospital Trust, the NAS
Monitoring Trust, the PI Trust, the TPP Trust, the United States and, solely for purposes of the PI Futures
Trust Distribution, the PI Futures Trust.

              “MDT Bermuda-Form Insurance Policies” means the Bermuda-form products liability
MDT Insurance Policies, as agreed by the Debtors, the Governmental Consent Parties and the Creditors’
Committee, which shall be identified in the MDT Agreement.

             “MDT Bermuda-Form Insurance Proceeds” means the MDT Insurance Proceeds from
the MDT Bermuda-Form Insurance Policies.

                  “MDT Causes of Action” means any and all Retained Causes of Action (i) against
Excluded Parties (other than Co-Defendants) or relating to and necessary to enforce Retained Causes of
Action against Excluded Parties (other than Co-Defendants), (ii) relating to and necessary to enforce the
MDT Insurance Rights, (iii) relating to and necessary to enforce the MDT Shareholder Rights, including
without limitation, but subject to the terms of, the Shareholder Settlement Agreement or (iv) against any
other Person that is not a Co-Defendant or an ongoing commercial counterparty of NewCo or any of its
Subsidiaries, to the extent such Retained Causes of Action are not otherwise transferred to the Plan
Administration Trust or the Creditor Trusts. For the avoidance of doubt, “MDT Causes of Action” shall
include all entitlements, proceeds, payments and benefits of the Debtors to any of the foregoing.

              “MDT Claims” means, collectively, the MDT Private Claims and the MDT Federal
Government Claim.

               “MDT Claims Reserve” means a reserve to be established and held by the MDT Trustees
in accordance with Section 5.2(d)(ii) of the Plan and funded in an amount equal to the MDT Claims




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Reserve Funding Amount, solely upon the commencement and during the continuation of an MDT Reserve
Period.

                 “MDT Claims Reserve Funding Amount” means, as of the relevant date of determination,
an amount equal to (i) all outstanding amounts then due on account of the MDT Claims plus (ii) all
installments of the MDT Claims due on the Scheduled MDT Distribution Date immediately following such
date of determination; provided that, solely for purposes of any date of determination that is a NewCo
Distribution Date on January 30 of any year, if the applicable MDT Reserve Period is continuing solely as a
result of a payment default by certain Shareholder Payment Groups, this clause (ii) shall be an amount equal
to the installments of the MDT Claims due on the Scheduled MDT Distribution Date immediately
following such NewCo Distribution Date multiplied by the SSA Percentage of such defaulting Shareholder
Payment Groups for the next SSA Payment Date following such NewCo Distribution Date.

                  “MDT Distributable Sale Proceeds” means (i) with respect to a sale or other disposition of
Assets (other than sales of inventory in the ordinary course of business) of or Interests in Avrio Health L.P.,
20% of the Net Sale Proceeds of such transaction and (ii) with respect to any sale or other disposition of all
or substantially all other Assets of or Interests in NewCo, whether in a single transaction or a series of
transactions (including, without limitation, any such transaction or series of transactions after which the
aggregate fair value of NewCo is less than $25 million, which shall be deemed a sale of all or substantially
all other Assets of or Interests in NewCo), (A) prior to the first anniversary of the Effective Date, 20% of the
Net Sale Proceeds of such transaction, (B) on or after the first anniversary but prior to the second
anniversary of the Effective Date, 15% of the Net Sale Proceeds of such transaction and (C) on or after the
second anniversary but before the third anniversary of the Effective Date, 10% of the Net Sale Proceeds of
such transaction.

                  “MDT Distribution Date” means (i) each Scheduled MDT Distribution Date, (ii) the date
that is ten (10) Business Days after the receipt by the Master Disbursement Trust of any Shareholder
Prepayment and (iii) subject to Section 5.2(e)(iv) of the Plan, each other date on which the MDT
Fiduciaries seek to make a repayment to NewCo or TopCo or a Public Creditor Trust Distribution, acting in
accordance with their fiduciary duties to the Creditor Trusts as beneficiaries of the Master Disbursement
Trust, solely in accordance with Section 5.6(f) of the Plan.

                 “MDT Documents” means the MDT Agreement and the Master TDP.

                 “MDT Excess Cash” means all Cash and cash equivalents held by the Master
Disbursement Trust (other than any amounts subject to distribution in accordance with
Section 5.2(d)(iv)(A) and (B) of the Plan), as of the relevant date of determination, in excess of the amounts
referenced in Section 5.2(f)(i)(A), (B), (C) and (D) of the Plan.

                “MDT Executive Director” means the executive director of the Master Disbursement
Trust appointed in accordance with Section 5.6(e) of the Plan.

              “MDT Federal Government Claim” means the beneficial interest in the Master
Disbursement Trust granted to the United States pursuant to Section 4.3(b) of the Plan.

               “MDT Fiduciaries” means, collectively, the MDT Trustees and, to the extent he or she is
determined by a court of competent jurisdiction to be subject to fiduciary duties, the MDT Executive
Director.

                 “MDT Hospital Claim” means the beneficial interest in the Master Disbursement Trust
granted to the Hospital Trust pursuant to the Private Entity Settlements, which interest shall entitle the
Hospital Trust to the payment of the amounts set forth in Section 5.2(d)(i)(A) of the Plan.


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                 “MDT Insurance Collateral” means (i) the Purdue Insurance Collateral in respect of the
Purdue Insurance Policies agreed by the Debtors, the Creditors’ Committee and the Governmental Consent
Parties, which shall be identified in the MDT Agreement, and (ii) the Purdue Insurance Collateral in respect
of the Isosceles Insurance Ltd. policy number PPLP-01/2019.

                 “MDT Insurance Policies” means all Purdue Insurance Policies that do or may afford the
Debtors rights, benefits, indemnity, insurance coverage or defense costs with respect to any Cause of
Action against the Debtors arising out of, on account of, or in connection with Opioid-Related Activities or
for which the Debtors have or may have insurance rights arising out of or in connection with
Opioid-Related Activities, including, but not limited to (i) all Purdue Insurance Policies listed in Exhibit A
to the Complaint for Declaratory Relief, Adv. Pro. No. 21-07005 (RDD) [D.I. 1], (ii) all D&O Insurance
Policies and (iii) any additional Purdue Insurance Policies agreed by the Debtors and the Governmental
Consent Parties, which shall be identified in the MDT Agreement, but excluding in each case the Excluded
Insurance Policies.

               “MDT Insurance Proceeds” means the Cash proceeds obtained through the pursuit of the
MDT Insurance Rights, including but not limited to the Cash proceeds in respect of any MDT Insurance
Settlement, whether received before, on or after the Effective Date.

                  “MDT Insurance Rights” means the Purdue Insurance Rights in respect of the MDT
Insurance Policies and the MDT Insurance Collateral, which Purdue Insurance Rights shall be transferred
by the Debtors to the Master Disbursement Trust on the Effective Date. Notwithstanding anything to the
contrary herein, (i) the MDT Insurance Rights with respect to the MDT Insurance Collateral for Isosceles
Insurance Ltd. policy number PPLP-01/2019 shall be limited to the right to receive any such MDT
Insurance Collateral remaining after the expiration of the policy period and any extension of coverage under
such policy, (ii) the MDT Insurance Rights shall not include any right to interfere in any manner with the
rights of the insureds under Isosceles Insurance Ltd. policy number PPLP-01/2019 prior to the expiration of
the policy period and any extension of coverage under such policy and the resolution of all claims asserted
thereunder and (iii) any persons who have unresolved claims under the Isosceles Insurance Ltd. policy
number PPLP-01/2019 at the expiration of the policy period, including any extension, shall cooperate with
and provide consent to the Master Disbursement Trust to resolve those claims in connection with the MDT
Insurance Collateral after the expiration of the policy period, including any extension.

                “MDT Insurance Settlement” means each settlement agreement concerning the MDT
Insurance Rights that (i) the Debtors and an MDT Insurer have entered into pursuant to the Purdue
Insurance Stipulation on or before the Effective Date or (ii) the Master Disbursement Trust and an MDT
Insurer have entered into after the Effective Date; provided that, in the case of both clauses (i) and (ii), the
settlement agreement is approved by the Bankruptcy Court.

                  “MDT Insurer” means an Insurance Company that has issued, is responsible for, or has
liability to pay under any MDT Insurance Policy or MDT Insurance Collateral, and each of its affiliates,
predecessors in interest, and agents, solely in its capacity as such and solely with respect to such MDT
Insurance Policy or MDT Insurance Collateral.

                 “MDT Insurer Injunction” means the injunction issued pursuant to Section 10.10 of the
Plan.

                 “MDT Interests” means, collectively, the MDT NOAT Interest and the MDT Tribe
Interest.




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                 “MDT NAS Monitoring Claim” means the beneficial interest in the Master Disbursement
Trust granted to the NAS Monitoring Trust pursuant to the Private Entity Settlements, which interest shall
entitle the NAS Monitoring Trust to the payment of the amounts set forth in Section 5.2(d)(i)(C) of the Plan.

               “MDT NOAT Interest” means the beneficial interest in the Master Disbursement Trust
granted to NOAT under the Plan pursuant to the Public Entity Settlements, which interest shall entitle
NOAT to its share of distributions of MDT Excess Cash in accordance with Section 5.2(e)(i) of the Plan
and the MDT Priority Waterfall.

                “MDT Operating Expenses” means any and all costs, expenses, fees, taxes,
disbursements, debts or obligations incurred from the operation and administration of the Master
Disbursement Trust, including in connection with the prosecution or settlement of MDT Causes of Action,
working capital, all compensation, costs and fees of the MDT Trustees, the MDT Executive Director and
any professionals retained by the Master Disbursement Trust, but excluding any amounts to be paid in
respect of the MDT Claims or the MDT Interests.

                “MDT Operating Reserve” means a reserve to be established to pay any and all MDT
Operating Expenses. The MDT Operating Reserve shall be (i) funded on the Effective Date with Effective
Date Cash in an amount determined by the Debtors with the consent (not to be unreasonably withheld,
delayed or conditioned) of the Creditors’ Committee and the Governmental Consent Parties, and thereafter
with Cash held or received by the Master Disbursement Trust (other than the MDT Bermuda-Form
Insurance Proceeds payable to the PI Trust pursuant to Section 5.2(d)(i)(D) of the Plan) in accordance with
the MDT Agreement as determined by the MDT Trustees and (ii) held by the Master Disbursement Trust in
a segregated account and administered by the MDT Trustees on and after the Effective Date.

                “MDT PI Claim” means the beneficial interest in the Master Disbursement Trust granted
to the PI Trust pursuant to the Private Entity Settlements, which interest shall entitle the PI Trust to the
payment of the amounts set forth in Section 5.2(d)(i)(D) of the Plan.

              “MDT Priority Waterfall” means the priority waterfall applicable to the Master
Disbursement Trust set forth in Section 5.2(f)(i) of the Plan.

              “MDT Private Claims” means, collectively, the MDT Hospital Claim, the MDT TPP
Claim, the MDT NAS Monitoring Claim and the MDT PI Claim.

                  “MDT Reserve Period” means, until the payment in full in Cash of the MDT Claims, any
period (i) commencing upon any of (A) the failure of any amounts to be paid to the Master Disbursement
Trust when due under the Shareholder Settlement Agreement, (B) the determination by the MDT Trustees,
after the receipt of a written acknowledgment by any obligor under the Shareholder Settlement Agreement
that any amounts due on the next SSA Payment Date are not expected to be paid, that the Master
Disbursement Trust is not likely to be able to fund the payments due on account of the MDT Claims on the
next Scheduled MDT Distribution Date after taking into account all sources of liquidity and expected
recoveries by the Master Disbursement Trust or (C) the determination by the MDT Trustees, on or after the
date that is one hundred twenty (120) days prior to July 31, 2024, that the Master Disbursement Trust is not
likely to be able to fund the payments due on account of the MDT Claims on July 31, 2024 from the
payments due under the Shareholder Settlement Agreement and other sources of liquidity and expected
recoveries by the Master Disbursement Trust and (ii) continuing until (A) all currently and past due
payments under the Shareholder Settlement Agreement have been paid in full and, with respect to any such
period commencing or continuing upon a determination by the MDT Trustees under the foregoing
clause (i)(B) or (i)(C), the MDT Trustees determine that the circumstances described in such clause are no
longer reasonably likely to occur or (B) the MDT Trustees determine that the Master Disbursement Trust is



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not reasonably likely to be unable to make the required payments on account of the MDT Claims on the
next Scheduled MDT Distribution Date.

                 “MDT Shareholder Insurance Rights” means any and all rights, titles, privileges,
interests, claims, demands or entitlements of the Shareholder Released Parties to any proceeds, payments,
benefits, Causes of Action, choses in action, defense or indemnity arising under, or attributable to, any and
all MDT Insurance Policies and MDT Insurance Collateral, now existing or hereafter arising, accrued or
unaccrued, liquidated or unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent.
For the avoidance of doubt and without in any way limiting the foregoing, “MDT Shareholder Insurance
Rights” include (i) any rights of the Shareholder Released Parties to proceeds of MDT Insurance Policies,
and MDT Insurance Collateral and (ii) the right to enforce any Insurance Company’s obligation to the
Shareholder Released Parties under any MDT Insurance Policies and MDT Insurance Collateral. Solely in
connection with the term MDT Shareholder Insurance Rights, the MDT Insurance Collateral excludes the
Purdue Insurance Collateral in respect of the Isosceles Insurance Ltd. policy number PPLP-01/2019 (for all
other purposes the MDT Insurance Collateral includes such Purdue Insurance Collateral).

                 “MDT Shareholder Rights” means, subject in all respects to the Shareholder Settlement
(including the Shareholder Releases and the Channeling Injunction) (i) any and all rights, titles, privileges,
interests, claims, demands and entitlements of the Debtors arising under, or attributable to, any Causes of
Action or choses in action against, or proceeds, payments, benefits or indemnities from, Shareholder
Release Snapback Parties, including without limitation to the extent arising under, or attributable to, the
Shareholder Settlement Agreement and any related security agreements, documents, agreements or
instruments, in each case whether now existing or hereafter arising, accrued or unaccrued, liquidated or
unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent and (ii) the MDT
Shareholder Insurance Rights.

                “MDT TPP Claim” means the beneficial interest in the Master Disbursement Trust granted
to the TPP Trust pursuant to the Private Entity Settlements, which interest shall entitle the TPP Trust to the
payment of the amounts set forth in Section 5.2(d)(i)(B) of the Plan.

                  “MDT Transferred Assets” means all right, title and interest of the Debtors (or, solely with
respect to the MDT Shareholder Insurance Rights, of the Shareholder Released Parties) arising under, or
attributable to, (i) the MDT Operating Reserve, (ii) the MDT Causes of Action, (iii) the MDT Insurance
Rights, (iv) the MDT Shareholder Rights, (v) any other Excluded Assets identified in the MDT Agreement
and (vi) any Surplus Reserve Cash to be distributed to the Master Disbursement Trust, upon the
identification thereof by the Plan Administration Trustee or the dissolution of the Plan Administration
Trust, in accordance with Section 5.13(c) of the Plan. For the avoidance of doubt, “MDT Transferred
Assets” shall not include any Causes of Action against any Released Party.

                  “MDT Tribe Interest” means the beneficial interest in the Master Disbursement Trust
granted to the Tribe Trust under the Plan pursuant to the Public Entity Settlements, which interest shall
entitle the Tribe Trust to its share of distributions of MDT Excess Cash in accordance with Section 5.2(e)(i)
of the Plan and the MDT Priority Waterfall.

               “MDT Trustees” means the trustees of the Master Disbursement Trust appointed in
accordance with Section 5.6(d) of the Plan.

               “Mediation” means the mediation authorized by the Bankruptcy Court and described in the
Order Appointing Mediators [D.I. 895].




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              “Minimum Required Settlement Payment” means, with respect to an SSA Payment Date,
the minimum amount payable by the Shareholder Payment Parties under the Shareholder Settlement
Agreement on such SSA Payment Date.

                “MSGE Fee Allocation Agreement” means the agreement entered into on October 9,
2020, by and between the MSGE Group and the MDL Plaintiffs’ Executive Committee, which is attached
hereto as Exhibit A.

                 “MSGE Group” means the Multi-State Governmental Entities Group identified in the
Second Amended Verified Statement of the Multi-State Governmental Entities Group Pursuant to Rule
2019 of the Federal Rules of Bankruptcy Procedure [D.I. 1794], as amended from time to time; provided,
however, that, notwithstanding anything herein to the contrary, the MSGE Group shall be a “Governmental
Consent Party” and shall have the same consent rights, appointment or selection rights, and any other rights
or obligations afforded to other Governmental Consent Parties, such rights not to be reduced or modified
without the written consent of the MSGE Group. The foregoing shall not give the MSGE Group any
independent or individual rights to make any unilateral decisions, including to appoint or select any
trustees, managers, directors, or officers under the Plan. Notwithstanding anything herein to the contrary,
the sole remedy of the MSGE Group in respect of its rights hereunder shall be the termination of the Term
Sheet (as defined in the MSGE Group Reimbursement Motion) by written notice and withdrawal of the
MSGE Group’s support of the Plan.

                “MSGE Group Reimbursement Motion” means the Debtors’ Motion to Enter into Term
Sheet with and Pay Certain Fees and Expenses of the Multi-State Governmental Entities Group [D.I. 2580].

                “MSGE Group Reimbursement Order” means the Order Authorizing the Debtors to Enter
into Term Sheet with and Pay Certain Fees and Expenses of the Multi-State Governmental Entities Group
[D.I. 2695].

                 “NAS Child” means a natural person who has been diagnosed by a licensed medical
provider with a medical, physical, cognitive or emotional condition resulting from such natural person’s
intrauterine exposure to opioids or opioid replacement or treatment medication, including but not limited to
the condition known as neonatal abstinence syndrome.

               “NAS Committee” means the Ad Hoc Committee of NAS Children identified in the First
Amended Verified Statement of the Ad Hoc Committee of NAS Children Pursuant to Bankruptcy Rule 2019
[D.I. 1582].

                 “NAS Monitoring Attorney Fee Fund” means the fund to be established as set forth in
Section 5.8(e) of the Plan.

                 “NAS Monitoring Channeled Claim” means (i) any NAS Monitoring Claim or (ii) any
Released Claim or Shareholder Released Claim that is held on account of an NAS Child and that relates to
medical monitoring support, educational support, vocational support, familial support or similar related
relief, and is not for an alleged personal injury suffered by an NAS Child. NAS Monitoring Channeled
Claims shall be channeled to the NAS Monitoring Trust in accordance with the Master TDP.

                “NAS Monitoring Claim” means any Claim against any Debtor that is held on account of
an NAS Child and relates to medical monitoring support, educational support, vocational support, familial
support or similar related relief, and is not for an alleged personal injury suffered by an NAS Child.

             “NAS Monitoring TDP” means the trust distribution procedures to be implemented by the
NAS Monitoring Trust setting forth the procedures for the distribution of Abatement Distributions by the


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NAS Monitoring Trust to Authorized Recipients and the Authorized Abatement Purposes for Abatement
Distributions from the NAS Monitoring Trust, the terms of which shall be consistent with Articles I through
XII of the Plan and otherwise acceptable to the Debtors and the NAS Committee and reasonably acceptable
to the Creditors’ Committee and the Governmental Consent Parties, and which shall be filed by the Debtors
with the Plan Supplement (it being understood and agreed that the form of NAS Monitoring TDP filed on
July 14, 2021 is acceptable to such parties).

                 “NAS Monitoring Trust” means the trust to be established in accordance with Section 5.7
of the Plan to (i) assume all liability for the NAS Monitoring Channeled Claims, (ii) hold the MDT NAS
Monitoring Claim and collect the Initial NAS Monitoring Trust Distribution and additional payments due
under the MDT NAS Monitoring Claim in accordance with the Private Entity Settlements and the NAS
Monitoring Trust Documents, (iii) administer NAS Monitoring Channeled Claims and (iv) make
Abatement Distributions to Authorized Recipients for Authorized Abatement Purposes, in each case in
accordance with the NAS Monitoring TDP.

                 “NAS Monitoring Trust Agreement” means the trust agreement establishing and
delineating the terms and conditions for the creation and operation of the NAS Monitoring Trust, the terms
of which shall be consistent with Articles I through XII of the Plan and otherwise acceptable to the Debtors
and the NAS Committee and reasonably acceptable to the Creditors’ Committee and the Governmental
Consent Parties, and which shall be filed by the Debtors with the Plan Supplement.

              “NAS Monitoring Trust Documents” means the NAS Monitoring Trust Agreement and
the NAS Monitoring TDP.

                 “NAS PI Channeled Claim” means (i) any NAS PI Claim or (ii) any Released Claim or
Shareholder Released Claim that is for alleged opioid-related personal injury to an NAS Child or that is a
similar opioid-related Cause of Action asserted by or on behalf of an NAS Child, in each case, that arose
prior to the Petition Date, and that is not a Third-Party Payor Channeled Claim, an NAS Monitoring
Channeled Claim or a Hospital Channeled Claim, or held by a Domestic Governmental Entity. NAS PI
Channeled Claims shall be channeled to the PI Trust in accordance with the Master TDP.

                 “NAS PI Claim” means any Claim against any Debtor that is for alleged opioid-related
personal injury to an NAS Child or similar opioid-related Cause of Action against any Debtor asserted by or
on behalf of an NAS Child, in each case, that arose prior to the Petition Date, and that is not a Third-Party
Payor Claim, an NAS Monitoring Claim or a Hospital Claim, or held by a Domestic Governmental Entity.

                “NAS PI Portion” means 6.43% (up to an aggregate amount equal to $45 million) of
amounts distributed to the PI Trust under the Plan, which amount is gross of applicable PI Trust Deductions
and Holdbacks.

                 “NAS PI TDP” means the trust distribution procedures to be implemented by the PI Trust
with respect to NAS PI Channeled Claims, the terms of which shall be consistent with Articles I through
XII of the Plan and otherwise acceptable to the Debtors and the NAS Committee and reasonably acceptable
to the Ad Hoc Group of Individual Victims, the Creditors’ Committee and the Governmental Consent
Parties, and which shall be filed by the Debtors with the Plan Supplement (it being understood and agreed
that the form of NAS PI TDP filed on July 14, 2021 is acceptable to such parties).

               “Native American Tribe Group” means the group consisting of the Muscogee (Creek)
Nation, a member of the Ad Hoc Committee, the Cheyenne & Arapaho Tribes, an ex officio member of the
Creditors’ Committee, and other Tribes represented by various counsel from the Tribal Leadership
Committee and the MDL Plaintiffs’ Executive Committee.



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                 “Net Prepaid Settlement Amount” means (i) the amount of a Minimum Required
Settlement Payment that is paid prior to its scheduled SSA Payment Date pursuant to a particular
Shareholder Prepayment minus (ii) the amount thereof to be reserved in the MDT Operating Reserve. In the
event that a Shareholder Prepayment prepays all or any portion of the Minimum Required Settlement
Payments due on two or more different SSA Payment Dates, (x) there shall be a separate Net Prepaid
Settlement Amount for each such Minimum Required Settlement Payment that is due on a separate SSA
Payment Date, such that the Net Prepaid Settlement Amount for each Minimum Required Settlement
Payment prepaid in full or in part by each Shareholder Prepayment shall be calculated in accordance with
the foregoing and applied in accordance with Section 5.2(d)(iv)(C) of the Plan separately from the Net
Prepaid Settlement Amount for each other Minimum Required Settlement Payment prepaid in full or in part
by such Shareholder Prepayment and (y) in calculating the Net Prepaid Settlement Amount for each
Minimum Required Settlement Payment that is prepaid in full or in part by such Shareholder Prepayment,
the aggregate amount of the Shareholder Prepayment to be reserved in the MDT Operating Reserve shall be
allocated to each Net Prepaid Settlement Amount proportionally according to the amount of each Minimum
Required Settlement Payment that is prepaid by such Shareholder Prepayment.

               “Net Sale Proceeds” means the Cash and cash equivalent proceeds in respect of any sale of
Assets of TopCo or any of its Subsidiaries minus any amounts required to fund NewCo Operating Expenses
or TopCo Operating Expenses in connection with such sale.

               “NewCo” means a newly formed Delaware limited liability company to be created in
accordance with Section 5.4 of the Plan to directly or indirectly receive the NewCo Transferred Assets and
operate such NewCo Transferred Assets in accordance with the NewCo Operating Agreement, the NewCo
Governance Covenants and the NewCo Operating Injunction.

                “NewCo Available Cash” means all Cash and cash equivalents held by NewCo and its
Subsidiaries (other than MDT Distributable Sale Proceeds), as of the relevant date of determination, in
excess of the amounts referenced in Section 5.2(f)(ii)(A) of the Plan.

                 “NewCo Credit Support Agreement” means the agreement documenting the obligations of
NewCo to make Cash payments and pay over MDT Distributable Sale Proceeds to the Master
Disbursement Trust in accordance with Section 5.2(d)(iii) of the Plan and the obligations of TopCo to pay
over MDT Distributable Sale Proceeds to the Master Disbursement Trust in accordance with
Section 5.2(d)(iii)(B) of the Plan, and the Master Disbursement Trust’s corresponding obligation to repay
such amounts in accordance with Section 5.2(f)(i)(D) of the Plan, the terms and conditions of which shall
be consistent with Articles I through XII of the Plan and otherwise reasonably acceptable to the Debtors, the
Creditors’ Committee and the Governmental Consent Parties, and which shall be filed by the Debtors with
the Plan Supplement.

                “NewCo Distribution Date” means (i) the date that is thirty (30) days after the initial SSA
Payment Date that occurs after the Effective Date and (ii) January 30, 2023 and each six (6)-month
anniversary thereof; provided that, if an Escrow Period is then in effect on any such date, such NewCo
Distribution Date shall be the next Business Day following the termination of such Escrow Period.

               “NewCo Excess Cash” means “Excess Cash” as defined in the NewCo Operating
Agreement as in effect as of the Effective Date.

                 “NewCo Governance Covenants” means the provisions contained in the Confirmation
Order that will bind NewCo, and any successor owner of NewCo’s opioid business, to covenants to ensure
that NewCo (i) provides all of its products, including all opioid products, in a safe manner that limits the
risk of diversion, (ii) complies with its obligations under the Public Entity Settlements and the Private
Entity Settlements, (iii) pursues and implements Public Health Initiatives, and (iv) otherwise operates in


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accordance with NewCo’s purpose and takes into account long-term public health interests relating to the
opioid crisis and responsible, transparent and sustainable practices in management of a pharmaceutical
business, which covenants shall be acceptable to the DOJ and the Governmental Consent Parties and
reasonably acceptable to the Debtors; provided that the covenants in respect of the foregoing clause (ii)
shall be acceptable to the DOJ and reasonably acceptable to the Debtors, the Creditors’ Committee and the
Governmental Consent Parties.

               “NewCo Interest” means the sole limited liability company interest in NewCo, which shall
be held by TopCo as of the Effective Date pursuant to the Public Entity Settlements, representing 100% of
the economic and voting Interests in NewCo.

               “NewCo Managers” means the members of the board of managers of NewCo appointed in
accordance with Section 5.4(d) of the Plan.

                “NewCo Monitor” means the monitor appointed in accordance with Section 5.4(i) of the
Plan to review NewCo’s compliance with the NewCo Operating Injunction.

                “NewCo Operating Agreement” means the limited liability company agreement of
NewCo, the terms of which shall be consistent with Articles I through XII of the Plan and the
NewCo/TopCo Governance Term Sheet and otherwise acceptable to the DOJ and the Governmental
Consent Parties and reasonably acceptable to the Debtors, and which shall be filed by the Debtors with the
Plan Supplement.

                 “NewCo Operating Expenses” means any and all costs, expenses, fees, taxes,
disbursements, debts or obligations incurred from the operation and administration of NewCo and its
Subsidiaries, including (i) in connection with the Public Health Initiatives, (ii) working capital and other
capital needs, (iii) compensation, costs and fees of, and indemnification amounts owed to, the NewCo
Managers, the NewCo Monitor and any professionals retained by NewCo or the NewCo Monitor and
(iv) any amounts required to satisfy any deficiency of funding in the Wind-Up Reserve. For the avoidance
of doubt, amounts to be paid pursuant to the NewCo Credit Support Agreement or as a TopCo Distribution
shall not be NewCo Operating Expenses.

                  “NewCo Operating Injunction” means a voluntary injunction to be contained in the
Confirmation Order that will bind NewCo, and any successor owner of NewCo’s opioid business, to
injunctive relief substantially similar to the voluntary injunction set forth in Appendix I to the Preliminary
Injunction, with any such changes to such voluntary injunction as may be agreed by the Debtors and the
Governmental Consent Parties based upon good-faith discussions and in furtherance of NewCo’s purpose
as set forth in Section 5.4(b) of the Plan.

                 “NewCo Priority Waterfall” means the priority waterfall applicable to NewCo set forth in
Section 5.2(f)(ii) of the Plan.

                “NewCo Transfer Agreement” means one or more agreements transferring the NewCo
Transferred Assets, and all documents and information of the Debtors related thereto, from the Debtors to
NewCo or one of its Subsidiaries (or the transfer of the Transferred Debtors to NewCo or one of its
Subsidiaries and the re-vesting of the NewCo Transferred Assets held by such Transferred Debtors in such
Transferred Debtors), the terms of which shall be consistent with Articles I through XII of the Plan and
otherwise acceptable to the Debtors, the DOJ and the Governmental Consent Parties, and which shall be
filed by the Debtors with the Plan Supplement.

                “NewCo Transferred Assets” means (i) the Initial NewCo Cash and (ii) all non-Cash
Assets of the Debtors on the Effective Date (prior to giving effect to the Restructuring Transactions) other


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than the Excluded Assets. For the avoidance of doubt, all Retained Causes of Action against Co-Defendants
and ongoing commercial counterparties of NewCo and any Estate Surviving Pre-Effective Date Claims
shall be NewCo Transferred Assets.

               “NewCo/TopCo Governance Term Sheet” means the governance term sheet for NewCo
and TopCo attached as Appendix F to the Disclosure Statement.

                “Newly Consenting States” means the members of the Non-Consenting States Group that
agreed to support the Plan on the terms set forth in the Mediator’s Report filed with the Bankruptcy Court
on July 7, 2021 [D.I. 3119].

                 “NOAT” means the National Opioid Abatement Trust, a Delaware statutory trust to be
established in accordance with Section 5.7 of the Plan to (i) assume all liability for the Non-Federal
Domestic Governmental Channeled Claims, (ii) hold the MDT NOAT Interest and the TopCo NOAT
Interest and collect the Initial NOAT Distribution (less the Public Schools’ Special Education Initiative
Contribution) and other Public Creditor Trust Distributions received in accordance with the Public Entity
Settlements, (iii) administer Non-Federal Domestic Governmental Channeled Claims and (iv) make
Abatement Distributions to Authorized Recipients for Authorized Abatement Purposes, in each case in
accordance with the NOAT TDP.

                 “NOAT Agreement” means the trust agreement establishing and delineating the terms and
conditions for the creation and operation of NOAT, the terms of which shall be consistent with Articles I
through XII of the Plan and otherwise acceptable to the DOJ and the Governmental Consent Parties, in
consultation with the Debtors and the Creditors’ Committee, and which shall be filed by the Debtors with
the Plan Supplement.

                “NOAT Documents” means the NOAT Agreement and the NOAT TDP.

                  “NOAT TDP” means the trust distribution procedures to be implemented by NOAT setting
forth the procedures for the distribution of Abatement Distributions by NOAT to Authorized Recipients and
the Authorized Abatement Purposes for Abatement Distributions from NOAT, which shall be consistent
with Articles I through XII of the Plan and otherwise acceptable to the DOJ and the Governmental Consent
Parties, in consultation with the Debtors and the Creditors’ Committee, and which shall be filed by the
Debtors with the Plan Supplement (it being understood and agreed that the form of NOAT TDP filed on
July 14, 2021 is acceptable to such parties).

                  “Non-Consenting States Group” means the Ad Hoc Group of Non-Consenting States
identified in the Verified Statement of the Ad Hoc Group of Non-Consenting States Pursuant to Bankruptcy
Rule 2019 [D.I. 296].

                  “Non-Federal Acute Care Hospital” means and includes (i) all non-federal acute care
hospitals as defined by the Centers for Medicare & Medicaid Services, and (ii) all non-federal hospitals and
hospital districts that are required by law to provide inpatient acute care and/or fund the provision of
inpatient acute care.

              “Non-Federal Domestic Governmental Channeled Claim” means (i) any Non-Federal
Domestic Governmental Claim or (ii) any Released Claim or Shareholder Released Claim that is held by a
Domestic Governmental Entity other than the United States or a Tribe. Non-Federal Domestic
Governmental Channeled Claims shall be channeled to NOAT in accordance with the Master TDP.

               “Non-Federal Domestic Governmental Claim” means any Claim against any Debtor that
is held by a Domestic Governmental Entity other than the United States or a Tribe (including any Claim


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based on the subrogation rights of the Holder thereof that is not an Other Subordinated Claim), and that is
not a Priority Tax Claim.

                “Non-NAS PI Channeled Claim” means (i) any Non-NAS PI Claim or (ii) any Released
Claim or Shareholder Released Claim that is for alleged opioid-related personal injury or that is a similar
opioid-related Cause of Action, in each case, that arose prior to the Petition Date, and that is not an NAS PI
Channeled Claim, a Third-Party Payor Channeled Claim, an NAS Monitoring Channeled Claim or a
Hospital Channeled Claim, or held by a Domestic Governmental Entity. Non-NAS PI Channeled Claims
shall be channeled to the PI Trust in accordance with the Master TDP.

                 “Non-NAS PI Claim” means any Claim against any Debtor that is for alleged
opioid-related personal injury or other similar opioid-related Cause of Action against any Debtor, in each
case, that arose prior to the Petition Date, and that is not an NAS PI Claim, a Third-Party Payor Claim, an
NAS Monitoring Claim or a Hospital Claim, or held by a Domestic Governmental Entity.

                 “Non-NAS PI Portion” means (i) all amounts distributed to the PI Trust under the Plan
less (ii) the NAS PI Portion, which amount is gross of applicable PI Trust Deductions and Holdbacks.

                 “Non-NAS PI TDP” means the trust distribution procedures to be implemented by the PI
Trust with respect to Non-NAS PI Channeled Claims, the terms of which shall be consistent with Articles I
through XII of the Plan and otherwise acceptable to the Debtors and the Ad Hoc Group of Individual
Victims and reasonably acceptable to the Creditors’ Committee and the Governmental Consent Parties, and
which shall be filed by the Debtors with the Plan Supplement (it being understood and agreed that the form
of Non-NAS PI TDP filed on July 14, 2021 is acceptable to such parties).

                  “Non-Opioid Excluded Claim” means a Cause of Action by a Person that is not a Debtor,
an Estate, the Master Disbursement Trust, a Creditor Trust, the Plan Administration Trust or any successor
of any of the foregoing against a Shareholder Released Party to the extent such Cause of Action (i) does not
arise from or relate to Opioid-Related Activities, Pending Opioid Actions or opioid use or misuse or the
consequences thereof; (ii) is not based upon and does not arise from the same allegations, facts or evidence
as any Pending Opioid Action; (iii) does not allege (expressly or impliedly) any liability of such
Shareholder Released Party that is derivative of any liability of any Debtor or any of their Estates,
including, but not limited to, by making allegations (expressly or impliedly) that such Shareholder Released
Party is directly or indirectly liable for the conduct of or a Cause of Action against a Debtor by reason of
such Shareholder Released Party’s (A) direct or indirect ownership of an Interest in a Debtor, a past or
present affiliate of a Debtor, or a predecessor in interest of a Debtor; (B) involvement in the management of
a Debtor or a predecessor in interest of a Debtor, or service as an officer, director or employee of a Debtor or
a related party; or (C) involvement in a transaction changing the corporate structure, or in a loan or other
financial transaction affecting the financial condition, of the Debtor or a related party, including but not
limited to involvement in providing financing (debt or equity), or advice to an entity involved in such a
transaction, or acquiring or selling a financial interest in an entity as part of such a transaction; and (iv) has
been authorized to proceed by the Bankruptcy Court in accordance with Section 11.1(e) of the Plan. As
used in this definition of Non-Opioid Excluded Claim, the term “related party” has the same meaning as in
11 U.S.C. § 524(g)(4)(A)(iii).

                 “Notice of Shareholder Release Snapback” means a notice filed with the Bankruptcy
Court by the Master Disbursement Trust pursuant to the Shareholder Settlement Agreement providing
notice that a Shareholder Family Group is in Specified Breach (as defined in the Shareholder Settlement
Agreement) and the Master Disbursement Trust has elected to enforce the Shareholder Release Remedy
and identifying the Breaching Shareholder Family Group and the Designated Shareholder Released Parties
subject to such Shareholder Release Remedy.



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                 “Opioid Proceeds” means any profits or proceeds derived from the development,
production, manufacture, licensing, labeling, marketing, distribution or sale of opioid products by NewCo
or the disposition of NewCo’s opioid businesses.

                 “Opioid-Related Activities” means the development, production, manufacture, licensing,
labeling, marketing, advertising, promotion, distribution or sale of opioid Products or the use or receipt of
any proceeds therefrom, including as described in greater detail in the DOJ Resolution, or the use or misuse
of opioids, including opioids that are not Products.

               “Other Federal Agency Claim” means any Claim filed by the United States Department of
Health and Human Services, the United States Department of Veterans Affairs, the Indian Health Service
and the Centers for Medicare & Medicaid Services, set forth in Proof of Claim Nos. 138509, 137406,
137782 and 138522, respectively.

               “Other General Unsecured Claim” means any Claim against any Debtor that is not an
Administrative Claim, a Priority Claim, a Secured Claim, a Federal Government Unsecured Claim, a
Channeled Claim, a Ratepayer Claim, a Co-Defendant Claim, an Other Subordinated Claim, an Avrio
General Unsecured Claim, an Adlon General Unsecured Claim, an Intercompany Claim or a Shareholder
Claim.

               “Other General Unsecured Claim Cash” means $15 million of Effective Date Cash to be
used to make Distributions to Holders of Allowed Other General Unsecured Claims.

                “Other Priority Claim” means any Claim against any Debtor that is entitled to priority of
payment as specified in section 507(a) of the Bankruptcy Code and is not an Administrative Claim or a
Priority Tax Claim.

                 “Other Subordinated Claim” means any Claim against any Debtor that is subject to
subordination under section 509(c) or 510 of the Bankruptcy Code or other applicable law, and that is not a
Co-Defendant Claim or a Shareholder Claim. Notwithstanding anything to the contrary outside of this
definition in the Plan, any Claim that satisfies the definition of an Other Subordinated Claim shall be an
Other Subordinated Claim notwithstanding that such Claim would otherwise satisfy the definition of
another type of Claim.

                 “PAT Agreement” means the trust agreement establishing and delineating the terms and
conditions for the creation and operation of the Plan Administration Trust, as it may be amended from time
to time, the terms of which shall be consistent with Articles I through XII of the Plan and otherwise
acceptable to the Debtors, and reasonably acceptable to the Creditors’ Committee and the Governmental
Consent Parties, and which shall be filed by the Debtors with the Plan Supplement.

                 “PAT Assets” means (i) the PAT Reserves, (ii) the PAT Distribution Accounts, (iii) the
Retained Causes of Action relating solely to, and only to the extent necessary for, the administration of
Claims against the Debtors (other than Channeled Claims), the enforcement of the Plan Administration
Trust’s rights and the other responsibilities of the Plan Administration Trust, provided that no Retained
Causes of Action against Excluded Parties shall constitute PAT Assets, except as necessary to object to and
resolve any Disputed Claims held by an Excluded Party, (iv) the Excluded Privileged Materials and (v) any
other Excluded Assets that are not MDT Transferred Assets.

                “PAT Distribution Account” means one or more accounts to be established to make
Distributions in respect of Allowed Federal Government Unsecured Claims, Allowed Avrio General
Unsecured Claims, Allowed Adlon General Unsecured Claims and Allowed Other General Unsecured
Claims (which may be a single or collective account for one or more Classes of Claims). The PAT


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Distribution Account shall be (i) funded on the Effective Date in accordance with Section 5.13(a)(viii) of
the Plan in an amount necessary to make Distributions in respect of such Claims to the extent Allowed as of
the Effective Date and periodically funded thereafter in accordance with Section 7.6 of the Plan and
(ii) held by the Plan Administration Trust and administered by the Plan Administration Trustee.

               “PAT Distribution Date” means any date upon which a Distribution is made by the Plan
Administration Trustee.

                “PAT Reserves” means, collectively, the Wind-Up Reserve, the Disputed Claims
Reserves, the Disputed Cure Claims Reserve and the Priority Claims Reserve.

              “PBGC” means the Pension Benefit Guaranty Corporation, a wholly-owned United States
government corporation, and an agency of the United States created by ERISA.

                 “Pending Opioid Actions” means the judicial, administrative or other actions or
proceedings or Causes of Actions that were or could have been commenced before the commencement of
the Chapter 11 Cases and that are identified in the charts annexed as Appendix II and Appendix III to the
Preliminary Injunction, as well as any other pending actions against any of the Debtors, Released Parties or
Shareholder Released Parties alleging substantially similar facts or Causes of Action as those alleged in the
actions identified in those appendices.

                 “Person” means an individual (including, without limitation, in his or her capacity as a
trustee, protector or executor), corporation, partnership, joint venture, association, joint stock company,
limited liability company, limited liability partnership, trust or trustee, protector, executor, estate,
unincorporated organization, Governmental Unit, Tribe or other Entity.

                “Petition Date” means September 15, 2019.

                “PI Channeled Claim” means any NAS PI Channeled Claim or Non-NAS PI Channeled
Claim.

                “PI Claim” means any NAS PI Claim or Non-NAS PI Claim.

                 “PI Futures TDP” means, the trust distribution procedures to be implemented by the PI
Futures Trust with respect to Future PI Channeled Claims, the terms of which shall be consistent with
Articles I through XII of the Plan and otherwise acceptable to the Debtors and the Creditors’ Committee
and reasonably acceptable to the Governmental Consent Parties, and which shall be filed by the Debtors
with the Plan Supplement.

                “PI Futures Trust” means the trust to be established in accordance with Section 5.7 of the
Plan to (i) assume all liability for the Future PI Channeled Claims, (ii) collect the PI Futures Trust
Distribution in accordance with the PI Futures Trust Documents, (iii) administer Future PI Channeled
Claims, (iv) make Distributions on account of Allowed Future PI Channeled Claims in accordance with the
PI Futures Trust Documents, and (v) carry out such other matters as are set forth in the PI Futures Trust
Documents.

                “PI Futures Trust Agreement” means the trust agreement establishing and delineating the
terms and conditions for the creation and operation of the PI Futures Trust, the terms of which shall be
consistent with Articles I through XII of the Plan and otherwise acceptable to the Debtors and the Creditors’
Committee and reasonably acceptable to the Governmental Consent Parties, and which shall be filed by the
Debtors with the Plan Supplement.




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                 “PI Futures Trust Distribution” means the payment of $5 million of Effective Date Cash
to the PI Futures Trust on the Effective Date.

                “PI Futures Trust Documents” means the PI Futures Trust Agreement and the PI Futures
TDP.

               “PI TDP” means, collectively or as applicable, (i) with respect to NAS PI Channeled
Claims, the NAS PI TDP and (ii) with respect to Non-NAS PI Channeled Claims, the Non-NAS PI TDP.

                  “PI Trust” means the trust to be established in accordance with Section 5.7 of the Plan to
(i) assume all liability for the PI Channeled Claims, (ii) hold the MDT PI Claim and collect the Initial PI
Trust Distribution and additional payments due under the MDT PI Claim in accordance with the Private
Entity Settlements and the PI Trust Documents, (iii) administer PI Channeled Claims, (iv) make
Distributions on account of Allowed PI Channeled Claims in accordance with the PI Trust Documents,
(v) fund the TPP LRP Escrow Account and make payments therefrom to LRP Participating TPPs, in each
case, in accordance with and subject to the terms of the LRP Agreement and (vi) carry out such other
matters as are set forth in the PI Trust Documents.

                 “PI Trust Agreement” means the trust agreement establishing and delineating the terms
and conditions for the creation and operation of the PI Trust, the terms of which shall be consistent with
Articles I through XII of the Plan and otherwise acceptable to the Debtors and the Ad Hoc Group of
Individual Victims and reasonably acceptable to the Creditors’ Committee and the Governmental Consent
Parties, and which shall be filed by the Debtors with the Plan Supplement.

                “PI Trust Deductions and Holdbacks” means, collectively or as applicable, the following
deductions and holdbacks from Distributions from the PI Trust pursuant to the PI Trust Documents: (i) the
deduction of Creditor Trust Operating Expenses of the PI Trust, as required under and subject to the terms
of the PI TDP and the PI Trust Agreement, (ii) the holdback of amounts in the TPP LRP Escrow Account
and payments therefrom to LRP Participating TPPs, in each case, as required under and subject to the terms
of the LRP Agreement, (iii) the deduction of amounts prepaid to the United States under the United
States-PI Claimant Medical Expense Claim Settlement, (iv) the deduction of amounts on account of
compensation, costs and fees of professionals that represented or advised the Ad Hoc Group of Individual
Victims and the NAS Committee in connection with the Chapter 11 Cases, as and to the extent provided in
the PI Trust Agreement and subject to Section 5.8(g) of the Plan, and (v) the common benefit assessment
required under Section 5.8(c) of the Plan and, where applicable, the fees and costs of a Holder’s individual
attorney(s), which deduction shall be made by such attorney(s) and reduced by the common benefit
assessment in accordance with Section 5.8(c).

                “PI Trust Documents” means the PI Trust Agreement, the PI TDP and the LRP
Agreement.

                “PI Trust NAS Fund” means a fund established by the PI Trust and funded with the NAS
PI Portion to make Distributions on account of Allowed NAS PI Channeled Claims.

             “PI Trust Non-NAS Fund” means a fund established by the PI Trust and funded with the
Non-NAS PI Portion to make Distributions on account of Allowed Non-NAS PI Channeled Claims.

                “Plan” means this joint chapter 11 plan of reorganization for the Debtors, including all
appendices, exhibits, schedules and supplements hereto (including the Plan Supplement), as it may be
altered, amended or modified from time to time in accordance with the Bankruptcy Code, the Bankruptcy
Rules and the terms hereof.



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                “Plan Administration Trust” means the trust to be created in accordance with Section 5.3
of the Plan to administer and make Distributions in respect of Claims against the Debtors (other than
Channeled Claims) and administer the Plan.

                “Plan Administration Trustee” means the trustee of the Plan Administration Trust
appointed in accordance with Section 5.3(c) of the Plan.

                “Plan Documents” means, collectively, the Plan and all documents to be executed,
delivered, assumed or performed in connection with the Restructuring Transaction and the occurrence of
the Effective Date, including the documents to be included in the Plan Supplement.

                “Plan Injunction” means the injunctions issued pursuant to Section 10.5 of the Plan.

                 “Plan Settlement” means the settlement of certain Claims and controversies described in
Section 5.2 of the Plan, and as further described and explained in the Disclosure Statement.

                 “Plan Supplement” means the supplement or supplements to the Plan containing certain
documents relevant to the implementation of the Plan, which shall include the MDT Documents, the
NewCo Transfer Agreement, the NewCo Operating Agreement, the TopCo Operating Agreement, the PAT
Agreement, the PI Trust Documents (including the LRP Agreement), the PI Futures Trust Documents, the
NAS Monitoring Trust Documents, the Hospital Trust Documents, the TPP Trust Documents, the NOAT
Documents, the Tribe Trust Documents, the NewCo Credit Support Agreement, the identity of the MDT
Trustees, the identity of the MDT Executive Director, the identity of the NewCo Managers, the identity of
the TopCo Managers, the identity of the Plan Administration Trustee and PPLP Liquidator, the identity of
the Creditor Trustees, the Schedule of Rejected Contracts, the Schedule of Retained Causes of Action, the
Schedule of Excluded Parties, the Shareholder Settlement Agreement and the Restructuring Steps
Memorandum.

                 “Plea Agreement” means that certain proposed plea agreement attached as Exhibit B to the
DOJ 9019 Motion, as approved by the DOJ 9019 Order, by and among (i) Purdue Pharma L.P. and (ii) the
United States, acting through the United States Attorney’s Office for the District of New Jersey, the United
States Attorney’s Office for the District of Vermont, and the United States Department of Justice, Civil
Division, Consumer Protection Branch.

                  “PPI Interest” means any Interest in Purdue Pharma Inc., whether held directly or
indirectly, that existed immediately before the Effective Date.

                “PPLP” means Purdue Pharma L.P.

               “PPLP Dissolution Date” means the date on which the PPLP Liquidator dissolves PPLP in
accordance with Section 5.14(d) of the Plan.

               “PPLP Interest” means any Interest in PPLP, whether held directly or indirectly, that
existed immediately before the Effective Date.

                “PPLP Liquidator” means the person appointed in accordance with Section 5.14(c) of the
Plan, who will be the same individual appointed as the Plan Administration Trustee.

               “Preliminary Injunction” means the Seventeenth Amended Order Pursuant to 11 U.S.C.
§ 105(a) Granting Motion for a Preliminary Injunction, Adv. Pro. No. 19-08289 (RDD) [D.I. 254], as
amended from time to time.




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                 “Priority Claim” means any Priority Tax Claim or Other Priority Claim.

                  “Priority Claims Reserve” means a reserve to be established to pay Allowed
Administrative Claims (other than Professional Fee Claims, which shall be paid from the Professional Fee
Escrow Account in accordance with Section 2.1(b) of the Plan, and the DOJ Forfeiture Judgment Claim,
which shall be paid in accordance with Section 2.3 of the Plan), Allowed Secured Claims and Allowed
Priority Claims. The Priority Claims Reserve shall be (i) funded on the Effective Date with Cash and cash
equivalents of the Debtors in an amount determined by the Debtors and reasonably acceptable to the
Governmental Consent Parties, in consultation with the Creditors’ Committee, and (ii) held by the Plan
Administration Trust in a segregated account and administered by the Plan Administration Trustee on and
after the Effective Date.

                “Priority Tax Claim” means any Claim against any Debtor that is held by a Governmental
Unit and of the kind entitled to priority in payment under sections 502(i) and 507(a)(8) of the Bankruptcy
Code.

                 “Private Creditor Trusts” means the Hospital Trust, the TPP Trust, the NAS Monitoring
Trust, the PI Trust and the PI Futures Trust.

                “Private Entity Settlements” means the settlement of Hospital Channeled Claims,
Third-Party Payor Channeled Claims, NAS Monitoring Channeled Claims and PI Channeled Claims
provided for under the Plan, as set forth in Section 5.2(d) of the Plan.

                  “Privilege” means any attorney-client privilege, work-product protection, joint defense or
common interest privilege or other privilege or protection of immunity (i) held by any or all of the Debtors
or their Estates, (ii) held by the board of directors (or similar body) or any special committee of the board of
directors (or similar body) of any of the Debtors or (iii) attaching to any documents, communications, or
thing (whether written or oral), including, but not limited to, electronic information relating to any Purdue
Insurance Rights or Estate Causes of Action. Correlative terms such as “Privileged” have correlative
meanings. Documents or information that are or have been subject to a clawback request by Debtors in the
Purdue Legal Matters are Privileged.

                 “Pro Rata Share” means, with respect to an Allowed Other General Unsecured Claim, the
proportion that such Allowed Claim bears to the aggregate amount of Allowed Other General Unsecured
Claims and Disputed Other General Unsecured Claims.

                 “Products” means any and all products developed, designed, manufactured, marketed or
sold, in research or development, or supported by, the Debtors, whether work in progress or in final form.

                  “Professional Fee Claim” means a Claim for services or costs incurred in connection with
such services, on or after the Petition Date and on or prior to the Effective Date, in each case by Professional
Persons that remains unpaid as of the Effective Date, less any existing amounts held as a fee advance,
retainer, or as security by a Professional Person that such Professional Person is authorized to use to satisfy
Allowed Professional Fee Claims pursuant to the Interim Compensation Order or an order of the
Bankruptcy Court authorizing the retention of such Professional Person (other than a reasonable retainer to
cover post-Effective Date work); provided that, notwithstanding the foregoing, (i) the Professional Fee
Claims of the Professional Persons retained by the Ad Hoc Committee shall be subject to the terms of the
AHC Reimbursement Agreement Assumption Order and shall also include fees and expenses incurred prior
to the Petition Date as and to the extent set forth in the AHC Reimbursement Agreement Assumption Order
and (ii) the Professional Fees Claims of the Professional Persons retained by the MSGE Group shall be
subject to the terms of the MSGE Group Reimbursement Order.



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                 “Professional Fee Escrow Account” means an account funded by the Debtors in Cash on
or before the Effective Date to satisfy Allowed Professional Fee Claims in accordance with Section 2.1(b)
of the Plan.

               “Professional Person” means (i) any Person retained by order of the Bankruptcy Court in
connection with these Chapter 11 Cases pursuant to section 327, 328, 330, 331, 503(b) or 1103 of the
Bankruptcy Code, excluding any ordinary course professional retained pursuant to an order of the
Bankruptcy Court, (ii) each of the professionals for the Ad Hoc Committee, as and to the extent authorized
by the AHC Reimbursement Agreement Assumption Order and (iii) each of the professionals for the
MSGE Group, as and to the extent authorized by the MSGE Group Reimbursement Order.

                “Proof of Claim” means a proof of Claim against any of the Debtors filed in the Chapter 11
Cases in accordance with section 501 of the Bankruptcy Code.

                  “Proportionate Settlement Prepayment Share” means, with respect to each MDT Claim,
such MDT Claim’s proportional share of a Net Prepaid Settlement Amount, calculated as a percentage
equal to (i) the outstanding amount of such MDT Claim that is due on the Scheduled MDT Distribution
Date immediately following the scheduled SSA Payment Date for such Net Prepaid Settlement Amount
divided by (ii) the sum of (A) the Net Prepaid Settlement Amount and (B) any remaining amounts not yet
paid of the Minimum Required Settlement Payment for such scheduled SSA Payment Date (calculated after
giving effect to such Shareholder Prepayment and all prior Shareholder Prepayments).

                 “Protected Parties” means, collectively, (i) the Debtors, (ii) each of the Debtors’ Related
Parties, (iii) NewCo, (iv) TopCo, (v) the Plan Administration Trust, (vi) the Master Disbursement Trust,
except, solely to the extent provided in the Master TDP, with respect to the Channeled Claims channeled to
the Master Disbursement Trust, (vii) each Creditor Trust, except, solely to the extent provided in the
applicable Creditor Trust TDP, with respect to the Channeled Claims channeled to such Creditor Trust and
(viii) the Shareholder Released Parties, subject to Section 10.8(c) of the Plan with respect to the
Shareholder Release Snapback Parties.

                 “Protective Order” means the Third Amended Protective Order, 19-23649 (RDD)
[D.I. 1935], as amended.

                  “Public Creditor Trust Distributions” means any and all payments, transfers and
distributions from or on behalf of the Debtors, NewCo, TopCo or the Master Disbursement Trust to either
of the Public Creditor Trusts, including without limitation the Initial Public Creditor Trust Distributions and
all distributions of MDT Excess Cash and TopCo Excess Cash received by a Public Creditor Trust.

                 “Public Creditor Trusts” means NOAT and the Tribe Trust.

                  “Public Document Repository” means the public document repository to be established as
set forth in Section 5.12 of the Plan.

             “Public Entity Allocation” means the allocations of Public Creditor Trust Distributions
between NOAT and the Tribe Trust as set forth in Section 5.2(e)(iii) of the Plan.

               “Public Entity Settlements” means the settlement of Non-Federal Domestic Governmental
Channeled Claims and Tribe Channeled Claims provided for under the Plan, as set forth in Section 5.2(e) of
the Plan.

                “Public Health Initiatives” means the development and distribution of medicines to treat
opioid addiction and reverse opioid overdoses.



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                 “Public School District Claimants” means the public school districts identified in the
(i) Verified Statement of Binder & Schwartz LLP Under Federal Rule of Bankruptcy Procedure 2019
[D.I. 2707] and (ii) Verified Statement of Hughes Socol Piers Resnick & Dym, Ltd. and Cocounsel under
Federal Rule of Bankruptcy Procedure 2019 [D.I. 2304], each as may be amended from time to time.

                  “Public Schools’ Special Education Initiative” means an account under the control of a
trust to be called the Public Schools’ Special Education Initiative Trust and to be established on the terms
described in the Notice of Filing of Special Education Initiative Term Sheet [D.I. 3120].

                “Public Schools’ Special Education Initiative Contribution” means a contribution to be
made on the Effective Date by the Debtors to the Public Schools’ Special Education Initiative in the amount
of $25.5 million, which amount will be used by the Public Schools Special Education Initiative (i) to fund
educational supports to abate the effects of the opioid crisis and (ii) for the required payments to the
Common Benefit Escrow and in respect of attorneys’ fees of the Public School District Claimants in
accordance with Section 5.8(c) and (h) of the Plan.

                 “Purdue” has the meaning set forth in the introductory paragraph of this Plan.

                 “Purdue Insurance Collateral” means any collateral the Debtors have provided or set
aside to secure obligations under any Purdue Insurance Policy.

                 “Purdue Insurance Policies” means any primary, umbrella, excess, fronting or other
insurance policy, whether known or unknown, issued to or that provides or may provide coverage or
benefits at any time to any of the Debtors or under which any of the Debtors have sought or may seek
coverage or benefits, including, without limitation, any such policy for directors’ and officers’ liability,
general liability, product liability, property, workers’ compensation or fiduciary liability, or any other
coverage, and all agreements, documents or instruments relating thereto including, without limitation, any
agreement with a third party administrator for claims handling, risk control or related services, that (i) were
issued prior to the Effective Date and (ii) cover periods that are, in whole or in part, prior to the Effective
Date. For the avoidance of doubt, Purdue Insurance Policies shall not include any insurance policy that was
issued exclusively to and that exclusively benefits and exclusively provides coverage to Persons who are
neither Debtors nor predecessors of a Debtor nor current or former officers, directors or shareholders of any
of the Debtors.

                “Purdue Insurance Rights” means any and all rights, titles, privileges, interests, claims,
demands or entitlements of the Debtors to any proceeds, payments, benefits, Causes of Action, choses in
action, defense or indemnity arising under, or attributable to, any and all Purdue Insurance Policies or
Purdue Insurance Collateral, now existing or hereafter arising, accrued or unaccrued, liquidated or
unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent. For the avoidance of
doubt, “Purdue Insurance Rights” include any rights of the Debtors to proceeds of Purdue Insurance
Policies and Purdue Insurance Collateral.

                “Purdue Insurance Stipulation” means the Stipulation and Agreed Order Granting Joint
Standing to Prosecute Claims and Causes of Action Related to the Debtors’ Insurance Coverage to (1) the
Official Committee of Unsecured Creditors and (2) the Ad Hoc Committee of Government and Other
Contingent Litigation Claimants [D.I. 2305].

                 “Purdue Legal Matter” means (i) these Chapter 11 Cases, the Plan or the Restructuring
Transactions, (ii) the Pending Opioid Actions, (iii) any other ongoing or completed action or proceeding,
whether commenced by a Governmental Unit or any other Person, or government investigation, in each
case, relating generally to the same or similar subject matter of the actions and proceedings subject to the
Preliminary Injunction, (iv) any ongoing or completed action or investigation by the DOJ, including any


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cooperation obligation arising out of any such action or investigation or (v) any mediation or settlement
related to the same or similar subject matter of any of the foregoing.

                “Purdue Monitor” means the monitor retained pursuant to the voluntary injunction set
forth in Appendix I to the Preliminary Injunction.

                 “Purdue Pension Plan” means the Purdue Pharma L.P. Pension Plan, a single-employer
defined benefit pension plan covered by Title IV of ERISA.

               “Ratepayer Claim” means any Claim against any Debtor that arises out of or relates to the
payment for health insurance by the Holder of such Claim.

                “Ratepayer Mediation Participants” means the proposed representatives of classes of
privately insured parties who are plaintiffs and proposed class representatives identified in the Amended
Verified Statement of Stevens & Lee, P.C. Pursuant to Bankruptcy Rule 2019 [D.I. 333].

                 “RBS Foundation” means the Raymond and Beverly Sackler Foundation, a New York
not-for-profit corporation.

               “RBS Fund” means the Raymond and Beverly Sackler Fund for the Arts and Sciences, a
Delaware not-for-profit and non-stock corporation.

                 “Reciprocal Releasee” means each of the following: (i) the Debtors and their Estates;
(ii) the Supporting Claimants, solely in their respective capacities as such; (iii) all Holders of Claims
against or Interests in the Debtors, solely in their respective capacities as such; (iv) each Person that has a
Cause of Action against a Shareholder Released Party relating to or arising out of the Opioid-Related
Activities of the Debtors, solely in its capacity as a litigant in connection with such Cause of Action;
(v) each Settling Co-Defendant; and (vi) with respect to each of the Persons in the foregoing clauses (i)
through (v), each of their Related Parties, solely in their respective capacities as such; provided that no
Shareholder Released Party shall be a Reciprocal Releasee.

                “Reinstated” means, with respect to any Claim against or Interest in a Debtor, that such
Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code.

                  “Related Parties” means, with respect to a Person, (i) such Person’s predecessors,
successors, assigns, Subsidiaries, affiliates, managed accounts or funds, past, present and future officers,
board members, directors, principals, agents, servants, independent contractors, co-promoters, third-party
sales representatives, medical liaisons, members, partners (general or limited), managers, employees,
subcontractors, agents, advisory board members, financial advisors, attorneys and legal representatives,
accountants, investment bankers, consultants, representatives, management companies, fund advisors and
other professionals and advisors, trusts (including trusts established for the benefit of such Person), trustees,
protectors, beneficiaries, direct or indirect owners and/or equityholders, parents, transferees, heirs,
executors, estates, nominees, administrators, and legatees, in each case in their respective capacities as
such; (ii) the Related Parties of each of the foregoing, in each case in their respective capacities as such; and
(iii) solely with respect to the Settling Co-Defendants, any insurer of any Settling Co-Defendant solely in
its capacity as such and specifically excluding any MDT Insurer, solely in its capacity as an MDT Insurer.
For the avoidance of doubt, the citizens and residents of a State shall not be deemed to be Related Parties of
such State solely as a result of being citizens or residents of such State.

                   “Released Claims” means any Causes of Action released pursuant to Section 10.6(a) and
(b) of the Plan.




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                 “Released Parties” means, collectively, (i) the Debtors, (ii) each of the Debtors’ Related
Parties, solely in their respective capacities as such, and (iii) solely for purposes of the Releases by the
Debtors in Section 10.6(a) of the Plan, (A) the Supporting Claimants, the Creditors’ Committee and the
Creditors’ Committee’s members and each of their respective professionals, in each case solely in their
respective capacities as such and (B) the Settling Co-Defendants and each of their Related Parties, in each
case solely in their respective capacities as such; provided, however, that, notwithstanding the foregoing or
anything herein to the contrary, no Excluded Party or Shareholder Released Party shall be a Released Party
in any capacity or respect. For purposes of this definition of “Released Parties,” the phrase “solely in their
respective capacities as such” means, with respect to a Person, solely to the extent a claim against such
Person (x) arises from such Person’s conduct or actions taken in such capacity, or from such Person’s
identified capacity in relation to another specified Released Party and not, in either case, from such Person’s
conduct or actions independent of such capacity, and (y) to the extent such Person’s liability depends on or
derives from the liability of such other Released Party, such claim would be released if asserted against such
other Released Party.

                 “Releases” means the releases provided for in Section 10.6 of the Plan.

                  “Releasing Parties” means, collectively, (i) the Supporting Claimants, solely in their
respective capacities as such, (ii) all Holders of Claims (whether or not asserted, transferred, hypothecated,
waived, Allowed, allowable, choate, known, accrued, treated under this Plan or otherwise) against, or
Interests in, the Debtors, (iii) all Holders of Future PI Channeled Claims, (iv) the Settling Co-Defendants,
(v) with respect to each of the Persons in the foregoing clauses (i) through (iv), each of their Related Parties
and (vi) each of the Debtors’ Related Parties, in each case, other than any Shareholder Released Party.

               “Reserved MDT Insurance Policies” means (i) policy number B0509FINMR 1600558
and policy number B0509FINMR 1600559 and (ii) any MDT Insurance Policy that is not listed by policy
number in Schedule 2 to the MDT Agreement.

                “Restructuring Steps Memorandum” means the summary of transaction steps to complete
the Restructuring Transactions, which shall be consistent with Articles I through XII of the Plan and
otherwise acceptable to the Debtors and reasonably acceptable to the Creditors’ Committee and the
Governmental Consent Parties, and which shall be included in the Plan Supplement.

                  “Restructuring Transactions” means one or more transactions to occur on or before the
Effective Date or as soon as reasonably practicable thereafter, that may be necessary or appropriate to effect
any transaction described in, approved by, contemplated by or necessary to effectuate this Plan, including
(i) the creation of NewCo and the direct or indirect transfer thereto and vesting therein (or in a Subsidiary of
NewCo) of the NewCo Transferred Assets free and clear of Claims, Interests and liabilities in accordance
with the NewCo Transfer Agreement, (ii) the creation of TopCo and the issuance of the NewCo Interest to
TopCo, (iii) the creation of the Master Disbursement Trust and the transfer thereto and vesting therein of
the MDT Transferred Assets, (iv) the creation of the Plan Administration Trust and the vesting therein of
the PAT Assets, (v) the creation of NOAT and the Tribe Trust and the consummation of the Public Entity
Settlements, consisting of the payment of the Initial Public Creditor Trust Distributions and the issuance of
the MDT Interests and the TopCo Interests, (vi) the creation of the Private Creditor Trusts and the
consummation of the Private Entity Settlements, consisting of the payment of the Initial Private Creditor
Trust Distributions and the issuance of the MDT Private Claims, (vii) the creation and funding of the
Priority Claims Reserve and the PAT Distribution Account to make Distributions in respect of Allowed
Claims (other than Channeled Claims), (viii) the payment of the Truth Initiative Contribution in satisfaction
of the Ratepayer Claims, (ix) entry into the Shareholder Settlement, including the Shareholder Releases and
the Channeling Injunction for the benefit of the Shareholder Released Parties in exchange for, among other
things, the contribution of funds to the Master Disbursement Trust pursuant to the Shareholder Settlement



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Agreement, (x) the Releases, injunctions and exculpations set forth herein and in the Confirmation Order
and (xi) the transactions set forth in the Restructuring Steps Memorandum.

                 “Retained Causes of Action” means all Estate Causes of Action that are not expressly
settled or released under the Plan on or prior to the Effective Date, and which shall include all Causes of
Action against Excluded Parties and the Causes of Action set forth on the Schedule of Retained Causes of
Action. Any and all Estate Causes of Action against any Settling Co-Defendant (other than any Estate
Causes of Action against any Settling Co-Defendant expressly preserved against such Settling
Co-Defendants in Section 10.6 of the Plan) are not Retained Causes of Action and are released under the
Plan.

                  “Sackler Family Members” means (i) Raymond R. Sackler and Mortimer D. Sackler,
(ii) all Persons who are descendants of either Raymond R. Sackler or Mortimer D. Sackler, (iii) all current
and former spouses of any individual identified in the foregoing clause (i) or (ii), and (iv) the estate of any
individual identified in the foregoing clause (i), (ii) or (iii).

               “Schedule of Excluded Parties” means the schedule of Excluded Parties filed by the
Debtors with the Plan Supplement, which shall include only Persons agreed to by the Debtors and the
Governmental Consent Parties, in consultation with the Creditors’ Committee.

                “Schedule of Rejected Contracts” means the schedule of all executory contracts and
unexpired leases to be rejected by the Debtors, if any, filed by the Debtors with the Plan Supplement, which
shall be in form and substance acceptable to the Debtors and reasonably acceptable to the Governmental
Consent Parties, in consultation with the Creditors’ Committee.

                 “Schedule of Retained Causes of Action” means the schedule of Retained Causes of
Action filed by the Debtors with the Plan Supplement, which shall be in form and substance acceptable to
the Debtors and the Governmental Consent Parties and reasonably acceptable to the Creditors’ Committee.

                “Scheduled” means, with respect to any Claim against the Debtors, the status, priority, and
amount, if any, of such Claim as set forth in the Schedules.

                “Scheduled MDT Distribution Date” means (i) the date that is one (1) Business Day after
the initial NewCo Distribution Date and (ii) July 31, 2023 and each twelve (12)-month anniversary thereof,
until the MDT Claims are paid in full; provided that, if an Escrow Period is then in effect on any such date,
such Scheduled MDT Distribution Date shall be the next Business Day following the termination of such
Escrow Period.

                 “Schedules” means the schedules of assets and liabilities, statements of financial affairs,
lists of Holders of Claims and Interests and all amendments or supplements thereto filed by the Debtors
with the Bankruptcy Court to the extent such filing is not waived pursuant to an order of the Bankruptcy
Court.

                 “Secured Claim” means any Claim against any Debtor to the extent such Claim is
(i) secured by a valid, perfected and non-avoidable Lien on property of a Debtor’s Estate, the amount of
which is equal to or less than the value of such property (A) as set forth in this Plan, (B) as agreed to by the
Holder of such Claim and the Debtors, or (C) as determined by a Final Order in accordance with
section 506(a) of the Bankruptcy Code or (ii) subject to any setoff right of the Holder of such Claim under
section 553 of the Bankruptcy Code. “Secured Claim” does not include any Claim that meets the definition
of “Priority Tax Claim.”

                 “Securities Act” means the Securities Act of 1933, as amended.


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               “Separation Agreement” means the agreements entered into in accordance with the
Shareholder Settlement Agreement to govern continuing business relationships and claims among the
Debtors, NewCo and any entities owned directly or indirectly by the Shareholder Payment Parties, Sackler
Family Members or trusts established by or for the benefit of the Sackler Family Members.

               “Settled Canadian Patient Claims” means the “Settled Patient Claims” as defined in the
Canadian Patient Claim Settlement Stipulation.

                 “Settling Co-Defendant” means (i) any Person that is a signatory to the Joint Objection of
Certain Distributors, Manufacturers, and Pharmacies to the Sixth Amended Joint Chapter 11 Plan of
Purdue Pharma L.P. and Its Affiliated Debtors [D.I. 3306] and/or (ii) any Co-Defendant that objected,
formally or informally, or reserved rights with respect to the assumption and assignment of any contract
pursuant to the Plan.

               “Settling Executive Stipulation” means the Stipulation in Connection with the Debtors’
Chapter 11 Plan of Reorganization [D.I. 3543].

                “Settling Executives” means Mark Timney and John H. Stewart, each a former executive
of Purdue.

                 “Settling MDT Insurer” means an Insurance Company that has entered into an MDT
Insurance Settlement, solely in its capacity as such and solely with respect to any MDT Insurance Policy
released in such MDT Insurance Settlement.

                “Settling MDT Insurer Injunction” means the injunction issued pursuant to Section 10.11
of the Plan.

                  “Shareholder Claim” means any Claim against any Debtor or that seeks to recover from
any property of any Debtor or its Estate, including from any MDT Insurance Policy, in each case, that is
held by a Shareholder Released Party (other than any current or former director, officer or employee of the
Debtors that is not a Sackler Family Member). Notwithstanding anything to the contrary outside of this
definition in the Plan, any Claim that satisfies the definition of a Shareholder Claim shall be a Shareholder
Claim notwithstanding that such Claim would otherwise satisfy the definition of another type of Claim.

                “Shareholder Family Group” has the meaning ascribed to the term “Family Group” in the
Shareholder Settlement Agreement.

                “Shareholder Payment Group” has the meaning ascribed to the term “Payment Group” in
the Shareholder Settlement Agreement.

                “Shareholder Payment Party” means the Shareholder Released Parties that are parties to
the Shareholder Settlement Agreement.

               “Shareholder Prepayment” means any payment of all or any portion of a Minimum
Required Settlement Payment to the Master Disbursement Trust prior to the scheduled SSA Payment Date
for such Minimum Required Settlement Payment as set forth in the Shareholder Settlement Agreement.

                “Shareholder Release Remedy” has the meaning ascribed to the term “Release Remedy”
in the Shareholder Settlement Agreement.

               “Shareholder Release Snapback Parties” means, collectively, the Designated
Shareholder Released Parties and all members of any Shareholder Family Group.



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                “Shareholder Released Claims” means any Causes of Action released pursuant to
Section 10.7(a) and (b) of the Plan.

                  “Shareholder Released Parties” means, collectively, (i) the Shareholder Payment Parties;
(ii) the Designated Shareholder Released Parties and the Persons identified on Exhibit X to the Shareholder
Settlement Agreement; (iii) all Persons directly or indirectly owning an equity interest in any Debtor on the
date on which such Debtor commenced its Chapter 11 Case; (iv) Sackler Family Members; (v) all trusts for
the benefit of any of the Persons identified in the foregoing clause (iv) and the past, present and future
trustees (including, without limitation, officers, directors and employees of any such trustees that are
corporate or limited liability company trustees and members and managers of trustees that are limited
liability company trustees), protectors and beneficiaries thereof, solely in their respective capacities as
such; (vi) all Persons (other than the Debtors) to which property or funds of the Persons identified in any of
the foregoing clauses (i) through (v) have been or are directly or indirectly transferred (including for
charitable or philanthropic purposes), solely in such Persons’ capacities as transferees and solely to the
extent of any property or funds transferred to them; and (vii) with respect to each Person in the foregoing
clauses (i) through (v), such Person’s (A) predecessors, successors, permitted assigns, subsidiaries (other
than the Debtors), controlled affiliates, spouses, heirs, executors, estates and nominees, in each case solely
in their respective capacities as such, (B) current and former officers and directors, principals, members and
employees, in each case, solely in their respective capacities as such, (C) financial advisors, attorneys
(including, without limitation, attorneys retained by any director, in his or her capacity as such),
accountants, investment bankers (including, without limitation, investment bankers retained by any
director, in his or her capacity as such), consultants, experts and other professionals, in each case, solely in
their respective capacities as such, and (D) property possessed or owned at any time or the proceeds
therefrom; provided that the Debtors and the Excluded Parties identified on the Schedule of Excluded
Parties shall not be Shareholder Released Parties. For purposes of this definition of
“Shareholder Released Parties,” the phrase “solely in their respective capacities as such” means, with
respect to a Person, solely to the extent a claim against such Person (x) arises from such Person’s conduct or
actions taken in such capacity, or from such Person’s identified capacity in relation to another specified
Shareholder Released Party and not, in either case, from such Person’s conduct or actions independent of
such capacity, and (y) to the extent such Person’s liability depends on or derives from the liability of such
other Shareholder Released Party, such claim would be released if asserted against such other Shareholder
Released Party. For the avoidance of doubt, any Person that fits within multiple categories above shall be a
Shareholder Released Party in all such categories and failure to include any Person that fits within any
category above on Exhibit X to the Shareholder Settlement Agreement shall not mean that such Person is
not a Shareholder Released Party.

                 “Shareholder Releases” means the releases provided for in Section 10.7 of the Plan.

                “Shareholder Settlement” means the Shareholder Settlement Agreement and the
transactions contemplated thereunder, the release and channeling of the Shareholder Released Claims
pursuant to the Shareholder Releases and the Channeling Injunction issued for the benefit of the
Shareholder Released Parties as set forth in Sections 10.7 and 10.8 of the Plan, the other transactions and
terms described in Section 5.2(g) of the Plan and all other terms and provisions of the Plan, the
Confirmation Order and the other Plan Documents implementing any of the foregoing.

                 “Shareholder Settlement Agreement” means the settlement agreement to be entered into
by and among the Debtors (and/or successors to the Debtors) and the Shareholder Payment Parties, which
shall provide for, among other things, the payment of the Shareholder Settlement Amount by the
Shareholder Payment Parties to the Master Disbursement Trust in exchange for the Shareholder Releases
and the Channeling Injunction with respect to the Shareholder Released Claims, and the terms of which
shall be consistent with Articles I through XII of the Plan and the Shareholder Settlement Term Sheet and



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otherwise acceptable to the Debtors, the Creditors’ Committee and the Governmental Consent Parties, and
which shall be filed by the Debtors with the Plan Supplement.

                 “Shareholder Settlement Amount” means Cash in an aggregate amount equal to
$4.325 billion, which shall be paid by the Shareholder Payment Parties on the dates and pursuant to the
terms set forth in the Shareholder Settlement Agreement.

                “Shareholder Settlement Term Sheet” means the term sheet attached as Appendix G to the
Disclosure Statement.

                 “Solicitation Procedures Order” means the order entered by the Bankruptcy Court
approving (i) the adequacy of information in the Disclosure Statement, (ii) solicitation and voting
procedures, (iii) forms of ballots, notices and notice procedures in connection therewith and (iv) certain
dates with respect thereto [D.I. 2988].

                “Special Master” means the Disclosure Oversight Special Master appointed in accordance
with Section 5.12(r) of the Plan.

               “SSA Payment Date” means each “Funding Deadline” as defined in, and as subject to
adjustment pursuant to the terms of, the Shareholder Settlement Agreement.

               “SSA Percentage” means, with respect to a particular SSA Payment Date, (i) the amount
owed under the Shareholder Settlement Agreement on such SSA Payment Date by a particular Shareholder
Payment Group divided by (ii) the total amount owed under the Shareholder Settlement Agreement on such
SSA Payment Date.

                “State” means any U.S. state, any U.S. territory or the District of Columbia.

                “State Costs and Expenses Fund” means the fund to be established as set forth in
Section 5.8(b) of the Plan.

                “Subsidiaries” means, with respect to a Person, all direct and indirect subsidiaries of such
Person.

                 “Supporting Claimants” means (i) the Ad Hoc Committee, (ii) the MSGE Group, (iii) the
Native American Tribes Group, (iv) the Ad Hoc Group of Individual Victims, (v) the Ad Hoc Group of
Hospitals, (vi) the Third-Party Payor Group, (vii) the Ratepayer Mediation Participants, (viii) the NAS
Committee, (ix) the Public School District Claimants, and (x) with respect to each of the foregoing
clauses (i) through (ix), the respective members thereof, solely in their respective capacities as such.

                “Surplus Reserve Cash” means any surplus Cash or cash equivalents in any of the PAT
Reserves in excess of what is estimated to be necessary to satisfy the obligations for which such amounts
were reserved, in each case, as determined by the Plan Administration Trustee in accordance with
Section 5.13(c) of the Plan.

                 “Third-Party Payor” means a health insurer, an employer-sponsored health plan, a union
health and welfare fund or any other provider of healthcare benefits, and including any third-party
administrator or agent on behalf thereof, in each case in its capacity as such.

               “Third-Party Payor Channeled Claim” means (i) any Third-Party Payor Claim or (ii) any
Released Claim or Shareholder Released Claim that is held by a Third-Party Payor that is not a Domestic




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Governmental Entity. Third-Party Payor Channeled Claims shall be channeled to the TPP Trust in
accordance with the Master TDP.

                “Third-Party Payor Claim” means any Claim against any Debtor that is held by a
Third-Party Payor (including any Claim based on the subrogation rights of the Holder thereof that is not an
Other Subordinated Claim) that is not a Domestic Governmental Entity; provided that Claims in respect of
self-funded government plans that were and are asserted through private Third-Party Payors shall be
included in this definition of “Third-Party Payor Claims.” For the avoidance of doubt, (i) Federal
Government Unsecured Claims are not Third-Party Payor Claims, and (ii) claims of Third-Party Payors
against Holders of PI Claims or Distributions payable to Holders of PI Claims are not claims against any
Debtor and therefore are not included in this definition of “Third-Party Payor Claims.”

                 “Third-Party Payor Group” means the group of certain Holders of Third-Party Payor
Claims consisting of (i) the Holders of Third-Party Payor Claims represented by the TPP participants in the
Mediation listed in Exhibit A of the Mediators’ Report [D.I. 1716] and (ii) one representative from United
Healthcare and one representative from the Ad Hoc Group of Self-Funded Plans identified in the Verified
Statement of the Ad Hoc Group of Self-Funded Health Plans Pursuant to Rule 2019 of the Federal Rules of
Bankruptcy Procedure [D.I. 1243].

                 “TopCo” means a newly formed Delaware limited liability company to be created in
accordance with Section 5.5 of the Plan to (i) receive and hold the NewCo Interest and collect TopCo
Distributions, (ii) make certain payments to the Master Disbursement Trust under the NewCo Credit
Support Agreement and (iii) make Public Creditor Trust Distributions in respect of the TopCo Interests, in
each case in accordance with the Plan and the TopCo Operating Agreement.

                 “TopCo Distributable Sale Proceeds” means, with respect to any transaction described in
the definition of “MDT Distributable Sale Proceeds,” (i) the Net Sale Proceeds of such transaction minus
(ii) the amount, if any, of the applicable MDT Distributable Sale Proceeds of such transaction.

               “TopCo Distributions” means any and all distributions from NewCo to TopCo in respect
of the NewCo Interests.

                 “TopCo Excess Cash” means all Cash and cash equivalents of TopCo (other than MDT
Distributable Sale Proceeds), as of the relevant date of determination, in excess of the amounts referenced
in Section 5.2(f)(iii)(A) of the Plan.

                 “TopCo Interests” means the TopCo Tribe Interest and the TopCo NOAT Interest, which
shall collectively represent 100% of the voting and economic Interests in TopCo.

                “TopCo Managers” means the managers of TopCo appointed in accordance with
Section 5.5(b) of the Plan.

                 “TopCo NOAT Interest” means a new limited liability company interest in TopCo to be
issued to NOAT under the Plan pursuant to the Public Entity Settlements, representing 100% of the voting
Interests in TopCo and a portion of the economic interests in TopCo corresponding to NOAT’s entitlements
under the Public Entity Allocation, which interest shall entitle NOAT to its share of Public Creditor Trust
Distributions from TopCo in accordance with Section 5.2(e)(ii) of the Plan and the TopCo Priority
Waterfall.

                “TopCo Operating Agreement” means the limited liability company agreement
establishing and delineating the terms and conditions for the creation and operation of TopCo, the terms of
which shall be consistent with Articles I through XII of the Plan and the NewCo/TopCo Governance Term


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Sheet and otherwise acceptable to the DOJ and the Governmental Consent Parties and reasonably
acceptable to the Debtors, and which shall be filed by the Debtors with the Plan Supplement.

               “TopCo Operating Expenses” means any and all costs, expenses, fees, taxes,
disbursements, debts or obligations incurred from the operation and administration of TopCo, including
costs and fees of, and indemnification amounts owed to the TopCo Managers and any professionals
retained by TopCo, but excluding any amounts to be paid pursuant to the NewCo Credit Support
Agreement or as Public Creditor Trust Distributions.

                  “TopCo Priority Waterfall” means the priority waterfall applicable to TopCo set forth in
Section 5.2(f)(iii) of the Plan.

                “TopCo Tribe Interest” means a new limited liability company interest in TopCo issued to
the Tribe Trust under the Plan pursuant to the Public Entity Settlements, representing a portion of the
economic interests in TopCo corresponding to the Tribe Trust’s entitlements under the Public Entity
Allocation, which interest shall entitle the Tribe Trust to its share of Public Creditor Trust Distributions
from TopCo in accordance with Section 5.2(e)(ii) of the Plan and the TopCo Priority Waterfall.

                  “TPP LRP Escrow Account” means an escrow account to be established, maintained and
administered by the Creditor Trustee for the PI Trust and into which the Creditor Trustee for the PI Trust
shall deposit a portion of the funds received by the PI Trust pursuant to the Plan, in accordance with and
subject to the terms of the LRP Agreement.

                  “TPP TDP” means the trust distribution procedures to be implemented by the TPP Trust
setting forth the procedures for the distribution of Abatement Distributions by the TPP Trust to Authorized
Recipients and the Authorized Abatement Purposes for Abatement Distributions from the TPP Trust, the
terms of which shall be consistent with Articles I through XII of the Plan and otherwise acceptable to the
Debtors and the Third-Party Payor Group and reasonably acceptable to the Creditors’ Committee and the
Governmental Consent Parties, and which shall be filed by the Debtors with the Plan Supplement (it being
understood and agreed that the form of TPP TDP filed on July 7, 2021 is acceptable to such parties).

                 “TPP Trust” means a trust to be established in accordance with Section 5.7 of the Plan to
(i) assume all liability for the Third-Party Payor Channeled Claims, (ii) hold the MDT TPP Claim and
collect the Initial TPP Trust Distribution and additional payments due under the MDT TPP Claim in
accordance with the Private Entity Settlements and the TPP Trust Documents, (iii) administer Third-Party
Payor Channeled Claims, (iv) make Abatement Distributions to Authorized Recipients for Authorized
Abatement Purposes, in each case in accordance with the TPP Trust Documents, and (v) carry out such
other matters as are set forth in the TPP TDP.

                  “TPP Trust Agreement” means the trust agreement establishing and delineating the terms
and conditions for the creation and operation of the TPP Trust, the terms of which shall be consistent with
Articles I through XII of the Plan and otherwise acceptable to the Debtors and the Third-Party Payor Group
and reasonably acceptable to the Creditors’ Committee and the Governmental Consent Parties, and which
shall be filed by the Debtors with the Plan Supplement.

                “TPP Trust Documents” means the TPP Trust Agreement and the TPP TDP.

                “Transferred Debtor” means a Debtor that is acquired directly or indirectly by NewCo
pursuant to the NewCo Transfer Agreement. For the avoidance of doubt, PPLP shall not be a Transferred
Debtor.




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               “Tribe” means any American Indian or Alaska Native Tribe, band, nation, pueblo, village
or community, that the U.S. Secretary of the Interior acknowledges as an Indian Tribe, as provided in the
Federally Recognized Tribe List Act of 1994, 25 U.S.C. § 5130, and as periodically listed by the U.S.
Secretary of the Interior in the Federal Register pursuant to 25 U.S.C. § 5131; and any “Tribal
Organization” as provided in the Indian Self-Determination and Education Assistance Act of 1975, as
amended, 25 U.S.C. § 5304(l).

                “Tribe Channeled Claim” means (i) any Tribe Claim or (ii) any Released Claim or
Shareholder Released Claim that is held by a Tribe. Tribe Channeled Claims shall be channeled to the Tribe
Trust in accordance with the Master TDP.

                “Tribe Claim” means any Claim against any Debtor that is held by a Tribe (including any
Claim based on the subrogation rights of a Tribe that is not an Other Subordinated Claim), and that is not a
Priority Tax Claim. For the avoidance of doubt, claims of Tribes against Holders of PI Claims or
Distributions payable to Holders of PI Claims, to the extent such claims exist, are not claims against any
Debtor and therefore are not included in this definition of “Tribes Claims.”

                  “Tribe TDP” means the trust distribution procedures to be implemented by the Tribe Trust
setting forth the procedures for the distribution of Abatement Distributions by the Tribe Trust to Authorized
Recipients and the Authorized Abatement Purposes for Abatement Distributions from the Tribe Trust, the
terms of which shall be consistent with Articles I through XII of the Plan and otherwise acceptable to the
Debtors and the Native American Tribe Group and reasonably acceptable to the Creditors’ Committee and
the Governmental Consent Parties, and which shall be filed by the Debtors with the Plan Supplement (it
being understood and agreed that the form of Tribe TDP filed on July 14, 2021 is acceptable to such
parties).

                  “Tribe Trust” means one or more trusts, limited liability companies or other Persons to be
established in accordance with Section 5.7 of the Plan to (i) assume all liability for the Tribe Channeled
Claims, (ii) hold the MDT Tribe Interest and the TopCo Tribe Interest and collect the Initial Tribe Trust
Distribution and the other Public Creditor Trust Distributions received in accordance with the Public Entity
Settlements, (iii) administer Tribe Channeled Claims and (iv) make Abatement Distributions to Authorized
Recipients for Authorized Abatement Purposes, in each case in accordance with the Tribe TDP.

                 “Tribe Trust Agreement” means the trust agreement and any limited liability company
agreement or similar governing document establishing and delineating the terms and conditions for the
creation and operation of the Tribe Trust, the terms of which shall be consistent with Articles I through XII
of the Plan and otherwise acceptable to the Debtors and the Native American Tribe Group and reasonably
acceptable to the Creditors’ Committee and the Governmental Consent Parties, and which shall be filed by
the Debtors with the Plan Supplement.

                “Tribe Trust Documents” means the Tribe Trust Agreement and the Tribe TDP.

                 “Truth Initiative Contribution” means a contribution to the Truth Initiative Foundation to
be used for national opioid prevention and education efforts, which shall be made by the Debtors in
satisfaction of Ratepayer Claims from Effective Date Cash in the amount of $6.5 million, subject to the
deductions therefrom for the required payments to the Common Benefit Escrow and in respect of attorneys’
fees of the Ratepayer Mediation Participants in accordance with Section 5.8(c) and (f) of the Plan.

                “U.S. Trustee” means the United States Trustee for Region 2.

               “Unimpaired” means, with respect to any Claim, Interest, or Class of Claims or Interests,
not “impaired” within the meaning of such term in section 1124 of the Bankruptcy Code.


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                 “United States” means the United States of America, its agencies, departments or agents.

                  “United States-PI Claimant Medical Expense Claim” means any healthcare-related
claim, Cause of Action or Lien (including a subrogation claim or reimbursement claim), whether liquidated
or unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen,
asserted or unasserted, accrued or unaccrued, existing or hereinafter arising, choate or inchoate, (i) against a
Holder of a PI Claim or the recoveries of a Holder of a PI Claim pursuant to the PI TDP or under the Plan,
(ii) held by any of the following federal governmental agencies or federal health insurance programs: the
United States Department of Health and Human Services, on its own behalf and on behalf of its component
agencies, which are the Centers for Medicare & Medicaid Services and the Indian Health Service on behalf
of its federally-operated programs; the TRICARE Program; and the United States Department of Veterans
Affairs, and (iii) on account of opioid injury-related conditional payments made by such programs or
agencies to, on behalf of, or in respect of, such Holders of PI Claims. The United States-PI Claimant
Medical Expense Claim Settlement does not apply to any claims brought by programs operated by tribes or
tribal organizations under the Indian Self-Determination and Education Assistance Act, 25 U.S.C.
§§ 5301–5423, or programs operated by urban Indian organizations that have a grant or contract with the
Indian Health Service under the Indian Health Care Improvement Act, 25 U.S.C. §§ 1601–1685.

                 “United States-PI Claimant Medical Expense Claim Releases” means the releases
provided for in Section 5.2(h)(ii) of the Plan.

                 “United States-PI Claimant Medical Expense Claim Settlement” means the settlement
provided for in Section 5.2(h) of the Plan.

                 “Voting Deadline” means the last day for Holders of Claims and Interests entitled to vote
on the Plan to cast their votes to accept or reject the Plan as may be set by the Bankruptcy Court.

                “Voting Representative” means a Firm representing Holders of Claims in any of the
Master Ballot Classes who has returned a properly completed Solicitation Directive (as such terms are
defined in the Solicitation Procedures Order).

                  “Wind-Up Reserve” means a reserve to be established to pay any and all costs, expenses,
fees, taxes, debts, or obligations incurred from the operation and administration of the Debtors’ Estates after
the Effective Date (including professional fees and expenses). The Wind-Up Reserve shall be (i) funded
with Effective Date Cash in an amount determined by the Debtors, in consultation with the Creditors’
Committee and the Governmental Consent Parties, and, to the extent of any deficiency of funding in the
Wind-Up Reserve after the Effective Date, Cash from NewCo (or any purchaser of, or successor to,
NewCo) and (ii) held by the Plan Administration Trust in a segregated account and administered by the
Plan Administration Trustee on and after the Effective Date.

                 1.2     Interpretation; Application of Definitions; Rules of Construction.

                          Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in, or exhibit to, this Plan, as the same may be amended, waived, or modified from time
to time in accordance with the terms hereof. The words “herein,” “hereof,” or “hereunder,” and other words
of similar import refer to this Plan as a whole and not to any particular section, subsection, or clause
contained therein and have the same meaning as “in the Plan,” “of the Plan,” and “under the Plan,”
respectively. The words “includes” and “including” are not limiting. The headings in the Plan are for
convenience of reference only and shall not limit or otherwise affect the provisions hereof. For purposes
herein: (a) in the appropriate context, each term, whether stated in the singular or plural, shall include both
the singular and plural, and pronouns stated in the masculine, feminine, or neuter gender shall include the
masculine, feminine, and the neuter gender; (b) any reference herein to a contract, lease, instrument,


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release, indenture, or other agreement or document being in a particular form or on particular terms and
conditions means that the reference document shall be substantially in that form or substantially on those
terms and conditions; (c) the rules of construction set forth in section 102 of the Bankruptcy Code shall
apply; and (d) any term used in capitalized form herein that is not otherwise defined but that is used in the
Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy
Code or the Bankruptcy Rules, as the case may be.

                1.3      Reference to Monetary Figures.

                       All references in this Plan to monetary figures shall refer to the legal tender of the
United States of America unless otherwise expressly provided.

                1.4      Controlling Document.

                          In the event of an inconsistency between Articles I through XII of the Plan and the
Plan Supplement, the terms of Articles I through XII of the Plan shall control, except that in the event of an
inconsistency between Articles I through XII of the Plan and the Shareholder Settlement Agreement (or any
agreements ancillary to the Shareholder Settlement Agreement), the Shareholder Settlement Agreement (or
such ancillary agreement) shall control. In the event of an inconsistency between this Plan and any other
instrument or document created or executed pursuant to this Plan, or between this Plan and the Disclosure
Statement, this Plan shall control. The provisions of this Plan and of the Confirmation Order shall be
construed in a manner consistent with each other so as to effectuate the purposes of each; provided,
however, that, if there is determined to be any inconsistency between any provision of this Plan and any
provision of the Confirmation Order that cannot be reconciled, then, the provisions of the Confirmation
Order shall govern, and any such provisions of the Confirmation Order shall be deemed a modification of
this Plan solely to the extent of such inconsistency.

ARTICLE II ADMINISTRATIVE CLAIMS, PROFESSIONAL FEE CLAIMS, PRIORITY TAX
           CLAIMS AND DOJ FORFEITURE JUDGMENT CLAIM.

                2.1      Administrative Claims.

                         (a)      Generally. Except as provided for herein or in any order of the
Bankruptcy Court, and subject to section 503(b)(1)(D) of the Bankruptcy Code, Holders of Administrative
Claims (other than Professional Fee Claims and the DOJ Forfeiture Judgment Claim) must file and serve on
the Debtors requests for the payment of such Administrative Claims not already Allowed by a Final Order.
Any Holder of an Administrative Claim that is required to, but does not, file and serve a request for payment
of such Administrative Claim pursuant to the procedures specified in the Confirmation Order shall be
forever barred, estopped and enjoined from asserting such Claims against the Debtors, the Liquidating
Debtors, the Transferred Debtors, the Plan Administration Trust or their respective Assets or properties, and
such Claims shall be deemed discharged as of the Effective Date. An Administrative Claim, with respect to
which a request for payment has been properly and timely filed pursuant to this Section 2.1(a), shall
become an Allowed Administrative Claim if no objection to such request is filed by the Debtors or the Plan
Administration Trustee with the Bankruptcy Court on or before the date that is one hundred twenty (120)
days after the Effective Date, or such later date as may be fixed by the Bankruptcy Court. If an objection is
timely filed, such Administrative Claim shall become an Allowed Administrative Claim only to the extent
Allowed by Final Order or such Claim is settled, compromised or otherwise resolved pursuant to
Section 7.7 of the Plan. Except to the extent a Holder of an Allowed Administrative Claim and the Debtor
against which such Claim is asserted agree to different treatment, each Holder of an Allowed
Administrative Claim (other than a Professional Fee Claim or the DOJ Forfeiture Judgment Claim) shall
receive, on account of such Allowed Claim, Cash in an amount equal to the Allowed amount of such Claim
from the Priority Claims Reserve within thirty (30) days following the later to occur of (i) the Effective


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Date and (ii) the date on which such Administrative Claim shall become an Allowed Claim; provided that
any Administrative Claim that is an Assumed Liability shall be paid by NewCo in the ordinary course of
business.

                          (b)      Professional Fee Claims. All Professional Persons seeking awards by the
Bankruptcy Court for compensation for services rendered or reimbursement of expenses incurred through
and including the Effective Date under (x) section 327, 328, 330, 331, 503(b)(2), 503(b)(3), 503(b)(4),
503(b)(5) or 1103 of the Bankruptcy Code, (y) with respect to the Ad Hoc Committee, the AHC
Reimbursement Agreement Assumption Order or (z) with respect to the MSGE Group, the MSGE Group
Reimbursement Order, shall (i) file, on or before the date that is forty-five (45) days after the Effective
Date, or as soon as reasonably practicable thereafter, their respective applications for final allowances of
compensation for services rendered and reimbursement of expenses incurred and (ii) be paid in full in Cash,
(A) first, from any existing amounts held by a Professional Person as a fee advance, retainer, or security that
such Professional Person is authorized to use to satisfy Allowed Professional Fee Claims pursuant to the
Interim Compensation Order or the order of the Bankruptcy Court authorizing the retention of such
Professional Person (other than a reasonable retainer to cover post-Effective Date work), and (B) second,
from the Professional Fee Escrow Account, in such aggregate amounts as are Allowed by the Bankruptcy
Court or authorized to be paid in accordance with the order(s) relating to or allowing any such Professional
Fee Claim. On or prior to the Effective Date, the Debtors shall establish the Professional Fee Escrow
Account and, on the Effective Date, fund the Professional Fee Escrow Account with Cash such that the total
amount held in the Professional Fee Escrow Account is equal to the sum of each Professional Person’s
good-faith estimates of its Professional Fee Claims. The procedures for filing objections to Professional
Persons’ applications for final allowance of compensation for services rendered and expenses incurred shall
be set forth in the Confirmation Order.

                 2.2     Priority Tax Claims.

                         Except to the extent a Holder of an Allowed Priority Tax Claim and the Debtor
against which such Claim is asserted agree to different treatment, on the Effective Date or as soon as
reasonably practicable thereafter, each Holder of an Allowed Priority Tax Claim shall receive, on account
of such Allowed Priority Tax Claim, either Cash in an amount equal to the Allowed amount of such Claim
from the Priority Claims Reserve or such other treatment as may satisfy section 1129(a)(9) of the
Bankruptcy Code.

                 2.3     DOJ Forfeiture Judgment Claim.

                      (a)     Allowance: Pursuant to the Plea Agreement and the DOJ 9019 Order, the
DOJ Forfeiture Judgment Claim shall be Allowed in the amount of $2.0 billion on the later of (i) the DOJ
Conviction Judgment Date and (ii) the entry by the Bankruptcy Court of the Confirmation Order.

                        (b)    Treatment: In full and final satisfaction, settlement, release and discharge
of the DOJ Forfeiture Judgment Claim, the Debtors shall make the DOJ Forfeiture Payment within three (3)
Business Days following the DOJ Conviction Judgment Date, which DOJ Forfeiture Payment, in
combination with the DOJ Forfeiture Judgment Credit, shall satisfy and discharge the DOJ Forfeiture
Judgment Claim in full.

ARTICLE III CLASSIFICATION OF CLAIMS AND INTERESTS.

                 3.1     Classification in General.

                       A Claim or Interest is placed in a particular Class for all purposes, including
voting, confirmation and Distributions under this Plan and under sections 1122 and 1123(a)(1) of the


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Bankruptcy Code. A Claim or Interest is classified in a particular Class for the purpose of receiving
Distributions pursuant to this Plan only to the extent such Claim or Interest qualifies within the description
of that Class and is classified in other Classes to the extent any portion of the Claim or Interest qualifies
within the description of such other Classes; provided that, to the extent any Claim satisfies the definition of
a Shareholder Claim, a Co-Defendant Claim or an Other Subordinated Claim, such Claim shall be classified
as such, notwithstanding that such Claim may satisfy the definition of another type of Claim. A Claim or
Interest is also classified in a particular Class for the purpose of receiving Distributions hereunder only to
the extent such Claim or Interest is an Allowed Claim or Allowed Interest in that Class and such Claim or
Interest has not been satisfied, released or otherwise settled prior to the Effective Date. In no event shall any
Holder of an Allowed Claim be entitled to receive payments under this Plan that, in the aggregate, exceed
the Allowed amount of such Holder’s Claim.

                 3.2      Summary of Classification of Claims and Interests.

                          The following table designates the Classes of Claims against and Interests in the
Debtors and specifies which Classes are (a) Impaired or Unimpaired under this Plan, (b) entitled to vote to
accept or reject this Plan in accordance with section 1126 of the Bankruptcy Code or presumed to accept or
deemed to reject this Plan:

   Class                 Type of Claim or Interest                Impairment            Entitled to Vote
  Class 1                      Secured Claims                     Unimpaired        No (Presumed to Accept)
  Class 2                   Other Priority Claims                 Unimpaired        No (Presumed to Accept)
  Class 3         Federal Government Unsecured Claims               Impaired                   Yes
  Class 4      Non-Federal Domestic Governmental Claims             Impaired                   Yes
  Class 5                       Tribe Claims                        Impaired                   Yes
  Class 6                      Hospital Claims                      Impaired                   Yes
  Class 7                 Third-Party Payor Claims                  Impaired                   Yes
  Class 8                     Ratepayer Claims                      Impaired                   Yes
  Class 9                  NAS Monitoring Claims                    Impaired                   Yes
 Class 10(a)                   NAS PI Claims                        Impaired                   Yes
 Class 10(b)                Non-NAS PI Claims                       Impaired                   Yes
 Class 11(a)           Avrio General Unsecured Claims             Unimpaired        No (Presumed to Accept)
 Class 11(b)           Adlon General Unsecured Claims             Unimpaired        No (Presumed to Accept)
 Class 11(c)           Other General Unsecured Claims               Impaired                   Yes
                                                                  Unimpaired       No (Presumed to Accept or
  Class 12                  Intercompany Claims
                                                                  or Impaired          Deemed to Reject)
  Class 13                   Shareholder Claims                     Impaired         No (Deemed to Reject)
  Class 14                  Co-Defendant Claims                     Impaired         No (Deemed to Reject)



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  Class 15               Other Subordinated Claims                   Impaired         No (Deemed to Reject)
  Class 16                      PPLP Interests                       Impaired         No (Deemed to Reject)
  Class 17                       PPI Interests                       Impaired         No (Deemed to Reject)
                                                                   Unimpaired       No (Presumed to Accept or
  Class 18                 Intercompany Interests
                                                                   or Impaired          Deemed to Reject)

                 3.3      Voting Classes; Presumed Acceptance by Non-Voting Classes.

                         With respect to each Debtor, if a Class contains Claims eligible to vote and no
Holder of Claims eligible to vote in such Class votes to accept or reject this Plan by the Voting Deadline,
this Plan shall be presumed accepted by the Holders of Claims in such Class.

                 3.4      Voting; Presumptions; Solicitation.

                            (a)      Acceptance by Certain Impaired Classes. Only Holders of Claims in
Classes 3, 4, 5, 6, 7, 8, 9, 10(a), 10(b) and 11(c) are entitled to vote to accept or reject this Plan. An Impaired
Class of Claims shall have accepted this Plan if (i) the Holders, including Holders acting through a Voting
Representative, of at least two-thirds (2/3) in amount of Claims actually voting in such Class have voted to
accept this Plan and (ii) the Holders, including Holders acting through a Voting Representative, of more
than one-half (1/2) in number of Claims actually voting in such Class have voted to accept this Plan.
Holders of Claims in Classes 3, 4, 5, 6, 7, 8, 9, 10(a), 10(b) and 11(c) (or, if applicable, the Voting
Representatives of such Holders) shall receive ballots containing detailed voting instructions. For the
avoidance of doubt, pursuant to and except as otherwise provided in the Solicitation Procedures Order, each
Claim in Classes 4, 5, 6, 7, 8, 9, 10(a) and 10(b) shall be accorded one (1) vote and valued at one dollar
($1.00) for voting purposes only, and not for purposes of Allowance or distribution, such that each of
Classes 4, 5, 6, 7, 8, 9, 10(a) and 10(b) shall be deemed to have accepted this Plan if the Holders, including
Holders acting through a Voting Representative, of at least two-third (2/3) in number of Claims actually
voting in such Class have voted to accept the Plan.

                        (b)     Deemed Acceptance by Unimpaired Classes. Holders of Claims in
Classes 1, 2, 11(a) and 11(b) are conclusively presumed to have accepted this Plan pursuant to
section 1126(f) of the Bankruptcy Code. Accordingly, such Holders are not entitled to vote to accept or
reject this Plan.

                          (c)     Deemed Rejection by Certain Impaired Classes. Holders of Claims and
Interests in Classes 13, 14, 15, 16 and 17 are deemed to have rejected this Plan pursuant to section 1126(g)
of the Bankruptcy Code. Accordingly, such Holders are not entitled to vote to accept or reject this Plan.

                         (d)    Deemed Acceptance or Rejection by Certain Classes. Holders of
Interests in Classes 12 and 18 are either conclusively presumed to have accepted the Plan pursuant to
section 1126(f) of the Bankruptcy Code or are deemed to have rejected the Plan pursuant to section 1126(g)
of the Bankruptcy Code. Accordingly, such Holders are not entitled to vote to accept or reject the Plan.

                           (e)     Individual Creditor Voting Rights. Notwithstanding anything to the
contrary in this Plan, the voting rights of Holders of Claims in any Class shall be governed in all respects by
the Solicitation Procedures Order, including without limitation with respect to the amount of such Claims
for voting purposes.




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                3.5      Cramdown.

                         If any Class of Claims is deemed to reject this Plan or is entitled to vote on this
Plan and does not vote to accept this Plan, the Debtors may (a) seek confirmation of this Plan under
section 1129(b) of the Bankruptcy Code and/or (b) amend or modify this Plan in accordance with the terms
hereof and the Bankruptcy Code. If a controversy arises as to whether any Claim or Interest, or any Class of
Claims or Interests, is Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date.

                3.6      No Waiver.

                          Nothing contained in this Plan shall be construed to waive a Debtor’s or other
Person’s right to object on any basis to any Claim.

ARTICLE IV TREATMENT OF CLAIMS AND INTERESTS.

                4.1      Secured Claims (Class 1).

                        (a)     Treatment: Except to the extent a Holder of an Allowed Secured Claim
and the Debtor against which such Claim is asserted agree to different treatment, on the Effective Date, or
as soon as reasonably practicable thereafter, each Holder of an Allowed Secured Claim shall receive, on
account of such Allowed Claim, (i) payment in full in Cash from the Priority Claims Reserve in accordance
with section 506(a) of the Bankruptcy Code, (ii) Reinstatement of such Allowed Claim pursuant to
section 1124 of the Bankruptcy Code or (iii) such other treatment as may be necessary to render such Claim
Unimpaired.

                        (b)     Impairment and Voting: Secured Claims are Unimpaired. Holders of
Secured Claims are conclusively presumed to accept this Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, Holders of Secured Claims are not entitled to vote to accept or reject the Plan,
and the votes of such Holders will not be solicited with respect to such Secured Claims.

                4.2      Other Priority Claims (Class 2).

                          (a)     Treatment: Except to the extent a Holder of an Allowed Other Priority
Claim and the Debtor against which such Claim is asserted agree to different treatment, on the Effective
Date, or as soon as reasonably practicable thereafter, each Holder of an Allowed Other Priority Claim shall
receive, on account of such Allowed Claim, (i) payment in full in Cash from the Priority Claims Reserve or
(ii) such other treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code.

                         (b)    Impairment and Voting: Other Priority Claims are Unimpaired. Holders of
Other Priority Claims are conclusively presumed to accept this Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, Holders of Other Priority Claims are not entitled to vote to accept or reject the
Plan, and the votes of such Holders will not be solicited with respect to such Other Priority Claims.

                4.3      Federal Government Unsecured Claims (Class 3).

                        (a)      Allowance of the DOJ Civil Claim and DOJ Criminal Fine Claim:
Pursuant to the DOJ 9019 Order, the DOJ Civil Claim is Allowed in the amount of $2.8 billion. The DOJ
Criminal Fine Claim shall be Allowed in the amount of $3.544 billion on the later of (i) the DOJ Conviction
Judgment Date and (ii) the entry by the Bankruptcy Court of the Confirmation Order.




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                         (b)     Treatment: On the Effective Date, in full and final satisfaction, settlement
and release of the Allowed Federal Government Unsecured Claims, the United States shall receive (i) the
Initial Federal Government Distribution and (ii) the MDT Federal Government Claim. The MDT Federal
Government Claim shall be payable by the Master Disbursement Trust in the following installments (which
installments shall, to the extent applicable, be reduced as a result of prepayments in accordance with
Section 5.2(d)(iv) of the Plan): (x) $10 million on the first Scheduled MDT Distribution Date,
(y) $10 million on July 31, 2023 and (z) $5 million on July 31, 2024. The Initial Federal Government
Distribution and the amounts paid to the United States on account of the MDT Federal Government Claim
shall be deemed applied 60% to the DOJ Unsecured Claims and 40% to the Other Federal Agency Claims.

                        (c)    Impairment and Voting: The Federal Government Unsecured Claims are
Impaired. Holders of Federal Government Unsecured Claims are entitled to vote to accept or reject the Plan.

                 4.4      Non-Federal Domestic Governmental Claims (Class 4).

                          (a)    Treatment: On the Effective Date, in full and final satisfaction, settlement
and release of the Debtors’ obligations in respect of Non-Federal Domestic Governmental Claims, NOAT
shall receive (i) the Initial NOAT Distribution (less the Public Schools’ Special Education Initiative
Contribution), (ii) the TopCo NOAT Interest and (iii) the MDT NOAT Interest. Distributions in respect of
Non-Federal Domestic Governmental Channeled Claims shall be exclusively in the form of Abatement
Distributions made by NOAT to Authorized Recipients for Authorized Abatement Purposes, in accordance
with the NOAT TDP.

                        (b)      Channeling: As of the Effective Date, in accordance with the Plan and the
Master TDP, any and all liability of the Debtors and the other Protected Parties for any and all Non-Federal
Domestic Governmental Channeled Claims shall automatically, and without further act, deed or court
order, be channeled exclusively to and assumed by NOAT. Each Non-Federal Domestic Governmental
Channeled Claim shall be asserted exclusively against NOAT and resolved solely in accordance with the
terms, provisions and procedures of the NOAT TDP. The sole recourse of any Person on account of any
Non-Federal Domestic Governmental Channeled Claim, whether or not the Holder thereof participated in
the Chapter 11 Cases and whether or not such Holder filed a Proof of Claim in the Chapter 11 Cases, shall
be to NOAT as and to the extent provided in the NOAT TDP. Holders of Non-Federal Domestic
Governmental Channeled Claims are enjoined from asserting against any Debtor or other Protected Party
any Channeled Claim, and may not proceed in any manner against any Debtor or other Protected Party on
account of any Channeled Claim in any forum whatsoever, including any state, federal or non-U.S. court or
administrative or arbitral forum, and are required to pursue Non-Federal Domestic Governmental
Channeled Claims exclusively against NOAT, solely as and to the extent provided in the NOAT TDP.

                       (c)    Impairment and Voting: Non-Federal Domestic Governmental Claims are
Impaired. Holders of Non-Federal Domestic Governmental Claims are entitled to vote to accept or reject
the Plan.

                 4.5      Tribe Claims (Class 5).

                         (a)      Treatment: On the Effective Date, in full and final satisfaction, settlement
and release of the Debtors’ obligations in respect of Tribe Claims, the Tribe Trust shall receive (i) the Initial
Tribe Trust Distribution, (ii) the TopCo Tribe Interest and (iii) the MDT Tribe Interest. Distributions in
respect of Tribe Claims shall be exclusively in the form of Abatement Distributions made by the Tribe Trust
to Authorized Recipients for Authorized Abatement Purposes, in accordance with the Tribe TDP.

                     (b)       Channeling: As of the Effective Date, in accordance with the Plan and the
Master TDP, any and all liability of the Debtors and the other Protected Parties for any and all Tribe


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Channeled Claims shall automatically, and without further act, deed or court order, be channeled
exclusively to and assumed by the Tribe Trust. Each Tribe Channeled Claim shall be asserted exclusively
against the Tribe Trust and resolved solely in accordance with the terms, provisions and procedures of the
Tribe TDP. The sole recourse of any Person on account of any Tribe Channeled Claim, whether or not the
Holder thereof participated in the Chapter 11 Cases and whether or not such Holder filed a Proof of Claim
in the Chapter 11 Cases, shall be to the Tribe Trust as and to the extent provided in the Tribe TDP. Holders
of Tribe Channeled Claims are enjoined from asserting against any Debtor or other Protected Party any
Channeled Claim, and may not proceed in any manner against any Debtor or other Protected Party on
account of any Channeled Claim in any forum whatsoever, including any state, federal or non-U.S. court or
administrative or arbitral forum, and are required to pursue Tribe Channeled Claims exclusively against the
Tribe Trust, solely as and to the extent provided in the Tribe TDP.

                         (c)      Impairment and Voting: Tribe Claims are Impaired. Holders of Tribe
Claims are entitled to vote to accept or reject the Plan.

                 4.6     Hospital Claims (Class 6).

                         (a)      Treatment: On the Effective Date, in full and final satisfaction, settlement
and release of the Debtors’ obligations in respect of Hospital Claims, the Hospital Trust shall receive (i) the
Initial Hospital Trust Distribution and (ii) the MDT Hospital Claim. Distributions in respect of Hospital
Channeled Claims shall be exclusively in the form of Abatement Distributions made by the Hospital Trust
to Authorized Recipients for Authorized Abatement Purposes, in accordance with the Hospital TDP.

                          (b)    Channeling: As of the Effective Date, in accordance with the Plan and the
Master TDP, any and all liability of the Debtors and the other Protected Parties for any and all Hospital
Channeled Claims shall automatically, and without further act, deed or court order, be channeled
exclusively to and assumed by the Hospital Trust. Each Hospital Channeled Claim shall be asserted
exclusively against the Hospital Trust and resolved solely in accordance with the terms, provisions and
procedures of the Hospital TDP. The sole recourse of any Person on account of any Hospital Channeled
Claim, whether or not the Holder thereof participated in the Chapter 11 Cases and whether or not such
Holder filed a Proof of Claim in the Chapter 11 Cases, shall be to the Hospital Trust as and to the extent
provided in the Hospital TDP. Holders of Hospital Channeled Claims are enjoined from asserting against
any Debtor or other Protected Party any Channeled Claim, and may not proceed in any manner against any
Debtor or other Protected Party on account of any Channeled Claim in any forum whatsoever, including
any state, federal or non-U.S. court or administrative or arbitral forum, and are required to pursue Hospital
Channeled Claims exclusively against the Hospital Trust, solely as and to the extent provided in the
Hospital TDP.

                        (c)      Impairment and Voting: Hospital Claims are Impaired. Holders of
Hospital Claims are entitled to vote to accept or reject the Plan.

                 4.7     Third-Party Payor Claims (Class 7).

                          (a)     Treatment: On the Effective Date, in full and final satisfaction, settlement
and release of the Debtors’ obligations in respect of Third-Party Payor Claims, the TPP Trust shall receive
(i) the Initial TPP Trust Distribution and (ii) the MDT TPP Claim. Distributions in respect of Third-Party
Payor Channeled Claims shall be exclusively in the form of Abatement Distributions made by the TPP
Trust to Authorized Recipients for Authorized Abatement Purposes, in accordance with the TPP TDP. For
the avoidance of doubt, any payments from the TPP LRP Escrow Account to which LRP Participating TPPs
may be entitled under the LRP Agreement shall not be subject to this Section 4.7.




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                         (b)      Channeling: As of the Effective Date, in accordance with the Plan and the
Master TDP, any and all liability of the Debtors and the other Protected Parties for any and all Third-Party
Payor Channeled Claims shall automatically, and without further act, deed or court order, be channeled
exclusively to and assumed by the TPP Trust. Each Third-Party Payor Channeled Claim shall be asserted
exclusively against the TPP Trust and resolved solely in accordance with the terms, provisions and
procedures of the TPP TDP. The sole recourse of any Person on account of any Third-Party Payor
Channeled Claim, whether or not the Holder thereof participated in the Chapter 11 Cases and whether or not
such Holder filed a Proof of Claim in the Chapter 11 Cases, shall be to the TPP Trust as and to the extent
provided in the TPP TDP. Holders of Third-Party Payor Channeled Claims are enjoined from asserting
against any Debtor or other Protected Party any Channeled Claim, and may not proceed in any manner
against any Debtor or other Protected Party on account of any Channeled Claim in any forum whatsoever,
including any state, federal or non-U.S. court or administrative or arbitral forum, and are required to pursue
Third-Party Payor Channeled Claims exclusively against the TPP Trust, solely as and to the extent provided
in the TPP TDP.

                        (c)     Impairment and Voting: Third-Party Payor Claims are Impaired. Holders
of Third-Party Payor Claims are entitled to vote to accept or reject the Plan.

                4.8      Ratepayer Claims (Class 8).

                        (a)     Treatment: In full and final satisfaction, settlement and release of all
Ratepayer Claims, on the Effective Date or as soon thereafter as reasonably practicable, Effective Date
Cash shall be used to make the Truth Initiative Contribution in an amount equal to $6.5 million, subject to
the deductions therefrom for the required payments to the Common Benefit Escrow and in respect of
attorneys’ fees of the Ratepayer Mediation Participants in accordance with Section 5.8(c) and (f) of the
Plan.

                       (b)       Impairment and Voting: Ratepayer Claims are Impaired. Holders of
Ratepayer Claims are entitled to vote to accept or reject the Plan.

                         (c)      Tax Treatment: The Truth Initiative Contribution shall be treated, for U.S.
federal income tax purposes, as (i) the cancellation of all Ratepayer Claims for no consideration and (ii) a
transfer of Cash to the Truth Initiative Foundation by the Debtors.

                4.9      NAS Monitoring Claims (Class 9).

                           (a)    Treatment: On the Effective Date, in full and final satisfaction, settlement
and release of the Debtors’ obligations in respect of NAS Monitoring Claims, the NAS Monitoring Trust
shall receive (i) the Initial NAS Monitoring Trust Distribution and (ii) the MDT NAS Monitoring Claim.
Distributions in respect of NAS Monitoring Channeled Claims shall be exclusively in the form of
Abatement Distributions made by the NAS Monitoring Trust to Authorized Recipients for Authorized
Abatement Purposes, in accordance with the NAS Monitoring TDP.

                         (b)     Channeling: As of the Effective Date, in accordance with the Plan and the
Master TDP, any and all liability of the Debtors and the other Protected Parties for any and all NAS
Monitoring Channeled Claims shall automatically, and without further act, deed or court order, be
channeled exclusively to and assumed by the NAS Monitoring Trust. Each NAS Monitoring Channeled
Claim shall be asserted exclusively against the NAS Monitoring Trust and resolved solely in accordance
with the terms, provisions and procedures of the NAS Monitoring TDP. The sole recourse of any Person on
account of any NAS Monitoring Channeled Claim, whether or not the Holder thereof participated in the
Chapter 11 Cases and whether or not such Holder filed a Proof of Claim in the Chapter 11 Cases, shall be to
the NAS Monitoring Trust as and to the extent provided in the NAS Monitoring TDP. Holders of NAS


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Monitoring Channeled Claims are enjoined from asserting against any Debtor or other Protected Party any
Channeled Claim, and may not proceed in any manner against any Debtor or other Protected Party on
account of any Channeled Claim in any forum whatsoever, including any state, federal or non-U.S. court or
administrative or arbitral forum, and are required to pursue NAS Monitoring Channeled Claims exclusively
against the NAS Monitoring Trust, solely as and to the extent provided in the NAS Monitoring TDP.

                     (c)      Impairment and Voting: NAS Monitoring Claims are Impaired. Holders of
NAS Monitoring Claims are entitled to vote to accept or reject the Plan.

                4.10     PI Claims (Classes 10(a) and 10(b)).

                         (a)       PI Trust: On the Effective Date, in full and final satisfaction, settlement
and release of the Debtors’ obligations in respect of PI Claims, the PI Trust shall receive, subject to
Section 5.2(h) of the Plan, (i) the Initial PI Trust Distribution and (ii) the MDT PI Claim.

                         (b)     NAS PI Claims (Class 10(a))

                                 (i)      Treatment: The PI Trust shall deposit the NAS PI Portion into the
                                          PI Trust NAS Fund in periodic installments as funds are received
                                          by the PI Trust. Distributions in respect of NAS PI Channeled
                                          Claims shall be exclusively in the form of Distributions from the
                                          PI Trust NAS Fund to Holders of Allowed NAS PI Channeled
                                          Claims, in accordance with the NAS PI TDP, and shall be subject
                                          to the PI Trust Deductions and Holdbacks.

                                 (ii)     Channeling: As of the Effective Date, in accordance with the Plan
                                          and the Master TDP, any and all liability of the Debtors and the
                                          other Protected Parties for any and all NAS PI Channeled Claims
                                          shall automatically, and without further act, deed or court order,
                                          be channeled exclusively to and assumed by the PI Trust. Each
                                          NAS PI Channeled Claim shall be asserted exclusively against the
                                          PI Trust and resolved solely in accordance with the terms,
                                          provisions and procedures of the NAS PI TDP. The sole recourse
                                          of any Person on account of any NAS PI Channeled Claim,
                                          whether or not the Holder thereof participated in the Chapter 11
                                          Cases and whether or not such Holder filed a Proof of Claim in the
                                          Chapter 11 Cases, shall be to the PI Trust NAS Fund as and to the
                                          extent provided in the NAS PI TDP. Holders of NAS PI
                                          Channeled Claims are enjoined from asserting against any Debtor
                                          or other Protected Party any Channeled Claim, and may not
                                          proceed in any manner against any Debtor or other Protected
                                          Party on account of any Channeled Claim in any forum
                                          whatsoever, including any state, federal or non-U.S. court or
                                          administrative or arbitral forum, and are required to pursue NAS
                                          PI Channeled Claims exclusively against the PI Trust, solely as
                                          and to the extent provided in the NAS PI TDP.

                                 (iii)    Impairment and Voting: NAS PI Claims are Impaired. Holders of
                                          NAS PI Claims are entitled to vote to accept or reject the Plan.

                         (c)     Non-NAS PI Claims (Class 10(b)).



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                                 (i)     Treatment: The PI Trust shall deposit the Non-NAS PI Portion
                                         into the PI Trust Non-NAS Fund in periodic installments as funds
                                         are received by the PI Trust. Distributions in respect of Non-NAS
                                         PI Channeled Claims shall be exclusively in the form of
                                         Distributions from the PI Trust Non-NAS Fund to Holders of
                                         Allowed Non-NAS PI Channeled Claims, in accordance with the
                                         Non-NAS PI TDP, and shall be subject to the PI Trust Deductions
                                         and Holdbacks.

                                 (ii)    Channeling: As of the Effective Date, in accordance with the Plan
                                         and the Master TDP, any and all liability of the Debtors and the
                                         other Protected Parties for any and all Non-NAS PI Channeled
                                         Claims shall automatically, and without further act, deed or court
                                         order, be channeled exclusively to and assumed by the PI Trust.
                                         Each Non-NAS PI Channeled Claim shall be asserted exclusively
                                         against the PI Trust and resolved solely in accordance with the
                                         terms, provisions and procedures of the Non-NAS PI TDP. The
                                         sole recourse of any Person on account of any Non-NAS PI
                                         Channeled Claim, whether or not the Holder thereof participated
                                         in the Chapter 11 Cases and whether or not such Holder filed a
                                         Proof of Claim in the Chapter 11 Cases, shall be to the PI Trust
                                         Non-NAS Fund as and to the extent provided in the Non-NAS PI
                                         TDP. Holders of Non-NAS PI Channeled Claims are enjoined
                                         from asserting against any Debtor or other Protected Party any
                                         Channeled Claim, and may not proceed in any manner against any
                                         Debtor or other Protected Party on account of any Channeled
                                         Claim in any forum whatsoever, including any state, federal or
                                         non-U.S. court or administrative or arbitral forum, and are
                                         required to pursue Non-NAS PI Channeled Claims exclusively
                                         against the PI Trust, solely as and to the extent provided in the
                                         Non-NAS PI TDP.

                                 (iii)   Impairment and Voting: Non-NAS PI Claims are Impaired.
                                         Holders of Non-NAS PI Claims are entitled to vote to accept or
                                         reject the Plan.

                          (d)     Canadian Patient Settlement. Pursuant to the Canadian Patient Claim
Settlement Stipulation, if the Canadian Patient Settlement Agreement is approved by the Saskatchewan
Court of Queen’s Bench and the funds in the Canadian Patient Settlement Trust are released for the benefit
of Holders of Settled Canadian Patient Claims (i) no Holder of a Settled Canadian Patient Claim that filed a
Proof of Claim shall receive a recovery in respect of such Settled Canadian Patient Claim from any source
other than the Patient Settlement Payment (as defined in the Canadian Patient Claim Settlement Stipulation)
made from the Canadian Patient Settlement Trust and (ii) in order to receive a recovery in respect of any
other Claim for which a Proof of Claim was filed by a Holder of a Settled Canadian Patient Claim, such
Holder shall have the burden of proving that such Proof of Claim is not in respect of a Settled Canadian
Patient Claim that was released and discharged pursuant to the Canadian Patient Claim Settlement
Stipulation and such Holder has not received any recovery from the Canadian Patient Settlement Trust on
account of such Claim. No Distributions shall be made on account of any Claims that may constitute Settled
Canadian Patient Claims unless and until (x) the Saskatchewan Court of Queen’s Bench approves the
Canadian Patient Settlement Agreement and all funds in the Canadian Patient Settlement Trust have been
distributed to Holders of Settled Canadian Patient Claims in accordance with the Canadian Patient


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Settlement Agreement or (y) the Saskatchewan Court of Queen’s Bench denies the Canadian Patient
Settlement Agreement. For the avoidance of doubt, nothing in Article X of the Plan shall affect the validity
or enforceability of the Canadian Patient Settlement Agreement.

                 4.11    Avrio General Unsecured Claims (Class 11(a)).

                         (a)      Treatment: Except to the extent a Holder of an Allowed Avrio General
Unsecured Claim and Avrio Health L.P. agree to different treatment, on the Effective Date, or as soon as
reasonably practicable thereafter, each Holder of an Allowed Avrio General Unsecured Claim shall receive,
on account of such Allowed Claim, payment in full in Cash.

                        (b)     Impairment and Voting: Avrio General Unsecured Claims are
Unimpaired. Holders of Avrio General Unsecured Claims are conclusively presumed to accept this Plan
pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders of Avrio General Unsecured
Claims are not entitled to vote to accept or reject the Plan, and the votes of such Holders will not be
solicited.

                 4.12    Adlon General Unsecured Claims (Class 11(b)).

                         (a)     Treatment: Except to the extent a Holder of an Allowed Adlon General
Unsecured Claim and Adlon Therapeutics L.P. agree to different treatment, on the Effective Date, or as
soon as reasonably practicable thereafter, each Holder of an Allowed Adlon General Unsecured Claim shall
receive, on account of such Allowed Claim, payment in full in Cash.

                        (b)     Impairment and Voting: Adlon General Unsecured Claims are
Unimpaired. Holders of Adlon General Unsecured Claims are conclusively presumed to accept this Plan
pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders of Adlon General Unsecured
Claims are not entitled to vote to accept or reject the Plan, and the votes of such Holders will not be
solicited.

                 4.13    Other General Unsecured Claims (Class 11(c)).

                         (a)      Treatment: All Other General Unsecured Claims are Disputed. Except to
the extent a Holder of an Allowed Other General Unsecured Claim and the Debtor against which such
Claim is asserted agree to different treatment, after the Effective Date upon the Allowance of such Claim in
accordance with Article VII of the Plan, each Holder of an Allowed Other General Unsecured Claim shall
receive, on account of such Allowed Claim, such Holder’s Pro Rata Share of the Other General Unsecured
Claim Cash, up to payment in full of such Allowed Claim.

                       (b)    Impairment and Voting: Other General Unsecured Claims are Impaired.
Holders of Other General Unsecured Claims are entitled to vote to accept or reject the Plan.

                 4.14    Intercompany Claims (Class 12).

                          (a)      Treatment: Except as otherwise provided in the NewCo Transfer
Agreement or the Restructuring Steps Memorandum, on or after the Effective Date, Intercompany Claims
shall be (x) in the case of Intercompany Claims held by a Liquidating Debtor against another Liquidating
Debtor, at the discretion of the Debtors (or the Plan Administration Trustee, as applicable), (y) in the case of
Intercompany Claims held by a Transferred Debtor against another Transferred Debtor, at the discretion of
NewCo and (z) otherwise, at the discretion of the Debtors (or the Plan Administration Trustee, as
applicable) with the consent (not to be unreasonably withheld, conditioned or delayed) of the Governmental
Consent Parties:



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                                       (i)       Reinstated; or

                                       (ii)      Compromised and settled or canceled and extinguished with no
                                                 distribution on account thereof.

                         (b)      Impairment and Voting: Intercompany Claims are either Unimpaired or
Impaired with no distribution on account thereof. Holders of Intercompany Claims are either conclusively
presumed to accept this Plan pursuant to section 1126(f) of the Bankruptcy Code or deemed to reject this
Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Intercompany Claims are
not entitled to vote to accept or reject the Plan, and the votes of such Holders will not be solicited with
respect to such Intercompany Claims.

                   4.15      Shareholder Claims (Class 13).

                         (a)     Treatment: Holders of Shareholder Claims shall not receive or retain any
property on account of such Claims. As of the Effective Date, in accordance with the terms of and except as
otherwise expressly provided in the Shareholder Settlement, all Shareholder Claims shall automatically,
and without further act, deed or court order, be deemed to have been released without any distribution on
account thereof, and such Claims shall be of no further force or effect.

                         (b)     Impairment and Voting: Shareholder Claims are Impaired. Holders of
Shareholder Claims are deemed to reject this Plan pursuant to section 1126(g) of the Bankruptcy Code.
Therefore, Holders of Shareholder Claims are not entitled to vote to accept or reject the Plan, and the votes
of such Holders will not be solicited with respect to such Shareholder Claims.2

                   4.16      Co-Defendant Claims (Class 14).

                         (a)     Treatment: In full and final satisfaction and release of each Co-Defendant
Claim, the Holder thereof shall (i) not receive or retain any property on account of such Co-Defendant
Claim and not have any recourse to any Debtor or any Assets of any Debtor, any Estate or any Assets of any
Estate, or any other Protected Party or any Assets of any Protected Party and (ii) retain its Co-Defendant
Defensive Rights, which may be exercised solely in accordance with Section 10.18. As of the Effective
Date, Co-Defendant Claims shall be deemed expunged, released and extinguished without further action by
or order of the Bankruptcy Court, and shall be of no further force or effect. Notwithstanding the release,
satisfaction, expungement and extinguishment of Co-Defendant Claims, a Co-Defendant retains its
Co-Defendant Defensive Rights, which includes the ability to recover from Persons that are not Protected
Parties or from any insurance policies that are not Purdue Insurance Policies or other insurance policies of
Protected Parties.

                        (b)      Impairment and Voting: Co-Defendant Claims are Impaired. Holders of
Co-Defendant Claims are deemed to reject this Plan pursuant to section 1126(g) of the Bankruptcy Code.
Therefore, Holders of Co-Defendant Claims are not entitled to vote to accept or reject the Plan, and the
votes of such Holders will not be solicited with respect to such Co-Defendant Claims.




2 Although Holders of Shareholder Claims are deemed to reject the Plan pursuant to section 1126(g) of the Bankruptcy Code, the

Shareholder Payment Parties, in all capacities (including as Holders of Claims), have agreed to support the Plan pursuant to the
Shareholder Settlement Agreement.



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                4.17     Other Subordinated Claims (Class 15).

                         (a)     Treatment: Other Subordinated Claims are subordinated pursuant to the
Plan and section 509(c) and/or 510 of the Bankruptcy Code and/or other applicable law. Holders of Other
Subordinated Claims shall not receive or retain any property under this Plan on account of such Claims. As
of the Effective Date, Other Subordinated Claims shall be deemed expunged, released and extinguished
without further action by or order of the Bankruptcy Court, and shall be of no further force or effect.

                          (b)      Impairment and Voting: Other Subordinated Claims are Impaired.
Holders of Other Subordinated Claims are deemed to reject this Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, Holders of Other Subordinated Claims are not entitled to vote to accept or
reject the Plan, and the votes of such Holders will not be solicited with respect to such Other Subordinated
Claims.

                4.18     PPLP Interests (Class 16).

                        (a)     Treatment: In accordance with the terms of the Shareholder Settlement
Agreement, Holders of PPLP Interests shall relinquish such Interests and shall not receive or retain any
property under the Plan on account of such Interests. As of the PPLP Dissolution Date, all PPLP Interests
shall be deemed surrendered, canceled and/or redeemed without further action by or order of the
Bankruptcy Court, and shall be of no further force or effect.

                          (b)     Impairment and Voting: PPLP Interests are Impaired. Holders of PPLP
Interests are deemed to reject this Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
Holders of PPLP Interests are not entitled to vote to accept or reject the Plan, and the votes of such Holders
will not be solicited with respect to such PPLP Interests.

                4.19     PPI Interests (Class 17).

                         (a)      Treatment: In accordance with the terms of the Shareholder Settlement
Agreement, Holders of PPI Interests shall relinquish such Interests and shall not receive or retain any
property under this Plan on account of such Interests. As of the Effective Date, PPI Interests shall be
deemed surrendered, canceled and/or redeemed without further action by or order of the Bankruptcy Court,
and shall be of no further force or effect.

                          (b)     Impairment and Voting: PPI Interests are Impaired. Holders of PPI
Interests are deemed to reject this Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
Holders of PPI Interests are not entitled to vote to accept or reject the Plan, and the votes of such Holders
will not be solicited with respect to such PPI Interests.

                4.20     Intercompany Interests (Class 18).

                       (a)     Treatment: Except as otherwise provided in the NewCo Transfer
Agreement or the Restructuring Steps Memorandum, on the Effective Date, Intercompany Interests shall
be:

                                 (i)      with respect to Intercompany Interests in any Transferred Debtor
                                          held by PPLP, Reinstated and transferred to NewCo (or one of its
                                          Subsidiaries) in accordance with the NewCo Transfer Agreement;




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                                   (ii)     with respect to Intercompany Interests in any Transferred Debtor
                                            held by another Transferred Debtor, Reinstated or otherwise
                                            treated in accordance with the NewCo Transfer Agreement; and

                                   (iii)    with respect to Intercompany Interests in any Debtor that is not a
                                            Transferred Debtor, Reinstated solely for administrative
                                            convenience until canceled when such Debtor is dissolved or
                                            merged out of existence by the Plan Administration Trustee.

                         (b)      Impairment and Voting: Intercompany Interests are either Unimpaired or
Impaired with no distribution on account thereof. Holders of Intercompany Interests are either conclusively
presumed to accept this Plan pursuant to section 1126(f) of the Bankruptcy Code or deemed to reject this
Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Intercompany Interests are
not entitled to vote to accept or reject the Plan, and the votes of such Holders will not be solicited with
respect to such Intercompany Interests.

                 4.21     Debtors’ Rights with Respect to Unimpaired Claims.

                         Except as otherwise provided in this Plan, nothing under the Plan shall affect the
rights of the Debtors with respect to an Unimpaired Claim, including all rights with respect to legal and
equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

ARTICLE V        MEANS FOR IMPLEMENTATION.

                 5.1      Restructuring Transactions.

                           On or before the Effective Date or as soon as reasonably practicable thereafter, the
Debtors may take all actions consistent with this Plan as may be necessary or appropriate to effect any
transaction described in, approved by, contemplated by or necessary to effectuate the Restructuring
Transactions under and in connection with this Plan, including (a) the execution and delivery of all
appropriate agreements or other documents of merger, consolidation, sale, restructuring, conversion,
disposition, transfer, dissolution or liquidation containing terms that are consistent with the Plan; (b) the
execution and delivery of appropriate instruments of transfer, assignment, assumption or delegation of any
Asset, property, interest, right, liability, debt or obligation on terms consistent with the Plan; (c) the filing of
appropriate certificates or articles of organization, limited partnership, incorporation, reincorporation,
merger, consolidation, conversion or dissolution pursuant to applicable law; (d) the execution, delivery,
filing, recordation and issuance of any other documents, instruments or agreements in connection with the
Restructuring Transactions and (e) any transactions described in the Restructuring Steps Memorandum.

                 5.2      Plan Settlements.

                         (a)     As further described in the Disclosure Statement, the provisions of this
Plan (including the provisions contained in Section 5.8 of the Plan and the release and injunctive provisions
contained in Article X of the Plan) and the other Plan Documents constitute a good faith compromise and
settlement of Claims and controversies among the Debtors, the Supporting Claimants, the Shareholder
Payment Parties, certain other participants in the Mediation and other parties in interest reached in
connection with the Mediation and otherwise, which such compromise and settlement is necessary and
integral to the Plan and the Plan Documents and the success of these Chapter 11 Cases. The Debtors, the
Supporting Claimants and the Shareholder Payment Parties believe the treatment provided in respect of
Claims against and Interests in the Debtors and the treatment of competing Classes of Claims is fair and
appropriate only when combined with the distribution scheme, including without limitation all
Distributions to be made under the Plan, and the release, injunction and all other provisions contained in the


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Plan, all of which are material aspects of the Plan. More than 614,000 Proofs of Claim alleging liability
arising out of or in connection with Opioid-Related Activities were filed against the Debtors by the General
Bar Date. Approximately 10% of the submitted Proofs of Claim allege a specific amount of liability. The
aggregate alleged liability associated with these Proofs of Claim is more than $40 trillion (exclusive of one
personal injury claim that asserted $100 trillion in alleged liability). Approximately 90% of Claims alleging
liability arising out of or in connection with Opioid-Related Activities do not allege a specific amount of
liability. The Debtors believe that any reasonable estimate, projection or valuation of their total liability and
obligation to pay for Claims in Classes 3, 4, 5, 6, 7, 8, 9, 10(a) and 10(b), if they had the ability to pay those
Claims outside of these Chapter 11 Cases, exceeds by many multiples the total value of all assets of their
Estates, including but not limited to contributions from third parties and the full face value of all of Purdue’s
insurance. The Debtors have structured the Plan on the basis of this understanding, and the Confirmation
Order shall include a finding consistent with this understanding.

                         (b)       The Plan, including the explanation set forth in the Disclosure Statement,
and the Plan Documents shall be deemed a motion to approve the Plan Settlements and the good faith full
and final comprehensive compromise and settlement of all of the Claims, Interests and controversies
described in the foregoing Section 5.2(a) pursuant to Bankruptcy Rule 9019, and entry of the Confirmation
Order shall constitute the Bankruptcy Court’s approval of the Plan Settlements under section 1123 of the
Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that the Plan
Settlements are fair, equitable, reasonable and in the best interests of the Debtors and their Estates.

                           (c)     The Plan, the Plan Settlement, the Plan Documents and the Confirmation
Order constitute a good faith full and final comprehensive compromise and settlement of all Claims,
Interests and controversies described in the Plan based upon the unique circumstances of these Chapter 11
Cases (such as the total distributable value available, the unique facts and circumstances relating to these
Debtors and the need for an accelerated resolution without additional avoidable litigation) such that (i) none
of the foregoing documents (including the provisions contained in Section 5.8 of the Plan), nor any
materials used in furtherance of Plan confirmation (including, but not limited to, the Disclosure Statement,
and any notes related to, and drafts of, such documents and materials), may be offered into evidence,
deemed an admission, used as precedent or used by any party or Person in any context whatsoever beyond
the purposes of this Plan, in any other litigation or proceeding, except as necessary, and as admissible in
such context, to enforce their terms and to evidence the terms of the Plan and the Plan Documents before the
Bankruptcy Court or any other court of competent jurisdiction and (ii) any obligation by any party, in
furtherance of such compromise and settlement, to not exercise rights that might be otherwise available to
such party shall be understood to be an obligation solely in connection with this specific compromise and
settlement and to be inapplicable in the absence of such compromise and settlement. The Plan, the Plan
Settlement, the Plan Documents and the Confirmation Order will be binding as to the matters and issues
described therein, but will not be binding with respect to similar matters or issues that might arise in any
other litigation or proceeding in which none of the Debtors or any other Protected Party is a party; provided
that such litigation or proceeding is not to enforce or evidence the terms of the Plan, the Plan Settlement, the
Plan Documents or the Confirmation Order. Any Person’s support of, or position or action taken in
connection with, this Plan, the Plan Settlement, the Plan Documents and the Confirmation Order may differ
from such Person’s position or testimony in any other litigation or proceeding not in connection with these
Chapter 11 Cases. Further, and, as all parties to the Mediation agreed, this Plan Settlement is not intended to
serve as an example for, or represent the parties’ respective positions or views concerning, any other
chapter 11 cases relating to opioids, nor shall it be used as precedent by any Person or party in any other
such chapter 11 cases or in any other proceeding, situation or litigation.

                         (d)      Private Entity Settlements. On the Effective Date, the Private Creditor
Trusts shall receive their respective Initial Private Creditor Trust Distributions and their respective MDT




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Private Claims. The MDT Private Claims shall entitle the Private Creditor Trusts to the payments and other
benefits set forth below.

                                (i)     The Master Disbursement Trust shall make payments of the MDT
                                        Private Claims on each MDT Distribution Date in the amount then
                                        due and owing to each Private Creditor Trust. The MDT Private
                                        Claims shall be payable by the Master Disbursement Trust in
                                        installments in the amounts and on the MDT Distribution Dates
                                        set forth below, which installments shall, to the extent applicable,
                                        be reduced as a result of prepayments in accordance with
                                        Section 5.2(d)(iv) of the Plan:

                                        (A)     The MDT Hospital Claim shall be payable in the
                                                following installments: (I) $35 million on the first
                                                Scheduled MDT Distribution Date, (II) $45 million on
                                                July 31, 2023, (III) $45 million on July 31, 2024,
                                                (IV) $50 million on July 31, 2025 and (V) $50 million on
                                                July 31, 2026.

                                        (B)     The MDT TPP Claim shall be payable in the following
                                                installments: (I) $120 million on the first Scheduled
                                                MDT Distribution Date, (II) $120 million on July 31,
                                                2023 and (III) $120 million on July 31, 2024.

                                        (C)     The MDT NAS Monitoring Claims shall be payable in
                                                the following installments: (I) $24 million on the first
                                                Scheduled MDT Distribution Date and (II) $35 million
                                                on July 31, 2023.

                                        (D)     The MDT PI Claim shall be payable in the following
                                                installments: (I) $200 million on July 31, 2024,
                                                (II) $100 million on July 31, 2025 and (III) $100 million
                                                on July 31, 2026. In addition, in the event the aggregate
                                                MDT Bermuda-Form Insurance Proceeds (whether
                                                received before, on or after July 31, 2026) exceed
                                                $400 million, the PI Trust shall be entitled to an
                                                incremental payment in the amount of the lesser of (x) the
                                                aggregate amount of the MDT Bermuda-Form Insurance
                                                Proceeds in excess of $400 million and (y) $50 million
                                                (which shall be in addition to, and not in reduction or
                                                substitution of, any of the installment payments set forth
                                                in the previous sentence), payable within thirty (30) days
                                                of receipt of any such MDT Bermuda-Form Insurance
                                                Proceeds, in accordance with Section 5.2(d)(iv)(A) of the
                                                Plan.

                                (ii)    Upon the commencement of an MDT Reserve Period, the MDT
                                        Trustees shall provide notice thereof to NewCo, TopCo and each
                                        Creditor Trust and shall establish and fund the MDT Claims
                                        Reserve in an amount equal to the MDT Claims Reserve Funding
                                        Amount. For so long as such MDT Reserve Period is continuing,
                                        the MDT Claims Reserve shall remain in place and no TopCo


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                                  Distributions or Public Creditor Trust Distributions, nor any
                                  repayments by the Master Disbursement Trust to NewCo or
                                  TopCo, shall be made until the MDT Operating Reserve and the
                                  MDT Claims Reserve are fully funded in the amounts required at
                                  such time. For the avoidance of doubt, notwithstanding the
                                  occurrence and continuation of an MDT Reserve Period, so long
                                  as the MDT Operating Reserve and the MDT Claims Reserve are
                                  fully funded, the Master Disbursement Trust and TopCo shall
                                  continue to make Public Creditor Trust Distributions and NewCo
                                  shall continue to make TopCo Distributions, in each case, solely
                                  in accordance with Section 5.2(e) of the Plan.

                          (iii)   NewCo shall guarantee the obligations of the Master
                                  Disbursement Trust to make payments on account of the MDT
                                  Claims in accordance with the Plan, and NewCo and TopCo shall
                                  make payments to the Master Disbursement Trust as set forth
                                  below in accordance with the NewCo Credit Support Agreement.

                                  (A)    Within ten (10) Business Days following the receipt by
                                         NewCo from the MDT Trustees of notice of the
                                         commencement of an MDT Reserve Period and on each
                                         NewCo Distribution Date thereafter, for so long as such
                                         MDT Reserve Period is continuing, NewCo shall pay to
                                         the Master Disbursement Trust all NewCo Available
                                         Cash up to an aggregate amount necessary to ensure that
                                         the MDT Operating Reserve and the MDT Claims
                                         Reserve are fully funded at the amounts required as of
                                         that date. The amounts required to be paid by NewCo to
                                         the     Master     Disbursement     Trust     under   this
                                         Section 5.2(d)(iii)(A) shall be limited to the extent of
                                         NewCo Available Cash; provided that, in the event there
                                         is a deficiency of funding in the MDT Claims Reserve for
                                         a period of eighteen (18) months during the continuation
                                         of an MDT Reserve Period, the Master Disbursement
                                         Trust shall be entitled to accelerate its claims under the
                                         NewCo Credit Support Agreement and exercise
                                         remedies.

                                  (B)    Irrespective of whether there is an MDT Reserve Period
                                         in effect, until the payment in full in Cash of the MDT
                                         Claims, TopCo and NewCo shall pay to the Master
                                         Disbursement Trust an amount equal to 100% of the
                                         MDT Distributable Sale Proceeds within five (5)
                                         Business Days after the receipt thereof; provided that
                                         (I) MDT Distributable Sale Proceeds of less than
                                         $10 million (in the aggregate for TopCo and NewCo)
                                         shall be carried forward and accumulated and no
                                         distributions to the Master Disbursement Trust on
                                         account thereof shall be required until the aggregate
                                         amount of the accumulated MDT Distributable Sale
                                         Proceeds so received following the Effective Date equals


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                                        or exceeds such amount and (II) the amounts payable to
                                        the    Master      Disbursement    Trust     under    this
                                        Section 5.2(d)(iii)(B) shall not exceed the aggregate
                                        outstanding amount owed on account of the MDT Claims
                                        (regardless of whether some amounts have yet fallen
                                        due). Any non-Cash proceeds in respect of the sale of any
                                        Asset of TopCo or any of its Subsidiaries shall be held
                                        and not distributed by TopCo or such Subsidiary, as
                                        applicable, until the payment in full of the MDT Claims
                                        or the disposition of such non-Cash proceeds for Cash;
                                        provided that the MDT Distributable Sale Proceeds of
                                        such non-Cash proceeds shall be subject to this
                                        Section 5.2(d)(iii)(B). The Master Disbursement Trust
                                        shall apply all amounts received under this
                                        Section 5.2(d)(iii)(B)      in      accordance       with
                                        Section 5.2(d)(iv)(B) of the Plan.

                          (iv)   The Master Disbursement Trust shall make prepayments of the
                                 MDT Claims from the amounts and in the manner set forth below.

                                 (A)    MDT Bermuda-Form Insurance Proceeds shall be applied
                                        toward the prepayment of remaining installments on the
                                        MDT PI Claim (as set forth in Section 5.2(d)(i)(D)(I)–
                                        (III)) in chronological order by installment payment
                                        maturity date until the MDT PI Claim is paid in full, and,
                                        if any amounts remain, to pay the incremental amounts
                                        due to the PI Trust under clauses (x) and (y) of
                                        Section 5.2(d)(i)(D), in each case, in the following
                                        manner: (I) for the MDT Bermuda-Form Insurance
                                        Proceeds received by the Debtors or the Master
                                        Disbursement Trust on or prior to the Effective Date, the
                                        Debtors or the Master Disbursement Trust shall pay on
                                        the Effective Date 100% of such MDT Bermuda-Form
                                        Insurance Proceeds to the PI Trust as part of the Initial PI
                                        Trust Distribution, subject to Section 5.2(h) of the Plan,
                                        and (II) for any MDT Bermuda-Form Insurance Proceeds
                                        received by the Master Disbursement Trust after the
                                        Effective Date, the Master Disbursement Trust shall pay
                                        to the PI Trust, subject to Section 5.2(h) of the Plan,
                                        100% of such MDT Bermuda-Form Insurance Proceeds
                                        not later than thirty (30) days after the date of receipt
                                        thereof by the Master Disbursement Trust (or, if an
                                        Escrow Period is then in effect, the next Business Day
                                        following the termination thereof).

                                 (B)    If on any date the Master Disbursement Trust receives
                                        MDT Distributable Sale Proceeds, then such MDT
                                        Distributable Sale Proceeds shall be applied not later than
                                        ten (10) Business Days after such date (or, if an Escrow
                                        Period is then in effect, the next Business Day following
                                        the termination thereof) to prepay any remaining


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                                                  installments of the MDT Claims until paid in full. Such
                                                  prepayments shall be (I) allocated according to the MDT
                                                  Distribution Date on which remaining installments of the
                                                  MDT Claims are due in chronological order of maturity
                                                  (such that all remaining installments of the MDT Claims
                                                  due on a particular Scheduled MDT Distribution Date
                                                  shall be paid in full before any amounts are allocated to
                                                  installments of the MDT Claims due on any subsequent
                                                  Scheduled MDT Distribution Date) and (II) applied to the
                                                  remaining installments of the MDT Claims due on a
                                                  particular MDT Distribution Date on a pro rata basis
                                                  according to the proportion that the outstanding amount
                                                  due on each MDT Claim on such MDT Distribution Date
                                                  bears to the aggregate outstanding amount due on all
                                                  MDT Claims on such MDT Distribution Date.

                                          (C)     If on any date the Master Disbursement Trust receives a
                                                  Shareholder Prepayment, then each Net Prepaid
                                                  Settlement Amount shall be applied not later than ten (10)
                                                  Business Days after such date to prepay the remaining
                                                  installments of the MDT Claims due on the Scheduled
                                                  MDT Distribution Date that immediately follows the
                                                  scheduled SSA Payment Date of such Net Prepaid
                                                  Settlement Amount according to each MDT Claim’s
                                                  Proportionate Settlement Prepayment Share of such Net
                                                  Prepaid Settlement Amount.

                          (e)    Non-Federal Public Entity Settlements. On the Effective Date, NOAT
and the Tribe Trust shall receive their respective Initial Public Creditor Trust Distributions (other than the
Public Schools’ Special Education Initiative Contribution, which shall be paid to the Public Schools’
Special Education Initiative), MDT Interests and TopCo Interests. The MDT Interests and the TopCo
Interests shall entitle NOAT and the Tribe Trust to the payments and other benefits set forth below.

                                 (i)      Subject to Section 5.2(e)(iv), on each MDT Distribution Date, the
                                          Master Disbursement Trust shall make Public Creditor Trust
                                          Distributions from all MDT Excess Cash in accordance with
                                          Section 5.2(e)(iii) of the Plan; provided that, solely on the MDT
                                          Distribution Date occurring on July 31, 2023, if no MDT Reserve
                                          Period is then in effect, the MDT Trustees shall have discretion to
                                          hold back up to $25 million of MDT Excess Cash only if, and only
                                          to the extent, they reasonably believe in good faith, after
                                          analyzing expected assets of the Master Disbursement Trust
                                          (including on account of the NewCo Credit Support Agreement),
                                          that such holdback is necessary to address any expected funding
                                          deficiency on the MDT Distribution Date occurring on July 31,
                                          2024.

                                 (ii)     Subject to Section 5.2(e)(iv), (A) on each NewCo Distribution
                                          Date, (I) NewCo shall make a TopCo Distribution from all
                                          NewCo Excess Cash and (II) TopCo shall make Public Creditor
                                          Trust Distributions from all TopCo Excess Cash in accordance



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                                  with Section 5.2(e)(iii) of the Plan, (B) upon the receipt by
                                  NewCo or TopCo of any repayments from the Master
                                  Disbursement Trust pursuant to Section 5.2(f)(i)(D) of the Plan,
                                  (I) NewCo shall promptly, but in any event not later than two (2)
                                  Business Days after receipt of such repayment amount, make a
                                  TopCo Distribution from all such repayments and (II) TopCo
                                  shall promptly make a Public Creditor Trust Distribution from all
                                  such repayments and such TopCo Distributions in accordance
                                  with Section 5.2(e)(iii) of the Plan and (C) on (y) each date that
                                  NewCo makes a payment under Section 5.2(d)(iii)(B) of this Plan
                                  to the Master Disbursement Trust in respect of any transaction
                                  that generates MDT Distributable Sale Proceeds and (z) within
                                  five (5) Business Days after the receipt by NewCo of the Net Sale
                                  Proceeds in respect of any transaction referenced under clause (ii)
                                  of the definition of MDT Distributable Sale Proceeds that occurs
                                  after the third (3rd) anniversary of the Effective Date, (I) NewCo
                                  shall make a TopCo Distribution from all TopCo Distributable
                                  Sale Proceeds in respect of such transaction and (II) TopCo shall
                                  promptly make a Public Creditor Trust Distribution from all such
                                  TopCo Distributable Sale Proceeds in accordance with
                                  Section 5.2(e)(iii) of the Plan.

                          (iii)   All Public Creditor Trust Distributions to NOAT and/or the Tribe
                                  Trust shall be allocated between NOAT and the Tribe Trust as
                                  follows: (A) first, until the aggregate amount of Public Creditor
                                  Trust Distributions equals $50 million, 100% to the Tribe Trust;
                                  (B) second, until the aggregate cumulative amount of Public
                                  Creditor Trust Distributions equals $1 billion, 100% to NOAT;
                                  (C) third, until the aggregate cumulative amount of Public
                                  Creditor Trust Distributions equals $3 billion, 2.935% to the
                                  Tribe Trust and 97.065% to NOAT; (D) fourth, until the
                                  aggregate cumulative Public Creditor Trust Distributions equals
                                  $5 billion, 2.8125% to the Tribe Trust and 97.1875% to NOAT;
                                  and (E) thereafter, with respect to all additional Public Creditor
                                  Trust Distributions, 3% to the Tribe Trust and 97% to NOAT. For
                                  purposes of all calculations under this paragraph (iii), the full
                                  amount of the Public Schools’ Special Education Initiative
                                  Contribution shall be deemed to be a Public Creditor Trust
                                  Distribution to NOAT.

                          (iv)    Until the payment in full in Cash of the MDT Claims, all Public
                                  Creditor Trust Distributions, other than the Initial Public Creditor
                                  Trust Distributions, and all TopCo Distributions shall be made
                                  (A) only on the dates set forth in Section 5.2(e)(i) and (ii);
                                  (B) except with respect to Public Creditor Trust Distributions or
                                  TopCo      Distributions     under      Section 5.2(e)(ii)(B)     or
                                  Section 5.2(e)(ii)(C), only from amounts constituting MDT
                                  Excess Cash, NewCo Excess Cash or TopCo Excess Cash, as
                                  applicable, and (C) except as set forth in Section 5.2(e)(ii)(B) or
                                  Section 5.2(e)(ii)(C), on no less than ten (10) Business Days’
                                  notice to the Private Creditor Trusts and, except for Public


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                                 Creditor Trust Distributions made by the Master Disbursement
                                 Trust, the Master Disbursement Trust; provided that, irrespective
                                 of such notice, no Public Creditor Trust Distributions or TopCo
                                 Distributions shall be made (x) upon the commencement and
                                 during the continuation of an MDT Reserve Period unless the
                                 MDT Operating Reserve and the MDT Claims Reserve have been
                                 fully funded or (y) upon the commencement and during the
                                 continuation of an Escrow Period.

                   (f)    Priority Waterfalls.

                          (i)    MDT Priority Waterfall. On each MDT Distribution Date, all
                                 Cash and cash equivalents of the Master Disbursement Trust
                                 (other than any amounts subject to distribution in accordance with
                                 Section 5.2(d)(iv)(A) and (B) of the Plan) shall be applied as
                                 follows: (A) first, to fund the MDT Operating Reserve in an
                                 amount determined by the MDT Trustees; (B) second, to pay all
                                 outstanding amounts then due or falling due within the next
                                 thirty-one (31) days on account of the MDT Claims, including
                                 any amounts payable in accordance with Section 5.2(d)(iv)(C) of
                                 the Plan; (C) third, solely during an MDT Reserve Period, to fund
                                 the MDT Claims Reserve in an amount equal to the MDT Claims
                                 Reserve Funding Amount as of such date; (D) fourth, to NewCo
                                 or TopCo, as applicable, for the repayment of the amounts
                                 received by the Master Disbursement Trust from NewCo or
                                 TopCo pursuant to their respective obligations under the NewCo
                                 Credit Support Agreement in accordance with Section 5.2(d)(iii)
                                 of the Plan; provided that NewCo shall promptly make a TopCo
                                 Distribution from all such repayments and TopCo shall promptly
                                 make Public Creditor Trust Distributions from all such
                                 repayments and such TopCo Distributions; and (E) fifth, as Public
                                 Creditor Trust Distributions in respect of the MDT Interests.

                          (ii)   NewCo Priority Waterfall. On each NewCo Distribution Date, all
                                 Cash and cash equivalents of NewCo and its Subsidiaries (other
                                 than MDT Distributable Sale Proceeds) shall be applied as
                                 follows: (A) first, to fund the current payment of or reserve for, all
                                 NewCo Operating Expenses that are current, reasonably
                                 forecasted or budgeted or included in a reasonable reserve for
                                 contingent liabilities, including any amounts required to satisfy
                                 any deficiency of funding in the Wind-Up Reserve; (B) second, to
                                 the Master Disbursement Trust in an amount required to be paid at
                                 that time on account of NewCo’s obligations under the NewCo
                                 Credit     Support       Agreement        in    accordance      with
                                 Section 5.2(d)(iii)(A) of the Plan, if any, including any amounts
                                 required to satisfy any shortfall in funding of the MDT Operating
                                 Reserve and the MDT Claims Reserve, if applicable; and
                                 (C) third, as a TopCo Distribution in respect of the NewCo
                                 Interest.




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                                 (iii)    TopCo Priority Waterfall. On each NewCo Distribution Date,
                                          after the receipt by TopCo of any amounts described in
                                          Section 5.2(f)(ii)(C) of the Plan (if applicable), all Cash and cash
                                          equivalents of TopCo (other than MDT Distributable Sale
                                          Proceeds) shall be applied as follows: (A) first, to fund the current
                                          payment of or reserve for, all TopCo Operating Expenses that are
                                          current, reasonably forecasted or budgeted or included in a
                                          reasonable reserve for contingent liabilities; and (B) second, as
                                          Public Creditor Trust Distributions in respect of the TopCo
                                          Interests.

                          (g)     Shareholder Settlement. On or before the Effective Date, the Debtors
and the Shareholder Payment Parties shall enter into the Shareholder Settlement Agreement. Pursuant to the
Shareholder Settlement Agreement and the Plan, in exchange for the release and channeling of the
Shareholder Released Claims pursuant to the Shareholder Releases and the Channeling Injunction issued
for the benefit of the Shareholder Released Parties as set forth in Sections 10.7 and 10.8 of the Plan and the
other agreements set forth in the Shareholder Settlement Agreement, (i) the Shareholder Payment Parties
shall pay the Shareholder Settlement Amount in the amount, on the dates and pursuant to the terms set forth
in the Shareholder Settlement Agreement, (ii) the Shareholder Claims shall be deemed released on the
Effective Date pursuant to Section 4.15 of the Plan, (iii) the MDT Shareholder Insurance Rights shall be
transferred to the Master Disbursement Trust in accordance with Section 5.6(j) of the Plan; (iv) the
Shareholder Payment Parties have agreed to support the Plan and (v) the Shareholder Payment Parties have
provided the other agreements and consideration set forth in the Shareholder Settlement Agreement, in each
case as more fully set forth in, and subject to the terms and conditions of, the Shareholder Settlement
Agreement. The Master Disbursement Trust shall distribute all proceeds of the MDT Shareholder Rights,
including the Shareholder Settlement Amount, in accordance with the Plan, including Section 5.2(d)–(f) of
the Plan.

                       (h)     United States-PI Claimant Medical Expense Claim Settlement. The
United States-PI Claimant Medical Expense Claim Settlement is as follows:

                                 (i)      On the Effective Date of the Plan, the PI Trust shall be deemed,
                                          without further action of the Bankruptcy Court or the PI Trust, to
                                          have irrevocably assigned to the United States the PI Trust’s right
                                          to receive $26 million from the Master Disbursement Trust,
                                          which amount shall be paid by the Debtors or the Master
                                          Disbursement Trust, as applicable, to the United States in
                                          installments equal to 3.7143% of the amounts otherwise
                                          distributable to the PI Trust under the Plan in the form of the
                                          Initial PI Trust Distribution and payments made on account of the
                                          MDT PI Claim, and on the same distribution schedule as such
                                          distributions to the PI Trust, until the United States has received
                                          payments aggregating to $26 million. For the avoidance of doubt,
                                          in no event shall (A) the stated amount of the Initial PI Trust
                                          Distribution or the stated amount of the MDT PI Claim be altered
                                          in a manner that would reduce the aggregate amount to be paid to
                                          the United States pursuant to this Section 5.2(h)(i) of the Plan,
                                          (B) the aggregate amount paid to the United States pursuant to
                                          this Section 5.2(h)(i) of the Plan exceed $26 million, or (C) the
                                          United States’ claim against the Master Disbursement Trust
                                          arising from the assignment described in this Section 5.2(h)(i) of


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                                 the Plan be released until the United States has received payments
                                 thereof aggregating to $26 million. Should the PI Trust obtain
                                 recoveries under the Plan from a source other than the Master
                                 Disbursement Trust as a result of litigation following and
                                 resulting from either a modification of the MDT Insurer
                                 Injunction pursuant to Section 10.10 of the Plan or election by the
                                 Master Disbursement Trust of a Shareholder Release Remedy, the
                                 PI Trust shall pay over 3.7143% of any such recoveries to the
                                 United States until the United States shall have received payments
                                 aggregating to $26 million pursuant to the United States-PI
                                 Claimant Medical Expense Claim Settlement. The United States
                                 shall have the right to enforce the obligations set forth in this
                                 Section 5.2(h)(i) of the Plan notwithstanding the United States-PI
                                 Claimant Medical Expense Claim Releases.

                          (ii)   Notwithstanding Section 10.19 of the Plan, as of the Effective
                                 Date, for good and valuable consideration, the adequacy of which
                                 is hereby confirmed, the PI Trust, each Holder of a PI Claim and,
                                 in respect of each of the PI Trust and each Holder of a PI Claim,
                                 its respective agents, representatives, heirs, successors and
                                 assigns, in their respective capacities as such, shall, without any
                                 further action by the Bankruptcy Court, be conclusively,
                                 absolutely, unconditionally, irrevocably, fully, finally, forever
                                 and permanently released by each Holder of a United States-PI
                                 Claimant Medical Expense Claim of all United States-PI
                                 Claimant Medical Expense Claims and all Causes of Action based
                                 on or relating to, or in any manner arising from, in whole or in
                                 part, the United States-PI Claimant Medical Expense Claim
                                 Settlement (other than a Cause of Action to enforce the United
                                 States-PI Claimant Medical Expense Claim Settlement, including,
                                 but not limited to, the release set forth in Section 5.2(h)(iii) of the
                                 Plan) that each Holder of a United States-PI Claimant Medical
                                 Expense Claim has asserted or could assert on its own behalf or on
                                 behalf of another Person or party, notwithstanding section 1542 of
                                 the California Civil Code or any law of any jurisdiction that is
                                 similar, comparable or equivalent thereto (which shall
                                 conclusively be deemed waived), against the PI Trust, a Holder of
                                 a PI Claim, Distributions to Holders of PI Claims pursuant to the
                                 PI TDP or under the Plan and, in respect of each of the PI Trust
                                 and each Holder of a PI Claim, its respective agents,
                                 representatives, heirs, successors and assigns, in their respective
                                 capacities as such; provided, however, that, if a Holder of a PI
                                 Claim commences a legal action against a Holder of a United
                                 States-PI Claimant Medical Expense Claim challenging all or any
                                 portion of the United States-PI Claimant Medical Expense Claim
                                 Settlement, then, from and after the commencement of such legal
                                 action, the United States-PI Claimant Medical Expense Claim
                                 Release shall be void ab initio solely with respect to such Holder
                                 of a PI Claim, and the heirs, successors and assigns of such Holder
                                 of a PI Claim, in their capacities as such, and not with respect to
                                 any other Person or party, including, but not limited to, the PI


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                                  Trust, counsel to such Holder of a PI Claim and, in respect of each
                                  of the PI Trust and such counsel, its respective agents,
                                  representatives, heirs, successors and assigns, in their respective
                                  capacities as such; provided further that no such legal action
                                  against a Holder of a United States-PI Claimant Medical Expense
                                  Claim shall impair or reduce the amount that the United States
                                  shall receive pursuant to Section 5.2(h)(i). Nothing in this
                                  Section 5.2(h)(ii) creates any rights of a Holder of a PI Claim to
                                  sue the United States or any of its agencies, including a Holder of
                                  a United States-PI Claimant Medical Expense Claim, and the
                                  United States and its agencies reserve all rights and defenses in
                                  that regard; and nothing in this paragraph is or shall be deemed a
                                  waiver of any applicable sovereign immunity with respect to any
                                  legal action against the United States or any of its agencies
                                  challenging all or any portion of the United States-PI Claimant
                                  Medical Expense Claim Settlement brought by a Holder of a PI
                                  Claim or the heirs, successors or assigns of such Holder of a PI
                                  Claim, in their capacities as such.

                          (iii)   As of the Effective Date, for good and valuable consideration, the
                                  adequacy of which is hereby confirmed, each Holder of a United
                                  States-PI Claimant Medical Expense Claim shall, without any
                                  further action by the Bankruptcy Court, be conclusively,
                                  absolutely, unconditionally, irrevocably, fully, finally, forever
                                  and permanently released by the PI Trust and its agents,
                                  representatives, successors and assigns, in their respective
                                  capacities as such, of all Causes of Action based on or relating to,
                                  or in any manner arising from, in whole or in part, the United
                                  States-PI Claimant Medical Expense Claim Settlement (other than
                                  a Cause of Action to enforce the United States-PI Claimant
                                  Medical Expense Claim Settlement, including, but not limited to,
                                  any United States-PI Claimant Medical Expense Claim Release)
                                  that the PI Trust has asserted or could assert on its own behalf or
                                  on behalf of another Person or party, notwithstanding
                                  section 1542 of the California Civil Code or any law of any
                                  jurisdiction that is similar, comparable or equivalent thereto
                                  (which shall conclusively be deemed waived), against a Holder of
                                  a United States-PI Claimant Medical Expense Claim and, in
                                  respect of each Holder of a United States-PI Claimant Medical
                                  Expense Claim, its respective agents, representatives, successors
                                  and assigns, in their respective capacities as such.

                          (iv)    The payments made to the United States pursuant to
                                  Section 5.2(h)(i) of the Plan are a prepayment by the PI Trust of
                                  amounts that would otherwise be payable by certain Holders of PI
                                  Claims to Holders of United States-PI Claimant Medical Expense
                                  Claims upon receipt by such Holders of PI Claims of Distributions
                                  pursuant to the PI TDP and under the Plan. Such prepayment shall
                                  be borne equitably by such Holders of PI Claims in the form of a
                                  reduction in the Distributions otherwise payable to such Holders
                                  of PI Claims pursuant to the PI TDP.


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                                  (v)     The United States Department of Defense, Defense Health
                                          Agency (in respect of the TRICARE Program) submits to the
                                          jurisdiction of the Bankruptcy Court for purposes of the United
                                          States-PI Claimant Medical Expense Claim Settlement, including,
                                          but not limited to, the United States-PI Claimant Medical Expense
                                          Claim Releases.

                                  (vi)    The United States Department of Health and Human Services, on
                                          its own behalf and on behalf of its component agencies, which are
                                          the Centers for Medicare & Medicaid Services and the Indian
                                          Health Service on behalf of its federally-operated programs; the
                                          United States Department of Defense, Defense Health Agency (in
                                          respect of the TRICARE Program); and the United States
                                          Department of Veterans Affairs submit to the exclusive
                                          jurisdiction of the Bankruptcy Court for purposes of any
                                          proceeding in respect of the interpretation or enforcement of the
                                          United States-PI Claimant Medical Expense Claim Settlement
                                          including, but not limited to, the United States-PI Claimant
                                          Medical Expense Claim Releases.

                 5.3     The Plan Administration Trust.

                         (a)     Establishment and Purpose of Plan Administration Trust. On or
before the Effective Date, the Debtors shall take all necessary steps to form the Plan Administration Trust in
accordance with the Plan and the PAT Agreement. The Plan Administration Trust shall be established for
the purposes described in this Plan and any others more fully described in the PAT Agreement, shall have
no objective to continue or engage in the conduct of trade or business and shall be subject to the jurisdiction
of the Bankruptcy Court. The Plan Administration Trust shall, in each case in accordance with the Plan and
the PAT Agreement:

                                  (i)     hold, manage, sell and invest the PAT Assets for the benefit of
                                          Holders of Allowed Claims (other than Channeled Claims);

                                  (ii)    administer, process, resolve and liquidate Claims (other than
                                          Channeled Claims), including through the prosecution and
                                          resolution of objections to Disputed Claims (other than Channeled
                                          Claims);

                                  (iii)   hold and maintain the PAT Reserves and the PAT Distribution
                                          Account and maintain the Professional Fee Escrow Account and
                                          the account described in Section 5.3(e) of the Plan; and

                                  (iv)    make Distributions to Holders of Allowed Claims (other than
                                          Channeled Claims) and other payments from the Plan
                                          Administration Trust, the Professional Fee Escrow Account and
                                          the account described in Section 5.3(e) of the Plan.

                         (b)    Vesting of the PAT Assets in the Plan Administration Trust. The Plan
Administration Trust shall consist of the PAT Assets. On the Effective Date, the PAT Assets shall vest in
the Plan Administration Trust, free and clear of all Claims, Interests, Liens, other encumbrances and
liabilities of any kind.



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                         (c)     Appointment and Role of the Plan Administration Trustee. The Plan
Administration Trustee shall be an existing employee of the Debtors selected by the Debtors in their sole
discretion or another individual selected by the Debtors with the consent of the Creditors’ Committee and
the Governmental Consent Parties (which consent shall not be unreasonably withheld, conditioned or
delayed). The identity and compensation of the Plan Administration Trustee shall be disclosed in the Plan
Supplement. The appointment of the Plan Administration Trustee shall be approved in the Confirmation
Order, and such appointment shall be effective as of the Effective Date. In accordance with the PAT
Agreement, the Plan Administration Trustee shall serve in such capacity through the earlier of (x) the date
that the Plan Administration Trust is dissolved in accordance with the PAT Agreement and (y) the date the
Plan Administration Trustee resigns, is terminated or is otherwise unable to serve for any reason. In
furtherance of and consistent with the purpose of the Plan Administration Trust and the Plan, the Plan
Administration Trustee shall:

                                 (i)      have the power and authority to perform all functions on behalf of
                                          the Plan Administration Trust;

                                 (ii)     undertake all administrative responsibilities as are provided in the
                                          Plan and the PAT Agreement, including filing the final monthly
                                          operating report (for the month in which the Effective Date
                                          occurs) and all subsequent quarterly operating reports and
                                          administering the closure of the Chapter 11 Cases, which reports
                                          shall be delivered to the Master Disbursement Trust;

                                 (iii)    be responsible for all decisions and duties with respect to the Plan
                                          Administration Trust and the PAT Assets; and

                                 (iv)     take such other actions as the Plan Administration Trust
                                          determines to be necessary or desirable to carry out the purposes
                                          of the Plan.

                         (d)     Funding of the Wind-Up Reserve; Costs and Expenses of the Plan
Administration Trust. On the Effective Date, the Debtors shall establish and fund the Wind-Up Reserve,
which shall vest in the Plan Administration Trust and be held and maintained by the Plan Administration
Trustee. In the event of any shortfall of funding in the Wind-Up Reserve, NewCo shall be obligated to
satisfy any such deficiency (which obligation shall be assumed by NewCo and any successor to NewCo’s
business). The costs and expenses of the Plan Administration Trust, including the compensation, fees and
expenses of the Plan Administration Trustee and its retained professionals, shall be paid out of the Wind-Up
Reserve. The Plan Administration Trustee shall be entitled to reasonable compensation, in an amount to be
determined by the Debtors, subject to the consent (not to be unreasonably withheld, conditioned or delayed)
of the Creditors’ Committee and the Governmental Consent Parties, and to retain and reasonably
compensate counsel and other professionals, including any professional who represented parties in interest,
including the Debtors, in the Chapter 11 Cases, to assist in its duties as Plan Administration Trustee on such
terms as the Plan Administration Trustee deems appropriate without Bankruptcy Court approval, subject to
the provisions of the PAT Agreement.

                         (e)      Attorneys’ Fees and Expenses of Directors, Officers, Employees and
Agents. The Plan Administration Trust will promptly advance or reimburse as and when incurred the
reasonable actual attorneys’ fees and related expenses incurred by any current or former director, officer,
employee or authorized agent of the Debtors (other than any Sackler Family Member) after the Effective
Date and before the sixth (6th) anniversary of the Effective Date in connection with such individual’s
cooperation with, or in connection with the defense of such individual with respect to, any investigation,
prosecution and/or litigation involving conduct relating to the Debtors or the Debtors’ business or property


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or any defense of the Releases or the Channeling Injunction. On or before the Effective Date, the Debtors
will establish and fund a segregated account in the amount of $10 million, which shall be held and
maintained by the Plan Administration Trustee to fund the foregoing advancement and reimbursement
obligations. If, at any time, the balance in such segregated account is less than $5 million, NewCo (or, at
any time after a sale of all or substantially all Assets of or Interests in NewCo, the Master Disbursement
Trust) shall replenish such account so that amounts in the account are not less than $10 million, provided
that (x) the aggregate amount deposited into the segregated account may not exceed $30 million, and (y) on
the sixth (6th) anniversary of the Effective Date, any funds remaining in the segregated account will be
released to the Master Disbursement Trust and NewCo’s and the Master Disbursement Trust’s funding
obligations with respect to such account will cease. Notwithstanding the foregoing, the Plan Administration
Trust will not advance or reimburse any such amounts incurred by any individual who (i) does not provide
an appropriate undertaking consistent with the undertakings required for indemnification during the
pendency of the Chapter 11 Cases, (ii) except as provided in the Settling Executive Stipulation, has at any
time prior to the Effective Date refused or does at any time after the Effective Date refuse to testify based on
a claim of privilege against self-incrimination in any proceeding relating to the Debtors or the Debtors’
business or property, or (iii) is at any time indicted for a felony relating to the Debtors or the Debtors’
business or property (provided, however, that if such individual is found to be not guilty of such felony, then
expenses shall be promptly reimbursed).

                          (f)       Institution and Maintenance of Legal and Other Proceedings. As of
the date upon which the Plan Administration Trust is established, the Plan Administration Trust shall be
empowered to initiate, prosecute, defend and resolve all legal actions and other proceedings related to any
Asset, liability or responsibility of the Plan Administration Trust. Such legal actions and other proceedings
shall be limited solely to those required for the purposes of reconciling, administering and defending
against Claims (other than Channeled Claims) and the other responsibilities of the Plan Administration
Trust. The Plan Administration Trust shall be empowered to initiate, prosecute, defend and resolve all such
actions in the name of the Debtors or their Estates, in each case if deemed necessary or appropriate by the
Plan Administration Trustee. The Plan Administration Trust shall be responsible for the payment of all
damages, awards, judgments, settlements, expenses, costs, fees and other charges incurred subsequent to
the date upon which the Plan Administration Trust is established arising from, or associated with, any legal
action or other proceeding brought pursuant to the foregoing. For the avoidance of doubt, the Plan
Administration Trust, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable state
corporate law, is appointed as the successor-in-interest to, and representative of, the Debtors and their
Estates for the retention, enforcement, settlement or adjustment of Claims against the Debtors (other than
the Channeled Claims). For the further avoidance of doubt, neither the Plan Administration Trust nor the
Plan Administration Trustee shall be vested with the rights to pursue any MDT Insurance Rights or MDT
Insurance Collateral.

                         (g)      U.S. Federal Income Tax Matters Relating to Plan Administration
Trust. The Plan Administration Trust is intended to be treated as a trust described in IRC sections 661
through 664 and the regulations promulgated thereunder (a “complex trust”). The Plan Administration
Trustee shall file (or cause to be filed) such statements, returns, or disclosures relating to the Plan
Administration Trust as are required by any Governmental Unit, including IRS Form 1041, IRS Form
1041-ES, and IRS Schedule K-1. The Plan Administration Trustee shall be responsible for payment, out of
the PAT Assets, of any taxes imposed on the Plan Administration Trust or the PAT Assets, including
estimated and annual U.S. federal income taxes. The Plan Administration Trustee may request an expedited
determination of taxes of the Plan Administration Trust under section 505(b) of the Bankruptcy Code for all
returns filed for, or on behalf of, the Plan Administration Trust for all taxable periods through the
dissolution of the Plan Administration Trust. Nothing in this Section 5.3(g) shall be deemed to determine,
expand or contract the jurisdiction of the Bankruptcy Court under section 505 of the Bankruptcy Code.



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                          (h)      Dissolution, Release of Reserves and Residual Value. The Plan
Administration Trust shall be dissolved and the Plan Administration Trustee shall be discharged from its
duties with respect to the Plan Administration Trust upon completion of its duties as set forth in the Plan and
satisfaction of the purposes of the Plan Administration Trust as set forth in the Plan and the PAT
Agreement, which, for the avoidance of doubt, shall be no earlier than the later of (i) the PPLP Dissolution
Date and (ii) the date on which (A) all Disputed Claims (other than Channeled Claims) have been resolved,
(B) all PAT Assets have been liquidated and (C) all Distributions and other payments required to be made
by the Plan Administration Trustee under the Plan and the PAT Agreement have been made, unless
dissolution on an earlier date is authorized pursuant to a Final Order of the Bankruptcy Court. Any Cash or
cash equivalents in the Plan Administration Trust remaining upon dissolution of the Plan Administration
Trust, including any Surplus Reserve Cash remaining in the PAT Reserves, shall be distributed in
accordance with Section 5.13(c) of the Plan.

                          (i)      Exculpation and Indemnification of the Plan Administration Trustee.
To the maximum extent permitted by applicable law, the Plan Administration Trustee shall not have or
incur any liability for actions taken or omitted in its capacity as the Plan Administration Trustee, or on
behalf of the Plan Administration Trust, except those acts found by Final Order to be arising out of its
willful misconduct, bad faith, gross negligence or fraud, and shall be entitled to indemnification,
advancement and reimbursement for reasonable fees and expenses in defending any and all of its actions or
inactions in its capacity as the Plan Administration Trustee, or on behalf of the Plan Administration Trust,
and for any other liabilities, losses, damages, claims, costs and expenses arising out of or due to the
implementation or administration of the Plan or the PAT Agreement, in each case, except for any actions or
inactions found by Final Order to be arising out of its willful misconduct, bad faith, gross negligence or
fraud. Any valid indemnification claim of the Plan Administration Trustee shall be satisfied from the
Wind-Up Reserve.

                 5.4     NewCo.

                        (a)    Establishment and Ownership of NewCo. On or before the Effective
Date, NewCo and any Subsidiaries of NewCo shall be formed in accordance with the Plan and the NewCo
Operating Agreement. In accordance with the Public Entity Settlements, upon completion of the
Restructuring Transactions, TopCo shall hold the NewCo Interest, representing 100% of the voting and
economic Interests in NewCo.

                           (b)     Purpose of NewCo. From and after the Effective Date, NewCo shall
operate the NewCo Transferred Assets in accordance with the terms of the NewCo Operating Agreement,
and subject to the NewCo Operating Injunction and the NewCo Governance Covenants set forth in the
Confirmation Order. NewCo shall be operated in a responsible and sustainable manner, balancing (i) the
interests of its stakeholders to fund and provide abatement of the opioid crisis, (ii) effective deployment of
its assets to address the opioid crisis and (iii) the interests of those materially affected by its conduct.

                          (c)     Vesting of the NewCo Transferred Assets in NewCo. On or prior to the
Effective Date, pursuant to the Plan and in accordance with the NewCo Transfer Agreement, the NewCo
Transferred Assets, including the Initial NewCo Cash, shall be transferred to and vest in NewCo or one or
more Subsidiaries of NewCo (other than any NewCo Transferred Assets held by a Transferred Debtor,
which shall revest in such Transferred Debtor), in each case free and clear of all Claims, Interests, Liens,
other encumbrances and liabilities of any kind; provided that NewCo shall comply with its obligations
under the Plan, including NewCo’s obligations under the NewCo Credit Support Agreement, NewCo’s
obligation to satisfy any deficiency of funding in the Wind-Up Reserve (which obligation shall be assumed
by NewCo and any successor to NewCo’s business) and NewCo’s obligations under Section 5.3(e) of the
Plan, and NewCo shall assume the Assumed Liabilities. Except as described in the foregoing sentence,



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NewCo shall have no liability for, and the NewCo Transferred Assets shall vest in NewCo free and clear of,
any prepetition and postpetition Causes of Action of any kind, in each case that have been or could have
been asserted against the Debtors, their Estates or their property (including, but not limited to, Claims based
on successor liability) based on any acts or omissions prior to the Effective Date.

                          (d)     Appointment of the NewCo Managers. The board of managers of
NewCo will consist of five (5) or seven (7) NewCo Managers, each with experience in one or more of the
following areas: pharmaceuticals, public policy (including public health policy), law enforcement, ethics
and compliance, finance, audit, general business and/or corporate governance issues. The initial NewCo
Managers shall be disinterested and independent, and shall be selected by the Governmental Consent
Parties, in consultation with the Debtors and the Creditors’ Committee, and pursuant to a selection process
that is reasonably acceptable to the Debtors; provided that the DOJ shall have the right, in its discretion, to
observe such selection process.3 The identity of the initial NewCo Managers shall be included in the Plan
Supplement. The appointment of the initial NewCo Managers shall be approved in the Confirmation Order,
and such appointment shall be effective as of the Effective Date.

                          (e)     NewCo Operating Expenses. All NewCo Operating Expenses shall be
paid by NewCo or its Subsidiaries. On the Effective Date, NewCo shall be funded with the Initial NewCo
Cash, which shall vest in NewCo in accordance with Section 5.4(c) of the Plan. For the avoidance of doubt,
the NewCo Priority Waterfall shall not limit or restrict the ability of NewCo or its Subsidiaries to pay
NewCo Operating Expenses between NewCo Distribution Dates from funds reserved under
Section 5.2(f)(ii)(A), generated by the business or otherwise available to NewCo and its Subsidiaries.

                        (f)      Identifying Opioid Proceeds. NewCo shall identify, and report on a
publicly available website, the portion of TopCo Distributions that are derived from Opioid Proceeds.

                         (g)      NewCo Insurance. On or prior to the Effective Date, the Debtors shall
fund an upfront premium payment from Effective Date Cash to purchase insurance required and
appropriate for the business needs of NewCo, including liability and other insurance for NewCo, including
without limitation, product liability insurance and directors’ and officers’ liability insurance for the NewCo
Managers, officers and other authorized agents, in an amount and on terms acceptable to the Debtors and
the Governmental Consent Parties.

                      (h)      NewCo Operating Injunction and NewCo Governance Covenants.
The Confirmation Order will provide for the issuance of the NewCo Operating Injunction and the NewCo
Governance Covenants. At all times from and after the Effective Date, NewCo, and any purchaser of
NewCo’s opioid business, shall remain subject to the NewCo Operating Injunction and the NewCo
Governance Covenants.

                        (i)     NewCo Monitor. The Confirmation Order will provide for the
appointment of the NewCo Monitor. The initial NewCo Monitor shall be the Purdue Monitor in place as of
the Effective Date or otherwise selected by the Governmental Consent Parties with the consent of the
Debtors, and in consultation with the Creditors’ Committee. The identity of the NewCo Monitor shall be
disclosed in the Plan Supplement. The NewCo Monitor shall be responsible for reviewing NewCo’s
compliance with the NewCo Operating Injunction. NewCo and its professionals and representatives,
including the NewCo Managers, shall cooperate and reasonably respond to requests by the NewCo Monitor


3 If determined to be necessary by the Governmental Consent Parties, NewCo may retain one or more of the four independent

directors on PPLP’s Special Committee for a period of time to serve as interim directors of NewCo to allow for a period of
transition and onboarding of NewCo Managers.



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in the performance of its responsibilities, including reasonable requests for access to relevant books and
records of NewCo. In furtherance of the responsibilities of the NewCo Monitor, the NewCo Monitor shall
be authorized to seek relief from the Bankruptcy Court to the extent necessary to carry out its obligations
hereunder. The NewCo Monitor shall prepare and publish quarterly reports regarding the matters for which
the NewCo Monitor is responsible, including NewCo’s compliance with the NewCo Operating Injunction.
All compensation, costs and fees of the NewCo Monitor and any professionals retained by the NewCo
Monitor shall constitute NewCo Operating Expenses, and shall be paid by NewCo.

                        (j)     U.S. Federal Income Tax Matters Relating to NewCo. The NewCo
Managers shall cause NewCo to make a timely election to be treated as a corporation for U.S. federal
income tax purposes effective as of the date immediately succeeding the Effective Date by the deadline for
making such election (or such later date as to which the IRS has granted an extension for such election)
unless the IRS has provided guidance which may be relied upon to the effect that not making such election
would not have a material adverse tax effect on NOAT, including by reason of the application of IRC
section 115.

                          (k)     Exculpation and Indemnification of the NewCo Managers. To the
maximum extent permitted by applicable law, no NewCo Manager shall have or incur any liability for
actions taken or omitted in his or her capacity as a NewCo Manager, or on behalf of NewCo, except those
acts found by Final Order to be arising out of his or her willful misconduct, bad faith or fraud, and shall be
entitled to indemnification, advancement and reimbursement for reasonable fees and expenses in defending
any and all actions or inactions in his or her capacity as a NewCo Manager, or on behalf of NewCo, except
for any actions or inactions found by Final Order to be arising out of his or her willful misconduct, bad faith
or fraud. Any valid indemnification claim of any NewCo Manager shall be satisfied by NewCo.

                 5.5     TopCo.

                         (a)    Establishment and Ownership of TopCo. On or before the Effective
Date, TopCo shall be formed in accordance with the terms of the Plan and the TopCo Operating Agreement.
In accordance with the Public Entity Settlements, upon completion of the Restructuring Transactions,
NOAT shall hold the TopCo NOAT Interest and the Tribe Trust shall hold the TopCo Tribe Interest,
collectively representing 100% of the voting and economic Interests in TopCo.

                          (b)     Appointment of the TopCo Managers. The board of managers of
TopCo will consist of three (3) TopCo Managers, each of whom shall be disinterested and independent;
provided that one (but no more than one) Creditor Trustee of NOAT may serve as a TopCo Manager;
provided further that any action taken by such individual in his or her capacity as TopCo Manager shall not
be subject to the fiduciary duties of such individual in his or her capacity as a Creditor Trustee of NOAT.
The initial TopCo Managers shall be selected by the Governmental Consent Parties, in consultation with the
Debtors and the Creditors’ Committee, and pursuant to a selection process that is reasonably acceptable to
the Debtors; provided that the DOJ shall have the right, in its discretion, to observe such selection process.
The identity of the initial TopCo Managers shall be included in the Plan Supplement. The appointment of
the initial TopCo Managers shall be approved in the Confirmation Order, and such appointment shall be
effective as of the Effective Date.

                         (c)      TopCo Operating Expenses. TopCo Operating Expenses shall be paid
by TopCo.

                           (d)      TopCo D&O Insurance and Indemnification. On or prior to the
Effective Date, the Debtors shall fund an upfront premium payment from Effective Date Cash to purchase
directors’ and officers’ liability insurance for the TopCo Managers in an amount and on terms acceptable to
the Debtors and the Governmental Consent Parties.


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                          (e)     Distributions from TopCo Free and Clear. All Public Creditor Trust
Distributions made by TopCo shall be made in accordance with the TopCo Priority Waterfall and on no less
than ten (10) Business Days’ notice to the Master Disbursement Trust and the Private Creditor Trusts, and
thereafter shall be free and clear of all claims, Liens or other recourse or encumbrances, and shall not be
subject to disgorgement or recoupment by any Person.

                          (f)     U.S. Federal Income Tax Matters Relating to TopCo. TopCo is
intended to be treated as a partnership for U.S. federal income tax purposes and shall be treated consistently
for state and local tax purposes, to the extent applicable. Neither TopCo nor any TopCo Manager shall
make an election for TopCo to be classified as other than a partnership pursuant to Treasury Regulations
section 301.7701-3.

                          (g)     Exculpation and Indemnification of the TopCo Managers. To the
maximum extent permitted by applicable law, no TopCo Manager shall have or incur any liability for
actions taken or omitted in his or her capacity as a TopCo Manager, or on behalf of NewCo, except those
acts found by Final Order to be arising out of his or her willful misconduct, bad faith or fraud, and shall be
entitled to indemnification, advancement and reimbursement for reasonable fees and expenses in defending
any and all actions or inactions in his or her capacity as a TopCo Manager, or on behalf of NewCo, except
for any actions or inactions found by Final Order to be arising out of his or her willful misconduct, bad faith
or fraud. Any valid indemnification claim of any TopCo Manager shall be satisfied by TopCo.

                 5.6     Master Disbursement Trust.

                          (a)     Establishment and Purpose of the Master Disbursement Trust. On or
before the Effective Date, the Debtors shall take all necessary steps to establish the Master Disbursement
Trust in accordance with the Plan and the MDT Agreement. The Master Disbursement Trust shall be
established for the purposes described in this Plan and any other purposes more fully described in the MDT
Agreement, and shall be subject to the jurisdiction of the Bankruptcy Court. The Master Disbursement
Trust shall, in each case in accordance with the Plan and the MDT Agreement:

                                  (i)     hold, manage, sell, invest and distribute the MDT Transferred
                                          Assets for the benefit of the MDT Beneficiaries in accordance
                                          with the Private Entity Settlements and the Public Entity
                                          Settlements;

                                  (ii)    enforce, pursue, prosecute, compromise and/or settle the MDT
                                          Causes of Action, the MDT Insurance Rights and the MDT
                                          Shareholder Rights, including monitoring and enforcing the
                                          Shareholder Settlement Agreement;

                                  (iii)   make payments in satisfaction of the MDT Claims;

                                  (iv)    make Public Creditor Trust Distributions from MDT Excess
                                          Cash; and

                                  (v)     publish on a publicly available website reports received from the
                                          Abatement Trusts regarding the disbursement and use of
                                          Abatement Distributions and compliance with Authorized
                                          Abatement Purposes.

                        (b)    Vesting of the MDT Transferred Assets in the Master Disbursement
Trust. The corpus of the Master Disbursement Trust shall consist of the MDT Transferred Assets. On the


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Effective Date, pursuant to the Plan and in accordance with the MDT Agreement, the MDT Transferred
Assets shall be irrevocably transferred to and vest in the Master Disbursement Trust free and clear of all
Claims, Interests, Liens, other encumbrances and liabilities of any kind; provided that, to the extent certain
Assets comprising the MDT Transferred Assets are not known or identified as of the Effective Date, such
Assets shall automatically, and without further act or deed, be transferred to and vest in the Master
Disbursement Trust upon the discovery or identification thereof, including, with respect to the Surplus
Reserve Cash, in accordance with Section 5.13(c) of the Plan. The Master Disbursement Trust shall have no
liability for any prepetition or postpetition Causes of Action of any kind, in each case that have been or
could have been asserted against the Debtors, their Estates or their property (including, but not limited to,
Claims based on successor liability) based on any acts or omissions prior to the Effective Date, except as
expressly set forth in the Plan and the MDT Agreement; provided that the Master Disbursement Trust will
assume the Channeled Claims solely for the purpose of effectuating the Master TDP in accordance with
Section 5.6(g) of the Plan and issue the MDT Claims and MDT Interests in accordance with the Public
Entity Settlements and the Private Entity Settlements. From and after the Effective Date, all proceeds of the
MDT Transferred Assets, including without limitation, amounts paid by Insurance Companies under the
MDT Insurance Policies and amounts paid under the Shareholder Settlement Agreement, shall be paid to
the Master Disbursement Trust to be applied in accordance with the MDT Priority Waterfall and the MDT
Agreement.

                         (c)      Funding of the Master Disbursement Trust. The Master Disbursement
Trust shall be funded with the proceeds of the MDT Transferred Assets and amounts, if applicable, received
pursuant to the NewCo Credit Support Agreement.

                            (d)     Appointment and Role of the MDT Trustees. The board of trustees of
the Master Disbursement Trust will consist of three (3) MDT Trustees with relevant experience, including
in financial reorganizations. The MDT Trustees shall be disinterested and independent. One (1) initial
MDT Trustee shall be selected by the Creditors’ Committee and two (2) initial MDT Trustees shall be
selected by the Governmental Consent Parties, in each case, in consultation with the Debtors and pursuant
to a selection process reasonably acceptable to the Debtors; provided that, in each case, the DOJ shall have
the right, in its discretion, to observe such selection process. The identity of the initial MDT Trustees shall
be disclosed in the Plan Supplement. The appointment of the initial MDT Trustees shall be approved in the
Confirmation Order, and such appointment shall be effective as of the Effective Date. Upon the payment in
full in Cash of all MDT Claims, the MDT Trustees may be removed and replaced by NOAT (including with
any of the Creditor Trustees of NOAT) in its sole discretion. In furtherance of and consistent with the
purpose of the Master Disbursement Trust and the Plan, the MDT Trustees shall:

                                  (i)     have the power and authority to perform all functions on behalf of
                                          the Master Disbursement Trust;

                                  (ii)    be responsible for all decisions and duties with respect to the
                                          Master Disbursement Trust and the MDT Transferred Assets; and

                                  (iii)   in all circumstances and at all times, act in a fiduciary capacity for
                                          the benefit and in the best interests of the MDT Beneficiaries, in
                                          furtherance of the purpose of the Master Disbursement Trust, and
                                          in accordance with the Plan, including Section 5.6(f) of the Plan,
                                          and the MDT Agreement.

                          (e)     Appointment of the MDT Executive Director. The MDT Executive
Director will be an individual with experience in financial reorganizations. The initial MDT Executive
Director shall be selected by the MDT Trustees; provided that the DOJ shall have the right, in its discretion,
to observe such selection process. The identity of the initial MDT Executive Director shall be disclosed in


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the Plan Supplement. Removal and replacement of the MDT Executive Director shall be determined by the
MDT Trustees as set forth in the MDT Agreement. The MDT Executive Director shall:

                               (i)     carry out the day-to-day operations of the Master Disbursement
                                       Trust;

                               (ii)    make enforcement, litigation and liquidation recommendations as
                                       are reasonably necessary to the MDT Trustees and such other
                                       administrative professionals or entities; and

                               (iii)   have such other duties and responsibilities as set forth in the MDT
                                       Agreement and as may be delegated to him or her by the MDT
                                       Trustees in accordance with the MDT Agreement.

                         (f)     Obligations of the MDT Fiduciaries. The MDT Fiduciaries shall take
into account the interests of, and owe fiduciary duties to, each of the MDT Beneficiaries in making all
decisions on behalf of the Master Disbursement Trust. In furtherance thereof:

                               (i)     in the event of a Specified Breach (as defined in the Shareholder
                                       Settlement Agreement), the MDT Fiduciaries will take into
                                       account the remaining rights of the Holders of MDT Claims as
                                       well as the interests of the Holders of MDT Interests in
                                       formulating and exercising appropriate remedies as they relate to
                                       the Shareholder Payment Parties and the Shareholder Release
                                       Snapback Parties, but shall in all events, to the extent there are
                                       obligations remaining to the Private Creditor Trusts upon such
                                       default, seek to utilize all other available sources of assets
                                       (including by (A) enforcement of the NewCo Credit Support
                                       Agreement in accordance with the terms thereof and (B) first
                                       utilizing commercially reasonable efforts to pursue a Payment
                                       Remedy (as defined in the Shareholder Settlement Agreement)
                                       before electing to pursue a Shareholder Release Remedy) to pay
                                       all outstanding amounts owed to the Holders of MDT Claims
                                       then-due or to be paid in the future from amounts due from such
                                       Breaching Shareholder Family Group until such outstanding
                                       amounts have been paid in full;

                               (ii)    the Master Disbursement Trust shall provide no less than ten (10)
                                       Business Days’ advance written notice (unless urgent
                                       circumstances require less notice) to each MDT Beneficiary of
                                       any material action proposed to be taken in respect of the MDT
                                       Shareholder Rights, including any exercise of remedies under the
                                       Shareholder Settlement Agreement or the commencement or
                                       settlement of any litigation against any Shareholder Payment
                                       Party or Shareholder Release Snapback Party;

                               (iii)   to the extent there are any disputes raised by any MDT
                                       Beneficiary regarding the operation of the Master Disbursement
                                       Trust or the actions of the MDT Fiduciaries (including, without
                                       limitation, any failure to give notice of an MDT Reserve Period
                                       and any action related to the MDT Shareholder Rights), (A) any
                                       MDT Beneficiary shall have the right to seek resolution by the


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                                         Bankruptcy Court of such a dispute, including seeking to enjoin
                                         any disputed action by the Master Disbursement Trust, and all
                                         MDT Fiduciaries and MDT Beneficiaries shall have the right to
                                         be heard with regard to any such dispute, including by filing
                                         objections, declarations, statements in support or other pleadings
                                         (including with supporting evidence) or providing witness
                                         testimony at any hearing and (B) the Bankruptcy Court shall have
                                         exclusive jurisdiction to hear and resolve any such disputes, and
                                         shall be authorized to order appropriate relief (subject to the
                                         provisions of this Section 5.6(f)) and make a determination in an
                                         expedited manner, and in all events, shall make such a decision
                                         within thirty (30) days from the request for relief;

                                 (iv)    upon the payment in full in Cash of any MDT Claim (or, in the
                                         case of the PI Futures Trust, the payment in full of the PI Futures
                                         Trust Distribution), the holder of such MDT Claim (or, in the case
                                         of the PI Futures Trust Distribution, the PI Futures Trust) shall
                                         immediately cease to be an MDT Beneficiary for all purposes
                                         under the MDT Agreement, and the MDT Fiduciaries shall have
                                         no further fiduciary duties to such holder, and such holder shall
                                         have no further rights to commence or participate in any action
                                         relating to the operations of the Master Disbursement Trust or the
                                         actions of the MDT Fiduciaries;

                                 (v)     the MDT Fiduciaries shall (A) provide reasonable reporting to
                                         each of the Creditor Trusts regarding the MDT Fiduciaries’
                                         activities at least every four (4) months (both cumulatively and in
                                         the period just ended), including with regard to the MDT
                                         Shareholder Rights (or any reporting received), any insurance
                                         proceedings, assets (including the value thereof), expenditures,
                                         distributions and forward-looking projections (subject to
                                         appropriate limitations to be agreed by the Debtors, the
                                         Governmental Consent Parties and the Creditors’ Committee) and
                                         (B) make themselves reasonably available (in addition to holding
                                         at least one (1) call every four (4) months for the Creditor
                                         Trustees) to answer questions of Creditor Trustees relating to the
                                         Master Disbursement Trust’s activities;

                                 (vi)    the MDT Fiduciaries shall be obligated to comply with the terms
                                         of the Plan, including this Section 5.6(f), and the MDT
                                         Agreement; and

                                 (vii)   in the event of any inconsistency between the terms of this
                                         Section 5.6(f) and any other provision of this Plan or the MDT
                                         Agreement, the terms of this Section 5.6(f) shall govern unless the
                                         MDT Trustees and the Creditor Trustees for each of the Creditor
                                         Trusts mutually agree.

                          (g)      Assumption of Channeled Claims and Master TDP. As of the Effective
Date, any and all liability of the Debtors and the other Protected Parties for any and all Channeled Claims
shall automatically, and without further act, deed or court order, be channeled to and assumed by the Master



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Disbursement Trust solely for the purpose of effectuating the Master TDP, pursuant to which each
Channeled Claim shall either be automatically channeled to and assumed exclusively by a Creditor Trust or
otherwise Disallowed and released in full. All Channeled Claims channeled to a Creditor Trust in
accordance with the Master TDP shall be administered and resolved solely pursuant to, and solely to the
extent provided in, the applicable Creditor Trust TDP for such Creditor Trust. Distributions, in accordance
with the applicable Creditor Trust TDP, from the Creditor Trust to which a Channeled Claim is channeled,
in accordance with the Master TDP, shall be the sole source of recovery, if any, in respect of such
Channeled Claim, and the Holder of such Channeled Claim shall have no other or further recourse to the
Protected Parties, including the Master Disbursement Trust. All Channeled Claims that are Disallowed and
released and not channeled to a Creditor Trust in accordance with the Master TDP shall have no recourse to
any Protected Party, including the Master Disbursement Trust. For the avoidance of doubt, in no event shall
any Channeled Claim have any recourse to the Assets of the Master Disbursement Trust. In furtherance of
the foregoing, the Master Disbursement Trust, subject to and only to the extent provided in the MDT
Documents, shall have all defenses, cross-claims, offsets and recoupments regarding the Channeled Claims
that the Debtors, the Released Parties and the Shareholder Released Parties, as applicable, have, or would
have had, under applicable law, but solely to the extent consistent with the MDT Documents and the Plan;
provided that no such Claims, defenses or rights may be asserted against any Protected Party; and provided
further that all such defenses, cross-claims, offsets and recoupments regarding any Channeled Claim that is
channeled to a Creditor Trust in accordance with the Master TDP shall be transferred to such Creditor Trust
with such Channeled Claim, at which point, the Master Disbursement Trust shall no longer have such
defenses, cross-claims, offsets and recoupments regarding such Channeled Claim. For the avoidance of
doubt, nothing in this Section 5.6(g) shall limit or affect the transfer of the MDT Insurance Rights.

                         (h)     MDT Operating Expenses. On the Effective Date, the Debtors shall
establish and fund the MDT Operating Reserve, which shall vest in the Master Disbursement Trust in
accordance with Section 5.6(b) of the Plan and be held and maintained by the MDT Trustees. Periodically,
until the dissolution of the Master Disbursement Trust, the MDT Trustees will replenish the MDT
Operating Reserve from Cash held or received by the Master Disbursement Trust to the extent deemed
necessary by the MDT Trustees to satisfy and pay estimated future MDT Operating Expenses. The MDT
Trustees shall create and maintain an annual budget of MDT Operating Expenses, which shall be reviewed
by the MDT Beneficiaries and reasonably acceptable to the MDT Beneficiaries. All MDT Operating
Expenses shall be satisfied and paid from the MDT Operating Reserve. The MDT Trustees and the MDT
Executive Director shall be entitled to reasonable compensation and to retain and reasonably compensate
counsel and other professionals to assist in the duties of the Master Disbursement Trust on such terms as the
MDT Trustees and the MDT Executive Director deem appropriate without Bankruptcy Court approval,
subject to the provisions of the MDT Agreement. The initial compensation of the MDT Trustees and the
MDT Executive Director shall be reasonably acceptable to the Debtors, the Creditors’ Committee and the
Governmental Consent Parties, and thereafter shall be subject to the annual budgets prepared by the MDT
Trustees.

                         (i)     Transfer of the MDT Insurance Rights. In furtherance of the transfer of
the MDT Transferred Assets to the Master Disbursement Trust and in accordance with the MDT
Agreement, on the Effective Date, the Debtors shall irrevocably transfer, grant and assign to the Master
Disbursement Trust, and the Master Disbursement Trust shall receive and accept, any and all of the MDT
Causes of Action and MDT Insurance Rights. To the extent any Insurance Company would be obligated in
respect of any MDT Insurance Policy to pay any Channeled Claim on behalf of one or more of the Debtors,
the Debtors shall transfer and assign to the Master Disbursement Trust the right to enforce such Insurance
Company’s obligation. The foregoing transfer shall be (i) free and clear of all encumbrances and Causes of
Action of any nature whatsoever, (ii) made to the maximum extent possible under applicable law,
(iii) absolute and without requirement of any further action by the Debtors, the Liquidating Debtors, the
Plan Administration Trust, the Master Disbursement Trust, the Bankruptcy Court or any other Person, and


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(iv) governed by, and construed in accordance with, the Bankruptcy Code and the other applicable laws
governing the applicable MDT Insurance Policies. Notwithstanding the foregoing, the Master
Disbursement Trust shall become and remain liable in full for and shall satisfy, to the extent required under
applicable law, any prospective premiums, deductibles, self-insured retentions and any other amounts or
obligations arising in any way out of the receipt of payment from an Insurance Company in respect of the
MDT Insurance Rights; provided that, for the avoidance of doubt, the Master Disbursement Trust will not
be required to pay premiums or any other amounts for Purdue Insurance Policies that are not MDT
Insurance Policies. The transfer of the MDT Insurance Rights contemplated in this Section 5.6(i) is not an
assignment of any insurance policy itself. The Confirmation Order shall contain findings reasonably
acceptable to the Creditors’ Committee and the Governmental Consent Parties related to or necessary to
preserve all MDT Insurance Rights.

                          (j)      Transfer of MDT Shareholder Insurance Rights. On the Effective
Date, in consideration of the Shareholder Releases, the Shareholder Released Parties shall irrevocably
transfer, grant, and assign to the Master Disbursement Trust, and the Master Disbursement Trust shall
receive and accept, any and all MDT Shareholder Insurance Rights. Each Shareholder Released Party shall
be deemed to have irrevocably transferred, granted, and assigned to the Master Disbursement Trust any and
all MDT Shareholder Insurance Rights without further action and without further consideration to such
Shareholder Released Party. Pursuant to the Plan, the foregoing transfer shall be (i) free and clear of all
encumbrances and Causes of Action of any nature whatsoever, (ii) made to the maximum extent possible
under applicable law, (iii) absolute and without requirement of any further action by the Shareholder
Released Parties, the Debtors, the Liquidating Debtors, the Plan Administration Trust, the Master
Disbursement Trust, the Bankruptcy Court or any other Person, and (iv) governed by, and construed in
accordance with, the Bankruptcy Code and the other applicable laws governing the MDT Shareholder
Insurance Rights. The transfer of the MDT Shareholder Insurance Rights is not an assignment of any
insurance policy itself. For the avoidance of doubt, the transfer of the MDT Shareholder Insurance Rights is
in addition to the other obligations of the Shareholder Released Parties set forth herein. The Shareholder
Released Parties will make best efforts to provide the Master Disbursement Trust access to information and
copies of documents that are reasonably necessary to preserve, secure, or obtain the benefit of the MDT
Shareholder Insurance Rights, and will comply in all respects with the Plan to preserve, secure, or obtain the
benefit of the MDT Shareholder Insurance Rights, including but not limited to the obligations set forth in
Section 8.8(b). The Confirmation Order shall contain findings reasonably acceptable to the Creditors’
Committee and the Governmental Consent Parties related to or necessary to preserve all MDT Shareholder
Insurance Rights. Notwithstanding the foregoing in this paragraph, to the extent that (y) a Shareholder
Released Party has, prior to the Effective Date or January 11, 2022 (whichever occurs later), provided
notice of a Claim under a Reserved MDT Insurance Policy under which a Shareholder Released Party is
covered and (z) such Claim is not one for which such Shareholder Released Party receives the benefit of the
Shareholder Releases (a “Retained Shareholder Insurance Claim”), such Shareholder Released Party
shall not be deemed to have irrevocably transferred, granted, and assigned to the Master Disbursement
Trust the Retained Shareholder Insurance Claim, and such Shareholder Released Party shall be entitled to
pursue any such Retained Shareholder Insurance Claim prior to and after the Effective Date, provided that,
notwithstanding the foregoing, with respect to the Retained Shareholder Insurance Claims, each
Shareholder Released Party, in consideration of the Shareholder Releases, (A) will confer and fully
cooperate with the Master Disbursement Trust in connection with the settlement of all claims or rights
under such MDT Insurance Policy, including the Retained Shareholder Insurance Claims, and including but
not limited to as set forth in Section 8.8(b)(i) of the Plan, and (B) in the event the Master Disbursement
Trust has obtained settlement terms that it deems acceptable in its sole discretion, and such settlement terms
include a settlement of any Retained Shareholder Insurance Claim, each Shareholder Released Party with
rights under such Retained Shareholder Insurance Claim shall be deemed to consent to the release of any
claims or rights held by such Shareholder Released Party against and under such MDT Insurance Policy,
with the same effect as if such Shareholder Released Party had executed such settlement agreement, and


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without further consideration to such Shareholder Released Party from the insurance settlement proceeds or
otherwise in respect of such settlement. After the Effective Date or January 11, 2022 (whichever occurs
later), no Shareholder Released Party shall be entitled to submit a claim under any MDT Insurance Policy
(with the exception of a current or former director, officer, manager, authorized agent or employee that is
not a Sackler Family Member, but solely to the extent such individual has a right to submit a claim after the
Effective Date pursuant to Section 8.8(b)(ii) of the Plan).

                            (k)     Shareholder Insurance Release. On the Effective Date, in consideration
of the Shareholder Releases, all Sackler Family Members shall irrevocably, fully and forever release and
discharge any obligation to indemnify and/or to defend the Sackler Family Members under the Isosceles
Insurance Ltd. policy number PPLP-01/2019 for any Claim or loss of any type or nature whatsoever,
whether known or unknown. The Sackler Family Members hereby surrender all rights, interest in and
Claim to any benefit under the Isosceles Insurance Ltd. policy number PPLP-01/2019, and acknowledge
that (i) all rights, interest in and Claim to any benefit they may have under the Isosceles Insurance Ltd.
policy number PPLP-01/2019 are fully terminated on the Effective Date; and (ii) after the Effective Date,
the Sackler Family Members will not receive and cannot claim any further benefits under the Isosceles
Insurance Ltd. policy number PPLP-01/2019 for any time period and shall have no rights whatsoever under
or relating to the Isosceles Insurance Ltd. policy number PPLP-01/2019.

                          (l)       Institution and Maintenance of Legal and Other Proceedings. As of
the date upon which the Master Disbursement Trust is established, the Master Disbursement Trust shall be
empowered to initiate, prosecute, defend and resolve all legal actions and other proceedings related to any
Asset, liability or responsibility of the Master Disbursement Trust, including in respect of the MDT Causes
of Action, the MDT Insurance Rights and the MDT Shareholder Rights. Such legal actions and other
proceedings shall be limited solely to those required for the purposes of satisfying the responsibilities of the
Master Disbursement Trust, including in respect of the MDT Causes of Action, the MDT Insurance Rights
and the MDT Shareholder Rights. The Master Disbursement Trust shall be empowered to initiate,
prosecute, defend and resolve all such actions in the name of the Debtors or their Estates, in each case if
deemed necessary or appropriate by the MDT Trustees. The Master Disbursement Trust shall be
responsible for the payment of all damages, awards, judgments, settlements, expenses, costs, fees and other
charges incurred subsequent to the date upon which the Master Disbursement Trust is established arising
from, or associated with, any legal action or other proceeding brought pursuant to the foregoing.

                         (m)       U.S. Federal Income Tax Matters Relating to the Master
Disbursement Trust. The Master Disbursement Trust is intended to be treated, and shall be reported, as a
“qualified settlement fund” for U.S. federal income tax purposes and shall be treated consistently for state
and local tax purposes, to the extent applicable. All parties (including, without limitation, Holders of
Claims against or Interests in the Debtors, the Related Parties of such Holders, the Debtors, the Master
Disbursement Trust, the MDT Trustees and the Creditor Trusts) shall report consistently with the
foregoing. An MDT Trustee or the MDT Executive Director, as determined in accordance with the MDT
Agreement, shall be the “administrator,” within the meaning of Treasury Regulations
section 1.468B-2(k)(3), of the Master Disbursement Trust. The administrator of the Master Disbursement
Trust shall be responsible for filing all tax returns of the Master Disbursement Trust and the payment, out of
the Assets of the Master Disbursement Trust, of any taxes due by or imposed on the Master Disbursement
Trust. The MDT Trustees may request an expedited determination under section 505(b) of the Bankruptcy
Code for all tax returns filed by or on behalf of the Master Disbursement Trust for all taxable periods
through the dissolution of the Master Disbursement Trust. Nothing in this Section 5.6(l) shall be deemed to
determine, expand or contract the jurisdiction of the Bankruptcy Court under section 505 of the Bankruptcy
Code.




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                         (n)     Distributions from the Master Disbursement Trust Free and Clear.
All distributions made by the Master Disbursement Trust to the MDT Beneficiaries shall be made on no less
than ten (10) Business Days’ notice to all MDT Beneficiaries, and thereafter shall become the property of
such MDT Beneficiary, free and clear of all Claims, Liens or other recourse or encumbrances, and shall not
be subject to attachment, disgorgement or recoupment by any Person. Such distributions to each Creditor
Trust shall become the property of such Creditor Trust, and shall be used for the administration (including
the payment of Creditor Trust Operating Expenses) of such Creditor Trust, to make Distributions on
account of Channeled Claims channeled to such Creditor Trust in accordance with the applicable Creditor
Trust TDP and for such other purposes as may be specifically set forth in the applicable Creditor Trust
Documents; provided that such ten (10) Business Days’ notice period shall not be required for the Initial
Private Creditor Trust Distributions or the Initial Public Creditor Trust Distributions.

                            (o)      Dissolution, Release of Reserves and Residual Value. The Master
Disbursement Trust shall be dissolved and the MDT Trustees and the MDT Executive Director shall be
discharged from their respective duties with respect to the Master Disbursement Trust upon completion of
their duties as set forth in this Plan and the MDT Agreement, which, for the avoidance of doubt, shall be no
earlier than the date on which (i) all Assets held by the Master Disbursement Trust, including the MDT
Transferred Assets, have been liquidated and (ii) all payments and other distributions required to be made
from the Master Disbursement Trust under the Plan and the MDT Agreement have been made, including
payment in full in Cash of all MDT Claims, unless dissolution on an earlier date is authorized pursuant to a
Final Order of the Bankruptcy Court. Upon dissolution of the Master Disbursement Trust, any Cash
remaining in the MDT Operating Reserve or otherwise held by the Master Disbursement Trust shall be
distributed in accordance with the MDT Priority Waterfall and the MDT Agreement; provided that, in the
event the Master Disbursement Trust is dissolved prior to the payment in full in Cash of all MDT Claims,
all outstanding amounts under such MDT Claims shall be deemed due and payable for purposes of the
distribution of such remaining Cash pursuant to the MDT Priority Waterfall. Subject to the foregoing
sentences, the Master Disbursement Trust shall be dissolved at such time as the MDT Trustees determine
that the administration of any remaining assets of the Master Disbursement Trust is not likely to yield
sufficient additional proceeds to justify further pursuit.

                           (p)     Exculpation and Indemnification of the MDT Trustees and MDT
Executive Director. To the maximum extent permitted by applicable law, each of the MDT Trustees and
the MDT Executive Director shall not have or incur any liability for actions taken or omitted in his or her
capacity as an MDT Trustee or the MDT Executive Director, or on behalf of the Master Disbursement
Trust, except those acts found by Final Order to be arising out of his or her willful misconduct, bad faith,
gross negligence or fraud, and shall be entitled to indemnification, advancement and reimbursement for
reasonable fees and expenses in defending any and all of his or her actions or inactions in his or her capacity
as an MDT Trustee or the MDT Executive Director, or on behalf of the Master Disbursement Trust, and for
any other liabilities, losses, damages, claims, costs and expenses arising out of or due to the implementation
or administration of the Plan or the MDT Agreement, in each case, except for any actions or inactions found
by Final Order to be arising out of his or her willful misconduct, bad faith, gross negligence or fraud. Any
valid indemnification claim of the MDT Trustees or the MDT Executive Director shall be satisfied from the
MDT Operating Reserve.

                 5.7     Creditor Trusts.

                         (a)     Establishment and Purpose of the Creditor Trusts. The Confirmation
Order shall endorse and direct the establishment of the Creditor Trusts on or prior to the Effective Date in
accordance with the terms of the respective Creditor Trust Documents. The Creditor Trusts shall be
independent from the Holders of Claims against the Debtors, and shall be subject to the exclusive
jurisdiction of the Bankruptcy Court (other than as specifically set forth in the Creditor Trust Documents).



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The Creditor Trusts shall be established for the purposes described in this Plan and any other purposes more
fully described in the Creditor Trust Documents. Each Creditor Trust shall, in each case, in accordance with
the Plan, the Confirmation Order and the applicable Creditor Trust Documents:

                                   (i)     hold, manage and invest all funds and other Assets received by
                                           such Creditor Trust from the Debtors, the Master Disbursement
                                           Trust and TopCo, as applicable (including, with respect to the
                                           Tribe Trust and NOAT, the TopCo Interests and the MDT
                                           Interests), in each case, for the benefit of the beneficiaries of such
                                           Creditor Trust;

                                   (ii)    hold and maintain the Creditor Trust Operating Reserve of such
                                           Creditor Trust; and

                                   (iii)   administer, process, resolve and liquidate Channeled Claims
                                           channeled to such Creditor Trust, in each case as provided in the
                                           applicable Creditor Trust Documents.

                          (b)     Role of the Creditor Trustees. In furtherance of and consistent with the
purposes of the Creditor Trusts and the Plan, the Creditor Trustees shall have the power and authority to
perform all functions on behalf of the respective Creditor Trusts, subject to the Creditor Trust Documents
for such Creditor Trusts. The Creditor Trustees shall undertake all administrative responsibilities as are
provided in the Plan and the applicable Creditor Trust Documents. The Creditor Trustees shall be
responsible for all decisions and duties with respect to the respective Creditor Trusts, subject to the Creditor
Trust Documents for such Creditor Trusts. In all circumstances, each Creditor Trustee shall be independent
and disinterested and, in its capacity as a Creditor Trustee, shall act in the best interests of the beneficiaries
of such Creditor Trust, in furtherance of the purpose of such Creditor Trust and in accordance with this Plan
and the applicable Creditor Trust Documents. In accordance with the Creditor Trust Documents, each
Creditor Trustee shall serve in such capacity through the earlier of (x) the date that the applicable Creditor
Trust is dissolved in accordance with the applicable Creditor Trust Documents and (y) the date such
Creditor Trustee resigns, is terminated or is otherwise unable to serve for any reason.

                          (c)     Appointment of the Creditor Trustees and Creditor Trust Overseers.
In furtherance of and consistent with the purposes of the Creditor Trusts and the Plan, the Creditor Trust
Documents for each of the Creditor Trusts shall provide for the appointment of the Creditor Trustees and, if
applicable, Creditor Trust Overseers for each of the Creditor Trusts. The identity of the initial Creditor
Trustees and the initial Creditor Trust Overseers shall be as disclosed in the Plan Supplement as of the date
hereof, or shall otherwise be:

                                   (i)     with respect to NOAT, selected by the Governmental Consent
                                           Parties, in consultation with the Debtors and pursuant to a
                                           selection process reasonably acceptable to the Debtors; provided
                                           that the DOJ shall have the right, in its discretion, to observe such
                                           selection process;

                                   (ii)    with respect to the Tribe Trust, selected by the Native American
                                           Tribe Group with the consent of the Debtors (which consent shall
                                           not be unreasonably withheld, delayed or denied); and

                                   (iii)   with respect to each of the following Private Creditor Trusts,
                                           selected as follows: (A) with respect to the TPP Trust, by the
                                           Third-Party Payor Group, (B) with respect to the NAS Monitoring


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                                         Trust, by the NAS Committee, (C) with respect to the Hospital
                                         Trust, by the Ad Hoc Group of Hospitals, (D) with respect to the
                                         PI Trust, by the Ad Hoc Group of Individual Victims; and
                                         (E) with respect to the PI Futures Trust, by the Creditors’
                                         Committee, in each case, with the consent of the Debtors (which
                                         consent shall not be unreasonably withheld, delayed or denied).

                        (d)     Abatement Distributions. Each Abatement Trust shall, in accordance
with the Plan, the Confirmation Order and the applicable Creditor Trust TDP for such Abatement Trust,
make Abatement Distributions to Authorized Recipients for Authorized Abatement Purposes. The Creditor
Trust TDP for each Abatement Trust shall provide that decisions concerning Abatement Distributions made
by Abatement Trusts will consider the need to ensure that underserved urban and rural areas, as well as
minority communities, receive equitable access to the funds. Any Domestic Governmental Entity entitled to
an Abatement Distribution from NOAT that has reached a Statewide Abatement Agreement (as defined in
the NOAT TDP) may elect to have such Abatement Distribution, or any portion thereof, paid to the Public
Document Repository to the extent (x) set forth in the NOAT TDP and (y) consistent with such Statewide
Abatement Agreement.

                          (e)     PI Trust Distributions. The PI Trust shall, in accordance with the Plan,
the Confirmation Order and the PI Trust Documents, make Distributions on account of Allowed PI
Channeled Claims to Holders of such Allowed PI Channeled Claims, subject to the PI Trust Deductions and
Holdbacks. The PI Trust shall establish the PI Trust NAS Fund and the PI Trust Non-NAS Fund, and shall
deposit the NAS PI Portion into the PI Trust NAS Fund and the Non-NAS PI Portion into the PI Trust
Non-NAS Fund, in each case, periodically as funds are received by the PI Trust. The PI Trust shall make
Distributions on account of Allowed NAS PI Channeled Claims solely from the PI Trust NAS Fund in
accordance with the NAS PI TDP, and shall make Distributions on account of Allowed Non-NAS PI
Channeled Claims solely from the PI Trust Non-NAS Fund in accordance with the Non-NAS PI TDP, in
each case, subject to the PI Trust Deductions and Holdbacks.

                          (f)     PI Futures Trust Distributions. For so long as the PI Futures Trust has
assets available to make Distributions to Holders of Allowed Future PI Channeled Claims, the PI Futures
Trust shall, in accordance with the Plan, the Confirmation Order and the PI Futures Trust Documents, make
Distributions on account of Allowed Future PI Channeled Claims to Holders of such Allowed Future PI
Channeled Claims. Any amounts remaining in the PI Futures Trust upon the resolution of all Future PI
Channeled Claims asserted against the PI Futures Trust on or before the sixth (6th) anniversary of the
Effective Date and the payment of all Creditor Trust Operating Expenses of the PI Futures Trust shall be
distributed pursuant to the Confirmation Order and in accordance with the PI Futures Trust Documents. For
the avoidance of doubt, no Future PI Channeled Claim shall be channeled to, attach to, be payable or
otherwise compensable from, be eligible to receive a Distribution from, or have any recourse to, the
PI Trust or the Assets of the PI Trust, including, but not limited to, the Initial PI Trust Distribution,
the MDT PI Claim, any MDT Bermuda-Form Insurance Proceeds, the Creditor Trust Operating
Reserve of the PI Trust or any entitlement to, or products, proceeds or profits of, any of the
foregoing, prior to the establishment of, during the existence of or following the dissolution of, the PI
Futures Trust or at any other time. The Creditor Trust Operating Expenses of the PI Futures Trust shall
be paid solely from the PI Futures Trust. Creditor Trust Operating Expenses of the PI Futures Trust,
including any amounts due to or on behalf of the Creditor Trustee of the PI Futures Trust in respect of
indemnification, advancement and reimbursement of amounts as described in Section 5.7(m) of the Plan,
shall be paid on an ongoing basis with first priority before any Distributions are made from the PI Futures
Trust to Holders of Allowed Future PI Channeled Claims. The Confirmation Order shall provide for the
foregoing.




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                         (g)     Rights of the Creditor Trustee for the TPP Trust under the LRP
Agreement. Pursuant to and in accordance with the LRP Agreement, the Creditor Trustee for the TPP Trust
shall have the right (i) to inquire periodically with the Creditor Trustee for the PI Trust, the claims
administrator appointed in respect of the PI Trust and the escrow agent for the TPP LRP Escrow Account as
to whether the TPP LRP Escrow Account has been properly funded and payments therefrom are being
made to the LRP Participating TPPs as required under the LRP Agreement, and to request evidence of the
same and (ii) to seek entry of an order by the Bankruptcy Court enforcing the LRP Agreement, including
the obligations to provide such information and evidence, in the event the Creditor Trustee for the TPP
Trust reasonably believes that the TPP LRP Escrow Account has not been properly funded as required by
the LRP Agreement, payments have not been made to LRP Participating TPPs as required by the LRP
Agreement, and/or any of the Creditor Trustee for the PI Trust, the claims administrator appointed in
respect of the PI Trust and the escrow agent for the TPP LRP Escrow Account is not responding to
reasonable requests by the Creditor Trustee for the TPP Trust for such information and evidence.

                         (h)     Abatement Trust Monitoring and Reporting Obligations. Each
Abatement Trust shall (i) monitor the use of funds received by Abatement Distribution recipients in
accordance with Authorized Abatement Purposes and (ii) prepare and deliver to the Master Disbursement
Trust for publication annual reports on the disbursement and use of Abatement Distributions from such
Abatement Trust and the compliance by Abatement Distribution recipients with the Authorized Abatement
Purposes set forth in the applicable Abatement Trust Documents. In addition, NOAT shall (x) ensure that
the Master Disbursement Trust and TopCo comply with their respective obligations to NOAT, including
the enforcement of rights and agreements for the benefit of NOAT, (y) monitor the financial and other
reports received from TopCo, NewCo, the Master Disbursement Trust and the States, and publish such
reports on a publicly available website, as appropriate in the reasonable discretion of the Creditor Trustees
of NOAT, and (z) prepare or direct the preparation of annual audited financial reports of NOAT to be filed
with the Bankruptcy Court, delivered to the States and published on a publicly available website. For the
avoidance of doubt, NOAT shall not be required to duplicate any reporting performed by the Master
Disbursement Trust.

                          (i)    Assumption of Obligations and Liabilities. In furtherance of the
purposes of the Plan and the Creditor Trusts, pursuant to the Master TDP and subject to the applicable
Creditor Trust Documents, each Creditor Trust shall (i) expressly assume sole and exclusive responsibility
and liability for (A) the Channeled Claims channeled to such Creditor Trust in accordance with the Master
TDP and (B) all Creditor Trust Operating Expenses of such Creditor Trust and (ii) have (A) the rights
provided to such Creditor Trust in accordance with the Private Entity Settlements and Public Entity
Settlements and (B) all defenses, cross-claims, offsets and recoupments regarding such Channeled Claims
that the Debtors, the Released Parties and the Shareholder Released Parties, as applicable, have, or would
have had, under applicable law, but solely to the extent consistent with the applicable Creditor Trust
Documents and this Plan; provided that no such Claims, defenses or rights may be asserted against any
Protected Party.

                          (j)     Administration of Channeled Claims and Creditor Trust TDPs.
Pursuant to the Master TDP, (i) all Non-Federal Domestic Governmental Channeled Claims will be
administered by NOAT and resolved in accordance with, and to the extent provided in, the NOAT TDP, (ii)
all Tribe Channeled Claims will be administered by the Tribe Trust and resolved in accordance with, and to
the extent provided in, the Tribe TDP, (iii) all Third-Party Payor Channeled Claims will be administered by
the TPP Trust and resolved in accordance with, and to the extent provided in, the TPP TDP, (iv) all Hospital
Channeled Claims will be administered by the Hospital Trust and resolved in accordance with, and to the
extent provided in, the Hospital TDP, (v) all NAS Monitoring Channeled Claims will be administered by
the NAS Monitoring Trust and resolved in accordance with, and to the extent provided in, the NAS
Monitoring TDP, (vi) all PI Channeled Claims will be administered by the PI Trust and resolved in


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accordance with, and to the extent provided in, the PI TDP and (vii) all Future PI Channeled Claims will be
administered by the PI Futures Trust and resolved in accordance with, and to the extent provided in, the PI
Futures TDP. Each of the Creditor Trusts shall be funded in accordance with the Public Entity Settlements
and the Private Entity Settlements, as applicable. The Creditor Trustees shall, in accordance with, and to the
extent provided in, the applicable Creditor Trust TDPs, (y) determine the eligibility, amount and Allowance
(if applicable) of such Channeled Claims; provided that, pursuant to the PI TDP and PI Futures TDP,
personal injury or wrongful death claims against the Debtors held by claimants who “opt out” of the
liquidation procedures of the PI TDP or the PI Futures TDP, as applicable, shall, in accordance with and
subject to the terms of the PI TDP or the PI Futures TDP, as applicable, be liquidated in the tort system; and
(z) make all determinations with respect to Distributions to be made by the respective Creditor Trusts. The
foregoing determinations by the Creditor Trustees shall be final and binding, and shall not be subject to any
challenge or review of any kind, by any court or other Person, except as set forth in the Creditor Trust TDPs.
Distributions by the Creditor Trusts shall be the sole source of recovery, if any, in respect of Channeled
Claims, and Holders of Channeled Claims shall have no other or further recourse to the Protected Parties;
provided that the foregoing shall not diminish, or otherwise alter, the rights of LRP Participating TPPs
under the LRP Agreement. Distributions made by each Abatement Trust shall be exclusively in the form of
Abatement Distributions to Authorized Recipients for Authorized Abatement Purposes solely as permitted
pursuant to the Creditor Trust TDP for such Abatement Trust.

                          (k)      Institution and Maintenance of Legal and Other Proceedings. As of
the date upon which each Creditor Trust is established, such Creditor Trust shall be empowered to initiate,
prosecute, defend and resolve all legal actions and other proceedings related to any Asset, liability or
responsibility of such Creditor Trust. Such legal actions and other proceedings shall be limited solely to
those required for purposes of reconciling, administering or defending against the Channeled Claims
channeled to such Creditor Trust and for enforcing the rights of such Creditor Trust under the Plan and the
Plan Documents (including the rights of the Creditor Trustee for the TPP Trust specifically enumerated in
the LRP Agreement). Each Creditor Trust shall be empowered to initiate, prosecute, defend and resolve all
such actions in the name of the Debtors or their Estates, in each case if deemed necessary by the applicable
Creditor Trustee to fulfill the purposes for which such Creditor Trust was created. Each Creditor Trust shall
be responsible for the payment of all damages, awards, judgments, settlements, expenses, costs, fees and
other charges incurred subsequent to the date upon which such Creditor Trust is established arising from, or
associated with, any legal action or other proceeding brought pursuant to the foregoing. For the avoidance
of doubt, each Creditor Trust, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable
state corporate law, is appointed as the successor-in-interest to, and representative of, the Debtors and their
Estates for the retention, enforcement, settlement or adjustment of the applicable Channeled Claims
channeled to such Creditor Trust.

                          (l)     Foundations. On or before the Effective Date, the Continuing Foundation
Members shall be appointed as the sole continuing members of each of the Foundations (for the avoidance
of doubt, in accordance with the laws of its state of incorporation), without any other Persons having the
right to become members or (except in the case of a court of competent jurisdiction) remove a Continuing
Foundation Member without such Continuing Foundation Member’s consent and with the Continuing
Foundation Members having full power and authority in accordance with the laws of such Foundation’s
jurisdiction of incorporation to (y) remove and replace directors of each Foundation and (z) in conjunction
with the directors of each Foundation, (recognizing that both members and directors for the avoidance of
doubt shall remain subject to all relevant fiduciary duties in the administration of each Foundation), amend
and restate the certificates of incorporation and by-laws of the Foundations in a manner consistent with
applicable law and their continued recognition as organizations exempt from taxation under
Section 501(c)(3) of the IRC. As a condition to appointment as members of the Foundations (unless
otherwise agreed by the Debtors, the Governmental Consent Parties and counsel to the Newly Consenting
States), the Continuing Foundation Members shall be required to: (i) submit to the concurrent jurisdiction


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of the Bankruptcy Court with respect to the implementation of the Plan, (ii) confirm in writing that each
Foundation and the Continuing Foundation Members’ involvement with the same continues to be subject to
the laws, and the jurisdiction of the courts, of its state of incorporation and (iii) agree to promptly amend
(A) the purposes of the Foundations set forth in the certificates of incorporation of the Foundations (in
accordance with the rules of the respective states of incorporation and which, in the case of the RBS
Foundation, requires the approval of either (I) the Attorney General of the State of New York or (II) a
justice of the Supreme Court of the New York judicial district in which the office of the Foundation is
located), to be limited to purposes consistent with philanthropic and charitable efforts to ameliorate the
opioid crisis, and (B) each Foundation’s by-laws to require such Foundation’s directors to coordinate its
activities with the opioid abatement activities of the Public Creditor Trusts, unless the Public Creditor
Trusts should, for any reason, determine that such coordination is not necessary or advisable.

                          (m)      Creditor Trust Operating Expenses. The Creditor Trustees shall be
entitled to reasonable compensation and to retain and reasonably compensate counsel and other
professionals to assist in their duties without Bankruptcy Court approval, subject to the provisions of the
applicable Creditor Trust Documents. Creditor Trust Operating Expenses of each Creditor Trust shall be
satisfied and paid from such Creditor Trust’s Creditor Trust Operating Reserve in accordance with the
applicable Creditor Trust Documents. Periodically, until the dissolution of a Creditor Trust, the applicable
Creditor Trustee will replenish the Creditor Trust Operating Reserve from Cash held or received by such
Creditor Trust to the extent deemed necessary by such Creditor Trustee to satisfy and pay estimated future
Creditor Trust Operating Expenses in accordance with the Creditor Trust Documents.

                          (n)      U.S. Federal Income Tax Matters Relating to the Creditor Trusts.
Each Creditor Trust (other than any Tribe Trust entity that is formed as a legal entity other than a trust) is
intended to be treated, and shall be reported, as a “qualified settlement fund” for U.S. federal income tax
purposes and shall be treated consistently for state and local tax purposes to the extent applicable. All
parties (including, without limitation, Holders of Claims against or Interests in the Debtors, the Related
Parties of such Holders, the Debtors, the Creditor Trustees, TopCo and the Master Disbursement Trust) will
be required to report consistently with the foregoing for all applicable tax reporting purposes. A Creditor
Trustee from each relevant Creditor Trust shall be the “administrator” within the meaning of Treasury
Regulations section 1.468B-2(k)(3) of the applicable Creditor Trust. The administrator of each such
Creditor Trust shall be responsible for filing all tax returns of the applicable Creditor Trust and the payment,
out of the assets of such Creditor Trust, of any taxes due by or imposed on such Creditor Trust. Each
Creditor Trustee may request an expedited determination of taxes under section 505(b) of the Bankruptcy
Code for all tax returns filed by or on behalf of the applicable Creditor Trust for all taxable periods through
the dissolution of such Creditor Trust. Nothing in this Section 5.7(n) shall be deemed to determine, expand
or contract the jurisdiction of the Bankruptcy Court under section 505 of the Bankruptcy Code. Subject to
guidance from the IRS, it is intended that NOAT’s income shall be treated as exempt from U.S. federal
income tax pursuant to IRC section 115, and shall be treated consistently for state and local tax purposes to
the extent applicable.

                            (o)    Exculpation and Indemnification of the Creditor Trustees and the
Creditor Trust Overseers. To the maximum extent permitted by applicable law, each of the Creditor
Trustees and Creditor Trust Overseers shall not have or incur any liability for actions taken or omitted in his
or her capacity as a Creditor Trustee or Creditor Trust Overseer, or on behalf of the applicable Creditor
Trust, except those acts found by Final Order to be arising out of his or her willful misconduct, bad faith,
gross negligence or fraud, and shall be entitled to indemnification, advancement and reimbursement for
reasonable fees and expenses in defending any and all of his or her actions or inactions in his or her capacity
as a Creditor Trustee or Creditor Trust Overseer, or on behalf of the applicable Creditor Trusts, and for any
other liabilities, losses, damages, claims, costs and expenses arising out of or due to the implementation or
administration of the Plan or the applicable Creditor Trust Agreement, in each case, except for any actions


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or inactions found by Final Order to be arising out of his or her willful misconduct, bad faith, gross
negligence or fraud. Any valid indemnification claim of any of the Creditor Trustees or Creditor Trust
Overseers shall be satisfied from the respective Creditor Trusts.

                           (p)     Dissolution of the Creditor Trusts. Each Creditor Trust shall be
dissolved and the applicable Creditor Trustee shall be discharged from its duties with respect to such
Creditor Trust upon completion of its duties and the satisfaction of the purposes of the Creditor Trust as set
forth in this Plan and the applicable Creditor Trust Documents; provided, however, that the PI Futures Trust
shall be dissolved and the Creditor Trustee of the PI Futures Trust shall be discharged of his or her duties
with respect to the PI Futures Trust reasonably promptly following the earlier of (i) the distribution of all
monies from the PI Futures Trust and (ii) the resolution of all Future PI Channeled Claims asserted against
the PI Futures Trust on or before the sixth (6th) anniversary of the Effective Date and the payment of all
Creditor Trust Operating Expenses of the PI Futures Trust.

                5.8      Attorneys’ Fees and Costs.

                          (a)    Local Government and Tribe Costs and Expenses. On the Effective
Date, the Local Government and Tribe Costs and Expenses Fund shall be established for the payment of
costs and expenses (including attorneys’ fees) of Holders of Non-Federal Domestic Governmental
Channeled Claims (other than States) and Holders of Tribe Channeled Claims (including any ad hoc group
consisting of any of the foregoing), other than amounts paid pursuant to the AHC Reimbursement
Agreement Assumption Order and MSGE Group Reimbursement Order. The Local Government and Tribe
Costs and Expenses Fund shall be funded in an aggregate amount not to exceed $275 million from periodic
distributions of 5.5% of each Public Creditor Trust Distribution. Payments from the Local Government and
Tribe Costs and Expenses Fund shall be the exclusive means of payment from the Creditor Trusts for costs
and expenses (including attorneys’ fees) of any Holder of a Non-Federal Domestic Governmental
Channeled Claim (other than a State) or a Holder of a Tribe Channeled Claim (or any ad hoc group
consisting of any of the foregoing) or any attorney therefor, other than amounts paid in accordance with the
order of the MDL Court establishing the Common Benefit Fund. Except as otherwise agreed in writing by
the MSGE Group and the MDL Plaintiffs’ Executive Committee the MSGE Fee Allocation Agreement
shall be and remain fully enforceable and shall apply to the Local Government and Tribe Costs and
Expenses Fund; provided that the costs associated with the arbitration process contemplated under the
MSGE Fee Allocation Agreement shall not be paid by the Debtors, their Estates or any Creditor Trust. All
modifications of the Local Government and Tribe Costs and Expenses Fund that directly impacts
reimbursement of costs and expenses of Holders of Tribe Channeled Claims shall be reasonably acceptable
to the Native American Tribe Group.

                          (b)    State Costs and Expenses. On the Effective Date, the State Costs and
Expenses Fund shall be established for the payment of costs and expenses (including attorneys’ fees) of the
States (including any ad hoc group thereof), other than amounts paid pursuant to the AHC Reimbursement
Agreement Assumption Order. The State Costs and Expenses Fund shall be funded in an aggregate amount
not to exceed $225 million from periodic distributions of 4.5% of each Public Creditor Trust Distribution.
Payments from the State Costs and Expenses Fund shall be the exclusive means of payment from the
Creditor Trusts for costs and expenses (including attorneys’ fees) of any State (or any ad hoc group thereof)
or any attorney therefor, other than amounts paid in accordance with the order of the MDL Court
establishing the Common Benefit Fund.

                         (c)     Common Benefit Fund Assessments. On the Effective Date, a Common
Benefit Escrow shall be established and funded by assessments of (i) 5% of each Distribution made by the
Private Creditor Trusts (other than the NAS Monitoring Trust), (ii) 5% of each distribution made by the
Master Disbursement Trust to the NAS Monitoring Trust, (iii) 5% of the Public Schools’ Special Education



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Initiative Contribution (after deducting the amounts dedicated for out-of-pocket litigation expenses as
described in Section 5.8(h)(i)) and (iv) 5% of the Truth Initiative Contribution. Such assessments will be
paid to the Common Benefit Escrow and then, upon its establishment, directly to the Common Benefit Fund
established by the MDL Court. Assessments from the Private Creditor Trusts shall be paid on periodic
schedules for each Private Creditor Trust acceptable to the Governmental Consent Parties, the Ad Hoc
Group of Hospitals, the Third-Party Payor Group, the NAS Committee and the Ad Hoc Group of Individual
Victims, as applicable. The assessments payable by the Public Schools’ Special Education Initiative shall
be deducted from and paid at the time of the fee award described in Section 5.8(h)(ii). The amounts in the
Common Benefit Escrow shall be held in escrow until an order is entered by the MDL Court establishing a
Common Benefit Fund, at which time the amounts held by the Common Benefit Escrow and all subsequent
assessments of 5% of each Distribution made by the Private Creditor Trusts shall be transferred to and
distributed in accordance with the order of the MDL Court establishing the Common Benefit Fund. To the
extent a Holder of a Hospital Channeled Claim, a Third-Party Payor Channeled Claim, an NAS Monitoring
Channeled Claim, an NAS PI Channeled Claim or a Non-NAS PI Channeled Claim (or any ad hoc group
consisting of Holders of any of the foregoing) has retained counsel through a contingency fee arrangement,
any contingency fees owed to such contingency counsel payable from Distributions under the Plan shall be
reduced by the full amount payable under this Section 5.8(c).4 However, the applicable Holder and its
counsel, in their sole discretion, may agree that an amount up to but not exceeding 40% of the amount
payable under this Section 5.8(c) may be applied to the reimbursement of actual costs and expenses
incurred by such Holder’s counsel, in which case such agreed cost-reimbursement amount shall not reduce
the contingency fee amounts payable to such counsel. For the avoidance of doubt, if the Debtors, the Ad
Hoc Committee or the MSGE Group agrees to any reduced or less restrictive terms concerning the 5%
Common Benefit Fund assessment (or its implementation) provided under any portion of this Section 5.8(c)
(or any portion of Section 5.8) for any of the Ad Hoc Group of Hospitals, the Third-Party Payor Group, the
NAS Committee or the Ad Hoc Group of Individual Victims, then such modification shall apply to each of
such groups, mutatis mutandis.

                         (d)      Hospital Costs and Expenses. On the Effective Date, the Hospital
Attorney Fee Fund shall be established for the payment of attorneys’ fees and costs of the Ad Hoc Group of
Hospitals with respect to Hospital Channeled Claims. The Hospital Attorney Fee Fund shall be funded with
(i) 20% of each Abatement Distribution made by the Hospital Trust to Holders of Hospital Channeled
Claims that have not retained (or are not part of an ad hoc group that has retained), on or before the General
Bar Date as reflected in a timely filed Proof of Claim or representation to the Hospital Trust in accordance
with the Hospital TDP, separate counsel through an individual contingency fee arrangement less (ii) the
amount of such Distributions payable to the Common Benefit Escrow and the Common Benefit Fund under
Section 5.8(c). The Hospital Attorney Fee Fund shall be administered by the Hospital Trust on terms
acceptable to the Ad Hoc Group of Hospitals.

                       (e)      NAS Monitoring Claimant Costs and Expenses. On the Effective Date,
the NAS Monitoring Attorney Fee Fund shall be established for the payment of attorneys’ fees and costs of
the NAS Committee with respect to NAS Monitoring Channeled Claims. The NAS Monitoring Attorney
Fee Fund shall be funded with (i) 20% of each distribution made by the Master Disbursement Trust to the
NAS Monitoring Trust less (ii) the amount of such Distributions payable to the Common Benefit Escrow
and the Common Benefit Fund under Section 5.8(c). Reasonable expert costs incurred by the NAS
Committee in the formation of the abatement plan for the NAS Monitoring Trust shall also be paid by the


4 For the avoidance of doubt, any amount payable to counsel to the Ad Hoc Group of Individual Victims on an hourly basis

(including incremental amounts in consideration of deferring payment of hourly fees) shall not constitute a “contingency fee,” and
the agreement in respect thereof shall not constitute a “contingency fee arrangement,” in each case for purposes of Section 5.8 of
the Plan.



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NAS Monitoring Trust, and, for the avoidance of doubt, (x) there shall be no amounts payable to the
Common Benefit Escrow or the Common Benefit Fund on account of such cost reimbursements and (y) the
20% limitation on attorneys’ fees shall not apply to the foregoing reasonable expert costs. The NAS
Monitoring Attorney Fee Fund shall be administered by the NAS Monitoring Trust on terms acceptable to
the NAS Committee.

                         (f)     Ratepayer Costs and Expenses. On the Effective Date, the attorneys’
fees of the Ratepayer Mediation Participants shall be paid from (i) 20% of the Truth Initiative Contribution
less (ii) the amount of the Truth Initiative Contribution payable to the Common Benefit Escrow under
Section 5.8(c).

                          (g)     PI Claimant Costs and Expenses. The Creditor Trustee of the PI Trust
shall pay or reimburse, as applicable, the compensation, costs and fees of professionals that represented or
advised the Ad Hoc Group of Individual Victims and the NAS Committee in connection with the Chapter
11 Cases, as and to the extent provided in the PI Trust Agreement and subject to Bankruptcy Court approval
of such compensation, costs and fees as provided in the Confirmation Order. Such compensation, costs and
fees paid or reimbursed, as applicable, by the PI Trust shall be deducted from Distributions from (i) the PI
Trust NAS Fund to Holders of Allowed NAS PI Channeled Claims and (ii) the PI Trust Non-NAS Fund to
Holders of Allowed Non-NAS PI Channeled Claims, in each case pursuant to the PI Trust Documents.
Nothing in this Section 5.8 shall impair or otherwise affect any fee contract that is not a contingency fee
contract between the Ad Hoc Group of Individual Victims and its professionals, or between the NAS
Committee and its professionals.

                        (h)      Public Schools’ Costs and Expenses. From the Public Schools’ Special
Education Initiative Contribution, the Public Schools’ Special Education Initiative shall:

                                 (i)     dedicate an amount of $500,000 for payment or reimbursement,
                                         as applicable, of the out-of-pocket litigation expenses, such as for
                                         special bankruptcy counsel and expert fees and expenses, of
                                         professionals that represented or advised the Public School
                                         District Claimants to be computed based upon reasonable hourly
                                         rates and costs incurred, and not to include any premium to
                                         reasonable hourly rates, and subject to Bankruptcy Court approval
                                         of such litigation expenses as provided in the Confirmation Order;
                                         and

                                 (ii)    pay or reimburse, as applicable, the reasonable attorneys’ fees and
                                         litigation costs of the Public School District Claimants’ putative
                                         class counsel in an amount determined by mediator Layn Phillips
                                         or Ken Feinberg in accordance with the terms of the term sheet
                                         attached to the Notice of Filing of Special Education Initiative
                                         Term Sheet [D.I. 3120], in an amount not to exceed such class
                                         counsel’s contractual contingency fee of 25% of the Public
                                         Schools’ Special Education Initiative Contribution, and subject to
                                         Bankruptcy Court approval of such litigation expenses as
                                         provided in the Confirmation Order, less the amount payable to
                                         the Common Benefit Escrow under Section 5.8(c).

                        (i)     No Impairment of Contingency Fee Contracts; No Further
Assessment. Except as expressly set forth in this Section 5.8, nothing in the Plan shall impair or otherwise
affect any contingency fee contract between any Holder of a Claim (or any ad hoc group of Holders of
Claims) and such Holder’s (or ad hoc group’s) counsel. In this regard, the payment of the assessments


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described in this Section 5.8 shall be the only payment that such Holders (or their counsel) shall ever have
to make to the Common Benefit Fund with respect to amounts distributed under this Plan, and shall not be
subject to any further or other common benefit or similar assessments with respect to amounts distributed
pursuant to the Plan or payments to attorneys in respect thereof.

                 5.9      Transferability of Distribution Rights.

                          Any right to receive a Distribution or other payment from the Plan Administration
Trust (including any PAT Distribution Account or PAT Reserve), a Creditor Trust or the Master
Disbursement Trust (including the MDT Claims Reserve) shall not be evidenced by any certificate,
security, receipt or in any other form or manner whatsoever, except on the books and records of the Plan
Administration Trust (as maintained by the Plan Administration Trustee), the applicable Creditor Trust (as
maintained by the applicable Creditor Trustees) or the Master Disbursement Trust (as maintained by the
MDT Trustees), as applicable. Further, any right to receive a Distribution or other payment from the Plan
Administration Trust (including any PAT Distribution Account or PAT Reserve), a Creditor Trust or the
Master Disbursement Trust (including the MDT Claims Reserve) shall be nontransferable and
nonassignable except by will, intestate, succession or operation of law or as otherwise provided in the Plan,
the applicable Creditor Trust Documents or the MDT Agreement. Any rights to receive a Distribution or
other payment from the Plan Administration Trust (including any PAT Distribution Account or PAT
Reserve), a Creditor Trust or the Master Disbursement Trust (including the MDT Claims Reserve) shall not
constitute “securities” and shall not be registered pursuant to the Securities Act. If it is determined that such
rights constitute “securities,” the exemption provisions of section 1145(a)(1) of the Bankruptcy Code
would be satisfied and such securities would be exempt from registration.

                 5.10     Insurance Neutrality.

                          Nothing in the Plan, the Plan Documents or the Confirmation Order shall alter,
supplement, change, decrease or modify the terms (including conditions, limitations and/or exclusions) of
the Purdue Insurance Policies, including the MDT Insurance Policies; provided that, notwithstanding
anything in the foregoing to the contrary, the enforceability and applicability of the terms (including
conditions, limitations and/or exclusions) of the Purdue Insurance Policies, including the MDT Insurance
Policies, and thus the rights or obligations of any of the Insurance Companies, the Debtors and the
applicable post-Effective Date Entities, including the Master Disbursement Trust, arising out of or under
any Purdue Insurance Policy, including any MDT Insurance Policy, whether before or after the Effective
Date, are subject to the Bankruptcy Code and applicable law (including any actions or obligations of the
Debtors thereunder), the terms of the Plan and the Plan Documents, the Confirmation Order (including the
findings contained therein or issued in conjunction therewith, including but not limited to any findings
pursuant to Sections 5.2 and 5.6(i) of the Plan) and, to the extent the Insurance Companies have or had
adequate notice from any source, any other ruling made or order entered by the Bankruptcy Court whether
prior to or after the Confirmation Date. For the avoidance of doubt, nothing contained in the Plan, the Plan
Documents or the Confirmation Order shall operate to require any Insurance Company to pay under any
Purdue Insurance Policy the liability of any Person that was not an insured prior to the Petition Date.

                 5.11     Transfer of Books and Records; Cooperation; Privilege.

                         (a)      Transfer of Books and Records to NewCo and the Plan
Administration Trust. Except with respect to Excluded Assets, all documents, books and records of the
Debtors shall be transferred and assigned to NewCo on or prior to the Effective Date pursuant to the NewCo
Transfer Agreement; provided that, from and after the date of such transfer, the Plan Administration
Trustee shall have the right to retain copies of all transferred documents, books and records and NewCo
shall permit the Plan Administration Trustee and its counsel and representatives to have full access to such
transferred documents, books and records. All documents, books and records of the Debtors that are


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Excluded Assets shall be transferred and assigned to the Plan Administration Trust; provided that, except
for the Excluded Privileged Materials, NewCo shall receive copies of all documents, books and records of
the Debtors that are Excluded Assets. Any documents transferred under this Section 5.11(a) that are
documents that were produced to the Debtors by Shareholder Released Parties in connection with Purdue
Legal Matters shall continue to remain subject to the terms of the Protective Order and any order of the
Bankruptcy Court or provision of this Plan affording confidentiality protections to such documents, unless
such documents are included in the Public Document Repository in accordance with the Plan and the
Shareholder Settlement Agreement.

                          (b)     Cooperation with the Master Disbursement Trust and the Creditor
Trusts. On the Effective Date or as soon as reasonably practicable thereafter, the Debtors shall transfer and
assign, or cause to be transferred and assigned, (i) to the MDT Trustees, (A) copies of all MDT Insurance
Policies, (B) information and copies of documents, including books and records of the Debtors that
reasonably relate to (I) any Claims previously noticed, tendered or submitted or paid by any Insurance
Company under the MDT Insurance Policies and (II) any MDT Causes of Action, and (C) other
information and copies of all other documents, including books and records of the Debtors that are
reasonably necessary to preserve, secure or obtain the benefit of the MDT Insurance Rights, pursue the
MDT Causes of Action or liquidate any other MDT Transferred Assets and (ii) to each Creditor Trust, a
copy of the Proofs of Claims for Channeled Claims channeled to such Creditor Trust. Subject to
Section 5.11(c) of the Plan, the materials to be provided pursuant to this Section 5.11(b) include those in the
possession of the Debtors’ current and former insurance coverage counsel. On and after the Effective Date,
the Plan Administration Trustee and NewCo may maintain their respective documents, books and records
in accordance with their respective document retention policies set forth in the PAT Agreement and the
NewCo Operating Agreement, respectively. Prior to the Effective Date, the Debtors shall use reasonable
best efforts to provide the Creditors’ Committee and the Governmental Consent Parties reasonable access
to current employees and professionals of the Debtors (including insurance brokers) with knowledge
concerning the information and documents to be provided to the Master Disbursement Trust under this
Section 5.11(b), and, after the Effective Date, NewCo shall use best efforts to provide the Master
Disbursement Trust reasonable access to employees and professionals of NewCo with knowledge
concerning such information and documents and to facilitate access to former employees and professionals
of the Debtors (including insurance brokers). The Plan Administration Trustee and NewCo shall respond to
reasonable requests of (x) the MDT Trustees for information and documents related to the MDT Insurance
Rights, the MDT Causes of Action or otherwise, in each case to the extent reasonably necessary for the
administration of the Master Disbursement Trust, and (y) each Creditor Trustee for information and
documents relating to the applicable Channeled Claims or otherwise, in each case to the extent reasonably
necessary for the administration of the applicable Creditor Trust. In the event of any dispute between the
MDT Trustees and NewCo regarding the delivery of information or documents requested pursuant to
clause (x) of the foregoing sentence, the MDT Trustees shall have the right to request intervention by the
TopCo Managers to resolve any such dispute.

                         (c)     Privilege. The transfer or assignment of information and copies of
documents, including books and records, in accordance with this Section 5.11, shall not result in the
destruction or waiver of any applicable Privileges. On the Effective Date, all Privileges in connection with
the information or documents transferred in accordance with this Section 5.11 shall be transferred to, and
vest exclusively in, NewCo, the MDT Trustees, the Plan Administration Trustee and the Creditor Trustees
in accordance herewith. Further, with respect to the transfer of Privileges to the MDT Trustees and the
Creditor Trustees, such Privileges shall (i) be transferred to such MDT Trustees and Creditor Trustees for
the purpose of enabling such Persons to perform their respective duties as set forth in the Plan or in the
MDT Agreement or the applicable Creditor Trust Documents and for no other reason, (ii) vest solely in the
MDT Trustees and the Creditor Trustees and not in the Master Disbursement Trust or the Creditor Trusts, or
any other committee or subcomponent of the Master Disbursement Trust or the Creditor Trusts, or any


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other Person (including counsel and other professionals) who is (or has been engaged by, represents or has
represented) any Holder of a Claim against or Interest in the Debtors or any Person that alleges or may
allege a Claim, directly or indirectly, relating to or arising out of the Debtors’ Products or operations and
(iii) be preserved and not waived as a result of such transfer. For the avoidance of doubt, any such transfer
shall have no effect on any right, Claim or Privilege of any Person other than the Debtors. No information
subject to a Privilege shall be disclosed or communicated by the MDT Trustees or the Creditor Trustees
(x) to any Person not entitled to receive such information, including for the avoidance of doubt any Person
(including counsel and other professionals) who is (or has been engaged by, represents or has represented)
any Holder of a Claim against or Interest in the Debtors or any Person that alleges or may allege a Claim,
directly or indirectly, relating to or arising out of the Debtors’ Products or operations or (y) for any reason
or in any manner other than as necessary for such Persons to perform their respective duties as set forth in
the Plan or in the MDT Documents or the applicable Creditor Trust Documents. Notwithstanding the
foregoing, nothing herein shall preclude the MDT Trustees from providing information or documents
received pursuant to this Section 5.11 to any Insurance Company as necessary to preserve, secure or obtain
the benefit of the MDT Insurance Rights.

                 5.12    Public Document Repository.

                          (a)     Summary. The document disclosure program provided in this Plan will
lead to the public disclosure of the most significant documents about Purdue, the Sackler family and the
opioid crisis, including video depositions and millions of documents that Purdue produced in investigations
and litigation over the past two decades. In addition, it will lead to the public disclosure of millions of
documents not previously available to the public, including documents not previously produced in any
investigation or litigation and certain privileged documents from the years when Purdue developed and
promoted OxyContin, as identified below. The document disclosure program and Public Document
Repository will be conducted in a way to maximize public confidence and public access and will set a new
standard for transparency.

                        (b)      DOJ Repository Obligation. The Debtors bear sole responsibility for
complying with the DOJ document repository obligation set forth in the Plea Agreement (“DOJ Repository
Obligation”), and the DOJ Repository Obligation is not modified by this Plan. Similarly, the Debtors’
satisfaction of the DOJ Repository Obligation shall not diminish the additional commitment to disclosure
provided by this Plan. Instead, the public shall receive the full benefit of both, and the Public Document
Repository shall contain the full set of documents that the Debtors have agreed to host under the DOJ
Repository Obligation.

                          (c)     Disclosure Oversight Board. As described further below, the disclosure
program provided in this Plan shall be overseen by the DOB created on the Confirmation Date, consisting
of up to three (3) representatives appointed by each of the Ad Hoc Committee, the Non-Consenting States
Group, the Creditors’ Committee and the MSGE Group and one (1) representative appointed by the Native
American Tribe Group. No current or former director, officer, employee or attorney of the Debtors shall
serve on the DOB or oversee the disclosure program.

                        (d)       Purdue Legal Matters. As described further below, important material
for the disclosure program is contained in documents that the Debtors preserved, collected, logged and
produced in connection with investigations and litigation about Purdue’s opioid business. Many
non-privileged documents were produced in those matters, and many privileged documents were identified
and logged. This Section 5.12 provides for the disclosure of many documents from the Purdue Legal
Matters, which is a broad set of investigations and litigation defined in the Plan.

                        (e)    Disclosure Program Budget. As described further below, the disclosure
program is designed to avoid unnecessary expense, including by employing an unpaid volunteer oversight


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board and by using negotiated agreements to avoid the need for litigation. The disclosure program shall be
funded in an aggregate amount of $44 million, which shall be paid in the following installments:
(i) $2 million on the Effective Date, (ii) $11 million on the first Scheduled MDT Distribution Date,
(iii) $11 million on the second Scheduled MDT Distribution Date, (iv) $10 million on the third Scheduled
MDT Distribution Date and (v) $10 million on the fourth Scheduled MDT Distribution Date (collectively,
the “Disclosure Program Budget”). The Disclosure Program Budget shall be spent at the direction of the
DOB. In addition, as provided in the Plan, Domestic Governmental Entities may elect (but are not required)
to direct portions of their distributions to the Public Document Repository under terms provided in the Plan.
Moreover, the DOB shall be permitted, but not required, to coordinate its work on this disclosure program
with the work of state Attorneys General on related disclosures in the opioid industry, in a manner that
reduces the costs and increases the benefits of this disclosure program. Finally, to make efficient use of the
knowledge and expertise of the Debtors and their professionals, the Plan provides for significant materials
to be collected by the Effective Date, or as soon as reasonably practicable thereafter, as described further
below. For the avoidance of doubt, the Public Document Repository shall not be owned, held, administered
or operated by the DOB, the Master Disbursement Trust or any Creditor Trust; the role of the DOB is to
develop and oversee a temporary program to set up the appropriate Public Document Repository and
achieve the goals of the disclosure program.

                          (f)    Access Materials. On the Effective Date, or as soon as reasonably
practicable thereafter, the DOB shall be provided access to a set of non-privileged materials for the purpose
of accomplishing the Public Document Repository (collectively, the “Access Materials”). These Access
Materials shall include:

                                 (i)      all transcripts and audio or video recordings of depositions taken
                                          in the Purdue Legal Matters, together with the exhibits to those
                                          depositions;

                                 (ii)     all documents produced by the Debtors in the Purdue Legal
                                          Matters (which comprise more than thirteen million documents
                                          and more than one hundred million pages);

                                 (iii)    the non-privileged documents from the Relativity Database (as
                                          defined below) (which are estimated to comprise more than
                                          twenty million additional documents beyond those produced in
                                          the Purdue Legal Matters);

                                 (iv)     all privilege logs regarding documents withheld by the Debtors in
                                          the Purdue Legal Matters; and

                                 (v)      documents obtained during the Chapter 11 Cases by the NAS
                                          Committee regarding clinical and pre-clinical studies conducted
                                          by the Debtors or other companies associated with the Sackler
                                          Family Members.

                         (g)     Debtors’ Relativity Database. In the course of the Purdue Legal Matters,
the Debtors collected a significant set of documents that are stored in a Relativity database
(the “Relativity Database”). This collection includes files from more than two hundred custodians who
played important roles at Purdue, including every Sackler Family Member who sat on the board or worked
at the company. It also includes non-custodial documents, such as collections from electronic drives and
paper archives. The custodial and non-custodial documents collected for the Relativity Database are from
files that Purdue has preserved pursuant to broad document preservation policies in place for over twenty
years, including from an email archive containing emails dating to the 1990s. Pursuant to the terms


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provided in this Section 5.12, materials from the Relativity Database created before February 2018 will be
available for the disclosure program as described above.

                         (h)     Additional Collections. On or before the Effective Date, the DOB will
identify to the Debtors the additional custodians whose documents should be collected, to the extent
possible, from the email archive and other preserved files, and the Debtors will load those files into the
Relativity Database for inclusion as Access Materials or Sequestered Materials, as applicable.

                          (i)    Sequestered Materials. On the Effective Date, or as soon as reasonably
practicable thereafter, the Debtors shall provide the Plan Administration Trust with certain Privileged
documents, described below, collected by the Debtors during the course of the Purdue Legal Matters and
stored in the Relativity Database (“Sequestered Materials”), to be preserved for access by the DOB. The
provision of the Sequestered Materials to the Plan Administration Trust shall not constitute a waiver of any
applicable privileges, and, for clarity, no waiver of any applicable Privilege shall occur prior to the
Sequestration Date (as defined below). The Sequestered Materials are estimated to include hundreds of
thousands of documents. To leverage efficiencies, the Debtors’ current document review teams with
experience reviewing Purdue’s documents for privilege will screen and review, as necessary, all documents
currently in the Relativity Database for Privilege, attorney work product, confidentiality, the Health
Insurance Portability and Accountability Act or similar state or federal statute and critical business
information before turning over documents as Access Materials or as Sequestered Materials. The DOB will
aid the Debtors’ document review team in setting parameters and search terms to effectuate accurate
screening and review. The DOB may, confidentially and subject to privilege, request and be provided with
information, and, as necessary, an appropriate, expert-aided statistically valid sampling of the relevant
documents or other methodologies to aid in the foregoing review under an appropriate protective order and
non-waiver agreement.

                                 (i)     Subject to the Sequestration Date, the Debtors agree to waive
                                         attorney client and work product privilege over documents
                                         created before May 1, 2014 (“Cutoff Date”) that fall within the
                                         following categories:

                                         (A)     Marketing materials, promotional materials and sales
                                                 strategies. This will include, for example, legal advice on:
                                                 marketing and promotional materials as part of the
                                                 medical, regulatory, legal review process and other
                                                 reviews of statements in promotional and marketing
                                                 materials to ensure consistency with a product’s labeling
                                                 and legal requirements; sales training materials (such as
                                                 how to instruct the sales team on what they can and
                                                 cannot say about the products); review of all call notes
                                                 and whether statements on sales calls were appropriate;
                                                 call planning; and sales bulletins. For the avoidance of
                                                 doubt, “sales strategies” in this paragraph includes
                                                 documents related to (I) medical liaisons, (II) continuing
                                                 medical education, (III) the evolve to excellence
                                                 program, (IV) Purdue’s interactions with medical
                                                 advocacy groups, and (V) legal advice regarding the
                                                 performance, selection, retention, management and
                                                 compensation of personnel in sales and marketing;




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                                 (B)    Materials reflecting legal advice on submissions to the
                                        FDA and compliance with FDA regulations. This will
                                        include, for example, advice on the decision to
                                        reformulate OxyContin, advice on interactions and
                                        communications with FDA and advice on FDA
                                        requirements;

                                 (C)    Legal advice regarding distributions to or for the benefit
                                        of the Sackler Family Members;

                                 (D)    Legal advice regarding the organization or function of the
                                        board of directors;

                                 (E)    Legal advice regarding grants, gifts and other payments
                                        with respect to naming rights of Purdue and its
                                        shareholders;

                                 (F)    Legal advice regarding the performance, selection,
                                        retention, management and compensation of the CEO of
                                        Purdue Pharma;

                                 (G)    Legal advice regarding Purdue’s interactions with state
                                        licensing boards and the federation of state medical
                                        boards;

                                 (H)    Legal advice regarding Purdue’s interactions with key
                                        opinion leaders, advisory boards and treatment guidance;

                                 (I)    Legal advice regarding advocacy before the United States
                                        Congress or a state legislative branch with respect to
                                        OxyContin;

                                 (J)    Employment records and files created before the Cutoff
                                        Date pertaining to employment terminations or
                                        disciplinary actions related to opioid sales and marketing,
                                        including documents created before the Cutoff Date
                                        pertaining to internal investigations of personnel related
                                        to marketing of opioids, in all cases subject to applicable
                                        federal and state privacy and similar laws with respect to
                                        employees and with any redactions necessary to comply
                                        therewith; and

                                 (K)    To the extent provided during the time period while the
                                        corporate integrity agreement was in effect, legal advice
                                        regarding compliance with the corporate integrity
                                        agreement entered into between Purdue and the DOJ.

                          (ii)   Subject to the Sequestration Date, below, the Debtors agree to
                                 waive attorney client and work product privilege over the
                                 following categories of documents:




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                                        (A)     Documents reflecting law department reviews of, and
                                                decisions regarding, health care providers and pharmacies
                                                pursuant to Purdue’s abuse and diversion detection, order
                                                monitoring system and suspicious order monitoring
                                                programs, which will have been or will be provided to the
                                                DOJ under a June 2019 non-waiver agreement;

                                        (B)     Documents created before February 2018 reflecting legal
                                                review, analysis and advice with respect to advice
                                                received from McKinsey & Company related to the sale
                                                and marketing of opioids; and

                                        (C)     Documents created before June 30, 2017 reflecting legal
                                                review, analysis and advice with respect to Practice
                                                Fusion.

                                (iii)   To the extent documents subject to any of the foregoing waivers
                                        were previously logged on a privilege log in a Purdue Legal
                                        Matter, the Debtors shall provide the DOB with amended
                                        privilege logs that indicate the entries being produced pursuant to
                                        these waivers. For the avoidance of doubt, Privileged
                                        communications (during the applicable time periods set forth in
                                        Section 5.12(i)(i) and (ii)) about interactions with the media with
                                        respect to subject matters that are otherwise waived herein are
                                        included in such waivers.

                                (iv)    Nothing herein shall waive any third-party privilege or other
                                        rights, whether arising from a joint defense agreement, common
                                        interest privilege or otherwise, to which any document described
                                        in Section 5.12(i)(i) and (ii) is subject and which the Debtors do
                                        not have authority to waive. The Debtors will provide the DOB
                                        with privilege logs reflecting documents subject to such
                                        third-party privileges and rights that are identified in the course of
                                        identifying and compiling the Sequestered Materials. No
                                        documents subject to such third-party privileges and rights shall
                                        be included in the Public Document Repository, absent
                                        appropriate resolution of such third parties’ rights and privileges.
                                        Further, no waiver of Privilege described herein shall be
                                        construed as subject matter waiver. Subject to the foregoing, the
                                        Debtors, the Creditors’ Committee, the Governmental Consent
                                        Parties and the Newly Consenting States shall work together in
                                        good faith to ensure that all documents consistent with the
                                        Sequestered Material categories shall be available to the DOB for
                                        potential inclusion in the Public Document Repository in
                                        accordance with this Section 5.12.

                         (j)    Protection of the Privilege. For the avoidance of doubt, the Debtors do
not waive any Privilege and do not agree to provide as Sequestered Materials for the Public Document
Repository any Privileged documents or communications not otherwise identified in Section 5.12(i)(i) and
(ii). Such Privileged documents and communications not otherwise identified in Section 5.12(i)(i) and (ii)
shall be removed from the Relativity Database and separately preserved, and shall not be eligible for the



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Public Document Repository at any time. All Privileged documents removed from the Relativity Database,
and not included in the Sequestered Materials described above, will be provided to the Plan Administration
Trust, separately from the Sequestered Materials. The Plan Administration Trust will retain these materials
for the period described in Section 5.12(z). For clarity, except for the Sequestered Materials identified in
Section 5.12(i)(i) and (ii), the Debtors shall not intentionally provide the Master Disbursement Trust or the
DOB with access to any documents or content of documents that are Privileged. In the event that the
Debtors inadvertently provide the Master Disbursement Trust or the DOB with access to Privileged
documents except for those documents identified in Section 5.12(i)(i) and (ii), that inadvertent provision
shall not operate as a waiver of the Privilege, and, upon discovery, the DOB and/or the Master
Disbursement Trust, as applicable, must promptly take steps to return the documents to the Plan
Administration Trust or destroy such documents.

                         (k)      Sequestration Date. On January 1, 2025, the Plan Administration Trust
shall deliver the Sequestered Materials to the Host Institution (the “Sequestration Date”). Those materials
shall be made available for assessment by the DOB and disclosure in the Public Document Repository,
subject to the other provisions of this Section 5.12. The Host Institution may add Sequestered Materials to
the Public Document Repository on the earlier of June 30, 2025 and the date after January 1, 2025 on which
the MDT Claims are paid in full under the Plan.

                         (l)     Responsibilities of the DOB. The DOB shall be responsible for:

                                 (i)      accomplishing prompt, broad, permanent, public disclosure of
                                          millions of the Debtors’ documents via the Public Document
                                          Repository in accordance with this Section 5.12 to allow the
                                          public to examine the Debtors’ role in the opioid crisis;

                                 (ii)     engaging with survivors, advocates, journalists, scholars,
                                          policymakers and others to ensure that the disclosure program
                                          serves the public;

                                 (iii)    directing the use of the Disclosure Program Budget;

                                 (iv)     establishing protections for Protected Information, as described
                                          below;

                                 (v)      establishing procedures for resolution of challenges to the
                                          redaction or disclosure of information, as described below;

                                 (vi)     overseeing the Host Institution’s implementation of the disclosure
                                          program;

                                 (vii)    coordinating, as appropriate, the disclosure of documents from
                                          other producing parties or non-parties in opioid cases whose
                                          confidential information is included in the Access Materials,
                                          including by discussing inclusion of Access Materials containing
                                          such third-party confidential information;

                                 (viii)   ensuring the long-term sustainability and success of the disclosure
                                          program; and




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                                  (ix)    retaining and overseeing staff, counsel, or such other resources as
                                          are necessary and appropriate to accomplish the DOB’s
                                          responsibilities under this Section 5.12.

                          (m)     Host Institution. The host institution(s) shall be selected by the
Governmental Consent Parties, the Creditors’ Committee and the Newly Consenting States (the “Host
Institution”). The Host Institution will be responsible for hosting and maintaining the Public Document
Repository in perpetuity, including but not limited to: maintaining control and security over documents in
the Public Document Repository; providing an accessible user interface; and providing clear and
transparent explanations of its procedures to the public. Subject to restrictions and oversight imposed by the
DOB, the Host Institution may employ appropriate resources to accomplish its responsibilities, including
but not limited to the use of permanent university employees, temporary employees, contractors and vendor
services. Commensurate with the large responsibilities assigned to the Host Institution, and subject to the
decisions and oversight of the DOB and the requirements of this Plan, much of the Disclosure Program
Budget may be directed to the Host Institution to fund the accomplishment of its responsibilities.

                          (n)     Prompt Disclosure. In keeping with the importance of the matter, the
DOB shall dedicate its best efforts to ensure prompt disclosure and shall seek to ensure that the public
receives substantial disclosure at least every calendar quarter. The DOB shall prioritize prompt disclosure
of the transcripts and audio and video recordings of depositions taken in the Purdue Legal Matters, together
with the exhibits to those depositions. The Debtors will prioritize prompt production of the documents that
Debtors have agreed to host pursuant to the DOJ Repository Obligation for immediate inclusion in the
Public Document Repository for the sake of efficiency and cost savings.

                          (o)      Redaction of Protected Information. The DOB shall implement
appropriate procedures to protect the following information (“Protected Information”) by redacting
Protected Information in documents before they are disclosed to the public in the Public Document
Repository and by promptly catching and correcting errors if Protected Information is disclosed. Protected
Information is (i) any information protected from disclosure by the Health Insurance Portability and
Accountability Act or similar state or federal statute; (ii) personal email addresses or personal phone
numbers; (iii) information subject to confidentiality rights of third parties; (iv) information subject to
current trade secrets protection; (v) information regarding individuals that is of a purely personal nature and
does not pertain to the Debtors’ opioid business or related practices; and (vi) information otherwise
protected by law. For the avoidance of doubt, Protected Information that should be redacted in a written
document shall also be redacted in audio or video, such as deposition recordings.

                          (p)      Limits on Redaction. There shall be no redaction of: (i) names of the
Debtors’ directors, officers, employees, agents, attorneys or consultants or of prescribers or of officials or
employees of a government agency; (ii) email addresses at the “pharma.com” or “purduepharma.com”
domain; or (iii) trade secrets in documents dated more than five (5) years before the disclosure.

                          (q)      Inadvertent Release of Privileged or Protected Information.
Notwithstanding anything else in the Plan, the Public Document Repository shall not contain or disclose
any documents or content of documents that are Privileged, except for those documents identified in
Section 5.12(i)(i) and (ii) above that are eligible for the Public Document Repository after January 1, 2025,
or any Protected Information. Inadvertent disclosure of Privileged documents in the Public Document
Repository does not operate as a waiver of Privilege, and, upon discovery, any Privileged documents shall
be promptly removed from the Public Document Repository. The DOB will have sole liability for
reviewing, evaluating, processing and redacting all Protected Information before any document is placed in
the Public Document Repository, but may permit any individual or entity to review, evaluate, process or
redact Protected Information. The DOB will establish a procedure that permits any party or member of the



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public to identify or challenge the disclosure of any potentially Protected Information placed in the Public
Document Repository. The DOB will cause any document identified through this process to be
immediately removed from the Public Document Repository pending review. Any disagreements regarding
whether such material is Protected Information shall be resolved by the Special Master. The DOB will bear
full legal responsibility arising out of or related to any improper disclosure of Protected Information.

                          (r)     Special Master. Shortly after the Confirmation Date, the Debtors shall
file an appropriate motion asking the Bankruptcy Court or the United States District Court for the Southern
District of New York to select and appoint a disclosure oversight Special Master. The Special Master’s
qualifications shall include former service as a judicial officer, whether as a state or federal judge, and no
current or former director, officer, employee or attorney of the Debtors, the Sackler Family Members, the
Creditors’ Committee, the Governmental Consent Parties or the Newly Consenting States shall be eligible
to be appointed as the Special Master, counsel or staff working under the Special Master, provided that
prior work for a Governmental Consent Party or a Newly Consenting State that was completed prior to
2015 shall not preclude the appointment of a Special Master. The Special Master will adjudicate all
privilege and related disputes. The Special Master’s reasonable hourly fees and expenses shall be paid out
of the Disclosure Program Budget except as the Special Master orders otherwise upon finding that a party
advanced an argument that was frivolous, harassing or in bad faith.

                                 (i)      Selection of Special Master. The selection of the Special Master
                                          shall be made by the Bankruptcy Court; provided that the
                                          Bankruptcy Court may consider a recommendation made jointly
                                          by the Debtors, the Sackler Family Members, the Creditors
                                          Committee, the Governmental Consent Parties, and the Newly
                                          Consenting States. For the purposes of determining if there is to
                                          be a joint recommendation, five (5) Business Days after the
                                          Confirmation Date, the parties ((x) the Debtors, (y) the Creditors’
                                          Committee, the Governmental Consent Parties and the Newly
                                          Consenting States and (z) the Sackler Family Members) each
                                          shall exchange a list of up to five (5) names as recommendations
                                          for the role of Special Master. The Debtors thereafter shall make a
                                          motion to the Bankruptcy Court to select a Special Master. If there
                                          are names in common on the exchanged lists, the Debtors’ motion
                                          shall be limited to any name or names that are common to all such
                                          parties’ lists. If there is no name common to each of the three lists,
                                          the Debtors’ motion will ask the Bankruptcy Court, in its
                                          discretion, to select a Special Master.

                                 (ii)     Disclosure Challenges: To the extent that the DOB seeks to
                                          (A) challenge the Debtors’ assertion of Privilege with respect to
                                          any documents withheld or redacted from production in the
                                          Purdue Legal Matters, or excluded by the Debtors from the
                                          Access Materials, or (B) disclose any Protected Information in the
                                          Public Document Repository, such efforts shall be subject to
                                          review by the Special Master, who shall have final say regarding
                                          whether (y) the DOB should be provided with such materials, and
                                          (z) such materials shall be protected from public disclosure.

                                 (iii)    Timing of Challenges: All challenges to the redaction or
                                          withholding of documents from the Public Document Repository,
                                          including with regard to the Privilege and to Protected



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                                 Information, including challenges brought by either the DOB or
                                 members of the public, shall be brought within the later of
                                 (A) one (1) year of the Effective Date and (B) one (1) year from
                                 when the document or information at issue is first withheld from
                                 the Public Document Repository by redaction or logging.

                          (iv)   Counsel for Challenges: On or shortly after the Effective Date, the
                                 Debtors, the Governmental Consent Parties, the Creditors’
                                 Committee and the Newly Consenting States shall agree to
                                 appoint a law firm to defend the Debtors’ Privilege assertions
                                 against challenges (“Privilege Defense Counsel”); provided,
                                 however, that if the Debtors, the Governmental Consent Parties,
                                 the Creditors’ Committee and the Newly Consenting States are
                                 unable to reach an agreement regarding the identity of Privilege
                                 Defense Counsel, the Bankruptcy Court shall appoint the
                                 Privilege Defense Counsel. Third parties shall represent
                                 themselves before the Special Master and shall bear their own
                                 costs. Consistent with Sections 5.12(l)(ix) and 5.12(o), the DOB
                                 shall be responsible for defending against challenges to the
                                 disclosure or withholding of Protected Information.

                          (v)    Procedure for Challenges: Any party seeking to initiate a
                                 challenge to the Privilege or Protected Information designation of
                                 a document or information in a document or any other challenge
                                 to the inclusion or exclusion of documents in the Public
                                 Document Repository (the “Petitioner”) must first, as a condition
                                 precedent to any such challenge, meet and confer with the
                                 relevant defense counsel by serving a written statement of the
                                 specific material being disputed and the reasons for disputing
                                 each such material. If the meet and confer does not resolve the
                                 dispute, then the Petitioner shall submit a brief to the Special
                                 Master arguing why each individual document at issue should not
                                 be considered Privileged or Protected Information or should
                                 otherwise be included or excluded. Once a challenge has been
                                 submitted, the Special Master shall set a briefing schedule,
                                 permitting defense counsel no fewer than twenty-one (21) days to
                                 respond to the challenge, which may include in camera
                                 submissions in response. At the discretion of the Special Master,
                                 the briefing schedule may also include supplemental submissions,
                                 oral argument or other procedures the Special Master deems
                                 necessary to reach a determination. The Special Master shall then
                                 evaluate and decide the challenge based upon existing legal
                                 precedent of federal law within the U.S. Court of Appeals for the
                                 Second Circuit, and shall be empowered to determine whether
                                 such materials are subject to a valid claim of Privilege or
                                 otherwise constitute Protected Information or should have
                                 otherwise been included or excluded, but shall not be empowered
                                 to waive any Privilege ever asserted by the Debtors with respect to
                                 the Purdue Legal Matters or with respect to the Access Materials
                                 or the Sequestered Materials. If the Petitioner does not prevail,
                                 then the Special Master shall have the discretion to shift to the


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                                          Petitioner some or all of the reasonable legal expense of Privilege
                                          Defense Counsel, whose reasonable fees and expenses shall
                                          otherwise be paid for by the Disclosure Program Budget. If the
                                          Special Master determines that the challenge was frivolous,
                                          harassing, needlessly increasing costs or expenses, or otherwise
                                          brought for an improper purpose, then the Special Master shall
                                          shift to the Petitioner some or all of the reasonable legal expense
                                          of Privilege Defense Counsel. For avoidance of doubt, any
                                          materials determined by the Special Master to be Privileged or to
                                          contain Protected Information shall not be included in the Public
                                          Document Repository.

                                 (vi)     Pending resolution of a challenge asserting a document was
                                          improperly disclosed, the Host Institution shall remove or redact
                                          each identified, challenged document.

                         (s)     Materials Produced by Shareholder Released Parties. The Public
Document Repository shall include all Sackler Family Members’ documents that were produced in the
Chapter 11 Cases and that relate to the manufacturing, sale or marketing of opioids in the United States, the
Debtors’ alleged role or liability in connection with the opioid crisis or the regulatory approval of any
opioid product sold in the United States by the Debtors, but subject to appropriate exclusions for documents
covered by the attorney-client and work product privileges and certain confidential information (including
exclusions for information and documents related to the finances, financing activities, taxes and tax filings,
investments and third party business and advisory relationships of the Shareholder Released Parties).

                                 (i)      The Special Master appointed in accordance with Section 5.12(r)
                                          shall resolve disputes regarding whether certain documents or
                                          information is required to be included in the document repository
                                          by the Sackler Family Members.

                                 (ii)     The Sackler Family Members shall have the right to claw back
                                          documents that they were entitled to exclude in accordance with
                                          this provision but inadvertently produced to the Public Document
                                          Repository, and such inadvertent production shall not operate as a
                                          waiver of rights. The Special Master shall resolve any disputes
                                          between Sackler Family Members, the Governmental Consent
                                          Parties, the DOB and the Newly Consenting States concerning the
                                          exercise of clawback rights.

                                 (iii)    For the avoidance of doubt, “Sackler Family Members’
                                          documents” refer only to documents in the Sackler Family
                                          Members’ possession, custody or control. Section 5.12(s) does
                                          not refer to documents including or involving Sackler Family
                                          Members that are in the Debtors’ possession, custody or control.

                          (t)     Release of Confidentiality Rights by Parties Receiving Releases. With
regard to the disclosure of information in the Public Document Repository as authorized by this
Section 5.12, the protections provided to Released Parties and Shareholder Released Parties shall be limited
to the protections provided by this Plan. To the extent that Released Parties and Shareholder Released
Parties possess rights to confidentiality beyond those provided this Plan (for example, a contractual
confidentiality provision), those rights are waived to facilitate this disclosure program in exchange for the
benefit of the releases provided to the Released Parties and Shareholder Released Parties by the Plan.


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                         (u)     DOJ Settlement Communications. Communications between the
Debtors and DOJ regarding settlement or cooperation between 2015 and the final, non-appealable
conclusion of U.S. v. Purdue Pharma L.P., Case 2:20-cr-01028-MCA (D.N.J.) shall be protected from
disclosure to the Master Disbursement Trust and the DOB and shall not be included in the Public Document
Repository, nor shall any internal Debtor documents reflecting such communications or the strategy for
such communications. The Debtors shall implement this exclusion when creating the set of Sequestered
Materials.

                         (v)     Documents Produced By Certain Financial Institutions. The
disclosure program shall not include the documents produced by financial institutions pursuant to the
examination authorized by the Bankruptcy Court at D.I. 1143. For the avoidance of doubt, if the same
information also appears in a second source that is subject to disclosure (e.g., a deposition exhibit), then the
information in that second source is subject to disclosure.

                         (w)   Active Vendor Contracts. The Public Document Repository shall not
disclose the NewCo’s active vendor contracts or expired contracts that would reveal the sum and substance
of active contracts. The DOB shall take appropriate steps to implement this exclusion.

                          (x)      Exculpation and Indemnification of DOB members and Host
Institution. To the maximum extent permitted by applicable law, the DOB members, whenever appointed,
and the Host Institution shall not have or incur any liability for actions taken or omitted in his or her
capacity as a DOB member, or on behalf of the DOB, except those acts found to be arising out of his or her
willful misconduct, bad faith, gross negligence or fraud, and shall be entitled to indemnification,
advancement and reimbursement for reasonable fees and expenses in defending any and all of his or her
actions or inactions in his or her capacity as a DOB member, except for any actions or inactions found to be
arising out of his or her willful misconduct, bad faith, gross negligence or fraud. Any valid indemnification
claim of any of the DOB members shall be satisfied from the Disclosure Program Budget.

                       (y)     Reports. On each of the first five anniversaries of the Effective Date, the
DOB shall publish a public report describing the activities of the disclosure program, the use of any funds
expended, and any funds committed for future use.

                          (z)      Wind Down. In or after January 2026, the DOB shall wind itself down. If
appropriate to facilitate the long-term success of the Public Document Repository, the DOB may arrange
for another long-lived institution, such as one or more Attorneys General Offices, to interact with the Host
Institution after the DOB is wound down (e.g., by receiving reports). Upon the wind down of the DOB,
(i) the Host Institution shall be responsible for the permanent maintenance of the Public Document
Repository; provided that, for avoidance of doubt, the access to the Access Materials and the Sequestered
Materials granted to the DOB herein shall not be transferred to any successor institution other than the Host
Institution and (ii) any Access Materials or Sequestered Materials in the possession of the DOB but not
included in the Public Document Repository, for any reason, shall be, at NewCo’s election, delivered to
NewCo or destroyed or, if all or substantially all of the Assets of or Interests in NewCo have been sold,
destroyed or delivered to Privilege Defense Counsel. Within ninety (90) days of the announcement of the
dissolution of the Plan Administration Trust, the Plan Administration Trust shall use commercially
reasonable efforts to return Privileged materials to Privilege Defense Counsel who shall retain the materials
in a segregated client file.

                         (aa)    Master Disbursement Trust. For the avoidance of doubt, nothing in this
Section 5.12 limits the rights of the Master Disbursement Trust, subject to and in accordance with
Section 5.11 of the Plan, to access or use Privileged documents, including Excluded Privileged Materials,
in connection with any potential or actual Causes of Action, including, among other things, any potential or
actual Causes of Action contemplated by or that may result from, the Shareholder Settlement Agreement,


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including, without limitation, with respect to a Cause of Action against a Shareholder Release Snapback
Party upon the filing of a Notice of Shareholder Release Snapback.

                    5.13      Effective Date Cash; Surplus Reserved Cash.

                          (a)      Effective Date Fixed Payments. On the Effective Date, Effective Date
Cash shall be used to fund (i) the Professional Fee Escrow Account in an amount necessary to satisfy
Professional Fee Claims in accordance with Section 2.1(b) of the Plan, (ii) the Priority Claims Reserve in
an amount necessary to satisfy estimated Allowed Administrative Claims (other than Professional Fee
Claims and the DOJ Forfeiture Judgment Claim), Allowed Secured Claims and Allowed Priority Claims,
(iii) the Disputed Claims Reserves in accordance with Section 7.1 of the Plan, (iv) the Disputed Cure
Claims Reserve in accordance with Section 8.2(d) of the Plan, (v) the Wind-Up Reserve in accordance with
Section 5.3(d) of the Plan, (vi) the MDT Operating Reserve in accordance with Section 5.6(f) of the Plan,
(vii) the Initial NewCo Cash in accordance with Section 5.4(c) of the Plan, (viii) the applicable PAT
Distribution Account in the amounts necessary to make Distributions required in accordance with
Article IV of the Plan in respect of Allowed Adlon General Unsecured Claims and Allowed Avrio General
Unsecured Claims, each to the extent Allowed as of the Effective Date, (ix) the Truth Initiative
Contribution and the attorneys’ fees of the Ratepayer Mediation Participants in satisfaction of Ratepayer
Claims in accordance with Section 4.8 of the Plan, (x) the Initial Private Creditor Trust Distributions,
(xi) the Initial Tribe Trust Distribution, (xii) the Initial Federal Government Distribution, (xiii) amounts
required to establish the Public Document Repository in accordance with Section 5.12 of the Plan, (xiv) the
upfront insurance premium payments and other amounts in accordance with Sections 5.3(e), 5.4(g) and
5.5(d) of the Plan and (xv) any other amounts required to be paid on the Effective Date pursuant to the Plan.
No later than five (5) Business Days prior to the Effective Date, the Debtors shall provide notice to the
Creditors’ Committee and the Governmental Consent Parties of the then-current estimated amount of
Effective Date Cash and all amounts described in this Section 5.13(a), and shall promptly notify the
Creditors’ Committee and the Governmental Consent Parties of any changes to such estimations prior to the
Effective Date. Any objection by the Creditors’ Committee or the Governmental Consent Parties with
respect to the Debtors’ proposed amount of funding of any PAT Reserve shall be resolved by the
Bankruptcy Court.

                         (b)     Initial NOAT Distribution. On the Effective Date, all Effective Date
Cash remaining after the satisfaction of all amounts described in the foregoing paragraph (a) shall be used
to make the Initial NOAT Distribution, which is currently estimated to be $220 million.5 An updated
estimate of the Initial NOAT Distribution shall be provided in the Plan Supplement.

                           (c)      Surplus Reserved Cash. Prior to the dissolution of the Plan
Administration Trust, the Plan Administration Trustee shall determine, on each six (6)-month anniversary
of the Effective Date, whether the amounts available in any PAT Reserve exceed the amounts necessary to
satisfy the purpose for which such reserves were established. If the Plan Administration Trustee determines
that a surplus exists in any PAT Reserve as of the date of such determination, such Surplus Reserve Cash
shall be (i) first, used to satisfy any funding deficiency in any other PAT Reserve and (ii) second, with
respect to any amounts not used to satisfy any such funding deficiency in another PAT Reserve, transferred
to the Master Disbursement Trust in accordance with the MDT Agreement. All Cash and cash equivalents


5 The final amount of the Initial NOAT Distribution on the Effective Date is subject to adjustment for (i) proposed accelerated

payments payable on the Effective Date under the Debtors’ 2021 key employee incentive plan and 2021 key employee retention
plan if approved as proposed, (ii) year-to-date budget to actual adjustments for both operating and non-operating results, (iii) items
outside of the Debtors’ control, including but not limited to, potential variability in investment monetization proceeds, higher than
forecasted restructuring-related professional fees and potential cash collateral necessary to secure insurance coverage for NewCo
and TopCo and (iv) other adjustments.



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of the Plan Administration Trust remaining upon the dissolution of Plan Administration Trust, including
any remaining Surplus Reserve Cash in the PAT Reserves, shall be transferred to the Master Disbursement
Trust in accordance with the MDT Agreement.

                 5.14     Corporate Action.

                         (a)     Dissolution of Boards of the Debtors. As of the Effective Date, the
respective boards of directors and managers, as applicable, of each of the Debtors shall be terminated and
dissolved and the members of each of the boards of directors and managers, as applicable, of the Debtors
shall be deemed to have resigned.

                          (b)      Continued Existence of the Liquidating Debtors. Each of the Debtors,
other than the Transferred Debtors, shall continue to exist as a Liquidating Debtor after the Effective Date
in accordance with the laws of the state under which such Debtor was formed and pursuant to its certificate
of incorporation, bylaws, articles of formation, operating agreement, and other organizational documents,
as applicable, in effect prior to the Effective Date, except to the extent such organizational documents are
amended under the Plan, for the limited purposes of liquidating all of the Assets of such Debtor’s Estate and
making distributions in accordance with the Plan. From and after the Effective Date, except as set forth
herein, the Liquidating Debtors (i) for all purposes shall be deemed to have withdrawn their business
operations from any state in which the Liquidating Debtors were previously conducting, or are registered or
licensed to conduct, their business operations, and shall not be required to file any document, pay any sum,
or take any other action in order to effectuate such withdrawal, (ii) shall be deemed to have canceled
pursuant to the Plan all PPI Interests and, as of the PPLP Dissolution Date, all PPLP Interests, and (iii) shall
not be liable in any manner to any taxing authority for franchise, business, license or similar taxes accruing
on or after the Effective Date.

                           (c)    Appointment of the PPLP Liquidator as the Sole Representative for
the Liquidating Debtors. On the Effective Date, the PPLP Liquidator shall be appointed as the sole
director and sole officer of the Liquidating Debtors, and shall succeed to the powers of the Liquidating
Debtors’ general partners, directors and officers. From and after the Effective Date, the PPLP Liquidator
shall be the sole representative of, and shall act for, the Liquidating Debtors and administer the winding up
and dissolution of the Liquidating Debtors. The PPLP Liquidator shall act for the Liquidating Debtors in the
same fiduciary capacity as applicable to a board of directors and officers, subject to the provisions hereof
(and all certificates of formation, partnership agreements, operating agreements, membership agreements
and related documents are deemed amended by the Plan to permit and authorize the same). Any fees and
expenses incurred by the PPLP Liquidator shall be paid by the Plan Administration Trustee from the
Wind-Up Reserve.

                          (d)     Merger; Dissolution; Consolidation of the Liquidating Debtors. On or
after the date(s) upon which the Plan Administration Trust is established, the Liquidating Debtors or the
PPLP Liquidator may, subject to the terms of the Plan, cause any or all of the Liquidating Debtors to be
merged into one or more of the Liquidating Debtors, dissolved or otherwise consolidated and engage in any
other transaction in furtherance of the Plan. Notwithstanding the foregoing, upon the dissolution of each
Liquidating Debtor by the PPLP Liquidator after the completion of the acts required of such Liquidating
Debtor pursuant to this Plan, such Liquidating Debtor shall be deemed dissolved for all purposes without
the necessity for any other or further actions to be taken by or on behalf of such Liquidating Debtor;
provided, however, that each Liquidating Debtor or the PPLP Liquidator, as applicable, shall file with the
office of the Secretary of State, or other appropriate office for the state of its organization, a certificate of
cancellation or dissolution.

                       (e)      Charter and Bylaws. To the extent necessary or appropriate, the charters,
by-laws and other organizational documents of the Debtors shall be amended, or amended and restated as


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necessary, in a manner consistent with section 1123(a)(6) of the Bankruptcy Code, if applicable, and the
terms of this Plan.

                          (f)     No Further Action. Each of the matters provided for under the Plan
involving the corporate structure of the Debtors or the Plan Administration Trust, or corporate action to be
taken by or required of the Debtors, shall, as of the Effective Date, be deemed to have occurred (unless
contemplated hereunder to occur before or after the Effective Date) and be effective as provided herein, and
shall be authorized and approved in all respects without any requirement of further action by any Person,
including, but not limited to, the Plan Administration Trustee, the PPLP Liquidator, Holders of Claims
against or Interests in the Debtors or directors or officers of the Debtors.

                           (g)     Effectuating Documents. Prior to or after the Effective Date, any
appropriate officer of the Debtors or the PPLP Liquidator, as applicable, shall be authorized to execute,
deliver, file or record such contracts, instruments, releases, indentures and other agreements or documents,
and to take such actions as may be necessary or appropriate to effectuate and further evidence the terms and
conditions of the Plan.

                          (h)      Exculpation and Indemnification of the PPLP Liquidator. To the
maximum extent permitted by applicable law, the PPLP Liquidator shall not have or incur any liability for
actions taken or omitted in its capacity as the PPLP Liquidator, except those acts found by Final Order to be
arising out of its willful misconduct, bad faith, gross negligence, or fraud, and shall be entitled to
indemnification, advancement and reimbursement for reasonable fees and expenses in defending any and
all of its actions or inactions in its capacity as the PPLP Liquidator, except for any actions or inactions
found by Final Order to be arising out of its willful misconduct, bad faith, gross negligence or fraud. Any
valid indemnification claim of the PPLP Liquidator shall be satisfied from the Wind-Up Reserve.

                5.15     Cancellation of Notes, Interests, Instruments, Certificates and Other
Documents.

                         Except as otherwise provided herein, on and after the Effective Date, all PPLP
Interests and PPI Interests and all notes, instruments, certificates, agreements, indentures, mortgages,
security documents and other documents evidencing Claims against or Interests in the Debtors or
obligations of the Debtors or the Liquidating Debtors, as applicable, thereunder or in any way related to the
foregoing shall be deemed canceled, satisfied in full and of no further force or effect without any need for
further action or approval of the Bankruptcy Court.

                5.16     Closing of Chapter 11 Cases.

                       After a Debtor’s Estate has been fully administered, the Plan Administration
Trustee shall seek authority from the Bankruptcy Court to close the applicable Chapter 11 Case in
accordance with the Bankruptcy Code and Bankruptcy Rules.

ARTICLE VI DISTRIBUTIONS.

                6.1      Distributions Generally.

                        Except as otherwise provided in the Plan or the PAT Agreement, all Distributions
in respect of Allowed Claims, other than Channeled Claims, shall be made by the Disbursing Agent, or such
other Persons designated by the Plan, in accordance with the terms of the Plan, including this Article VI.
Except with respect to Sections 6.17, 6.20 and 6.21 of the Plan, this Article VI shall not apply to Channeled
Claims.




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                6.2      Distributions on the Effective Date.

                       On the Effective Date or as soon as reasonably practicable thereafter, the
Disbursing Agent shall make Distributions (a) from the Priority Claims Reserve in respect of Allowed
Administrative Claims, Allowed Secured Claims and Allowed Priority Claims, each in an amount and to
the extent Allowed as of the Effective Date, and (b) from the PAT Distribution Account in respect of
Allowed Avrio General Unsecured Claims and Allowed Adlon General Unsecured Claims, each in an
amount required in accordance with this Article VI of the Plan and solely to the extent Allowed as of the
Effective Date.

                6.3      Date of Distributions.

                         In the event that any payment or act under the Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the performance of such
act may be completed on the next succeeding Business Day, but shall be deemed to have been completed as
of the required date.

                6.4      Disbursing Agent.

                         The Disbursing Agent shall be deemed to hold all property to be distributed under
this Plan in trust for the Persons entitled to receive the same. The Disbursing Agent shall not hold an
economic or beneficial interest in the property to be distributed under this Plan. The Disbursing Agent shall
not be required to give any bond or surety or other security for the performance of its duties.

                6.5      Rights and Powers of Disbursing Agent.

                          The Disbursing Agent shall be empowered to (a) effect all actions and execute all
agreements, instruments and other documents necessary to perform its duties under the Plan, (b) make all
Distributions contemplated by the Plan, (c) employ professionals to represent it with respect to its
responsibilities and (d) exercise such other powers as may be vested in the Disbursing Agent by order of the
Bankruptcy Court, pursuant to the Plan or as deemed by the Disbursing Agent to be necessary and proper to
implement the provisions of the Plan.

                         The Disbursing Agent shall only be required to act and make Distributions in
accordance with the terms of the Plan and the PAT Agreement, and shall have no (x) liability for actions
taken in accordance with the Plan and the PAT Agreement or in reliance upon information provided to it in
accordance with the Plan or (y) obligation or liability in respect of any Channeled Claims or for
Distributions under the Plan to any party who does not hold an Allowed Claim administered by the Plan
Administration Trust at the time of Distribution or who does not otherwise comply with the terms of the
Plan; provided, however, that the foregoing shall not affect the liability that otherwise would result from
any such act or omission to the extent such act or omission is determined by a Final Order to have
constituted willful misconduct, gross negligence, intentional fraud or criminal conduct of any such Person.

                6.6      Expenses of Disbursement Agent.

                         Any reasonable fees and expenses incurred by the Disbursing Agent on or after the
Effective Date shall be paid in Cash by the Plan Administration Trustee from the Wind-Up Reserve.

                6.7      Delivery of Distributions.

                       Subject to Bankruptcy Rule 9010, the Disbursing Agent shall make all
Distributions to any Holder of an Allowed Claim at the address of such Holder (a) as set forth on the



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Schedules filed with the Bankruptcy Court or (b) on the books and records of the Debtors or their agents,
unless the Disbursing Agent has been notified in writing of a change of address, including, without
limitation, by filing of a Proof of Claim by such Holder that contains an address for such Holder that is
different than the address of such Holder as set forth in the Schedules or on such books and records of the
Debtors.

                6.8     Undeliverable and Unclaimed Distributions.

                         In the event that any Distribution to any Holder of an Allowed Claim is returned as
undeliverable, no Distribution to such Holder shall be made unless and until the Disbursing Agent has been
notified of the then-current address of such Holder, at which time or as soon as reasonably practicable
thereafter such Distribution shall be made to such Holder without interest; provided, however, that all
Distributions made by the Disbursing Agent that are unclaimed for a period of six (6) months after the
Distribution thereof shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code and
shall revest in the Plan Administration Trust, and any entitlement of any Holder of any Claims to such
Distributions shall be extinguished and forever barred.

                6.9     Distribution Record Date.

                         As of the close of business on the Distribution Record Date, the Claims register
shall be closed. The Disbursing Agent shall have no obligation to recognize any transfer of any such Claims
occurring after the close of business on the Distribution Record Date and shall instead be entitled to
recognize and deal, for all purposes under the Plan, with only those Holders of record as of the close of
business on the Distribution Record Date.

                6.10    Manner of Payment under Plan.

                     At the option of the Disbursing Agent, any Cash payment to be made pursuant to
the Plan may be made by a check or wire transfer or as otherwise required or provided in the PAT
Agreement.

                6.11    Minimum Cash Distributions.

                          The Disbursing Agent shall not be required to make any Distributions of Cash in
an amount less than $100, or such lower amount as determined by the Disbursing Agent in accordance with
the PAT Agreement, to any Holder of an Allowed Claim; provided, however, that if any Distribution is not
made pursuant to this Section 6.11, such Distribution shall be added to any subsequent Distribution to be
made on behalf of such Holder’s Allowed Claims. The Disbursing Agent shall not be required to make any
final Distribution of Cash in an amount less than $25 to any Holder of an Allowed Claim. If the amount of
any final Distribution to any Holder of Allowed Claims would be $25 or less, then such Distribution shall
be made available for Distribution to all Holders of Allowed Claims in the same Class receiving final
Distributions of at least $25.

                6.12    Setoffs and Recoupment.

                        Subject to Section 2.1 and Sections 10.5 through 10.13 of the Plan, the Disbursing
Agent may, but shall not be required to, set off against or recoup from any Claim against the Debtors, and
from any payments to be made pursuant to the Plan with respect to such Claim, any Claims of any nature
whatsoever (to the extent permitted by applicable law) that the Debtors or the Plan Administration Trust, as
applicable, may have against the Holder of such Claim, but neither the failure to do so nor the allowance of
any Claim hereunder shall constitute a waiver or release by the Debtors or the Plan Administration Trust of
any such Claim it may have against such Holder.


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                6.13     Claims Paid or Payable by Third Parties.

                          The Plan Administration Trustee shall reduce in full a Claim against the Debtors,
and such Claim shall be Disallowed without a Claims objection having to be filed and without any further
notice to or action, order or approval of the Bankruptcy Court, to the extent that the Holder of such Claim
receives payment in full on account of such Claim from any Person that is not a Debtor. Subject to the last
sentence of this paragraph, to the extent a Holder of a Claim against the Debtors receives a Distribution on
account of such Claim and receives payment from a Person that is not a Debtor on account of such Claim,
such Holder shall, within fourteen (14) days of receipt thereof, repay or return the Distribution to the Plan
Administration Trust to the extent the Holder’s total recovery on account of such Claim from the third party
and under the Plan exceeds the amount of such Claim as of the date of any such Distribution under the Plan.
The failure of such Holder to timely repay or return such Distribution shall result in the Holder owing the
Debtors annualized interest at the federal judgment rate on such amount owed for each Business Day after
the fourteen (14)-day grace period specified above until the amount is repaid.

                6.14     Distributions After Effective Date.

                       Distributions made after the Effective Date to Holders of Disputed Claims that are
not Allowed Claims as of the Effective Date, but which later become Allowed Claims, shall be deemed to
have been made on the Effective Date.

                6.15     No Postpetition Interest and Penalties on Claims.

                         Unless otherwise provided for in the Plan or the Confirmation Order or required by
the Bankruptcy Code, no Holder of a Claim shall be entitled to interest accruing on or after the Petition Date
or to penalties on any Claim. Any such interest or penalty component of any such Claims, if Allowed, shall
be paid only in accordance with section 726(b) of the Bankruptcy Code.

                6.16     Allocation of Distributions Between Principal and Interest.

                           To the extent that any Allowed Claim is based upon any obligation or instrument
that is treated for U.S. federal income tax purposes as indebtedness of any Debtor or any other Person and is
entitled to accrued but unpaid interest thereon, it is intended, subject to applicable law, that such
Distribution shall be allocated first to the principal amount of the Allowed Claim (as determined for U.S.
federal income tax purposes) and then, to the extent the consideration exceeds the principal amount of the
Allowed Claim, to accrued but unpaid interest.

                6.17     No Constructive Receipt.

                         No Holder of Claims shall be treated as receiving a Distribution for U.S. federal
income tax purposes except to the extent such Holder is entitled to receive such Distribution directly under
the Plan (or such Distribution is made in satisfaction of an obligation of such Holder). All parties
(including, without limitation, Holders of Claims against or Interests in the Debtors, the Related Parties of
such Holders, the Debtors, the Master Disbursement Trust, the MDT Trustees and the Creditor Trusts) shall
report consistently with the foregoing for U.S. federal income tax purposes.

                6.18     No Distribution in Excess of Amount of Allowed Claim.

                         Notwithstanding anything to the contrary in this Plan, no Holder of an Allowed
Claim shall receive, on account of such Allowed Claim, Distributions in excess of the Allowed amount of
such Claim when combined with amounts received by such Holder from other sources.




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                6.19     Satisfaction of Claims.

                         Unless otherwise provided herein, the Distributions and deliveries to be made on
account of Allowed Claims under this Plan shall, in the aggregate, be in complete and final satisfaction,
settlement and discharge of, and exchange for, such Allowed Claims. The Distributions and deliveries to be
made on account of Claims under this Plan shall additionally be in consideration of the release and
discharge of any and all Released Claims and Shareholder Released Claims related to or arising from such
Claims.

                6.20     Withholding and Reporting Requirements.

                          (a)     Withholding Rights. In connection with the Plan, and all instruments or
Interests issued in connection therewith and in consideration thereof, any party issuing any instrument or
Interest or making any Distribution described in the Plan shall comply with all applicable withholding and
reporting requirements imposed by any U.S. federal, state or local or foreign taxing authority, and all
Distributions pursuant to the Plan and all related agreements shall be subject to any such withholding or
reporting requirements. In the case of a non-Cash Distribution that is subject to withholding, the
distributing party may withhold a portion of such distributed property equal in value to the tax required to
be withheld, and either (i) sell such withheld property to generate Cash necessary to pay over the
withholding tax (or reimburse the distributing party for any advance payment of the withholding tax), or
(ii) pay the withholding tax using its own funds and retain such withheld property. Any amounts withheld
pursuant to this Section 6.20(a) and properly remitted to the applicable Governmental Unit shall be deemed
to have been distributed to, and received by, the applicable recipient for all purposes of the Plan. In the
event that any Person issues any instrument or Interest or makes any non-Cash Distribution pursuant to the
Plan that is subject to withholding tax and such issuing or distributing party has not sold such withheld
property to generate Cash to pay the withholding tax, or paid the withholding tax using its own funds and
retained such withheld property as described above, such issuing or distributing party has the right, but not
the obligation, to not make a Distribution until such Holder has made arrangements reasonably satisfactory
to such issuing or disbursing party for payment of any such tax obligations, after which such issuing or
disbursing party shall return to such Holder the portion of the property previously withheld.

                          (b)     Forms. Any party entitled to receive any Cash or other property under the
Plan shall, upon request, deliver to the Disbursing Agent, the Master Disbursement Trust, the applicable
Creditor Trust, NewCo, TopCo or such other Person designated by the Plan Administration Trustee (which
Person shall subsequently deliver to the Disbursing Agent any applicable IRS Form W-8 or Form W-9
received), as applicable, a properly executed IRS Form W-9 or Form W-8, as applicable, and any other
forms or documents reasonably requested by such party, to reduce or eliminate any withholding required by
any federal, state, local or foreign taxing authority. Except as otherwise provided in the Creditor Trust
Agreements, as applicable, if any such request is made by such party in accordance with the foregoing, and
the Holder fails to comply before the date that is three hundred sixty-five (365) calendar days after the
request is made, the amount of such Distribution shall irrevocably revert to the Plan Administration Trust,
the Master Disbursement Trust, the applicable Creditor Trust, NewCo or TopCo, as applicable, and any
Claim with respect to such Distribution shall be discharged and forever barred from assertion against such
party or its property.

                         (c)      Tax Liability. Notwithstanding Section 6.20(a), each Holder of a Claim
or other Person that receives or is to receive a Distribution pursuant to this Plan shall have the sole and
exclusive responsibility for the satisfaction and payment (to the extent not withheld from such Distribution
pursuant to Section 6.20(a) of the Plan) of any tax obligations imposed on such Holder by any
Governmental Unit, including income, withholding and other tax obligations, on account of such
Distribution.



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                 6.21    Post-Confirmation Claims.

                         Except as otherwise provided in the applicable Creditor Trust TDP, in the event a
Person seeks payment at any time on account of a Channeled Claim as to which no Proof of Claim was filed
before the General Bar Date and/or for which no motion seeking leave or order granting leave to file a late
Proof of Claim was filed or entered before the Confirmation Date, or as to which no Proof of Claim was
required to be filed, such Person shall not be entitled to any payment or distribution on account of such
Channeled Claim unless the Bankruptcy Court, by Final Order, first determines that such Person has a
Channeled Claim that is or was channeled to a Creditor Trust under the Master TDP and grants such Person
leave to assert such Channeled Claim against such Creditor Trust. If such leave is granted, such Person shall
be entitled to seek to recover on such Channeled Claim solely from the Creditor Trust to which such
Channeled Claim is or was channeled pursuant to the Master TDP, as determined by the Bankruptcy Court,
and any such recovery shall be solely in accordance with and to the extent provided in the Creditor Trust
TDP for such Creditor Trust. After the Effective Date, in addition to the Person seeking to assert such
Channeled Claim and any Person against which such Channeled Claim is purportedly asserted, only the
MDT Trustees, the Creditor Trustees and NewCo shall have standing to participate in any action before the
Bankruptcy Court in respect of the foregoing. For the avoidance of doubt, nothing in this paragraph is
intended or shall be construed to enlarge, amend or modify the provisions of the Bar Date Order, nor is
anything in this paragraph intended to derogate from, modify or amend the terms and conditions of any
Creditor Trust TDP or the Master TDP or the rights of any MDT Trustee, Creditor Trustee or claims
administrator for any Creditor Trust.

ARTICLE VII PROCEDURES FOR DISPUTED CLAIMS.

                 7.1     Procedures for Disputed Claims Generally.

                          Except as otherwise provided in the Plan or the PAT Agreement, all Claims
against the Debtors that are Disputed as of the Effective Date (other than Channeled Claims) shall be
subject to the claims resolution procedures set forth in the Plan, including this Article VII. This Article VII
shall not apply to Channeled Claims.

                 7.2     Disputed Claims Reserve.

                          From and after the Effective Date, and until such time as all Disputed Claims have
been compromised and settled or determined by a Final Order of the Bankruptcy Court, the Plan
Administration Trustee shall, consistent with and subject to section 1123(a)(4) of the Bankruptcy Code,
with respect to each applicable Class of Claims against the Debtors, retain in the applicable Disputed
Claims Reserve for such Class an aggregate amount equal to the Distributions that would have been made
to Holders of Disputed Claims of such Class as if such Disputed Claims were Allowed Claims against the
Debtors, in each case in an amount equal to the least of (i) the filed amount of such Disputed Claims, (ii) the
amount determined, to the extent permitted by the Bankruptcy Code and Bankruptcy Rules, by the
Bankruptcy Court for purposes of fixing the amount to be retained for such Disputed Claims and (iii) such
other amounts as may be agreed upon by the Holders of such Disputed Claims and the Plan Administration
Trustee.

                 7.3     Claim Objections.

                        On or after the Effective Date, except as otherwise provided in the Plan or the PAT
Agreement, objections to Claims against the Debtors may be interposed and prosecuted only by the Plan
Administration Trustee. Except as otherwise provided in Section 2.1 of the Plan with respect to
Administrative Claims, any objections to Claims against the Debtors shall be served on the respective
Holders of such Claims and filed with the Bankruptcy Court (a) on or before one hundred eighty (180) days


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following the later of (i) the Effective Date and (ii) the date that a Proof of Claim is filed or amended or a
Claim is otherwise asserted or amended in writing by or on behalf of a Holder of such Claim or (b) on such
later date as may be fixed by the Bankruptcy Court.

                7.4      No Distribution Pending Allowance.

                       Except as otherwise expressly provided in the Plan or the PAT Agreement, if any
portion of a Claim is Disputed, no payment or Distribution provided under the Plan shall be made on
account of such Claim unless and until such Disputed Claim becomes an Allowed Claim.

                7.5      Estimation of Claims.

                         The Debtors (before the Effective Date) or the Plan Administration Trustee (on or
after the Effective Date) may, at any time, request that the Bankruptcy Court estimate, pursuant to
section 502(c) of the Bankruptcy Code, any Disputed Claim that the Bankruptcy Court has jurisdiction to
estimate in accordance with the Bankruptcy Code or other applicable law, regardless of whether an
objection was previously filed with the Bankruptcy Court with respect to such Claim, or whether the
Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction to
estimate any Claim at any time during litigation concerning any objection to any such Claim, including
during the pendency of any appeal relating to any such objection. If the Bankruptcy Court estimates a
Disputed Claim, such estimated amount shall constitute either the Allowed amount of such Claim, the
amount used to determine the Disputed Claims Reserves or a maximum limitation on such Claim, as
determined by the Bankruptcy Court. If such estimated amount constitutes a maximum limitation on such
Claim, the Plan Administration Trustee may elect to pursue any supplemental proceeding to object to any
ultimate Distribution on account of such Claim.

                7.6      Distribution After Allowance.

                          On the first PAT Distribution Date following the date on which a Disputed Claim
becomes an Allowed Claim against a Debtor, the Disbursing Agent shall remit to the respective PAT
Distribution Account, for Distribution to the Holder of such Allowed Claim, the Cash or cash equivalents
retained in the applicable Disputed Claims Reserve in an amount equal to the amount that would have been
distributed to the Holder of such Claim from the Effective Date through and including the PAT Distribution
Date if such Claim had been Allowed as of the Effective Date (net of any costs and expenses, including
taxes, of the applicable Disputed Claims Reserve).

                7.7      Resolution of Claims.

                          Except as expressly provided in the Plan, the PAT Agreement or any order entered
by the Bankruptcy Court before the Effective Date, including the Confirmation Order, the Plan
Administration Trustee shall have and retain any and all rights and defenses held by the Debtors with
respect to any Claim against the Debtors as of the Petition Date, and shall have the authority to compromise,
settle, otherwise resolve or withdraw any objections to such Claims and to compromise, settle or otherwise
resolve any Disputed Claims without approval of the Bankruptcy Court. If the Plan Administration Trustee
and a Holder of a Disputed Claim are unable to reach a settlement on the Disputed Claim, such Disputed
Claim shall be submitted to the Bankruptcy Court for resolution.

                7.8      Property Held in Disputed Claims Reserves.

                          Each Holder of a Disputed Claim that ultimately becomes an Allowed Claim shall
have recourse only to the undistributed Cash held in the applicable Disputed Claims Reserve for
satisfaction of the Distributions to which such Holder is entitled under the Plan and the PAT Agreement


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(net of any costs and expenses, including taxes, of the applicable Disputed Claims Reserve), and not against
any Protected Party or any Assets previously distributed on account of any Allowed Claim.

                7.9      Claims Resolution Procedures Cumulative.

                          All of the objection, estimation, settlement and resolution procedures set forth in
this Plan with respect to Claims against the Debtors are intended to be cumulative and not exclusive of one
another. Claims against the Debtors may be established and subsequently settled, compromised, withdrawn
or resolved in accordance with this Plan by any mechanism approved by the Bankruptcy Court.

                7.10     No Postpetition Interest or Penalties on Disputed Claims.

                         Unless otherwise specifically provided for in the Plan or the Confirmation Order
or required by applicable bankruptcy law, no Holder of a Claim shall be entitled to interest accruing on or
after the Petition Date or to any penalties on any Claim. Interest and penalties shall not accrue or be paid
upon any Disputed Claim with respect to the period from the Effective Date to the date a Distribution is
made thereon, or on and after such Disputed Claim becomes an Allowed Claim.

ARTICLE VIII             EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

                8.1      Assumption and Rejection of Executory Contracts and Unexpired Leases.

                          (a)     As of and subject to the occurrence of the Effective Date, all executory
contracts and unexpired leases to which any Debtor is a party, subject to the terms of Section 8.4, shall be
deemed assumed by the applicable Debtor and, except with respect to any contract or lease held by a
Transferred Debtor, assigned to NewCo or its designee, except for any executory contract or unexpired
lease that (i) has previously been assumed or rejected pursuant to a Final Order of the Bankruptcy Court,
(ii) is specifically identified on the Schedule of Rejected Contracts, (iii) is the subject of a separate
assumption or rejection motion filed by the Debtors under section 365 of the Bankruptcy Code pending on
the Confirmation Date, (iv) is the subject of a pending Contract Dispute or (v) is being otherwise treated
pursuant to the Plan. The Debtors reserve the right to modify the treatment of any particular executory
contract or unexpired lease pursuant to this Plan. Furthermore, notwithstanding anything to the contrary in
the Plan, the Debtors may alter, amend, modify or supplement the Schedule of Rejected Contracts and
assume, assume and assign or reject executory contracts and unexpired leases at any time prior to the
Effective Date or, with respect to any executory contract or unexpired lease subject to a Contract Dispute
that is resolved after the Effective Date, within thirty (30) days following entry of a Final Order of the
Bankruptcy Court resolving such Contract Dispute.

                          (b)     Subject to the occurrence of the Effective Date, the payment of any
applicable Cure Amount and the resolution of any Contract Dispute, the entry of the Confirmation Order
shall constitute approval of the rejections, assumptions and assumptions and assignments provided for in
this Plan pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Unless otherwise indicated herein
or provided in a separate order of the Bankruptcy Court, rejections, assumptions and assumptions and
assignments of executory contracts and unexpired leases pursuant to the Solicitation Procedures Order and
this Plan are effective as of the Effective Date. Each executory contract and unexpired lease assumed
pursuant to this Plan or by order of the Bankruptcy Court shall vest in and be fully enforceable by the
applicable Debtor or NewCo, in each case in accordance with its terms, except as modified by the
provisions of this Plan, any order of the Bankruptcy Court authorizing and providing for its assumption, or
applicable law.

                       (c)     Unless otherwise provided herein (including Section 8.4 of the Plan) or by
separate order of the Bankruptcy Court, each executory contract or unexpired lease that is assumed or


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assumed and assigned shall include any and all modifications, amendments, supplements, restatements or
other agreements made directly or indirectly by any agreement, instrument or other document that in any
manner affects such executory contract or unexpired lease, without regard to whether such agreement,
instrument or other document is listed in an Assumption Notice.

                         (d)       Except as otherwise expressly set forth on an Assumption Notice, any
contracts, engagement letters, retention agreements, and similar arrangements, in each case between the
Debtors and any attorneys, accountants, financial advisors, investment bankers or similar professionals,
representatives or advisors, shall not be treated under the Plan as executory contracts subject to assumption,
assumption and assignment, or rejection. Counterparties to any such contracts, engagement letters,
retention agreements and similar arrangements were required to file Proofs of Claim by the General Bar
Date, and any Allowed Claims relating thereto shall be treated as Other General Unsecured Claims or
Co-Defendant Claims, as applicable.

                8.2      Determination of Contract Disputes and Deemed Consent.

                        (a)     The Debtors shall serve Assumption Notices in accordance with the
Solicitation Procedures Order. If a counterparty to an executory contract or unexpired lease receives an
Assumption Notice, but such executory contract or unexpired lease is not listed therein, the proposed Cure
Amount for such executory contract or unexpired lease shall be deemed to be zero dollars ($0).

                         (b)      Any counterparty to an executory contract or unexpired lease shall have
the time prescribed in the Solicitation Procedures Order to object to (i) the Cure Amount identified on the
Assumption Notice, (ii) adequate assurance of future performance by the applicable Debtor, NewCo or its
assignee (within the meaning of section 365 of the Bankruptcy Code) and (iii) any other matter pertaining
to assumption or assumption and assignment of such executory contract or unexpired lease on the terms set
forth in the Plan and such Assumption Notice.

                         (c)      To the extent a Contract Dispute is asserted in an objection filed in
accordance with the procedures set forth in the Assumption Notice, such Contract Dispute shall be heard by
the Bankruptcy Court at the Confirmation Hearing. Following resolution of a Contract Dispute by Final
Order of the Bankruptcy Court, the applicable executory contract or unexpired lease shall be deemed
assumed or assumed and assigned effective as of the Effective Date, subject to the Debtors’ right to reject
such executory contract or unexpired lease at any time prior to the Effective Date or, if any Contract
Dispute is resolved after the Effective Date, within thirty (30) days following entry of such Final Order of
the Bankruptcy Court resolving the applicable Contract Dispute.

                         (d)      To the extent a Contract Dispute has not been resolved prior to the
Effective Date, the Debtors shall establish the Disputed Cure Claims Reserve. Any amounts in the Disputed
Cure Claims Reserve remaining after the resolution of all Disputed Cure Claims and the payment of all
Cure Amounts with respect to Allowed Cure Claims for contracts and leases to be assumed or assumed and
assigned shall be applied in accordance with Section 5.13(c) of the Plan.

                         (e)     To the extent an objection is not timely filed and properly served on the
Debtors with respect to a Contract Dispute, then the counterparty to the applicable contract or lease shall be
deemed to have assented to (i) the Cure Amount proposed by the Debtors and (ii) the assumption or
assumption and assignment of such contract or lease on the terms set forth in the Plan and the Assumption
Notice, notwithstanding any provision of the applicable contract or lease that (A) prohibits, restricts or
conditions the transfer or assignment of such contract or lease or (B) terminates or permits the termination
of such contract or lease as a result of any direct or indirect transfer or assignment of the rights of the
Debtors under such contract or lease or a change in the ownership or control as contemplated by the Plan,



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and shall forever be barred and enjoined from asserting such objection against the Debtors or terminating or
modifying such contract or lease on account of transactions contemplated by the Plan.

                         (f)    With respect to payment of any Cure Amounts or resolution of Contract
Disputes, none of the Debtors, the Plan Administration Trustee, NewCo or any Transferred Debtor shall
have any obligation to recognize or deal with any party other than the non-Debtor party to the applicable
executory contract or unexpired lease, even if such non-Debtor party has sold, assigned or otherwise
transferred its Cure Claim.

                8.3      Payments Related to Assumption of Contracts and Leases.

                         (a)     Subject to resolution of any Contract Dispute, any Cure Claim shall be
satisfied, under section 365(b)(1) of the Bankruptcy Code, by the Plan Administration Trust from the
Priority Claims Reserve or the Disputed Cure Claims Reserve, as applicable, or NewCo in the ordinary
course of business upon assumption thereof.

                         (b)      Assumption or assumption and assignment of any executory contract or
unexpired lease pursuant to the Plan, or otherwise, shall result in the full release and satisfaction of any
Claims or defaults, subject to satisfaction of the Cure Amount, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, arising under any assumed executory contract or unexpired lease at any time
before the effective date of assumption or assumption and assignment. Any Proofs of Claim filed with
respect to an executory contract or unexpired lease that has been assumed shall be deemed Disallowed and
expunged, without further notice, or action, order or approval of the Bankruptcy Court or any other Person.

                8.4      Co-Defendant Contracts.

                           Except as otherwise provided in the Plan or agreed by any counterparty and the
Debtors (with the consent (not to be unreasonably withheld, conditioned or delayed) of the Governmental
Consent Parties, and after consultation with the Creditors’ Committee), the assumption of any contract or
lease under the Plan shall (a) release any Causes of Action on account of any and all terms or provisions of
such contract or lease solely to the extent such terms or provisions create an obligation of any party thereto
(or any assignee thereof), or give rise to a right in favor of any non-Debtor under any MDT Insurance Policy
or any other insurance policy of any Protected Party, for the indemnification or reimbursement of any
Person for costs, losses, damages, fees, expenses or any other amounts whatsoever relating to or arising
from any actual or potential opioid-related litigation or dispute, whether accrued or unaccrued, asserted or
unasserted, existing or hereinafter arising, based on or relating to, or in any manner arising from, in whole
or in part, Opioid-Related Activities or other conduct occurring prior to the Effective Date; and
(b) constitute a release by each party of each other counterparty (and any assignee thereof or successor
thereto) and by each non-Debtor party of all Insurance Companies, in each case, from any and all Causes of
Action and other rights of recovery arising under or relating to such indemnification and reimbursement
rights to the extent relating to any conduct occurring prior to the Effective Date, and an agreement by each
non-Debtor counterparty to release any and all Co-Defendant Claims held by such party and to channel, in
accordance with the Channeling Injunction, all Channeled Claims arising under or relating to such contract,
including any such Claims that might otherwise be elevated to administrative status through assumption of
such contract or lease. On the Effective Date, (x) all Co-Defendant Claims arising under or related to any
such assumed or assumed and assigned contract or lease shall be released and discharged with no
consideration on account thereof, and all Proofs of Claim in respect thereof shall be deemed expunged,
without further notice, or action, order or approval of the Bankruptcy Court or any other Person and (y) all
Channeled Claims arising under or related to any such assumed or assumed and assigned contract or lease
shall be channeled in accordance with the Channeling Injunction. For the avoidance of doubt, unless
otherwise agreed by the counterparty to any assumed or assumed and assigned contract or lease, the


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foregoing shall not release or otherwise modify any term or provision of such contract or lease to the extent
of any indemnification or reimbursement rights (i) accruing after the Effective Date for conduct occurring
after the Effective Date, (ii) for any amounts, if any, due to a Co-Defendant as a result of the New York
Opioid Stewardship Act (2018 N.Y. Sess. Laws, ch. 57, pt. NN 7 (codified at N.Y. Pub. Health Law § 3323
and N.Y. State Fin. Law § 97-aaaaa)) or (iii) for any Co-Defendant Surviving Pre-Effective Date Claim.
Notwithstanding the release, satisfaction, expungement and extinguishment of Co-Defendant Claims, a
Co-Defendant retains its Co-Defendant Defensive Rights, which includes the ability to recover from
Persons that are not Protected Parties or from any insurance policies that are not Purdue Insurance Policies
or other insurance policies of Protected Parties. The counterparty to such contract or lease and all other
applicable Persons shall be bound by the terms set forth in this Section 8.4.

                 8.5     Rejection Claims.

                          In the event that the rejection of an executory contract or unexpired lease by any of
the Debtors herein results in damages to the other party or parties to such contract or lease, any Claim for
such damages shall be forever barred and shall not be enforceable against the Debtors or their Estates,
properties or interests in property, unless a Proof of Claim is filed with the Bankruptcy Court and served
upon the Debtors no later than thirty (30) days after the entry of the order of the Bankruptcy Court
(including the Confirmation Order) authorizing the rejection of such executory contract or unexpired lease.
Any such Claim shall be classified in accordance with the classification of Claims set forth in Article III of
the Plan, including that any such Claims that constitute Co-Defendant Claims shall be classified as such.
The Confirmation Order shall constitute the Bankruptcy Court’s authorization of the rejection of all the
leases and contracts identified in the Schedule of Rejected Contracts.

                 8.6     Compensation and Benefit Plans.

                         Except with respect to any Benefit Plans for which the Debtors have received
approval of the Bankruptcy Court to reject or terminate on or before the Effective Date or that are subject to
a pending motion to reject or terminate as of the Confirmation Hearing, all Benefit Plans shall be deemed to
be, and shall be treated as, executory contracts under this Plan pursuant to sections 365 and 1123 of the
Bankruptcy Code and shall be assumed by applicable Debtors and, unless held by a Transferred Debtor,
assigned to NewCo (or one of its Subsidiaries).

                 8.7     Purdue Pension Plan.

                        The Purdue Pension Plan has approximately 3,200 participants. PPLP is the
contributing sponsor of the Purdue Pension Plan. The Debtors that are members of the contributing
sponsor’s controlled-group within the meaning of 29 U.S.C. §§ 1301(a)(13), (14) are jointly and severally
liable with respect to the Purdue Pension Plan. Further, any non-debtor members of the contributing
sponsor’s controlled-group are also jointly and severally liable with respect to the Purdue Pension Plan.

                         Upon the Effective Date, NewCo (or one of its Subsidiaries) shall be deemed to
have assumed the Purdue Pension Plan and all liabilities and Assets thereunder and shall comply with all
applicable statutory provisions of ERISA and the IRC, including, but not limited to, satisfying the minimum
funding standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083, paying the PBGC
premiums in accordance with 29 U.S.C. §§ 1306 and 1307 and administering the Purdue Pension Plan in
accordance with its terms and the provisions of ERISA and the IRC (and NewCo reserves all rights
thereunder).

                        Notwithstanding any provision in the Plan to the contrary, no provision contained
in the Plan, the Confirmation Order, the Bankruptcy Code (including section 1141 thereof), or any other
document filed in the Debtors’ bankruptcy cases shall be construed as discharging, releasing, exculpating or


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relieving any Person (other than the Liquidating Debtors) from any fiduciary duties or liabilities under
Title I of ERISA with respect to the Purdue Pension Plan. PBGC and the Purdue Pension Plan shall not be
enjoined or precluded from enforcing such fiduciary duties or liabilities under Title I of ERISA as a result
of any of the provisions of the Plan, the Confirmation Order, the Bankruptcy Code or any other document
filed in the Debtors’ bankruptcy cases. The PBGC and the Debtors agree that all Proofs of Claim filed by
the PBGC shall be deemed to be withdrawn, with prejudice, as of the Effective Date.

                8.8      Insurance Policies.

                        Notwithstanding anything to the contrary in the Plan, the Plan Documents, the
Disclosure Statement or the Confirmation Order:

                          (a)      nothing in the Plan, the Plan Documents, the Disclosure Statement or the
Confirmation Order shall terminate or otherwise reduce the coverage under any D&O Insurance Policy
with respect to conduct occurring on or prior to the Effective Date, and, after the Effective Date, all
directors, officers, managers, authorized agents and employees of the Debtors who served in such capacity
at any time prior to the Effective Date shall be entitled to the full benefits of any applicable D&O Insurance
Policy for the full term of such policy, including but not limited to any extension of coverage after the end
of such policy period if an extended reporting period has been purchased, in accordance with the terms
thereof, subject to (i) any release or assignment of rights by certain Shareholder Released Parties pursuant
to the Shareholder Settlement or by the Settling Executives in the Settling Executive Stipulation and
(ii) with respect to D&O Insurance Policies that are MDT Insurance Policies, the provisions of
paragraph (b) of this Section 8.8;

                         (b)     after the Effective Date, in consideration of the Releases and Shareholder
Releases in favor of each Released Party and Shareholder Released Party that is an individual insured under
any MDT Insurance Policy:

                                 (i)      each such Released Party or Shareholder Released Party (A) will
                                          fully cooperate with the Master Disbursement Trust in connection
                                          with the settlement of claims or rights under such MDT Insurance
                                          Policy, including but not limited to as set forth in this
                                          Section 8.8(b)(i), and (B) shall be deemed to consent to the
                                          release of any claims or rights held by such Released Party or
                                          Shareholder Released Party against and under such MDT
                                          Insurance Policy in the event that the Master Disbursement Trust
                                          has otherwise obtained settlement terms that it deems acceptable
                                          in its sole discretion with the same effect as if such Released Party
                                          or Shareholder Released Party had executed such settlement
                                          agreement, and without further consideration to such Released
                                          Party or Shareholder Released Party from the insurance
                                          settlement proceeds or otherwise in respect of such settlement;

                                 (ii)     no such Released Party or Shareholder Released Party (other than
                                          a Sackler Family Member) that was a director, officer, manager,
                                          authorized agent or employee of the Debtors who served in such
                                          capacity at any time prior to the Petition Date shall be entitled to
                                          submit a claim under any MDT Insurance Policy for anything
                                          other than reimbursement of attorneys’ fees and related expenses
                                          incurred in connection with such individual’s cooperation with, or
                                          in connection with the defense of such individual with respect to,
                                          any investigation, prosecution and/or litigation involving conduct


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                                          relating to the Debtors or the Debtors’ business or property or any
                                          defense of the Releases or the Channeling Injunction; and

                                 (iii)    no such Shareholder Released Party (other than a current or
                                          former director, officer, manager, authorized agent or employee
                                          that is not a Sackler Family Member, each of whom is subject to
                                          the foregoing paragraph (ii) of this Section 8.8(b)) shall be
                                          entitled to submit a claim under any MDT Insurance Policy other
                                          than in accordance with the Shareholder Settlement;

                          (c)       on and after the Effective Date, all Purdue Insurance Policies (other than
the MDT Insurance Policies) shall be deemed to be, and shall be treated as, executory contracts under the
Plan, and shall be assumed pursuant to sections 105 and 365 of the Bankruptcy Code by the applicable
Debtor, and such Purdue Insurance Policies shall vest, and/or the Purdue Insurance Rights (other than the
MDT Insurance Rights) associated therewith shall vest, as applicable, in NewCo, the applicable
Transferred Debtor or the Plan Administration Trust, as applicable, in accordance with the NewCo Transfer
Agreement and the PAT Agreement and continue in full force and effect in accordance with their respective
terms such that the applicable recipients of the Purdue Insurance Policies (other than the MDT Insurance
Policies) and the Purdue Insurance Rights (other than the MDT Insurance Rights) shall become and remain
liable in full for and shall satisfy, to the extent required under applicable law, any prospective premiums,
deductibles, self-insured retentions and any other amounts or obligations arising in any way out of the
receipt of payment from an Insurance Company in respect of the Purdue Insurance Policies (other than the
MDT Insurance Policies); and

                          (d)     solely with respect to Purdue Insurance Policies that are not MDT
Insurance Policies, the automatic stay of section 362(a) of the Bankruptcy Code and the injunctions set
forth in the Plan, if and to the extent applicable, shall be deemed lifted without further order of this
Bankruptcy Court, solely to permit (i) claimants with valid workers’ compensation claims or direct action
claims against Insurance Companies under applicable non-bankruptcy law to proceed with their claims; and
(ii) Insurance Companies to administer, handle, defend, settle and/or pay, in the ordinary course of business
and without further order of this Bankruptcy Court, (A) workers’ compensation claims, (B) claims where a
claimant asserts a direct claim against an Insurance Company under applicable non-bankruptcy law, or an
order has been entered by this Bankruptcy Court granting a claimant relief from the automatic stay or the
injunctions set forth in the Plan to proceed with its claim, and (C) all costs in relation to each of the
foregoing.

                8.9      Reservation of Rights.

                          (a)     Neither the exclusion nor the inclusion by the Debtors of any contract or
lease on any exhibit, schedule or other annex to this Plan or in the Plan Supplement, nor anything contained
in this Plan, shall constitute an admission by the Debtors that any such contract or lease is or is not an
executory contract or unexpired lease or that the Debtors have any liability thereunder.

                        (b)     Except as explicitly provided in this Plan, nothing herein shall waive,
excuse, limit, diminish or otherwise alter any of the Estate Causes of Action under any executory or
non-executory contract or unexpired lease.

                          (c)      Nothing in this Plan shall increase, augment or add to any of the duties,
obligations, responsibilities or liabilities of the Debtors under any executory or non-executory contract or
unexpired or expired lease, including the Purdue Insurance Policies.




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                         (d)     If there is a dispute regarding whether a contract or lease is or was
executory or unexpired at the time of its assumption under this Plan, the Debtors shall have thirty (30) days
following entry of a Final Order resolving such dispute to alter their treatment of such contract or lease.

ARTICLE IX CONDITIONS PRECEDENT TO THE OCCURRENCE OF THE EFFECTIVE
           DATE.

                9.1      Conditions Precedent to Effective Date.

                         The Effective Date shall not occur unless all of the following conditions precedent
have been satisfied:

                          (a)     the Confirmation Order shall have been entered by the Bankruptcy Court,
and shall not be subject to any stay and shall not have been modified or vacated on appeal;

                          (b)     the Plan Documents shall have been approved of or accepted by all
applicable Persons in accordance with the respective consent rights under this Plan, and shall have been
filed, executed and delivered, as applicable, and the conditions precedent contained therein shall have been
satisfied or waived in accordance with the terms thereof, except with respect to such conditions that by their
terms shall be satisfied substantially simultaneously with or after consummation of the Plan;

                       (c)       the DOJ Resolution (including, for the avoidance of doubt, the entry of a
judgment of conviction in strict accordance with the Plea Agreement and the payment in full of the DOJ
Forfeiture Payment) shall have been consummated or will be consummated substantially simultaneously
with consummation of the Plan;

                        (d)      the NewCo Operating Agreement shall have been executed and shall be in
compliance with the DOJ Resolution, the NewCo Transferred Assets shall have vested in NewCo (or one or
more of its Subsidiaries) in accordance with the NewCo Transfer Agreement and the NewCo Managers
shall have been appointed;

                        (e)      the MDT Agreement shall have been executed, the MDT Transferred
Assets shall have vested in the Master Disbursement Trust in accordance therewith and the MDT Trustees
and the MDT Executive Director shall have been appointed;

                        (f)     the Creditor Trust Documents shall have been executed and the Creditor
Trustees shall have been appointed;

                           (g)      the Public Entity Settlements shall have been consummated or will be
consummated substantially simultaneously with consummation of the Plan, including (i) the payment in
full of the Initial Public Creditor Trust Distributions, (ii) the execution of the TopCo Operating Agreement,
the appointment of the TopCo Managers and the issuance of the NewCo Interest to TopCo and the TopCo
Interests to NOAT and the Tribe Trust and (iii) the issuance of the MDT Interests to NOAT and the Tribe
Trust;

                          (h)     the Private Entity Settlements shall have been consummated or will be
consummated substantially simultaneously with consummation of the Plan, including (i) the payment in
full of the Initial Private Creditor Trust Distributions, (ii) the issuance of the MDT Claims and (iii) the
execution of any Plan Documents required to be executed in connection with the foregoing;

                       (i)     the Shareholder Settlement Agreement shall have been executed and all
amounts required to be paid thereunder on the Effective Date shall have been received, and all of the



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conditions precedent to the Settlement Effective Date (as defined in the Shareholder Settlement Agreement)
shall have been satisfied or waived in accordance with the terms of the Shareholder Settlement Agreement;

                       (j)      the PAT Agreement shall have been executed, the PAT Assets shall have
vested in the Plan Administration Trust in accordance therewith and the Plan Administration Trustee shall
have been appointed;

                        (k)    each of the PAT Reserves, the Professional Fee Escrow Account and the
PAT Distribution Accounts shall have been fully funded, and each of the other payments and Distributions
of Effective Date Cash described in Section 5.13(a) and (b) of the Plan shall have been made or will be
made substantially simultaneously with consummation of the Plan;

                        (l)    the Debtors shall have obtained all authorizations, consents, regulatory
approvals, rulings and documents that are necessary to implement and effectuate the Plan;

                         (m)      all Professional Fee Claims shall have been paid in full or amounts
sufficient to pay such Claims after the Effective Date shall have been placed in the Professional Fee Escrow
Account, or shall be otherwise contained in a professional fee retainer, pending approval by the Bankruptcy
Court;

                         (n)     the Debtors shall have implemented the Restructuring Transactions in a
manner consistent in all material respects with this Plan;

                          (o)     the Bankruptcy Court shall have confirmed that the Bankruptcy Code
authorizes the transfer and vesting of the MDT Transferred Assets, notwithstanding any terms of the Purdue
Insurance Policies or provisions of non-bankruptcy law that any Insurance Company may otherwise argue
prohibits such transfer and vesting;

                          (p)      the DOB shall have been appointed in accordance with Section 5.12(c) of
the Plan; and

                          (q)    all other actions, documents and agreements necessary to implement and
effectuate the Plan shall have been effected or executed.

                 9.2      Waiver of Conditions Precedent.

                          Each of the conditions precedent to the occurrence of the Effective Date (other
than the condition precedent set forth in Section 9.1(i) of the Plan) may be waived by the Debtors; provided
that (a) with respect to any condition precedent, the waiver of which would materially and adversely affect
the entitlements of any Class of Claims (or any Creditor Trust to which such Claims shall be channeled)
represented by any of the Supporting Claimants, the waiver of such condition precedent shall require the
consent (not to be unreasonably withheld, conditioned or delayed) of the applicable Supporting Claimants
representing such materially and adversely affected Class of Claims, (b) the waiver of the conditions
precedent set forth in Section 9.1(a), (b) (solely with respect to any Plan Document over which the
Creditors’ Committee has a consent right set forth in the Plan), (e), (f), (h), (j), (k), (m) (solely with respect
to Professional Fee Claims by Professional Persons retained by the Creditors’ Committee), (n), (o) and (p)
of the Plan shall require the consent of the Creditors’ Committee (which consent shall not be unreasonably
withheld, delayed or conditioned) and (c) the waiver of the conditions precedent set forth in Section 9.1(a),
(b) (solely with respect to any Plan Document over which the Governmental Consent Parties have a consent
right set forth in the Plan), (d), (e), (f), (g), (n), (o) and (p) of the Plan shall require the consent of the
Governmental Consent Parties (which consent shall not be unreasonably withheld, delayed or conditioned).
The condition precedent set forth in Section 9.1(i) of the Plan may not be waived by any party.


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ARTICLE X        EFFECT OF CONFIRMATION.

                 10.1     Binding Effect.

                          Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code, and
subject to the occurrence of the Effective Date, on and after the entry of the Confirmation Order, the
provisions of this Plan and the Plan Documents shall bind every Holder of a Claim against or Interest in any
Debtor and every Holder of a Channeled Claim and inure to the benefit of, and be binding on, any such
Holder’s respective successors and assigns, regardless of whether any Claim or Interest of such Holder is
Impaired under this Plan or whether such Holder has accepted this Plan.

                 10.2     Discharge of Claims against and Interests in the Debtors.

                          Upon the Effective Date and in consideration of the Distributions to be made under
this Plan, except as otherwise provided in the Plan or in the Confirmation Order, each Holder (as well as any
trustee or agent on behalf of such Holder) of a Claim or Interest and any successor, assign and affiliate of
such Holder shall be deemed to have forever waived, released and discharged the Debtors (other than the
Liquidating Debtors), to the fullest extent permitted by section 1141 of the Bankruptcy Code, of and from
any and all Claims, Interests, rights and liabilities that arose prior to the Effective Date. Except as otherwise
provided in this Plan, upon the Effective Date, all such Holders of Claims against or Interests in the
Debtors, and their successors, assigns and affiliates, shall be forever precluded and enjoined, pursuant to
sections 105, 524 and 1141 of the Bankruptcy Code, from prosecuting or asserting any such discharged
Claim against, or terminated Interest in, any Debtor. Pursuant to section 1141(d)(3) of the Bankruptcy
Code, confirmation of the Plan will not discharge the Liquidating Debtors; provided that, upon
confirmation of the Plan and the occurrence of the Effective Date, Holders of Claims against and Interests
in the Debtors may not seek or receive any payment or other Distribution from, or seek recourse against, the
Debtors or their Estates or any other Protected Party, except as expressly provided in the Plan. The
Co-Defendant Defensive Rights shall not be waived, released or discharged and all Co-Defendant
Defensive Rights are preserved, as provided in Section 10.18 of the Plan.

                 10.3     Pre-Confirmation Injunctions, Stays, Stipulations and Discovery Orders.

                         (a)     Unless otherwise provided in this Plan, all injunctions and stays arising
under or entered during the Chapter 11 Cases, whether under section 105 or 362 of the Bankruptcy Code or
otherwise, and in existence on the Confirmation Date, shall remain in full force and effect until the later of
the Effective Date and the date indicated in the order providing for such injunction or stay.

                         (b)     Notwithstanding the foregoing paragraph (a) of this Section 10.3, on the
Effective Date, without further action by or order of the Bankruptcy Court:

                                  (i)       any and all obligations of the Shareholder Released Parties arising
                                            under the Case Stipulation shall terminate and the Case
                                            Stipulation shall be withdrawn, vacated and superseded by the
                                            Confirmation Order solely with respect to paragraphs 15, 17, 19,
                                            22 and 25 of the Case Stipulation, and solely as such paragraphs
                                            apply to any Shareholder Released Party; provided that, for the
                                            avoidance of doubt, the terms of such paragraphs shall continue in
                                            full force and effect with respect to all other parties (if applicable),
                                            and all other provisions of the Case Stipulation shall remain in full
                                            force and effect, in each case, unless otherwise provided by the
                                            Plan;



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                                (ii)     any and all obligations of any Shareholder Released Party arising
                                         under paragraph I of the voluntary injunction set forth in
                                         Appendix I to the Preliminary Injunction (and any predecessors or
                                         successors of the Preliminary Injunction) shall terminate, and the
                                         Preliminary Injunction shall be withdrawn, vacated and
                                         superseded by the Confirmation Order solely with respect to
                                         paragraph I of the voluntary injunction set forth in Appendix I;
                                         provided that, for the avoidance of doubt, all other provisions of
                                         the Preliminary Injunction shall remain in full force and effect,
                                         unless otherwise provided by the Plan; and

                                (iii)    any and all obligations of any Person arising under any subpoenas
                                         issued pursuant to any of Order Pursuant to Federal Rules of
                                         Bankruptcy Procedure 2004 and 9016 Authorizing Examination
                                         of Third Parties [D.I. 992] (as amended by the Amended Order
                                         Pursuant to Federal Rules of Bankruptcy Procedure 2004 and
                                         9016 Authorizing Examination of Third Parties [D.I. 1008]), the
                                         Order Pursuant to Rules 2004 and 9016 of the Federal Rules of
                                         Bankruptcy Procedure Authorizing Examinations of Certain
                                         Financial Institutions [D.I. 1143], the Order Pursuant to Federal
                                         Rules of Bankruptcy Procedure 2004 and 9016 Authorizing
                                         Examinations of and Document Production by Third Parties
                                         [D.I. 1340] and the Order Pursuant to Federal Rules of
                                         Bankruptcy Procedure 2004 and 9016 Authorizing Examination
                                         of Certain Former Debtor Executives, Separately Represented
                                         Debtor Personnel, and Norton Rose Fulbright Pursuant to
                                         Federal Rules of Bankruptcy Procedure 2004 and 9006
                                         [D.I. 1788] shall terminate.

                         (c)     Any and all information shared or produced by any Shareholder Released
Party pursuant to the agreements or orders referenced in the foregoing paragraph (b) of this Section 10.3,
including any such information also shared with Persons not party to the Case Stipulation shall remain
subject to the confidentiality terms under which it was shared, including any information that was
designated under the Protective Order (or confidentiality agreement that was superseded by the Protective
Order), which such information shall remain confidential under the terms of the Protective Order unless
such information, materials or documents are included in the Public Document Repository in accordance
with the Plan and the Shareholder Settlement Agreement. Names or other identifying information of
investments or specific third-party counterparties or advisors with whom or with which a Shareholder
Released Party has or had a third-party investment, advisory or business relationship that was disclosed in
documents or information produced by a Shareholder Released Party and designated Outside Professional
Eyes Only Information under the Protective Order shall retain such designation and be protected
accordingly.

                          (d)    Except as provided in the PI TDP or the PI Futures TDP, nothing in this
Plan shall either (i) excuse any Person from compliance with any legislative, judicial or administrative
subpoena, any civil investigative demand or any request for information made in the course of a
government investigation; or (ii) limit any right of any Person with respect to compliance with any
legislative, judicial or administrative subpoena, any civil investigative demand or any request for
information made in the course of a government investigation.




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                 10.4     Injunction against Interference with Plan.

                          Subject to Section 12.4 of the Plan, upon entry of the Confirmation Order, all
Holders of Claims against or Interests in the Debtors, Holders of Channeled Claims, Releasing Parties,
Released Parties, Shareholder Released Parties and other parties in interests shall be enjoined from taking
any actions to interfere with the implementation or consummation of the Plan and the Plan Documents. This
Section 10.4 shall be included in the Confirmation Order.

                 10.5     Plan Injunction.

                           (a)     Except as otherwise provided in this Plan or in the Confirmation Order, as
of the entry of the Confirmation Order but subject to the occurrence of the Effective Date, all Persons who
have held, hold or may hold Claims against or Interests in the Debtors are, with respect to any such Claim or
Interest, permanently enjoined after the entry of the Confirmation Order from: (i) commencing, conducting
or continuing in any manner, directly or indirectly, any suit, action or other proceeding of any kind
(including any proceeding in a judicial, arbitral, administrative or other forum) against or affecting, directly
or indirectly, a Debtor or an Estate or the property of any of the foregoing, or any direct or indirect
transferee of any property of, or direct or indirect successor in interest to, any of the foregoing Persons
mentioned in this clause (i) or any property of any such transferee or successor; (ii) enforcing, levying,
attaching (including any prejudgment attachment), collecting or otherwise recovering in any manner or by
any means, whether directly or indirectly, any judgment, award, decree or order against a Debtor or an
Estate or its property, or any direct or indirect transferee of any property of, or direct or indirect successor in
interest to, any of the foregoing Persons mentioned in this clause (ii) or any property of any such transferee
or successor; (iii) creating, perfecting or otherwise enforcing in any manner, directly or indirectly, any
encumbrance of any kind against a Debtor or an Estate or any of its property, or any direct or indirect
transferee of any property of, or successor in interest to, any of the foregoing Persons mentioned in this
clause (iii) or any property of any such transferee or successor; (iv) acting or proceeding in any manner, in
any place whatsoever, that does not conform to, or comply with, the provisions of this Plan; and
(v) commencing or continuing, in any manner or in any place, any action that does not comply, or is
inconsistent, with the provisions of this Plan; provided, however, that nothing contained herein shall
preclude such Persons who have held, hold or may hold Claims against or Interests in a Debtor or an Estate
from exercising their rights, or obtaining benefits, pursuant to, and consistent with, the terms of this Plan
and the Plan Documents.

                           (b)      All Persons, including all governmental, tax and regulatory authorities,
lenders, trade creditors, dealers, customers, employees, litigation claimants and other creditors holding
Claims, Liens, Interests, charges, encumbrances and other interests of any kind or nature whatsoever,
including rights or Claims based on any successor or transferee liability, against or in a Debtor, the NewCo
Transferred Assets, the MDT Transferred Assets or the PAT Assets (whether legal or equitable, secured or
unsecured, matured or unmatured, contingent or noncontingent, known or unknown), arising under or out
of, in connection with, or in any way relating to the Debtors, the NewCo Transferred Assets, the MDT
Transferred Assets, the PAT Assets, the operation of the NewCo Transferred Assets prior to the Effective
Date or the Restructuring Transactions are forever barred, estopped and permanently enjoined from
asserting against the Released Parties, their respective successors and assigns, their property, the NewCo
Transferred Assets, the MDT Transferred Assets or the PAT Assets, such Person’s Claims, Interests, Liens,
charges, encumbrances and other interests (including rights or Claims based on any successor or transferee
liability), including, without limitation, by: (i) commencing, conducting or continuing in any manner,
directly or indirectly, any suit, action or other proceeding of any kind (including any proceeding in a
judicial, arbitral, administrative or other forum) against or affecting, directly or indirectly, a Released Party,
or any direct or indirect transferee of any property of, or direct or indirect successor in interest to, any of the
foregoing Persons mentioned in this clause (i) or any property of any such transferee or successor;



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(ii) enforcing, levying, attaching (including any prejudgment attachment), collecting or otherwise
recovering in any manner or by any means, whether directly or indirectly, any judgment, award, decree or
order against a Released Party, or any direct or indirect transferee of any property of, or direct or indirect
successor-in-interest to, any of the foregoing Persons mentioned in this clause (ii) or any property of any
such transferee or successor; (iii) creating, perfecting or otherwise enforcing any encumbrance of any kind
or asserting any Released Claims in any manner, directly or indirectly, against a Released Party or any of its
property, or any direct or indirect transferee of any property of, or successor in interest to, any of the
foregoing Persons mentioned in this clause (iii) or any property of any such transferee or successor;
(iv) acting or proceeding in any manner, in any place whatsoever, that does not conform to or comply with
the provisions of this Plan; and (v) commencing or continuing, in any manner or in any place, any action
that does not comply with or is inconsistent with the provisions of this Plan.

                10.6     Releases.

                         (a)     Releases by Debtors.

                         As of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service of the Released Parties before
and during the Chapter 11 Cases to facilitate the reorganization of the Debtors and the
implementation of the Restructuring Transactions, and except as otherwise explicitly provided in the
Plan or in the Confirmation Order, the Released Parties shall be conclusively, absolutely,
unconditionally, irrevocably, fully, finally, forever and permanently released by the Debtors and
their Estates from any and all Causes of Action, including any derivative claims asserted or
assertible by or on behalf of any Debtor or any of their Estates and including any claims that any
Debtor or any of their Estates, or that any other Person or party claiming under or through any
Debtor or any of their Estates, would have presently or in the future been legally entitled to assert in
its own right (whether individually or collectively) or on behalf of any Debtor or any of their Estates
or any other Person, notwithstanding section 1542 of the California Civil Code or any law of any
jurisdiction that is similar, comparable or equivalent thereto (which shall conclusively be deemed
waived), whether existing or hereinafter arising, in each case, based on or relating to, or in any
manner arising from, in whole or in part, (i) the Debtors, as such Entities existed prior to or after the
Petition Date (including the Debtors’ Opioid-Related Activities, manufacture, marketing and sale of
Products, interaction with regulators concerning Opioid-Related Activities or Products, and
involvement in the subject matter of the Pending Opioid Actions, and the past, present or future use
or misuse of any opioid by a Releasing Party), (ii) the Estates or (iii) the Chapter 11 Cases. The
Debtors, the Plan Administration Trust, the Master Disbursement Trust, the Creditor Trusts,
NewCo, TopCo and any other newly-formed Persons that shall be continuing the Debtors’ businesses
after the Effective Date shall be bound, to the same extent the Debtors are bound, by the Releases set
forth in this Section 10.6(a).

                        Notwithstanding anything herein to the contrary, (x) nothing in the Plan shall
release any Excluded Claim and (y) nothing in this Section 10.6(a) shall (A) release any contractual
Estate Cause of Action or any Estate Cause of Action that is commercial in nature and, in each case,
unrelated to either the Chapter 11 Cases or the subject matter of the Pending Opioid Actions;
provided that, with respect to the Settling Co-Defendants, only Estate Surviving Pre-Effective Date
Claims shall be retained and not released, (B) release any Estate Cause of Action against a Holder of
a Claim against a Debtor, to the extent such Estate Cause of Action is necessary for the
administration and resolution of such Claim solely in accordance with the Plan, provided, however,
that the foregoing shall not apply to any Holder of a Co-Defendant Claim solely with respect to such
Co-Defendant Claim, (C) be construed to impair in any way the Effective Date or post-Effective Date
rights and obligations of any Person under the Plan, the Plan Documents, the Confirmation Order or



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the Restructuring Transactions, including the Shareholder Settlement Agreement, or (D) release any
Claim or right to disgorge, recoup or recover compensation under the orders authorizing the Key
Employee Plans or the orders with respect to the Motion of Debtors for Entry of an Order Authorizing
(I) Debtors to (A) Pay Pre-Petition Wages, Salaries, Employee Benefits and Other Compensation and
(B) Maintain Employee Benefits Programs and Pay Related Administrative Obligations, (II) Employees
and Retirees to Proceed with Outstanding Workers’ Compensation Claims and (III) Financial
Institutions to Honor and Process Related Checks and Transfers [D.I. 6].

                        (b)     Releases by Releasing Parties.

                        As of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service of the Released Parties before
and during the Chapter 11 Cases to facilitate the reorganization of the Debtors and the
implementation of the Restructuring Transactions, and except as otherwise explicitly provided in the
Plan or in the Confirmation Order, the Released Parties shall be conclusively, absolutely,
unconditionally, irrevocably, fully, finally, forever and permanently released by the Releasing
Parties from any and all Causes of Action, including any derivative claims asserted or assertible by
or on behalf of the Debtors or their Estates and including any claims that any Releasing Party, or
that any other Person or party claiming under or through any Releasing Party, would have presently
or in the future been legally entitled to assert in its own right (whether individually or collectively) or
on behalf of any Releasing Party or any other Person, notwithstanding section 1542 of the California
Civil Code or any law of any jurisdiction that is similar, comparable or equivalent thereto (which
shall conclusively be deemed waived), whether existing or hereinafter arising, in each case, based on
or relating to, or in any manner arising from, in whole or in part, (i) the Debtors, as such Entities
existed prior to or after the Petition Date (including the Debtors’ Opioid-Related Activities,
manufacture, marketing and sale of Products, interaction with regulators concerning
Opioid-Related Activities or Products, and involvement in the subject matter of the Pending Opioid
Actions, and the past, present or future use or misuse of any opioid by a Releasing Party), (ii) the
Estates or (iii) the Chapter 11 Cases.

                        For the avoidance of doubt and without limitation of the foregoing, each
Person that is a Governmental Unit or a Tribe shall be deemed to have released all Released Claims
that have been, are or could have been brought by (1) such Governmental Unit or Tribe in its own
right, in its parens patriae or sovereign enforcement capacity, or on behalf of or in the name of
another Person or (2) any other governmental official, employee, agent or representative acting or
purporting to act in a parens patriae, sovereign enforcement or quasi-sovereign enforcement
capacity, or any other capacity on behalf of such Governmental Unit or Tribe.

                       Notwithstanding anything herein to the contrary, (x) nothing in the Plan shall
release any Excluded Claim; (y) Co-Defendants shall not be Released Parties for purposes of this
Section 10.6(b); and (z) nothing in this Section 10.6(b) shall (A) release any Non-Opioid Excluded
Claims, (B) release any Estate Cause of Action against a Holder of a Claim against a Debtor, to the
extent such Estate Cause of Action is necessary for the administration and resolution of such Claim
solely in accordance with the Plan, provided, however, that the foregoing shall not apply to any
Holder of a Co-Defendant Claim solely with respect to such Co-Defendant Claim, or (C) be
construed to impair in any way the Effective Date or post-Effective Date rights and obligations of
any Person under the Plan, the Plan Documents, the Confirmation Order or the Restructuring
Transactions, including the Shareholder Settlement Agreement.

                      Notwithstanding anything herein to the contrary, but subject to the MDT
Insurer Injunction and the Settling MDT Insurer Injunction, the Debtors shall not be released from



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liability for any Claim (other than any Co-Defendant Claim) that is or may be covered by any
Purdue Insurance Policy; provided that recovery for any such Claim, including by way of settlement
or judgment, shall be limited to the available proceeds of such Purdue Insurance Policy (and any
extra-contractual liability of the Insurance Companies with respect to the Purdue Insurance
Policies), and no Person or party shall execute, garnish or otherwise attempt to collect any such
recovery from any assets other than the available proceeds of the Purdue Insurance Policies. The
Debtors shall be released automatically from a Claim described in this paragraph upon the earlier of
(x) the abandonment of such Claim and (y) such a release being given as part of a settlement or
resolution of such Claim, and shall be released automatically from all Claims described in this
paragraph upon the exhaustion of the available proceeds of the Purdue Insurance Policies
(notwithstanding the nonoccurrence of either event described in the foregoing clauses (x) and (y)).

                       (c)     Releases by Debtors of Holders of Claims.

                         As of the Effective Date, all Holders of Channeled Claims (excluding, in all
respects, any Excluded Party, Shareholder Release Snapback Party or MDT Insurer) are hereby
released by the Debtors and their Estates from any and all Causes of Action for any Claim in
connection with, or arising out of, (i) the administration of the Chapter 11 Cases; the negotiation and
pursuit of the Restructuring Transactions, the Plan, the Master Disbursement Trust, the Creditor
Trusts (including the trust distribution procedures and the other Creditor Trust Documents) and the
solicitation of votes with respect to, and confirmation of, the Plan; the funding of the Plan; the
occurrence of the Effective Date; the administration of the Plan and the property to be distributed
under the Plan; and the wind-up and dissolution of the Liquidating Debtors and the transactions in
furtherance of any of the foregoing or (ii) such Holder’s participation in the Pending Opioid Actions.
The Debtors, the Plan Administration Trust, the Master Disbursement Trust, the Creditor Trusts,
NewCo, TopCo and any other newly-formed Persons that shall be continuing the Debtors’ businesses
after the Effective Date shall be bound, to the same extent the Debtors are bound, by the Releases set
forth in this Section 10.6(c).

                        As of the Effective Date, all Holders of PI Channeled Claims and Holders of
NAS Monitoring Channeled Claims (excluding, in all respects, any Excluded Party, Shareholder
Release Snapback Party or MDT Insurer) are hereby released by the Debtors and their Estates from
any and all Causes of Action for any Claim in connection with, or arising out of, (i) the Debtors, as
such Entities existed prior to or after the Petition Date (including the Debtors’ Opioid-Related
Activities, manufacture, marketing and sale of Products, interaction with regulators concerning
Opioid-Related Activities or Products, and involvement in the subject matter of the Pending Opioid
Actions, and the past, present or future use or misuse of any opioid by a Releasing Party), (ii) the
Estates or (iii) the Chapter 11 Cases, including, in each case, without limitation, any act, conduct,
omission, event, transaction, occurrence, injury, damage, or continuing condition in any way
relating to the foregoing.

                        Notwithstanding anything herein to the contrary, (x) nothing in the Plan shall
release any Excluded Claim and (y) nothing in this Section 10.6(c) shall (A) release any contractual
Estate Cause of Action or any Estate Cause of Action that is commercial in nature and, in each case,
unrelated to either the Chapter 11 Cases or the subject matter of the Pending Opioid Actions,
provided that, with respect to the Settling Co-Defendants, only Estate Surviving Pre-Effective Date
Claims shall be retained and not released, (B) release any Estate Cause of Action against a Holder of
a Claim against a Debtor, to the extent such Estate Cause of Action is necessary for the
administration and resolution of such Claim solely in accordance with the Plan, provided, however,
that the foregoing shall not apply to any Holder of a Co-Defendant Claim solely with respect to such
Co-Defendant Claim, (C) release any claim or right arising in the ordinary course of the Debtors’ or



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NewCo’s business, including, without limitation, any such claim with respect to taxes or (D) be
construed to impair in any way the Effective Date or post-Effective Date rights and obligations of
any Person under the Plan, the Plan Documents, the Confirmation Order or the Restructuring
Transactions, including the Shareholder Settlement Agreement.

                10.7    Shareholder Releases.

                        (a)     Releases by Debtors.

                        As of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, and except as otherwise explicitly provided in the Plan or in the
Confirmation Order, the Shareholder Released Parties shall be conclusively, absolutely,
unconditionally, irrevocably, fully, finally, forever and permanently released, subject to clause (z) of
the last paragraph of this Section 10.7(a), by the Debtors and their Estates from any and all Causes
of Action, including any derivative claims asserted or assertible by or on behalf of any Debtor or any
of their Estates and including any claims that any Debtor or any of their Estates, or that any other
Person or party claiming under or through any Debtor or any of their Estates, would have presently
or in the future been legally entitled to assert in its own right (whether individually or collectively) or
on behalf of any Debtor or any of their Estates or any other Person, notwithstanding section 1542 of
the California Civil Code or any law of any jurisdiction that is similar, comparable or equivalent
thereto (which shall conclusively be deemed waived), whether existing or hereinafter arising, in each
case, based on or relating to, or in any manner arising from, in whole or in part, (i) the Debtors, as
such Entities existed prior to or after the Petition Date (including the Debtors’ Opioid-Related
Activities, manufacture, marketing and sale of Products, interaction with regulators concerning
Opioid-Related Activities or Products, and involvement in the subject matter of the Pending Opioid
Actions, and the past, present or future use or misuse of any opioid by a Releasing Party), (ii) the
Estates or (iii) the Chapter 11 Cases. The Debtors, the Plan Administration Trust, the Master
Disbursement Trust, the Creditor Trusts, NewCo, TopCo and any other newly-formed Persons that
shall be continuing the Debtors’ businesses after the Effective Date shall be bound, to the same extent
the Debtors are bound, by the Shareholder Releases set forth in this Section 10.7(a).

                        Notwithstanding anything herein to the contrary, (x) nothing in the Plan shall
release any Excluded Claim; (y) nothing in this Section 10.7(a) shall be construed to impair in any
way the Effective Date or post-Effective Date rights and obligations of any Person under the Plan,
the Plan Documents, the Confirmation Order or the Restructuring Transactions, including the
Shareholder Settlement Agreement and the Separation Agreements; and (z) upon the filing of a
Notice of Shareholder Release Snapback, (A) the Shareholder Releases set forth in this
Section 10.7(a) shall be entirely null and void, revoked and invalidated, as of the Effective Date, with
respect to all members of the Breaching Shareholder Family Group and the Designated Shareholder
Released Parties, (B) the status quo ante shall be restored in all respects for the Debtors and the
Master Disbursement Trust with respect to the members of the Breaching Shareholder Family
Group and the Designated Shareholder Released Parties, and (C) the Master Disbursement Trust
shall be deemed to have received and accepted all of the rights with respect to any member of the
Breaching Shareholder Family Group and the Designated Shareholder Released Parties, in each
case, that the Debtors and their Estates had prior to the Effective Date and that the Master
Disbursement Trust would have pursuant to the transfer of the MDT Shareholder Rights to the
Master Disbursement Trust if the Shareholder Releases of this Section 10.7(a) had never been
granted, which rights the Debtors and their Estates shall be deemed to have irrevocably transferred,
granted and assigned to the Master Disbursement Trust; provided that, for the avoidance of doubt,
notwithstanding the nullification, voiding, revocation and invalidation pursuant to the foregoing
clause (A), the Shareholder Releases shall continue in effect for, and shall be fully enforceable by and



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for the benefit of, all other Shareholder Released Parties other than the Breaching Shareholder
Family Group and the Designated Shareholder Released Parties.

                        (b)     Releases by Releasing Parties.

                         As of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, and except as otherwise explicitly provided in the Plan or in the
Confirmation Order, the Shareholder Released Parties, other than any Shareholder Released
Parties identified in clause (vii)(C) of the definition of Shareholder Released Parties (and in no other
clause of such definition), shall be conclusively, absolutely, unconditionally, irrevocably, fully,
finally, forever and permanently released, subject to clause (z) of the last paragraph of this
Section 10.7(b), by the Releasing Parties from any and all Causes of Action, including any derivative
claims asserted or assertible by or on behalf of the Debtors or their Estates and including any claims
that any Releasing Party, or that any other Person or party claiming under or through any Releasing
Party, would have presently or in the future been legally entitled to assert in its own right (whether
individually or collectively) or on behalf of any Releasing Party or any other Person,
notwithstanding section 1542 of the California Civil Code or any law of any jurisdiction that is
similar, comparable or equivalent thereto (which shall conclusively be deemed waived), whether
existing or hereinafter arising, in each case, (x) based on or relating to, or in any manner arising
from, in whole or in part, (i) the Debtors, as such Entities existed prior to or after the Petition Date
(including the Debtors’ Opioid-Related Activities, manufacture, marketing and sale of Products,
interaction with regulators concerning Opioid-Related Activities or Products, and involvement in
the subject matter of the Pending Opioid Actions, and the past, present or future use or misuse of
any opioid by a Releasing Party), (ii) the Estates or (iii) the Chapter 11 Cases and (y) as to which any
conduct, omission or liability of any Debtor or any Estate is the legal cause or is otherwise a legally
relevant factor.

                       In addition, as of the Effective Date, notwithstanding anything to the
contrary herein, each Shareholder Released Party shall be released by any Person (regardless of
whether such Person otherwise is a Releasing Party) that is a Shareholder Released Party’s current
or former officer, director, principal, member, employee, financial advisor, attorney (including,
without limitation, any attorney retained by any director, in his or her capacity as such), accountant,
investment banker (including, without limitation, investment banker retained by any director, in his
or her capacity as such), consultant, expert or other professional, from any Cause of Action for
indemnification, contribution or any similar liability-sharing theory based on or relating to, or in
any manner arising from, in whole or in part, the subject matter of the preceding paragraph.

                        For the avoidance of doubt and without limitation of the foregoing, each
Person that is a Governmental Unit or a Tribe shall be deemed to have released all Shareholder
Released Claims that have been, are or could have been brought by (1) such Governmental Unit or
Tribe in its own right, in its parens patriae or sovereign enforcement capacity, or on behalf of or in
the name of another Person or (2) any other governmental official, employee, agent or representative
acting or purporting to act in a parens patriae, sovereign enforcement or quasi-sovereign
enforcement capacity, or any other capacity on behalf of such Governmental Unit or Tribe.

                        Notwithstanding anything herein to the contrary, (x) nothing in the Plan shall
release any Excluded Claim; (y) nothing in this Section 10.7(b) shall (A) release any Non-Opioid
Excluded Claims or (B) be construed to impair in any way the Effective Date or post-Effective Date
rights and obligations of any Person under the Plan, the Plan Documents, the Confirmation Order or
the Restructuring Transactions, including the Shareholder Settlement Agreement and the
Separation Agreements; and (z) upon the filing of a Notice of Shareholder Release Snapback, (A) the



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Shareholder Releases set forth in this Section 10.7(b) shall be entirely null and void, revoked and
invalidated, as of the Effective Date, with respect to all members of the Breaching Shareholder
Family Group and the Designated Shareholder Released Parties and (B) the status quo ante shall be
restored in all respects for the Releasing Parties with respect to the members of the Breaching
Shareholder Family Group and the Designated Shareholder Released Parties; provided that, for the
avoidance of doubt, notwithstanding the nullification, voiding, revocation and invalidation pursuant
to the foregoing clause (A), the Shareholder Releases shall continue in effect for, and shall be fully
enforceable by and for the benefit of, all other Shareholder Released Parties other than the
Breaching Shareholder Family Group and the Designated Shareholder Released Parties.

                        (c)     Releases by Shareholder Released Parties.

                         As of the Effective Date, for good and valuable consideration, the adequacy of
which is hereby confirmed, and except as otherwise explicitly provided in the Plan or in the
Confirmation Order, the Reciprocal Releasees shall be conclusively, absolutely, unconditionally,
irrevocably, fully, finally, forever and permanently released, subject to clause (z) of the last
paragraph of this Section 10.7(c), by the Shareholder Released Parties from any and all Causes of
Action, including any derivative claims asserted or assertible by or on behalf of the Debtors or their
Estates and including any claims that any Shareholder Released Party, or that any other Person or
party claiming under or through any Shareholder Released Party, would have presently or in the
future been legally entitled to assert in its own right (whether individually or collectively) or on
behalf of any Shareholder Released Party or any other Person, notwithstanding section 1542 of the
California Civil Code or any law of any jurisdiction that is similar, comparable or equivalent thereto
(which shall conclusively be deemed waived), whether existing or hereinafter arising, in each case,
based on or relating to, or in any manner arising from, in whole or in part, (i) the Debtors, as such
Entities existed prior to or after the Petition Date (including the Debtors’ Opioid-Related Activities,
manufacture, marketing and sale of Products, interaction with regulators concerning
Opioid-Related Activities or Products, and involvement in the subject matter of the Pending Opioid
Actions, and the past, present or future use or misuse of any opioid by a Releasing Party), (ii) the
Estates or (iii) the Chapter 11 Cases.

                         Notwithstanding anything herein to the contrary, (x) nothing in the Plan shall
release any Excluded Claim; (y) nothing in this Section 10.7(c) shall be construed to impair in any
way the Effective Date or post-Effective Date rights and obligations of any Person under the Plan,
the Plan Documents, the Confirmation Order or the Restructuring Transactions, including the
Shareholder Settlement Agreement and the Separation Agreements, and including the rights of any
Shareholder Released Party that is a current or former director, officer or employee of the Debtors
but is not a Sackler Family Member relating to plan treatment of any Claims held by such party; and
(z) upon the filing of a Notice of Shareholder Release Snapback and the commencement or
continuation of any action or proceeding against a member of a Breaching Shareholder Family
Group or a Designated Shareholder Released Party by any Reciprocal Releasee, (A) the releases set
forth in this Section 10.7(c) of any Reciprocal Releasee that has commenced or continued any such
action shall be entirely null and void, revoked and invalidated, as of the Effective Date, with respect
to the members of the Breaching Shareholder Family Group and the Designated Shareholder
Released Parties and (B) the status quo ante shall be restored in all respects for the members of the
Breaching Shareholder Family Group and the Designated Shareholder Released Parties with respect
to any Reciprocal Releasee that has commenced or continued any such litigation; provided that, for
the avoidance of doubt, notwithstanding the nullification, voiding, revocation and invalidation
pursuant to the foregoing clause (A), the releases set forth in this Section 10.7(c) shall continue in
effect for, and shall be fully enforceable by and for the benefit of, all other Reciprocal Releasees, and
shall be binding on, and enforceable against, all other Shareholder Released Parties, including any


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members of the Breaching Shareholder Family Group with respect to any Reciprocal Releasee that
has not commenced any such litigation.

                10.8    Channeling Injunction.

                          In order to supplement the injunctive effect of the Plan Injunction, the Releases
and the Shareholder Releases set forth in Sections 10.5, 10.6 and 10.7 of the Plan, the Confirmation Order
shall provide for the following permanent injunction to take effect as of the Effective Date:

                        (a)     Terms. In order to preserve and promote the settlements
contemplated by and provided for in the Plan and to supplement, where necessary, the injunctive
effect of the Plan Injunction, the Releases and the Shareholder Releases described in Sections 10.5,
10.6 and 10.7 of the Plan, and pursuant to the exercise of the equitable jurisdiction and power of the
Bankruptcy Court under section 105(a) of the Bankruptcy Code, all Persons that have held or
asserted, that hold or assert or that may in the future hold or assert any Channeled Claim shall be
permanently and forever stayed, restrained and enjoined from taking any action for the purpose of
directly or indirectly collecting, recovering or receiving payments, satisfaction, recovery or
judgment of any form from or against any Protected Party with respect to any Channeled Claim,
including:

                                (i)      commencing, conducting or continuing, in any manner,
                                         whether directly or indirectly, any suit, action or other
                                         proceeding, in each case, of any kind, character or nature, in
                                         any forum in any jurisdiction with respect to any Channeled
                                         Claims, against or affecting any Protected Party, or any
                                         property or interests in property of any Protected Party with
                                         respect to any Channeled Claims;

                                (ii)     enforcing, levying, attaching, collecting or otherwise
                                         recovering, by any means or in any manner, either directly or
                                         indirectly, any judgment, award, decree or other order
                                         against any Protected Party or against the property of any
                                         Protected Party with respect to any Channeled Claims;

                                (iii)    creating, perfecting or enforcing, by any means or in any
                                         manner, whether directly or indirectly, any Lien of any kind
                                         against any Protected Party or the property of any Protected
                                         Party with respect to any Channeled Claims;

                                (iv)     asserting or accomplishing any setoff, right of subrogation,
                                         indemnity, contribution or recoupment of any kind, whether
                                         directly or indirectly, in respect of any obligation due to any
                                         Protected Party or against the property of any Protected
                                         Party with respect to any Channeled Claims; and

                                (v)      taking any act, by any means or in any manner, in any place
                                         whatsoever, that does not conform to, or comply with, the
                                         provisions of the Plan Documents, with respect to any
                                         Channeled Claims.




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                       (b)    Reservations. Notwithstanding anything to the contrary in this
Section 10.8 or the Confirmation Order, this Channeling Injunction shall not stay, restrain, bar or
enjoin:

                                  (i)      the rights of Holders of Channeled Claims to the treatment
                                           afforded them under the Plan and the Plan Documents,
                                           including the rights of Holders of Channeled Claims to assert
                                           such Channeled Claims solely in accordance with Section 6.21
                                           of the Plan, the Master TDP and the Creditor Trust TDPs, in
                                           each case whether or not there are funds to make
                                           Distributions in respect of such Channeled Claims and
                                           whether or not such rights entitle such Holders to Abatement
                                           Distributions or any other form of Distributions;

                                  (ii)     the rights of Persons to assert any claim, debt, litigation or
                                           liability for payment of Creditor Trust Operating Expenses
                                           solely against the applicable Creditor Trust;

                                  (iii)    the rights of Persons to assert any claim, debt or litigation
                                           against any Excluded Party;

                                  (iv)     the rights of the Master Disbursement Trust to pursue and
                                           enforce the MDT Shareholder Rights, the MDT Insurance
                                           Rights and the MDT Causes of Action;

                                  (v)      the rights of the parties to the LRP Agreement to enforce the
                                           terms thereof in accordance with the Plan;

                                  (vi)     the Creditor Trusts from enforcing their respective rights
                                           against the Master Disbursement Trust under the Plan and
                                           the MDT Documents;

                                  (vii)    the Master Disbursement Trust from enforcing its rights, on
                                           behalf of itself and the Private Creditor Trusts, against
                                           NewCo and TopCo under the Plan and the NewCo Credit
                                           Support Agreement; or

                                  (viii)   NOAT or the Tribe Trust from enforcing their respective
                                           rights against TopCo under the TopCo Operating
                                           Agreement.

                            (c)     Notice of Shareholder Release Snapback. Upon the filing of a Notice of
Shareholder Release Snapback, the Channeling Injunction shall terminate, be rescinded and have no
application, without further order of the Bankruptcy Court, to any suit, action or other proceeding, in each
case, of any kind, character or nature, brought against any member of the Breaching Shareholder Family
Group or any Designated Shareholder Released Party; provided, however, that the extension of time
provided by Section 10.9(a) of the Plan shall continue in effect in accordance with its terms; and provided
further that, for the avoidance of doubt, notwithstanding the termination and rescission pursuant to this
Section 10.8(c), the Channeling Injunction shall continue in effect for, and shall be fully enforceable by and
for the benefit of, all other Protected Parties, including all other Shareholder Released Parties, other than the
Breaching Shareholder Family Group and the Designated Shareholder Released Parties.



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                         (d)     Modifications. Except as expressly set forth in paragraph (c) of this
Section 10.8, there can be no modification, dissolution or termination of the Channeling Injunction, which
shall be a permanent injunction.

                        (e)      Non-Limitation of Channeling Injunction. Except as expressly set forth
in paragraphs (b) and (c) of this Section 10.8, nothing in the Plan, the MDT Documents or the Creditor
Trust Documents shall be construed in any way to limit the scope, enforceability or effectiveness of the
Channeling Injunction issued in connection with the Plan.

                        (f)      Bankruptcy Rule 3016 Compliance. The Debtors’ compliance with the
requirements of Bankruptcy Rule 3016 shall not constitute an admission that the Plan provides for an
injunction against conduct not otherwise enjoined under the Bankruptcy Code.

              10.9   Tolling of Shareholder Released Claims; Violations of Shareholder Releases
and Channeling Injunction.

                          (a)     Tolling of Shareholder Released Claims. If applicable law, an order in
any proceeding or an agreement fixes a period for commencing or continuing an action or proceeding based
on a Shareholder Released Claim and such Shareholder Released Claim is released pursuant to the
Shareholder Releases or such action or proceeding is enjoined by the Channeling Injunction, then such
period does not expire with respect to such Shareholder Released Claim with respect to the Master
Disbursement Trust (or the MDT Trustees) or the Releasing Parties until the latest of (i) the end of such
period; (ii) with respect to the applicable Shareholder Family Group and any Designated Shareholder
Released Party, two hundred twenty-five (225) days after the filing of a Notice of Shareholder Release
Snapback with respect to such Shareholder Family Group; (iii) with respect to the applicable Shareholder
Family Group and any Designated Shareholder Released Party, when such Shareholder Family Group
fulfills its payment obligations under the Shareholder Settlement Agreement; and (iv) with respect to the
applicable Shareholder Released Party that is a Subsidiary (as defined in the Shareholder Settlement
Agreement) of a Shareholder Payment Party, two hundred twenty-five (225) days after the reinstatement of
any Estate Cause of Action against such Shareholder Released Party pursuant to Section 10.20 of the Plan.

                         (b)       Violations of Shareholder Releases and Channeling Injunction. In the
event that any Person takes any action that a Shareholder Released Party believes violates the Shareholder
Releases or Channeling Injunction as it applies to any Shareholder Released Party, such Shareholder
Released Party shall be entitled to make an emergency application to the Bankruptcy Court for relief, and
may proceed by contested matter rather than by adversary proceeding. The Bankruptcy Court shall have
jurisdiction and authority to enter final orders in connection with any dispute over whether an action
violates the Shareholder Releases or Channeling Injunction. Upon determining that a violation of the
Shareholder Releases or Channeling Injunction has occurred, the Bankruptcy Court, in its discretion, may
award any appropriate relief against such violating Person, including, but not limited to, (i) disgorgement
from the violating Person of any funds, assets or other value received, directly or indirectly, pursuant to the
Plan or Plan Documents (including fees and expenses paid pursuant to the Plan or Plan Documents on
account of legal or other advisory services rendered to or for the benefit of the violating Person); (ii) the
termination of any rights of the violating Person to receive any funds, assets or other value pursuant to the
Plan or Plan Documents; (iii) the reduction of any payments owed by any Shareholder Released Parties
under the Shareholder Settlement Agreement to the violating Person in an amount equal to the amount of
disgorgement ordered from, or the reduction of future payments ordered to be made to, or on account of, the
violating Person (subject to the right of the violating Person to request that any amounts actually disgorged
from such violating Person offset any reduction of future payments ordered to be made to, or on account of,
such violating Person); (iv) an admonition, reprimand or censure of, or citation of contempt by, the
violating Person and its counsel; (v) a fine or penalty paid into the Bankruptcy Court; (vi) a bond or other



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security in an amount equal to any financial obligation ordered by the Bankruptcy Court in respect of the
violation; (vii) an appropriate sanction on any attorney or law firm responsible for the violation;
(viii) injunctive relief to prevent future violations by the Person or its counsel; and (ix) attorney and other
professional fees incurred by any Shareholder Released Party arising from the violation. The provision of
any one form of relief shall not preclude the provision of any other form of relief.

                 10.10   MDT Insurer Injunction.

                        (a)     Terms. In accordance with section 105(a) of the Bankruptcy Code,
upon the occurrence of the Effective Date, all Persons that have held or asserted, that hold or assert
or that may in the future hold or assert any Claim based on, arising under or attributable to an MDT
Insurance Policy shall be, and hereby are, permanently stayed, restrained and enjoined from taking
any action for the purpose of directly or indirectly collecting, recovering or receiving payment or
recovery on account of any such Claim based on, arising under or attributable to an MDT Insurance
Policy from or against any MDT Insurer, including:

                                  (i)     commencing, conducting or continuing, in any manner any
                                          action or other proceeding of any kind (including an
                                          arbitration or other form of alternate dispute resolution)
                                          against any MDT Insurer, or against the property of any
                                          MDT Insurer, on account of any Claim based on, arising
                                          under or attributable to an MDT Insurance Policy;

                                  (ii)    enforcing, attaching, levying, collecting or otherwise
                                          recovering, by any manner or means, any judgment, award,
                                          decree or other order against any MDT Insurer, or against
                                          the property of any MDT Insurer, on account of any Claim
                                          based on, arising under or attributable to an MDT Insurance
                                          Policy;

                                  (iii)   creating, perfecting or enforcing in any manner any Lien of
                                          any kind against any MDT Insurer, or against the property of
                                          any MDT Insurer, on account of any Claim based on, arising
                                          under or attributable to an MDT Insurance Policy;

                                  (iv)    asserting or accomplishing any setoff, right of subrogation,
                                          indemnity, contribution or recoupment of any kind, whether
                                          directly or indirectly, against any obligation due to any MDT
                                          Insurer, or against the property of any MDT Insurer, on
                                          account of any Claim based on, arising under or attributable
                                          to an MDT Insurance Policy; and

                                  (v)     taking any act, in any manner, in any place whatsoever, that
                                          does not conform to, or comply with, the provisions of the
                                          Plan applicable to any Claim based on, arising under or
                                          attributable to an MDT Insurance Policy.

                        (b)    Reservations. The provisions of this MDT Insurer Injunction shall not
preclude the Master Disbursement Trust from pursuing any Claim based on, arising under or attributable to
an MDT Insurance Policy, or any other claim that may exist under any MDT Insurance Policy against any
MDT Insurer, or enjoin the rights of the Master Disbursement Trust to prosecute any action based on or
arising from the MDT Insurance Policies or the rights of the Master Disbursement Trust to assert any claim,


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debt, obligation, cause of action or liability for payment against an MDT Insurer based on or arising from
the MDT Insurance Policies. The provisions of this MDT Insurer Injunction are not issued for the benefit of
any MDT Insurer, and no such insurer is a third-party beneficiary of this MDT Insurer Injunction. This
MDT Insurer Injunction shall not enjoin, impair or affect (i) any claims between or among MDT Insurers
that are not Settling MDT Insurers; (ii) the rights of current and former directors, officers, employees and
authorized agents of the Debtors that are not Sackler Family Members that are preserved under the Plan; or
(iii) the terms of the Shareholder Settlement Agreement with respect to the MDT Shareholder Insurance
Rights. For the avoidance of doubt, with respect to a Person that purports to be insured under any MDT
Insurance Policy, the MDT Insurer Injunction shall enjoin only derivative claims and rights. Nothing in this
Plan shall determine whether any Claim or right under any MDT Insurance Policy is either derivative or
direct, or otherwise would be disallowed or subordinated under the Bankruptcy Code, which determination
shall be made, as necessary, to the extent such Claim or right is not otherwise released under this Plan, in
accordance with applicable law.

                         (c)     Modifications. To the extent the MDT Trustees make a good faith
determination that some or all of the MDT Insurance Proceeds are substantially unrecoverable by the
Master Disbursement Trust, the Master Disbursement Trust shall have the sole and exclusive authority at
any time, upon written notice to any affected MDT Insurer, to terminate, reduce or limit the scope of this
MDT Insurer Injunction with respect to any MDT Insurer, provided that (i) any termination, reduction, or
limitation of the MDT Insurer Injunction (A) shall apply in the same manner to all beneficiaries of the
Creditor Trusts that are MDT Beneficiaries and (B) shall comply with any procedures set forth in the MDT
Agreement and (ii) the termination, reduction or limitation of the MDT Insurer Injunction as it relates to the
MDT Bermuda-Form Insurance Policies shall be subject to the consent (not to be unreasonably withheld,
conditioned or delayed) of the Creditor Trustee for the PI Trust.

                         (d)      Non-Limitation of MDT Insurer Injunction. Except as set forth in
paragraphs (b) and (c) of this Section 10.10, nothing in the Plan, the MDT Documents or the Creditor Trust
Documents shall be construed in any way to limit the scope, enforceability or effectiveness of the MDT
Insurer Injunction issued in connection with the Plan.

                10.11    Settling MDT Insurer Injunction.

                        (a)     Terms. In accordance with section 105(a) of the Bankruptcy Code,
upon the occurrence of the Effective Date, all Persons that have held or asserted, that hold or assert
or that may in the future hold or assert any Claim based on, arising under or attributable to an MDT
Insurance Policy shall be, and hereby are, permanently stayed, restrained and enjoined from taking
any action for the purpose of directly or indirectly collecting, recovering or receiving payment or
recovery on account of any such Claim based on, arising under or attributable to an MDT Insurance
Policy from or against any Settling MDT Insurer, solely to the extent that such Settling MDT Insurer
has been released from such Claim under such MDT Insurance Policy pursuant to an MDT
Insurance Settlement, including:

                                 (i)      commencing, conducting or continuing, in any manner any
                                          action or other proceeding of any kind (including an
                                          arbitration or other form of alternate dispute resolution)
                                          against any such Settling MDT Insurer, or against the
                                          property of such Settling MDT Insurer, on account of such
                                          Claim based on, arising under or attributable to such MDT
                                          Insurance Policy;

                                 (ii)     enforcing, attaching, levying, collecting or otherwise
                                          recovering, by any manner or means, any judgment, award,


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                                         decree or other order against any such Settling MDT Insurer,
                                         or against the property of such Settling MDT Insurer, on
                                         account of such Claim based on, arising under or attributable
                                         to such MDT Insurance Policy;

                                 (iii)   creating, perfecting or enforcing in any manner any Lien of
                                         any kind against any such Settling MDT Insurer, or against
                                         the property of such Settling MDT Insurer, on account of
                                         such Claim based on, arising under or attributable to such
                                         MDT Insurance Policy;

                                 (iv)    asserting or accomplishing any setoff, right of subrogation,
                                         indemnity, contribution or recoupment of any kind, whether
                                         directly or indirectly, against any obligation due to any such
                                         Settling MDT Insurer, or against the property of such Settling
                                         MDT Insurer, on account of such Claim based on, arising
                                         under or attributable to such MDT Insurance Policy; and

                                 (v)     taking any act, in any manner, in any place whatsoever, that
                                         does not conform to, or comply with, the provisions of the
                                         Plan applicable to such Claim based on, arising under or
                                         attributable to such MDT Insurance Policy.

                          (b)    Reduction of Insurance Judgments. Any right, Claim or cause of action
that an Insurance Company may have been entitled to assert against any Settling MDT Insurer but for the
Settling MDT Insurer Injunction, if any such right, Claim or cause of action exists under applicable
non-bankruptcy law, shall become a right, Claim or cause of action solely as a setoff claim against the
Master Disbursement Trust and not against or in the name of the Settling MDT Insurer in question. Any
such right, Claim or cause of action to which an Insurance Company may be entitled shall be solely in the
form of a setoff against any recovery of the Master Disbursement Trust from that Insurance Company, and
under no circumstances shall that Insurance Company receive an affirmative recovery of funds from the
Master Disbursement Trust or any Settling MDT Insurer for such right, Claim or cause of action. In
determining the amount of any setoff, the Master Disbursement Trust may assert any legal or equitable
rights the Settling MDT Insurer would have had with respect to any right, Claim or cause of action.

                       (c)      Modifications. There can be no modification, dissolution or termination
of the Settling MDT Insurer Injunction, which shall be a permanent injunction.

                        (d)     Non-Limitation of Settling MDT Insurer Injunction. Except as set
forth in paragraphs (b) and (c) of this Section 10.11, nothing in the Plan, the MDT Documents or the
Creditor Trust Documents shall be construed in any way to limit the scope, enforceability or effectiveness
of the Settling MDT Insurer Injunction issued in connection with the Plan.

                10.12   Exculpation.

                        To the maximum extent permitted by applicable law, no Exculpated Party shall
have or incur, and each Exculpated Party is hereby released and exculpated from: any Cause of Action for
any Claim in connection with, or arising out of, the administration of the Chapter 11 Cases; the negotiation
and pursuit of the Disclosure Statement (including any information provided, or statements made, in the
Disclosure Statement or omitted therefrom), the Restructuring Transactions, the Plan, the Master
Disbursement Trust (including the Master TDP and the MDT Agreement), the Creditor Trusts (including
the Creditor Trust TDPs and the other Creditor Trust Documents) and the solicitation of votes for, and


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confirmation of, the Plan; the funding of the Plan; the occurrence of the Effective Date; the administration
of the Plan and the property to be distributed under the Plan; and the wind-up and dissolution of the
Liquidating Debtors and the transactions in furtherance of any of the foregoing, in each case other than
Causes of Action arising out of, or related to, any act or omission of an Exculpated Party that is a criminal
act or constitutes fraud, gross negligence or willful misconduct. This exculpation shall be in addition to, and
not in limitation of, all other Releases, indemnities, exculpations and any other applicable law or rules
protecting such Exculpated Parties from liability. For the avoidance of doubt, this Section 10.12 shall not
exculpate or release any Exculpated Party with respect to any act or omission of such Exculpated Party
prior to the Effective Date that is later found to be a criminal act or to constitute fraud, gross negligence or
willful misconduct, including findings after the Effective Date. Notwithstanding anything herein to the
contrary, nothing in the Plan shall release any Causes of Action that may be asserted against any Excluded
Party.

                 10.13    Injunction Related to Releases and Exculpation.

                           To the maximum extent permitted under applicable law, the Confirmation Order
shall permanently enjoin the commencement or prosecution by any Person, whether directly, derivatively
or otherwise, of any Causes of Action released pursuant to this Plan, including, without limitation, the
Causes of Action released or exculpated in this Plan and the Claims, Interests, Liens, other encumbrances or
liabilities described in Section 5.3(b), 5.4(c) or 5.6(b) of the Plan (but, for the avoidance of doubt, excluding
any Excluded Claims).

                 10.14    Subordinated Claims.

                           The allowance, classification and treatment of all Claims and Interests and the
respective Distributions and treatments in respect thereof under this Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with contractual, legal
and equitable subordination rights relating thereto, whether arising under general principles of equitable
subordination, section 509(c), 510(a), 510(b) or 510(c) of the Bankruptcy Code or otherwise. Pursuant to
sections 509(c) and 510 of the Bankruptcy Code or otherwise, the Debtors reserve the right to reclassify any
Allowed Claim or Allowed Interest in accordance with any contractual, legal or equitable subordination
relating thereto.

                 10.15    Preservation of Causes of Action and Reservation of Rights.

                         As of the Effective Date, (a) the Master Disbursement Trust shall have the right to
prosecute any and all MDT Causes of Action, (b) the Plan Administration Trust shall have the right to
prosecute any and all Retained Causes of Action relating to and necessary for the administration of Claims
against the Debtors (other than Channeled Claims) or the other responsibilities of the Plan Administration
Trustee in accordance with the PAT Agreement, (c) each Creditor Trust shall have the right to prosecute
any and all Retained Causes of Action relating to and necessary for the administration of the applicable
Channeled Claims in accordance with the applicable Creditor Trust TDP and (d) NewCo shall have the
right to prosecute any and all Retained Causes of Action constituting NewCo Transferred Assets; provided
that (i) any settlement or release by NewCo of such Retained Causes of Action shall be subject to the
consent of TopCo and (ii) in the event NewCo fails to prosecute any such Retained Causes of Action,
TopCo may direct such prosecution by NewCo, in accordance with the NewCo Operating Agreement.
Pursuant to section 1123(b) of the Bankruptcy Code, except as expressly provided in Sections 10.5 through
10.13 of the Plan, nothing contained in this Plan or the Confirmation Order shall be deemed to be a waiver
or relinquishment of any Causes of Action that the Debtors had immediately before the Effective Date on
behalf of the Estates or of themselves in accordance with any provision of the Bankruptcy Code or any
applicable nonbankruptcy law, including but not limited to any actions specifically enumerated in the
Schedule of Retained Causes of Action. Subject to Sections 10.5 through 10.13 of the Plan, all such Causes


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of Action shall be transferred to the Master Disbursement Trust, the Plan Administration Trust, the
applicable Creditor Trust or NewCo, as applicable, which shall have, retain, reserve and be entitled to assert
all such Causes of Action in accordance with the Plan as fully as if the Chapter 11 Cases had not been
commenced, and all of the Debtors’ legal and equitable rights with respect to any Claim or Interest may be
asserted after the Effective Date to the same extent as if the Chapter 11 Cases had not been commenced.

                 10.16    Ipso Facto and Similar Provisions Ineffective.

                         Any term of any policy, contract or other obligation applicable to a Debtor shall be
void and of no further force or effect with respect to any Debtor to the extent such policy, contract, or other
obligation is conditioned on, creates an obligation of any Debtor as a result of, or gives rise to a right of any
Person based on any of the following: (a) the insolvency or financial condition of a Debtor; (b) the
commencement of the Chapter 11 Cases; (c) the confirmation or consummation of this Plan, including any
change of control that shall occur as a result of such consummation; or (d) the Restructuring Transactions.

                 10.17    No Successor Liability.

                           Except as otherwise expressly provided in this Plan and the Confirmation Order,
each of NewCo, TopCo, the Master Disbursement Trust, the Plan Administration Trust and the Creditor
Trusts (a) is not, and shall not be deemed to assume, agree to perform, pay or otherwise have any
responsibilities for any liabilities or obligations of the Debtors or any other Person relating to or arising out
of the operations or the Assets of the Debtors on or prior to the Effective Date, (b) is not, and shall not be, a
successor to the Debtors by reason of any theory of law or equity or responsible for the knowledge or
conduct of any Debtor prior to the Effective Date and (c) shall not have any successor or transferee liability
of any kind or character.

                 10.18    Co-Defendant Defensive Rights.

                          Except as provided in the MDT Insurer Injunction, the Settling MDT Insurer
Injunction or clause (ii) of the penultimate sentence of this Section 10.18, notwithstanding anything to the
contrary in this Article X or in the Plan as it currently exists or as it might be further amended, the
Confirmation Order or any order entered in connection with the Plan (or the Plan as amended) (or any such
order, as amended, modified or supplemented), or any supplement to the Plan (or the Plan as amended),
nothing contained in the Plan or any of the foregoing documents or orders (including, without limitation,
the classification, treatment, allowance, disallowance, release, bar, injunction, Channeling Injunction or
any other provision of the Plan or the Plan as amended with respect to, impacting, affecting, modifying,
limiting, subordinating, impairing, in any respect, a Co-Defendant Claim), will release, bar, enjoin, impair,
alter, modify, amend, limit, prohibit, restrict, reduce, improve or enhance any Co-Defendant Defensive
Rights of any Holder of a Co-Defendant Claim or Excluded Party as such rights exist or might in the future
exist under applicable non-bankruptcy law. Nothing in the Plan, any of the Plan Documents or in the
Confirmation Order shall preclude, operate to or have the effect of, impairing any Holder of a
Co-Defendant Claim or Excluded Party from asserting in any proceeding any and all Co-Defendant
Defensive Rights that it has or may have under applicable law. Nothing in the Plan, any of the Plan
Documents or the Confirmation Order shall be deemed to waive any Co-Defendant Defensive Rights, and
nothing in the Chapter 11 Cases, the Plan, any of the Plan Documents or the Confirmation Order may be
used as evidence of any determination regarding any Co-Defendant Defensive Rights, and under no
circumstances shall any Person be permitted to assert issue preclusion or claim preclusion, waiver, estoppel
or consent in response to the assertion of an Co-Defendant Defensive Rights. This Section 10.18 shall be
included in the Confirmation Order. Co-Defendant Defensive Rights (i) may be used to offset, set-off,
recoup, allocate or apportion fault, liability, or damages, or seek judgment reduction or otherwise defend
against any Cause of Action brought by any Person against the Holder of any Co-Defendant Claim or the
Excluded Party based in whole or in part on Opioid-Related Activities and (ii) shall in no case be used to


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seek or obtain any affirmative monetary recovery from any Protected Party or any Asset of any Protected
Party (including from any Purdue Insurance Policy or any other insurance policy of a Protected Party) on
account of any Released Claim or Shareholder Released Claim. The foregoing does not constitute a release
of any Co-Defendant’s Class 14 Claim or any other Excluded Party’s Class 11(c) Claim.

                 10.19   Channeling of Future PI Channeled Claims and Injunction in Support of PI
Futures Trust.

                           As of the Effective Date, in accordance with the Plan and the Master TDP, any and
all liability of the Debtors and the other Protected Parties for any and all Future PI Channeled Claims shall
automatically, and without further act, deed or court order, be channeled exclusively to and assumed by the
PI Futures Trust. Each Future PI Channeled Claim shall be asserted exclusively against the PI Futures Trust
and resolved solely in accordance with the terms, provisions and procedures of the PI Futures TDP. The
sole recourse of any Person on account of any Future PI Channeled Claim, whether or not the Holder
thereof participated in the Chapter 11 Cases and whether or not such Holder filed a Proof of Claim in the
Chapter 11 Cases, shall be to the PI Futures Trust as and to the extent provided in the PI Futures TDP.
Holders of Future PI Channeled Claims are enjoined from asserting against any Debtor or other
Protected Party any Channeled Claim, and may not proceed in any manner against any Debtor or
other Protected Party on account of any Channeled Claim in any forum whatsoever, including any
state, federal or non-U.S. court or administrative or arbitral forum, and are required to pursue
Future PI Channeled Claims exclusively against the PI Futures Trust, solely as and to the extent
provided in the PI Futures TDP.

                 10.20   Reinstatement of Certain Shareholder Released Claims.

                           As set forth in the Shareholder Settlement Agreement, if any Shareholder Released
Party that is a Subsidiary (as defined in the Shareholder Settlement Agreement) of a Shareholder Payment
Party voluntarily or involuntarily becomes subject to an insolvency, bankruptcy, reorganization,
winding-up, administration, dissolution, composition or similar proceeding, upon election by notice from
the Sackler Party Representative (as defined in the Shareholder Settlement Agreement), with the consent of
the Master Disbursement Trust, any Estate Causes of Action against such Shareholder Released Party that
were previously held by the Debtors and that were released pursuant to Section 10.7(a) of the Plan shall be
reinstated in full (and the Shareholder Release provided under Section 10.7(a) of the Plan shall be deemed
null and void with respect thereto, and the Channeling Injunction shall terminate, be rescinded and have no
application with respect thereto) and the Master Disbursement Trust, in its sole discretion and upon receipt
of an advance for fees and expenses provided by the Shareholder Released Parties in an amount determined
by the Master Disbursement Trust in its sole discretion (which advance shall be repaid to the extent not
used), shall utilize commercially reasonable efforts to maximize the value of any such Estate Causes of
Action in such insolvency or liquidation proceeding, and any recovery shall be treated in accordance with
the terms as set forth in the Shareholder Settlement Agreement.

                 10.21   Special Provisions for United States.

                        (a)     As to the United States, notwithstanding anything contained in the Plan or
Confirmation Order to the contrary (except Section 5.2(h) of the Plan and in respect of the United States-PI
Claimant Medical Expense Claim Settlement), including but not limited to this Article X, nothing in the
Plan or Confirmation Order (except Section 5.2(h) of the Plan and in respect of the United States-PI
Claimant Medical Expense Claim Settlement) shall:

                                 (i)     limit or expand the scope of discharge, release or injunction
                                         permitted to debtors under the Bankruptcy Code. The discharge,
                                         release, and injunction provisions contained in the Plan and


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                                  Confirmation Order are not intended and shall not be construed to
                                  bar the United States from, subsequent to the Confirmation Order,
                                  pursuing any police or regulatory action, or any criminal action;

                          (ii)    discharge, release, exculpate, impair or otherwise preclude:
                                  (A) any liability to the United States that is not a “claim” within
                                  the meaning of section 101(5) of the Bankruptcy Code; (B) any
                                  Claim of the United States arising on or after the Effective Date;
                                  (C) any liability of the Debtors under police or regulatory statutes
                                  or regulations to the United States as the owner, lessor, lessee or
                                  operator of property that such Entity owns, operates or leases after
                                  the Effective Date; or (D) any liability to the United States,
                                  including but not limited to any liabilities arising under the IRC,
                                  the environmental laws, the criminal laws, the civil laws or
                                  common law, of any Person, including any Released Parties,
                                  Shareholder Released Parties or any Exculpated Parties, in each
                                  case, other than the Debtors; provided, however, that the
                                  foregoing shall not (x) limit the scope of discharge granted to the
                                  Debtors under sections 524 and 1141 of the Bankruptcy Code,
                                  (y) diminish the scope of any exculpation to which any Person is
                                  entitled under section 1125(e) of the Bankruptcy Code or
                                  (z) change the treatment of the DOJ Forfeiture Judgment Claim
                                  pursuant to Section 2.3 of the Plan or the treatment of the Federal
                                  Government Unsecured Claims pursuant to Section 4.3 of the
                                  Plan;

                          (iii)   enjoin or otherwise bar the United States from asserting or
                                  enforcing, outside the Bankruptcy Court, any liability described in
                                  the preceding clause (ii); provided, however, that the
                                  non-bankruptcy rights and defenses of all Persons with respect to
                                  (A)–(D) in clause (ii) are likewise fully preserved;

                          (iv)    affect any valid right of setoff or recoupment of the United States
                                  against any of the Debtors; provided, however, that the rights and
                                  defenses of the Debtors with respect thereto are fully preserved
                                  (other than any rights or defenses based on language in the Plan or
                                  the Confirmation Order that may extinguish setoff or recoupment
                                  rights);

                          (v)     divest any court, commission or tribunal of jurisdiction to
                                  determine whether any liabilities asserted by the United States are
                                  discharged or otherwise barred by this Confirmation Order, the
                                  Plan or the Bankruptcy Code; provided, however, that the
                                  Bankruptcy Court shall retain jurisdiction as set forth in and
                                  pursuant to the terms of the Plan to the extent permitted by law; or

                          (vi)    be deemed to (A) determine the tax liability of any Person,
                                  including but not limited to the Debtors, (B) have determined the
                                  federal tax treatment of any item, distribution or Entity, including
                                  the federal tax consequences of the Plan or Confirmation Order,
                                  or (C) expressly expand or diminish the jurisdiction of the



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                                         Bankruptcy Court to make determinations as to federal tax
                                         liability and federal tax treatment under the Bankruptcy Code and
                                         28 U.S.C. §§ 157, 1334.

                         For the avoidance of doubt, the Channeling Injunction set forth in Section 10.8 of
the Plan does not apply to the rights and causes of action protected by this Section 10.21.

                          (b)     Notwithstanding anything to the contrary herein, nothing in the Plan, the
Confirmation Order, the Shareholder Settlement Agreement or any other document filed in connection with
the Plan shall release claims held by the United States of America against the Shareholder Released Parties;
provided that, for the avoidance of doubt, nothing in the Plan, Confirmation Order, the Shareholder
Settlement Agreement or any other document filed in connection with the Plan shall limit the releases
contained in the Settlement Agreement between the United States of America and Purdue Pharma L.P.,
executed on October 21, 2020, or the Settlement Agreement between the United States of America and Dr.
Richard Sackler, David Sackler, Mortimer D.A. Sackler, Kathe Sackler, and the Estate of Jonathan Sackler,
executed on October 21, 2020.

                         (c)    Several of the Debtors are parties to the various following agreements
with the Secretary of the Department of Health and Human Services under which the Debtors owe rebates
to third parties:

                                 (i)     The Medicare Coverage Gap Discount Program Agreement is
                                         established under 42 U.S.C. §§ 1395w-l14A, 1395w-153 and is
                                         required should manufacturers wish to have coverage for their
                                         products under Medicare Part D. Under the Medicare Coverage
                                         Gap Discount Program Agreement, manufacturers agree to
                                         reimburse Medicare Part D plan sponsors for certain Coverage
                                         Gap discounts the plans provide to Medicare beneficiaries in the
                                         Part D coverage gap. The Centers for Medicare & Medicaid
                                         Services requires that a new entity that seeks to assume a
                                         Medicare Coverage Gap Discount Program Agreement enter into
                                         a novation agreement with the Centers for Medicare & Medicaid
                                         Services with respect to the transfer of such agreement. The
                                         Debtors that have entered into Medicare Coverage Gap Discount
                                         Program Agreements with the Secretary are: Purdue Pharma L.P.
                                         (P1180) and Rhodes Pharmaceuticals L.P. (P1281);

                                 (ii)    The Medicaid Drug Rebate Program, established under
                                         section 1927 of the Social Security Act, requires manufacturers to
                                         enter into National Drug Rebate Agreements with the Secretary
                                         for the coverage and payment of a manufacturer’s covered
                                         outpatient drugs. Under the Medicaid Drug Rebate Program, if a
                                         manufacturer has entered into and has in effect a National Drug
                                         Rebate Agreement, Medicaid covers and pays for all of the drugs
                                         of that manufacturer dispensed and paid for under the state plan,
                                         and in return manufacturers pay applicable rebates to the states.
                                         The Debtors that have National Drug Rebate Agreements and the
                                         labeler codes associated with the National Drug Rebate
                                         Agreements are as follows: Rhodes Pharmaceuticals L.P.
                                         (42858), Purdue Pharma L.P. (59011), Avrio Health L.P. (67618)
                                         and Adlon Therapeutics L.P. (72912);



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                                (iii)   Manufacturers with National Drug Rebate Agreements must also
                                        comply with the Drug Pricing Program under section 340B of the
                                        Public Health Service Act, 42 U.S.C. § 256b, and have
                                        Pharmaceutical Pricing Agreements with the Secretary of the
                                        Department of Health and Human Services. Under the
                                        Pharmaceutical Pricing Agreements, manufacturers agree to
                                        charge a price for covered outpatient drugs that will not exceed
                                        the average manufacturer price decreased by a rebate percentage.
                                        The Debtors that have Pharmaceutical Pricing Agreements and
                                        the labeler codes associated with such agreements are as follows:
                                        Rhodes Pharmaceuticals L.P. (42858), Purdue Pharma L.P.
                                        (59011), Avrio Health L.P. (67618) and Adlon Therapeutics L.P.
                                        (72912); and

                                (iv)    The Medicare Coverage Gap Discount Program Agreements, the
                                        Medicaid National Drug Rebate Agreements and the
                                        Pharmaceutical Pricing Agreements identified above provide that,
                                        in the event of a transfer of ownership, such agreements are
                                        automatically assigned to the new owner and all terms and
                                        conditions of such agreements remain in effect as to the new
                                        owner. Accordingly, notwithstanding anything contained in the
                                        Plan or the Confirmation Order which may be to the contrary, the
                                        Debtors shall assume such agreements pursuant to section 365 of
                                        the Bankruptcy Code, and upon the Effective Date, the Medicare
                                        Coverage Gap Discount Program Agreements, the Medicaid
                                        National Drug Rebate Agreements and the Pharmaceutical
                                        Pricing Agreements identified above shall be assigned to NewCo.
                                        NewCo, as the new owner, will assume the obligations of the
                                        Debtors who are parties under such agreements from and after the
                                        Effective Date, and to fully perform all the duties and
                                        responsibilities that exist under such agreements in accordance
                                        with their terms, including the payment of discounts owed to Part
                                        D Plan sponsors or payment of rebates owed to states and
                                        wholesalers for quarters prior to the Effective Date. For the
                                        avoidance of doubt, NewCo shall be liable for any outstanding
                                        rebates or discounts owed to third parties (and any applicable
                                        interest thereon) arising prior to the Effective Date, as well as any
                                        penalties associated with noncompliance by the Debtors with the
                                        Medicare Coverage Gap Discount Program Agreements, the
                                        Medicaid National Drug Rebate Agreements and the
                                        Pharmaceutical Pricing Agreements identified above prior to the
                                        Effective Date.

                         (d)     Notwithstanding anything to the contrary herein, nothing in the Plan, the
Confirmation Order, the Shareholder Settlement Agreement or any other document filed in connection with
the Plan shall bind the United States in any application of statutory, or associated regulatory, authority
grounded in Title 19 of the Social Security Act, 42 U.S.C. § 1396-1 et seq. (the “Medicaid Program”) or in
section 1115 of Title 11 of the Social Security Act. The United States is neither enjoined nor in any way
prejudiced in seeking recovery of any funds owed to the United States under the Medicaid Program.




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ARTICLE XI RETENTION OF JURISDICTION.

                 11.1    Retention of Jurisdiction.

                          (a)       The Bankruptcy Court shall retain exclusive jurisdiction of all matters
arising under, arising out of or related to the Chapter 11 Cases and the Plan pursuant to, and for the purposes
of, sections 105(a) and 1142 of the Bankruptcy Code and for, among other things, the following purposes:

                                  (i)      to hear and determine applications for the assumption or rejection
                                           of executory contracts and unexpired leases and any Disputed
                                           Cure Claims or Disputed Claims in respect of rejection damages
                                           resulting therefrom;

                                  (ii)     to hear and determine any motions, adversary proceedings,
                                           applications, contested matters and other litigated matters pending
                                           on, or commenced after, entry of the Confirmation Order;

                                  (iii)    to hear and resolve any disputes arising from or related to (A) any
                                           orders of the Bankruptcy Court still in effect granting relief under
                                           Bankruptcy Rule 2004 or (B) any protective orders entered by the
                                           Bankruptcy Court in connection with the foregoing (including the
                                           Protective Order);

                                  (iv)     to ensure that Distributions to Holders of Allowed Claims are
                                           accomplished as provided in this Plan and the Confirmation
                                           Order;

                                  (v)      to consider Claims or the allowance, classification, priority,
                                           compromise, estimation or payment of any Claim, including any
                                           Administrative Claim or, solely to the extent provided in the
                                           Master TDP and/or the applicable Creditor Trust TDP, any
                                           Channeled Claim;

                                  (vi)     to enter, implement or enforce such orders as may be appropriate
                                           in the event that the Confirmation Order is, for any reason, stayed,
                                           reversed, revoked, modified or vacated;

                                  (vii)    to issue and enforce injunctions, enter and implement other orders
                                           and take such other actions as may be necessary or appropriate to
                                           restrain interference by any Person with the consummation,
                                           implementation or enforcement of this Plan, the Confirmation
                                           Order or any other order of the Bankruptcy Court;

                                  (viii)   to hear and determine any application to modify this Plan in
                                           accordance with section 1127 of the Bankruptcy Code to remedy
                                           any defect or omission or reconcile any inconsistency in this Plan,
                                           the Disclosure Statement or any order of the Bankruptcy Court,
                                           including the Confirmation Order, in such a manner as may be
                                           necessary to carry out the purposes and effects thereof;

                                  (ix)     to hear and determine all Professional Fee Claims;




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                          (x)      to resolve disputes concerning any reserves with respect to
                                   Disputed Claims or the administration thereof;

                          (xi)     to hear and determine disputes arising in connection with the
                                   interpretation, implementation or enforcement of this Plan, the
                                   Confirmation Order, any transactions or payments in furtherance
                                   of the Plan or the Confirmation Order or any agreement,
                                   instrument or other document governing, or related to, any of the
                                   foregoing, including the Plan Documents;

                          (xii)    to take any action and issue such orders, including any such action
                                   or orders as may be necessary after entry of the Confirmation
                                   Order or the occurrence of the Effective Date, as may be
                                   necessary to construe, enforce, implement, execute and
                                   consummate this Plan, including any release (including, but not
                                   limited to, the United States-PI Claimant Medical Expense Claim
                                   Releases), exculpation or injunction provisions set forth in this
                                   Plan, or to maintain the integrity of this Plan following the
                                   occurrence of the Effective Date;

                          (xiii)   to hear and determine any other matters related to the Chapter 11
                                   Cases and not inconsistent with the Bankruptcy Code or title 28 of
                                   the United States Code;

                          (xiv)    to resolve any disputes concerning whether a Person had
                                   sufficient notice of the Chapter 11 Cases, the Disclosure
                                   Statement, any solicitation conducted in connection with the
                                   Chapter 11 Cases, any Bar Date established in the Chapter 11
                                   Cases or any deadline for responding or objecting to a Cure
                                   Amount, in each case, for the purpose of determining whether a
                                   Claim or Interest is discharged hereunder or for any other
                                   purpose;

                          (xv)     to hear and determine disputes arising in connection with the
                                   interpretation, implementation or enforcement of the Shareholder
                                   Settlement Agreement;

                          (xvi)    to hear and determine disputes arising in connection with (A) the
                                   MDT Claims and the interpretation, implementation or
                                   enforcement of the NewCo Credit Support Agreement or
                                   (B) operations of the Master Disbursement Trust or the actions of
                                   the MDT Fiduciaries;

                          (xvii)   to hear and determine disputes arising in connection with the
                                   interpretation, implementation or enforcement of the Abatement
                                   Trust Documents, and to hear and determine disputes concerning
                                   violations of the Confirmation Order or the use of funds from the
                                   Abatement Trusts in a manner inconsistent with the applicable
                                   Abatement Trust Documents; provided that, with respect to
                                   NOAT and the Tribe Trust, such jurisdiction shall be concurrent
                                   and not exclusive to the extent set forth in the NOAT Documents



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                                          and the Tribe Trust Documents, respectively, as in effect on the
                                          Effective Date;

                                  (xviii) to determine such other matters, and for such other purposes, as
                                          may be provided in the Confirmation Order;

                                  (xix)   to hear and determine all matters relating to the Plan Settlements,
                                          to the extent permitted under applicable law; and

                                  (xx)    to enter a final decree closing each of the Chapter 11 Cases.

                          (b)      The Bankruptcy Court shall retain concurrent, rather than exclusive,
jurisdiction of all matters arising under, arising out of or related to the Chapter 11 Cases and the Plan to,
among other things, hear and determine matters concerning state, local and federal taxes in accordance with
sections 346, 505 and 1146 of the Bankruptcy Code (including the expedited determination of taxes under
section 505(b) of the Bankruptcy Code), and to hear and resolve or recommend resolution of disputes
related to the MDT Insurance Rights.

                        (c)    Notwithstanding anything in this Article XI to the contrary, the resolution
of Channeled Claims against the Debtors and the forum in which such resolution shall be determined shall
be governed by, and in accordance with, Section 6.21 of the Plan, the Master TDP and the Creditor Trust
TDPs, if applicable.

                         (d)     By consenting to the treatment provided by this Plan or otherwise
supporting the Plan, no State or Tribe shall be construed to have waived any claim of Sovereign Immunity
that it may have in any other action or proceeding, including any action or proceeding occurring after the
Effective Date.

                          (e)     No Person shall be permitted to initiate, continue, or otherwise prosecute a
Cause of Action against a Shareholder Released Party based on an allegation, argument or position that
such Cause of Action is or would be a Non-Opioid Excluded Claim if such Cause of Action is colorably a
Non-Opioid Excluded Claim, unless such Person first obtains leave of the Bankruptcy Court. Without
limiting the generality of the foregoing clauses of this Section 11.1, the Bankruptcy Court shall have and
retain exclusive jurisdiction of, and authority to hear and determine, any request for such leave, and may
grant such a request only upon a showing by the requesting Person, based on an appropriate evidentiary
record, that such Cause of Action is within the definition of Non-Opioid Excluded Claim. The only Persons
with standing to be heard on such a request for leave shall be: (i) the Person seeking to bring such Cause of
Action; (ii) any Shareholder Released Party against which such Cause of Action would be brought; (iii) any
Shareholder Payment Party; and (iv) the MDT or NewCo.

ARTICLE XII MISCELLANEOUS PROVISIONS.

                 12.1    Exemption from Certain Transfer Taxes.

                          To the maximum extent permitted pursuant to section 1146(a) of the Bankruptcy
Code, any transfers of property under the Plan pursuant to (a) the issuance, distribution, transfer or
exchange of any debt, equity security or other interest in the Debtors, (b) the Restructuring Transactions,
(c) the creation, modification, consolidation, termination, refinancing and/or recording of any mortgage,
deed of trust or other security interest, or the securing of additional indebtedness by such or other means, or
(d) the making, assignment, recording or surrender of any lease or sublease, or the making, delivery or
recording of any deed or other instrument of transfer under, in furtherance of or in connection with the Plan,
including any deeds, bills of sale or other assignments or instruments of transfer, or assignments executed in


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connection with any disposition of Assets contemplated by the Plan (including transfers of Assets to and by
the Debtors, the Plan Administration Trust, NewCo, TopCo, the Master Disbursement Trust and the
Creditor Trusts) shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles
tax, transfer tax (including real estate transfer tax), mortgage tax or mortgage recording tax, sales or use tax,
Uniform Commercial Code filing or recording fee, regulatory filing or recording fee or other similar tax or
governmental assessment, and the appropriate federal, state, provincial or local government officials or
agents shall forego collection of any such tax or governmental assessment and accept for filing and
recordation any of the foregoing instruments or other documents without the payment of any such tax or
governmental assessment.

                 12.2     Dates of Actions to Implement Plan.

                         In the event that any payment or act under this Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the performance of such
act may be completed on or as soon as reasonably practicable after the next succeeding Business Day but
shall be deemed to have been completed as of the required date.

                 12.3     Amendments.

                          (a)     Plan Modifications. This Plan may be amended, modified or
supplemented by the Debtors in the manner provided for by section 1127 of the Bankruptcy Code or as
otherwise permitted by law, without additional disclosure pursuant to section 1125 of the Bankruptcy Code,
except as otherwise ordered by the Bankruptcy Court; provided that (i) any such amendment, modification
or supplement shall be reasonably acceptable to the Governmental Consent Parties; provided further that
any such amendment, modification or supplement that expands the scope of the Releases or modifies any
provision relating to the MDT Insurance Policies (including the scope thereof) or the transfer of the MDT
Insurance Rights shall be acceptable to the Governmental Consent Parties, and (ii) any such amendment,
modification or supplement shall be reasonably acceptable to the Creditors’ Committee to the extent that it
(A) relates to the MDT Insurance Rights, (B) modifies Section 5.8 of the Plan as it relates to payment of the
attorneys’ fees and costs of Holders of Hospital Claims, Third-Party Payor Claims, PI Claims or NAS
Monitoring Claims, the Ad Hoc Group of Individual Victims or the NAS Committee, (C) modifies the
Creditors’ Committee’s consent rights under the Plan, (D) expands the scope of the Releases or
(E) materially and adversely affects the treatment of Holders of Hospital Claims, Third-Party Payor Claims,
PI Claims, NAS Monitoring Claims or Other General Unsecured Claims (it being understood that (x) any
reduction in the amount of any Initial Private Creditor Trust Distribution or any Private Creditor Trust’s
MDT Claim, (y) any elimination of any consent rights in favor of such Holders or (z) any modification to
Section 5.2, 5.6 or 5.7 of the Plan to the extent such modification relates to the Master Disbursement Trust
or a Private Creditor Trust shall constitute such a material and adverse effect). In addition, after the
Confirmation Date, as long as such action does not materially and adversely affect the treatment of Holders
of Allowed Claims pursuant to this Plan, the Debtors may remedy any defect or omission or reconcile any
inconsistencies in this Plan or the Confirmation Order with respect to such matters as may be necessary to
carry out the purposes or effects of this Plan, and any Holder of a Claim or Interest that has accepted this
Plan shall be deemed to have accepted this Plan as amended, modified or supplemented.

                         (b)     Certain Technical Amendments. Prior to the Effective Date, the
Debtors, may make appropriate technical adjustments and modifications to this Plan without further order
or approval of the Bankruptcy Court; provided, however, that such technical adjustments and modifications
do not adversely affect in a material way the treatment of Holders of Claims and Interests under this Plan.

                         (c)     Modifications Relating to Foundations. In the event that the
appointment of the Continuing Foundation Members as the sole members of the Foundations has not
occurred or shall not occur on or before the date selected by the Debtors as the Effective Date, the Debtors


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shall, in their sole and absolute discretion, be entitled to renotice the Confirmation Hearing on not fewer
than twenty (20) days’ notice with respect to the Plan, as amended to remove Section 5.7(l) of the Plan or in
another modified form, in the Debtors’ sole and absolute discretion, containing some or all of the
agreements and concessions made by the Debtors reflected in the Mediator’s Report filed with the
Bankruptcy Court on July 7, 2021 [D.I. 3119] (and, with respect to the Shareholder Payment Parties, any
agreements or concessions reflected therein shall be included in any such modified Plan only with their
express written consent), and (i) each Newly Consenting State (and no other Person) shall be entitled, in its
sole discretion, to submit a new ballot and to object to confirmation of any such Plan and (ii) the Creditors’
Committee shall be entitled to object solely to any modifications to Section 5.12 of the Plan.

                 12.4    Revocation or Withdrawal of Plan.

                          The Debtors reserve the right to revoke or withdraw this Plan prior to the Effective
Date as to any or all of the Debtors; provided that each Debtor shall be entitled to revoke this Plan only in
full and not in part. If, with respect to a Debtor, this Plan has been revoked or withdrawn prior to the
Effective Date, or if confirmation or the occurrence of the Effective Date as to such Debtor does not occur
on the Effective Date, then, with respect to such Debtor: (a) this Plan and the Plan Documents shall be null
and void in all respects; (b) any settlement or compromise embodied in this Plan (including the fixing or
limiting to an amount any Claim or Interest or Class of Claims or Interests), assumption or rejection of
executory contracts and unexpired leases effected by this Plan and any document or agreement executed
pursuant to this Plan (including the Plan Documents) shall be deemed null and void; and (c) nothing
contained in this Plan shall (i) constitute a waiver or release of any Claim by or against, or any Interest in,
such Debtor or any other Person, (ii) prejudice in any manner the rights of such Debtor or any other Person,
or (iii) constitute an admission of any sort by any Debtor or any other Person; provided that any provisions
under the Shareholder Settlement Agreement that are expressly contemplated to survive revocation or
reversal of the Plan shall survive.

                 12.5    Payment of Statutory Fees.

                         All fees payable under section 1930 of chapter 123 of title 28 of the United States
Code shall be paid on or before the Effective Date by the Debtors. After the Effective Date, the Plan
Administration Trust shall assume liability for and shall pay, or cause to be paid, any and all quarterly fees
owed to the U.S. Trustee when due in accordance with applicable law, and shall continue to file, or cause to
be filed, with the Bankruptcy Court quarterly reports to show the calculation of such fees for the Debtors’
Estates. Each of the Debtors shall remain obligated to pay quarterly fees to the U.S. Trustee until such
Debtor’s Chapter 11 Case is closed, dismissed or converted to a case under chapter 7 of the Bankruptcy
Code.

                 12.6    Severability.

                         (a)      Notwithstanding anything else contained in the Plan, (i) each of the
provisions of the Shareholder Settlement, including, without limitation, the Shareholder Releases and the
Channeling Injunction, is integrated with and integral to all other provisions of the Shareholder Settlement
and the remainder of the Plan and the Plan Documents, and shall not be severable from the remainder of the
Shareholder Settlement, the Plan or the Plan Documents; (ii) the Confirmation Order shall constitute a
judicial determination that each term and provision of the Shareholder Settlement is (A) valid and
enforceable pursuant to its terms, (B) integral to both the entirety of the Shareholder Settlement and the
Plan and may not be excised or modified other than in accordance with the Shareholder Settlement
Agreement, and (C) nonseverable from and mutually dependent on each other term in the Shareholder
Settlement and the Plan; and (iii) in the event that any one or more provisions of the Shareholder Settlement
are deemed null, void, illegal or unenforceable, the Shareholder Settlement, the Plan, the Confirmation
Order and the Plan Documents shall be null and void.


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                           (b)     If, prior to entry of the Confirmation Order, any term or provision of this
Plan that is not related to the Shareholder Settlement is held by the Bankruptcy Court to be invalid, void or
unenforceable, the Bankruptcy Court, at the request of the Debtors, shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void or unenforceable, and
such term or provision shall then be applicable as altered or interpreted. Notwithstanding any such holding,
alteration or interpretation by the Bankruptcy Court, the remainder of the terms and provisions of this Plan
shall remain in full force and effect and shall in no way be affected, impaired or invalidated by such
holding, alteration or interpretation. The Confirmation Order shall constitute a judicial determination and
shall provide that each term and provision of this Plan, as it may have been altered or interpreted in
accordance with this Section 12.6, is valid and enforceable pursuant to its terms.

                12.7     Governing Law.

                          Except to the extent that the Bankruptcy Code or other federal law is applicable, or
to the extent that a Plan Document provides otherwise, the rights, duties and obligations arising under this
Plan and the Plan Documents shall be governed by, and construed and enforced in accordance with, the
internal laws of the State of New York, without giving effect to the principles of conflicts of laws thereof
(other than section 5-1401 and section 5-1402 of the New York General Obligations Law).

                12.8     Immediate Binding Effect.

                        Subject only to Bankruptcy Rules 3020(e), 6004(h) and 7062, as applicable, upon
the occurrence of the Effective Date, the terms of this Plan and the Plan Documents shall be immediately
effective and enforceable and deemed binding upon and inure to the benefit of the Debtors, the other
Protected Parties, all Holders of Claims against or Interests in the Debtors, all Holders of Channeled
Claims, all Releasing Parties and each of their respective successors and assigns.

                12.9     Successors and Assigns.

                          The rights, benefits and obligations of any Person named or referred to in this Plan
shall be binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or
permitted assign, if any, of each such Person.

                12.10    Entire Agreement.

                           On the Effective Date, this Plan, the Plan Supplement and the Confirmation Order
shall supersede all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings and representations concerning such documents, all of which have become merged and
integrated into this Plan.

                12.11    Computing Time.

                        In computing any period of time prescribed or permitted by this Plan, unless
otherwise set forth in this Plan or determined by the Bankruptcy Court, the provisions of Bankruptcy
Rule 9006 shall apply.

                12.12    Exhibits to Plan.

                       All exhibits, schedules, supplements and appendices to this Plan (including the
Plan Supplement) are incorporated into and are part of this Plan as if set forth in full herein.




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                 12.13    Notices.

                         All notices, requests and demands to or upon the Debtors shall be in writing
(including by facsimile transmission) and, unless otherwise provided herein, shall be deemed to have been
duly given or made only when actually delivered or, in the case of notice by facsimile transmission, when
received and telephonically confirmed, addressed as follows:

                          DAVIS POLK & WARDWELL LLP
                          450 Lexington Avenue
                          New York, New York 10017
                          Attn: Marshall S. Huebner, Benjamin S. Kaminetzky, Timothy Graulich, Eli J.
                          Vonnegut and Christopher S. Robertson

                          Counsel to the Debtors
                          and Debtors in Possession

                          After the occurrence of the Effective Date, the Plan Administration Trustee shall
have authority to send a notice to Entities providing that, to continue to receive documents pursuant to
Bankruptcy Rule 2002, such Entities must file a renewed request to receive documents pursuant to
Bankruptcy Rule 2002; provided, however, that the U.S. Trustee need not file such a renewed request and
shall continue to receive documents without any further action being necessary. After the occurrence of the
Effective Date, the Debtors and the Plan Administration Trustee are authorized to limit the list of Entities
receiving documents pursuant to Bankruptcy Rule 2002 to the U.S. Trustee and those Entities that have
filed such renewed requests.

                 12.14    Dissolution of the Creditors’ Committee.

                          On the Effective Date, the Creditors’ Committee will dissolve; provided, however,
that following the Effective Date, the Creditors’ Committee shall continue in existence and have standing
and a right to be heard for the following limited purposes: (a) applications, and any relief related thereto, for
compensation by Professional Persons and requests for allowance of fees and/or expenses under
section 503(b) of the Bankruptcy Code, (b) any appeals of, or related to, the Confirmation Order or (c) any
other appeal to which the Creditors’ Committee is a party. Upon the dissolution of the Creditors’
Committee, the Creditors’ Committee, each of its members (including each officer, director, employee or
agent thereof) and its respective Professional Persons will cease to have any duty, obligation or
responsibility arising from, or related to, the Chapter 11 Cases and shall be released and discharged from all
rights and duties from, or related to, the Chapter 11 Cases.

                 12.15    Reservation of Rights.

                        Except as otherwise provided herein, this Plan shall be of no force or effect unless
the Bankruptcy Court enters the Confirmation Order. None of the filing of this Plan, any statement or
provisions of this Plan or the taking of any action by the Debtors with respect to this Plan shall be, or
deemed to be, an admission or waiver of any rights of the Debtors with respect to any Claim or Interest prior
to the Effective Date.



Dated: September 2, 2021
By: /s/ Jon Lowne
Name: Jon Lowne
Title: Authorized Signatory


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PURDUE PHARMA L.P.
PURDUE PHARMA INC.
PURDUE TRANSDERMAL TECHNOLOGIES L.P.
PURDUE PHARMA MANUFACTURING L.P.
PURDUE PHARMACEUTICALS L.P.
IMBRIUM THERAPEUTICS L.P.
ADLON THERAPEUTICS L.P.
GREENFIELD BIOVENTURES L.P.
SEVEN SEAS HILL CORP.
OPHIR GREEN CORP.
PURDUE PHARMA OF PUERTO RICO
AVRIO HEALTH L.P.
PURDUE PHARMACEUTICAL PRODUCTS L.P.
PURDUE NEUROSCIENCE COMPANY
NAYATT COVE LIFESCIENCE INC.
BUTTON LAND L.P.
RHODES ASSOCIATES L.P.
PAUL LAND INC.
QUIDNICK LAND L.P.
RHODES PHARMACEUTICALS L.P.
RHODES TECHNOLOGIES
UDF LP
SVC PHARMA LP
SVC PHARMA INC.




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                                     EXHIBIT A

                            MSGE Fee Allocation Agreement
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